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                         EXHIBIT A
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             EXHIBIT A “A Comparison of Modern Civil Rights Codes to
             their Historical Counterparts”



              Historic Civil Rights Statute        Modern United States Code



              Section 1 of the Civil Rights Act    42 U.S.C. § 1981 (a)-(b)
              of 1866
                                                   42 U.S.C. § 1982




              Section 2 of the Civil Rights Act    42 U.S.C. § 1981 (c)
              of 1866




              Section 1 of the Civil Rights Act    42 U.S.C. § 1983
              of 1871

                  Enacted to enforce “the act
                   of the ninth of April,
                   eighteen hundred and sixty-
                   six, entitled ‘An act to
                   protect all persons in the
                   United States in their civil
                   rights, and to furnish the
                   means of their vindication’;
                   and other remedial laws of
                   the United States which are
                   in their nature applicable in
                   such cases’”
                  Jett v. Dallas Independent
                   School District, 491 U.S.
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                    701, 702 (1989)(“Given
                    this Court's repeated
                    recognition that the
                    Fourteenth Amendmentwas
                    largely intended to embody
                    and expand the protections
                    of § 1981's statutory
                    predecessor asagainst state
                    actors, this Court declines
                    petitioner's invitation to
                    imply a damages remedy
                    broader than § 1983 from §
                    1981's declaration of
                    rights.”)




              Section 2 of the Civil Rights Act   42 U.S.C. § 1985
              of 1871
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                         EXHIBIT B
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  EXHIBIT B        “Usages of 42 U.S.C. § 1983 to enforce Various Constitutional

  Amendments in order to Root Out Racial Discrimination”




  Constitutional               Case Law                  Holding

  Amendment



  First Amendment              NAACP v. Button, 371      “Petitioner challenges the
                               U.S. 415, 428 (1963)      decision of the Supreme
                                                         Court of Appeals on many
                                                         grounds. But we reach
                                                         only one: that Chapter
                                                         33, as construed and
                                                         applied, abridges the
                                                         freedoms of the First
                                                         Amendment, protected
                                                         against state action by the
                                                         Fourteenth. More
                                                         specifically, petitioner
                                                         claims that the chapter
                                                         infringes the right of the
                                                         NAACP and its members
                                                         and lawyers to associate
                                                         for the purpose of
                                                         assisting persons who
                                                         seek legal redress for
                                                         infringements of their
                                                         constitutionally
                                                         guaranteed and other
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                                                         rights. We think petitioner
                                                         may assert this right on its
                                                         own behalf, because,
                                                         though a corporation, it is
                                                         directly engaged in those
                                                         activities, claimed to be
                                                         constitutionally protected,
                                                         which the statute would
                                                         curtail. Cf. Grosjean v.
                                                         American Press Co., 297
                                                         U. S. 233. We also think
                                                         petitioner has standing to
                                                         assert the corresponding
                                                         rights of its members. See
                                                         NAACP v. Alabama ex rel.
                                                         Patterson, 357 U. S.
                                                         449, 357 U. S. 458-
                                                         460; Bates v. City of Little
                                                         Rock, 361 U. S. 516, 361
                                                         U. S. 523, n. 9; Louisiana
                                                         ex rel. Gremillion v.
                                                         NAACP, 366 U. S.
                                                         293, 366 U. S. 296.”



  Fourth Amendment          Johnston v. Tampa            “On November 3, 2005,
                            Sports Authority, 530        Johnston amended his
                            F.3d 1320, 1324 (11th Cir.   complaint to add a claim
                            2008)                        pursuant to 42 U.S.C. §
                                                         1983 that the searches
                                                         violated the Fourth
                                                         Amendment to the
                                                         United States
                                                         Constitution…. The
                                                         District Court denied the
                                                         motion, finding that
                                                         Johnston did not consent
                                                         to the pat-down searches
                                                         and that the searches
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                                                        violated the Florida
                                                        Constitution and the
                                                        Fourth Amendment to
                                                        the United States
                                                        Constitution. This appeal
                                                        followed.”



  Eight Amendment           Farmer v. Brennan, 511      “Canton `s objective
                            U.S. 825, 841 (1994)        standard, however, is not
                                                        an appropriate test for
                                                        determining the liability
                                                        of prison officials under
                                                        the Eighth Amendment
                                                        as interpreted in our
                                                        cases. Section 1983,
                                                        which merely provides a
                                                        cause of action, ‘contains
                                                        no state-of-mind
                                                        requirement independent
                                                        of that necessary to state a
                                                        violation of the
                                                        underlying constitutional
                            U.S. v. Georgia, 546, 550   right.’...”
                            U.S. 151 (2006)

                                                        “In reversing the
                                                        dismissal of Goodman’s
                                                        §1983 claims, the
                                                        Eleventh Circuit held that
                                                        Goodman had alleged
                                                        actual violations of the
                                                        Eighth Amendment by
                                                        state agents on the
                                                        grounds set forth above.
                                                        See App. to Pet. for Cert.
                                                        in No. 04–1236, pp. 18a–
                                                        19a. The State does not
                                                        contest this holding, see
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                                                         Brief for Respondents 41–
                                                         44, and we did not grant
                                                         certiorari to consider the
                                                         merits of Goodman’s
                            Cottrell v. Caldwell, 85     Eighth Amendment
                            F.3d 1480, 1490 (11th Cir.   claims….” Id.
                            1996)



                                                         “Claims involving… the
                                                         Eighth Amendment's
                                                         Cruel and Unusual
                                                         Punishment Clause,
                                                         which applies to such
                                                         claims by convicted
                                                         prisoners. E.g., Bell v.
                                                         Wolfish, 441 U.S. 520,
                                                         535 & n. 16, 99 S.Ct.
                                                         1861, 1872 & n. 16, 60
                                                         L.Ed.2d 447 (1979); Hale
                                                         v. Tallapoosa County, 50
                                                         F.3d 1579, 1582 n. 4 (11th
                                                         Cir.1995); Jordan v. Doe,
                                                         38 F.3d 1559, 1564-65
                                                         (11th Cir.1994).
                                                         Cottrell v. Caldwell, 85
                                                         F.3d 1480 (11th Cir.
                                                         1996).”



  Fourteenth Amendment      Cottrell v. Caldwell, 85     “Claims involving the
                            F.3d 1480, 1490 (11th Cir.   mistreatment of arrestees
                            1996)                        or pretrial detainees in
                                                         custody are governed by
                                                         the Fourteenth
                                                         Amendment's Due
                                                         Process Clause instead of
                                                         the Eighth Amendment's
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                                                      Cruel and Unusual
                                                      Punishment Clause,
                                                      which applies to such
                                                      claims by convicted
                                                      prisoners. E.g., Bell v.
                                                      Wolfish, 441 U.S. 520,
                                                      535 & n. 16, 99 S.Ct.
                                                      1861, 1872 & n. 16, 60
                                                      L.Ed.2d 447 (1979); Hale
                                                      v. Tallapoosa County, 50
                                                      F.3d 1579, 1582 n. 4 (11th
                                                      Cir.1995); Jordan v. Doe,
                                                      38 F.3d 1559, 1564-65
                                                      (11th Cir.1994).
                                                      Cottrell v. Caldwell, 85
                                                      F.3d 1480 (11th Cir.
                                                      1996).”
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                         EXHIBIT C
19-cv-02889-WFJ-TGW Document 45-3 Filed 11/12/20 Page 12 of 330 Pag
                     THIRTY-NINTH CONGRESS.                      Sass. I.     CH. 31.    1866.            27
        CHAP. X         . - An Act to protect all Persons in the United States in their Civil April 9, 1866.
                            Sights, andfurnish the Means of their Vindication.
            Be it enacted by the Senate and House of Representatives of the United Who are citi-
         States of America in Congress assembled, That all persons born in the z e"s of the
         United States and not subject to any foreign power, excluding Indians Un
         not taxed, are hereby declared to be citizens of the United States; and
         such citizens, of every race and color, without regard to any previous con-
         dition of slavery or involuntary servitude, except as a punishment for
         crime whereof the party shall have been duly convicted, shall have the
         same right, in every State and Territory in the United States, to make their rights
         and enforce contracts, to sue, be parties, and give evidence, to inherit,nd obligtiont
         purchase, lease, sell, hold, and convey real and personal property, and to
         full and equal benefit of all laws and proceedings for the security of per-
         son and property, as is enjoyed by white citizens, and shall be subject to
         like punishment, pains, and penalties, and to none other, any law, statute,
         ordinance, regulation, or custom, to the contrary notwithstanding.
            SEc. 2. And be itfurther enacted, That any person who, under color of Penalty for de-
         any law, statute, ordinance, regulation, or custom, shall subject, or cause priving any per-
         to be subjected, any inhabitant of any State or Territory to the depriva- sontecteadnbvrhi t
         tion of any right secured or protected by this act, or to different punish- act, by reason of
         ment, pains, or penalties on account of such person having at any time colororrace, &c
         been held in a condition of slavery or involuntary servitude, except as a
         punishment for crime whereof the party shall have been duly convicted,
         or by reason of his color or race, than is prescribed for the punishment of
         white persons, shall be deemed guilty of a misdemeanor, and, on convic-
         tion, shall be punished by fine not exceeding one thousand dollars, or
        imprisonment not exceeding one year, or both, in the discretion of the
        court.
            SEC. 3. And be it further enacted, That the district courts of the United Courts of the
        States, within their respective districts, shall have, exclusively of the United States to
        courts of the several States, cognizance of all crimes and offences com- f offeucesundior
        mitted against the provisions of this act, and also, concurrently with the this act.
        circuit courts of the United States, of all causes, civil and criminal, affect-
        ing persons who are denied or cannot enforce in the courts or judicial tri-
       bunals of the State or locality where they may be any of the rights secured
       to them by the first section of this aot; and if any suit or prosecution, Suits com-
       civil or criminal, has been or shall be commenced in any State court moened in State
                                                                                            courts may
       against any such person, for any cause whatsoever, or against any officer, removed on be          de-
       civil or military, or other person, for any arrest or imprisonment, tres- fendant'smotion.
       passes, or wrongs done or committed by virtue or under color of author-
       ity derived from this act or the act establishing a Bureau for the relief' of
       Freedmen and Refugees, and all acts amendatory thereof, or for refusing 186.5 ch. 90.
       to do any act upon the ground that it would be inconsistent with this act, Vol. xiii. P 507
       such defendant shall have the right to remove such cause for trial to the
       proper district or circuit court in the manner prescribed by the "Act re-
       lating to habeas corpus and regulating judicial proceedings in certain
       cases," approved March three, eighteen hundred and sixty-three, and all 1863, ch. 87.
       acts amendatory thereof. The jurisdiction in civil and criminal matters Vol. xii. p. 765.
      hereby conferred on the district and circuit courts of the United States beJurisdiction enforced tac
                                                                                                           to
       shall be exercised and enforced in conformity with the laws of the United cording to the
       States, so far as such laws are suitable to carry the same into effect; but laws ofthe Unit-
                                                                                           ed States, or the
      in all cases where such laws are not adapted to the object, or are deficient commonlaw,&c.
      in the provisions necessary to furnish suitable remedies and punish offen-
      ces against law, the common law, as modified and changed by the consti-
      t-ition and statutes of the State wherein the court having jurisdiction of
      the cause, civil or criminal, is held, so far as the same is not inconsistent
      with the Constitution and laws of the United States, shall be extended to
      and govern said courts in the trial and disposition of such cause, and, if of
      a criminal nature, in the infliction of punishment on the party found guilty.
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       28            THIRTY-NINTH CONGRESS.                     SESS. I     Ci. 31.    1866.

           District attor-      SEC. 4. And be itfurther enacted, That the district attorneys, marshals,
        neys, &c., to in- and deputy marshals of the United States, the commissioners appointed by
        sintte r eedall the circuit and territorial courts of the United States, with powers of arrest-
        violating this act. ing, imprisoning, or bailing offenders against the laws of the United States,
                             the officers and agents of the Freedmen's Bureau, and every other officer
                            who may be specially empowered by the President of the United States,
                            shall be, and they are hereby, specially authorized and required, at the
                            expense of the United States, to institute proceedings against all and every
                            person who shall violate the provisions of this act, and cause him or them
                            to be arrested and imprisoned, or bailed, as the case may be, fbr trial be-
                            fore such court of the United States or territorial court as by this act has
                            cognizance of the offence. And with a view to affording reasonable pro-
                            tection to all persons in their constitutional rights of equality before the
                            law, without distinction of race or color, or previous condition of slavery or
                            involuntary servitude, except as a punishment for crime, whereof the par-
                            ty shall have been duly convicted, and to the prompt discharge of the
                            duties of this act, it shall be the duty of the circuit courts of the United
                            States and the superior courts of the Territories of the United States, from
           Number of        time to time, to increase the number of commissioners, so as to afford a
       commissioners speedy and convenient means for the arrest and examination of persons
       appointed by cir-
       cuit and territo- charged with a violation of this act; and such commissioners are hereby
       rial courts to be authorized and required to exercise and discharge all the powers and du-
       auincthoa.their ties conferred on them by this act, and the same duties with regard to
                            offences created by this act, as they are authorized by law to exercise with
                            regard to other offences against the laws of the United States.
           Marshals, &c.,       SEC. 5. And be it further enacted, That it shall be the duty of all mar-
           pto
           oey all pre- shals and deputy marshals to obey and execute all warrants and precepts
       act.                 issued under the provisions of this act, when to them directed; and should
           Penalty for re- any marshal or deputy marshal refuse to receive such warrant or other
         fuss, &.           process when tendered, or to use all proper means diligently to execute the
                            same, he shall, on conviction thereof, be fined in the sum of one thousand
                            dollars, to the use of the person upon whom the accused is alleged to have
          Commissioners committed the offence. And the better to enable the said commissioners
       smay apint peer- to execute their duties faithfully and efficiently, in conformity with the
       warrants.            Constitution of the United States and the requirements of this act, they
                            are hereby authorized and empowered, within their counties respectively, to
                            appoint, in writing, under their hands, any one or more suitable persons,
                            from time to time, to execute all such warrants and other process as may
                            be issued by them in the lawful performance of their respective duties;
                            and the persons so appointed to execute any warrant or process as afore-
           Authority of said shall have authority to summon and call to their aid the bystanders
       such persons.        or posse comitatus of the proper county, or such portion of the land or na-
                            val forces of the United States, or of the militia, as may be necessary to
                            the performance of the duty with which they are charged, and to insure a
                            faithful observance of the clause of the Constitution which prohibits slav-
           Warrants to ery, in conformity with the provisions of this act; and said warrants shall
        un w ere.           run and be executed by said officers anywhere in the State or Territory
                            within which they are issued.
          Penalty forob-       SEC. 6. And be it further enacted, That any person who shall knowing-
       structing process ly and wilfully obstruct, hinder, or prevent any officer, or other person
       under ths act; charged with the execution of any warrant or process issued under the
                            provisions of this act, or any person or persons lawfully assisting him or
                            them, from arresting any person for whose apprehension such warrant or
         for rescue, &c.; process may have been issued, or shall rescue or attempt to rescue such
                            person from the custody of the officer, other person or persons, or those
                            lawfully assisting as aforesaid, when so arrested pursuant to the authority
          for aiding to herein given and declared, or shall aid, abet, or assist any person so arrest-
          escpe;            ed as aforesaid, directly or indirectly, to escape from the custody of the
          for harboring, officer or other person legally authorized as aforesaid, or shall harbor or
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           THIRTY-NINTH            CONGRESS.          SEss. I.    Ca. 31.     1866.                     29
        conceal any person for whose arrest a warrant or process shall have been
       issued as aforesaid, so as to prevent his discovery and arrest after notice
       or knowledge of the fact that a warrant has been issued for the apprehen-
       sion of such person, shall, for either of said offences, be subject to a fine
       not exceeding one thousand dollars, and imprisonment not exceeding six
       months, by indictment and conviction before the district court of the
       United States for the district in which said offence may have been com-
       mitted, or before the proper court of criminal jurisdiction, if committed
       within any one of the organized Territories of the United States.
           SEC. 7. And be it further enacted, That the district attorneys, the mar- Fees of district
       shals, their deputies, and the clerks of the said district and territorial courts attorneys, mar-
                                                                                          shals, clerks,
       shall be paid for their services the like fees as may be allowed to them for commissioner,
       similar services in other cases; and in all cases where the proceedings &c.;
       are before a commissioner, he shall be entitled to a fee of ten dollars in
       full fbr his services in each case, inclusive of all services incident to such
       arrest and examination. The person or persons authorized to execute the
       process to be issued by such commissioners for the arrest of offenders
       against the provisions of this act shall be entitled to a fee of five dollars
       for each person he or they may arrest and take before any such commis-
       sioner as aforesaid, with such other fees as may be deemed reasonable by
       such commissioner for such other additional services as may be necessarily
       performed by him or them, such as attending at the examination, keeping
       the prisoner in custody, and providing him with food and lodging during
       his detention, and until the final determination of such commissioner, and
       in general for performing such other duties as may be required in the
       premises; such fees to be made up in conformity with the fees usually
       charged by the officers of the courts of justice within the proper district or t
       county, as near as may be practicable, and paid out of the Treasury of the fronm the treas-
       United States on the certificate of the judge of the district within which uryofthe United
       the arrest is made, and to be recoverable from the defendant as part of the States, and to be
      judgment in case of conviction.                                                    defendant when
          SEC. 8. And be itfurther enacted, That whenever the President of the convicted.
       United States shall have reason to believe that offences have been or a dident       re        udae
       likely to be committed against the provisions of this act within any judicial &c., to attend,
       district, it shall be lawful for him, in his discretion, to direct the judge, &c.,for themore
                                                                                         speedy trial of
      marshal, and district attorney of such district to attend at such place within persons      charged
      the district, and for such time as he may designate, for the purpose of the with violating
      more speedy arrest and trial of persons charged with a violation of this th act;     i
      act; and it shall be the duty of every judge or other officer, when any
      such requisition shall be received by him, to attend at the place and for
      the time therein designated.
          SEC. 9. And be it further enacted, That it shall be lawful for the Pres- may enforce
      ident of the United States, or such person as he may empower for that military    the act with
                                                                                                   and the
      purpose, to employ such part of the land or naval forces of the United vli power. na-
      States, or of the militia, as shall be necessary to prevent the violation
      and enforce the due execution of this act.
          SEC. 10. And be it further enacted, That upon all questions of law Appeal to the
      arising in any cause under the provisions of this act a final appeal may be "surenecourt of
      taken to the Supreme Court of the United States.                                  St tes
                               SCHUYLER           COLFAX,
                                   Speaker of the House of Representatives.
                               LA FAYETTE S. FOSTER,
                                       President of the Senate, pro tempore.
      In the Senate of the United States, April 6, 1866.
         The President of the United States having returned to the Senate, in Bill passed over
      which it originated, the bill entitled "An act to protect all persons in the the veto of the
      United States in their civil rights, and furnish the means of their vindica- President.
      tion," with his objections thereto, the Senate proceeded, in pursuance of the
      Constitution, to reconsider the same; and,
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       30                    THIRTY-NINTH              CONGRESS.           SEss. I.     Cu. 31, 32.     1866.

                             Resolved, That the said bill do pass, two-thirds of the Senate agreeing
                          to pass the same.
                             Attest:                                           J. W. FORNE,
                                                                           Secretary of the Senate.

                          In the House of Representatives U S. April 9th, 1866.
                             The House of Representatives having proceeded, in pursuance of the
                          Constitution, to reconsider the bill entitled "An act to protect all persons
                          in the United States in their civil rights, and furnish the means of their vin-
                          dication," returned to the Senate by the President of the United States,
                          with his objections, and sent by the Senate to the House of Representa-
                          tives, with the message of the President returning the bill:
                             Resolved, That the bill do pass, two-thirds of the House of Represen-
                          tatives agreeing to pass the same.
                             Attest:                                 EDWARD MCPHERSON, Clerk,
                                                                  by CLINTON LLOYD, Chief Clerk.


        April 10, 1866.   CHAP. XXXII. - An Act grantingto the State of Wisconsin a Donation ofPalicLands
                           to aid in the Construction of a Breakwater and Harbor and Ship Canal at the Head of
                            Sturgeon Bay, in the County of Door, in said State, to connect the Waters of Green Bay
                           with Lake Mtichigan, in said State.
          Grant of land Be it enacted by the Senate and House of Representatives of the United
       to Wisconsin for States of America in Congress assembled, That there be, and hereby is,
       breakwater, har-
       bor, and ship     granted to the State of Wisconsin for the purpose of aiding said State in
       canal.            constructing and completing a breakwater and harbor and ship canal to
                         connect the waters of Green bay with the waters of Lake Michigan, two
                         hundred thousand acres of public lands, to be selected in subdivisions
                         agreeably to the United States survey, by an agent or agents appointed by
                         the governor of said State, subject to the approval of the Secretary of the
          Proviso.       Interior, from lands subject to private entry: Provided, That said selec-
          Selections,how tions shall all be made from alternate and odd numbered sections of land
       made.
                         nearest the location of said harbor and canal in said State not otherwise
                         appropriated, and not from lands designated by the United States as "min-
                         eral" before the passage of this act, nor from lands to which the rights of
                         pre-emption or homestead have attached.
          Lands subject     SEC. 2. And be it further enacted, That the said lands hereby granted
       tl disposal ofl   shall be subject to the disposal of the legislature of said State, or, if the
                         legislature thereof shall not be in session, or shall adjourn within ten days
                         after the passage and approval of this act, then said lands shall be subject
                         to the disposal of the governor and board of commissioners of school, uni-
                         versity, and swamp lands of said State, for the purposes aforesaid, and for
          Canal to be no other; and the said canal shall be and remain a public highway for
        ublic highway, the use of the government of the United States, free from toll or charge
                         upon the vessels of said government, or upon vessels employed by said
                         government in the transportation of any property or troops of the United
                         States.
          Plans, &c., to    SEC. 3. And be it further enacted, That before it shall be competent for
       befiled indepart- said State to dispose of any of said lands, to be selected as aforesaid, the
                         plan of said breakwater and harbor and the route of said canal shall be
                         established, and a plat or plats thereof shall be filed in the office of the
                         WVar Department, and a duplicate thereof filed in the office of the Com-
                         missioner of the General Land Office.
          Unless work is SEC. 4. And be it further enacted, That if the said breakwater, harbor,
                                     shall not be completed within three years from the passage of
       three years,inun- and canal,
       completed
       sold lands revert this act, the lands hereby granted and remaining unsold shall revert to the
       to the United United States.
       States.
          Account to be SEc. 5. And be it further enacted, That the legislature of said state
       kept; and when shall cause to be kept an accurate account of the sales and net proceeds
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                         EXHIBIT D
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         FORTY-SECOND CONGRESS.                     SESS. I.    Cu. 22.    1871.                     13
    CHAP. XXII. - An Act to enforce the Provisions of the Fourteenth Amendment to the April 20, 1871.
                Constitution of the United States, and for other Purposes.              Any person
     Be it enacted by the Senate and House of Representatives of the United under           color of
                                                                                      any law, &c. of
    States of America in Congress assembled, That any person who, under any State, de-
    color of any law, statute, ordinance, regulation, custom, or usage of any ofany"right, &e.
    State, shall subject, or cause to be subjected, any person within the secured by the
    jurisdiction of the United States to the deprivation of any rights, privi- Constitution of
    leges, or immunities secured by the Constitution of the United States, states, made
    shall, any such law, statute, ordinance, regulation, custom, or usage of liable to the par-
    the State to the contrary notwithstanding, be liable to the party injured ty"injued
    in. any action at law, suit in equity, or other proper proceeding for be in the courts
    redress; such proceeding to be prosecuted in the several district or cir- of the United
    cuit courts of the United States, with and subject to the same rights of States.
                                                                                 1s866, cl. 31.
    appeal, review upon error, and other remedies provided in like cases in Vol. xiv. p. 27.
    such courts, under the provisions of the act of the ninth of April, eighi- Penalty for
    teen hundred and sixty-six, entitled " An act to protect all persons in the foreP to put
    United States in their civil rights, and to furnish the means of their vin- downthegovem-
    dication"; and the other remedial laws of the United States which are mnited Sttes
    in their nature applicable in such cases.                                   &c.;
       SEC. 2. That if two or more persons within any State or Territory of or to hinder
    the United States shall conspire together to overthrow, or to put down, the execution of
                                                                            any law of the
    or to destroy by force the government of the United States, or to levy            United States;
    war against the United States, or to oppose by force the authority of the                 e ze
                                                                                      prptos
                                                                                      property ooff thny
                                                                                                    the
    government of the United States, or by force, intimidation, or threat to          United States;
    prevent, hinder, or delay the execution of any law of the United States, or to prevent
                                                                             any person from
    or by force to seize, take, or possess any property of the United States holding
                                                                                  office,
    contrary to the authority thereof, or by force, intimidation, or threat to &c. under the
    prevent any person from accepting or holding any office or trust or place Unitted States;
    of confidence under the United States, or from discharging the duties             any officer to
    thereof, or by force, intimidation, or threat to induce any officer of the        leave the State,
    United States to leave any State, district, or place where his duties as            Coto ijure
    such officer might lawfully be performed, or to injure him in his person          him in person or
    or property on account of his lawful discharge of the duties of his office,       property
                                                                                      doing, or while
                                                                                                to pre-
    or to injure his person while engaged in the lawful discharge of the duties       venthis doing,
    of his office, or to injure his property so as to molest, interrupt, hinder,      his duty;
    or impede him in the discharge of his official duty, or by force, intimida-       any party oren
    tion, or threat to deter any party or witness in any court of the United          witness from at-
    States from attending such court, or from testifying in any matter pend-          tending court  or
               ·      .                  .testifying                                             there-
    ing in such court fully, freely, and truthfully, or to injure any such party in;
    or witness in his person or property on account of his having so attended or to injure
    or testified, or by force, intimidation, or threat to influence the verdict, him  for so at-
                                                                                 tending or testi-
    presentment, or indictment, of any juror or grand juror in any court of lying;
    the United States, or to injure such juror in his person or property on theorconduct
                                                                                      to influence
                                                                                              of
    account of any verdict, presentment, or indictment lawfully assented to any juror;
    by him, or on account of his being or having been such juror, or shall or to injure
    conspire together, or go in disguise upon the public highway or upon the          any juror on ac-
    premises of another for the purpose, either directly or indirectly, of de-        &c.
    priving any person or any class of persons of the equal protection of the           Penalty for
                                                                                      conspiring or
    laws, or of -1equal privileges or immunities under the laws, or for the pur-      going in disguise
    pose of preventing or hindering the constituted authorities of any State upon the public
    from giving or securing to all persons within such State the equal pro- highway, &c. to
                                                                             deprive any per-
    tection of the laws, or shall conspire together for the purpose of in any Eon or class of
    manner impeding, hindering, obstructing, or defeating the due course of equal rights, &e.
    justice in any State or Territory, with intent to deny to any citizen of the unortoprevent
    United States the due and equal protection of the laws, or to injure any the State au-
    person in his person or his property for lawfully enforcing the right of thorities from
    any person or class of persons to the equal protection of the laws, or by their equal
    force, intimidation, or threat to prevent any citizen of the United States rights.
    lawfully entitled to vote from giving his support or advocacy in a lawful Penalty fep orb
                                                                                       struct,
                                                                                            piring
                                                                                      struct,  &c. to
                                                                                                   theob-
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      14                  FORTY-SECOND CONGRESS.                     SESS. I.    CH. 22.    1871.

     due course of           manner towards or in favor of the election of any lawfully qualified per-
     justice,.    in
     any State with          son as an elector of President or Vice-President of the United States,
     intent to deny to       or as a member of the Congress of the United States,  od or to injure any
     any citizen his         such citizen in his person or property on account of such support or advo-
        undelrtellaw;        cacy, each and every person so offending shall be deemed guilty of a
         or, by force, high crime, and, upon conviction thereof in any district or circuit court
      &c.to prevent of the United States or district or supreme court of any Territory of the
      tited to vote          United States having jurisdiction of similar offences, shall be punished by
      from advocating a fine not less than five hundred nor more than five thousand dollars, or
      in a lawful man-
      ner theWelection by imprisonment, with or without hard labor, as the court may determine,
      of any person, for a period of not less than six months nor more than six years, as the
      as, &c.                court may determine, or by both such fine and imprisonment as the court
         Courts.
         Punishment. shall determine. And if any one or more persons engaged in any such
         Any conspira- conspiracy shall do, or -cause to be done, any act in furtherance of the
      a'nyo ting,&f object of such conspiracy, whereby any person shall be injured in his
      therance ofthe person or property, or deprived of having and exercising any right or
      objectof the           privilege of a citizen of the United States, the person so injured or
      conspiracy, and
      thereby injuring deprived of such rights and privileges may have and maintain an action
      another, to be for the recovery of damages occasioned by such injury or deprivation of
        alet
      age,     in dar-
             therefor.       rights and privileges against any one or more of the pe persons engaged in
         Proceedings to such conspiracy, such action to be prosecuted in the proper district or
      be in courtsof circuit court of the United States, with and subject to the same rights
      StaUnited              of appeal, review upon error, and other remedies provided in like cases
         18l0, ch. 31. in such courts under the provisions of the act of April ninth, eighteen
       Vol. xiv. p.27. hundred and sixty-six, entitled "An act to protect all persons in the
                             United States in their civil rights, and to furnish the means of their
                            vindication."
         Wbat tobe              SEC. 3. That in all cases where insurrection, domestic violence, un-
      dmeany dStenial lawful combinations, or conspiracies in any State shall so obstruct or
      any lassof ts hinder the execution of the laws thereof, and of the United States, as
      people protection
      equal     of their to deprive any portion or class of the people of such State of any of the
      under the laws. rights, privileges, or immunities, or protection, named in the Constitution
                            and secured by this act, and the constituted authorities of such State
                            shall either be unable to protect, or shall, from any cause, fail in or re-
                            fuse protection of the people in such rights, such facts shall be deemed a
                            denial by such State of the equal protection of the laws to which they are
         When           due
     execution of the entitled under the Constitution of the United States; and in all such
                   the
     laws, &c.is ob- cases, or whenever any such insurrection, violence, unlawful combination,
     strutted by vio- Or conspiracy shall oppose or obstruct the laws of the United States or
      enee, &j. shll
     President       thle thel due execution thereof, or impede or obstruct the due course of justice
     d) what he may under the same, it shall be lawful for the President, and it shall be his
     doem necessary duty to take such measures, by the employment of the militia or the
     to
     suchsuppress
            violence,o land and naval forces of the United States, or of either, or by other
     &c.                    means, as he may deem necessary for the suppression of such insurrec-
         tersoene
     re ted    to bea-de- tion, domestic violence, or combinations; and any person who shall be
     livered to tile        arrested under the provisions of this and the preceding section shall be
     mtrlbal.               delivered to the marshal of the proper district, to be dealt with according
                            to law.
         What unlaw-            SEc. 4. That whenever in any State or part of a State the unlawful
     ful
     to becombinations
            deemed a combinations named in the preceding section of this act shall be organ-
     rebellion against ized and armed, and so numerous and powerful as to be able, by vio-
     the government lence, to either overthrow or set at defiance the constituted authorities
      Sote Unted            of such State, and of the United States within such State, or when the
                            constituted authorities are in complicity with, or shall connive at the
                            unlawful purposes of, such powerful and armed combinations; and
                            whenever, by reason of either or all of the causes aforesaid, the convic-
                            tion of such offenders and the preservation of the public safety shall be-
                            come in such district impracticable, in every such case such combina-
                            tions shall be deemed a rebellion against the government of the United
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          FORTY-SECOND CONGRESS.                     SESS. I.    Cr. 22.   1871.                          15
     States, and during the continuance of such rebellion, and within the During such
     limits of the district which shall be so under the sway thereof, such limits rebellion, and
     to be prescribed by proclamation, it shall be lawful for the President of Umits, the Presi-
     the United States, when in his judgment the public safety shall require dent may sus-
     it, to suspend the privileges of the writ of habeas corpus, to the end that         thes
                                                                                           corpu .of
     such rebellion may be overthrown: Provided, That all the provisions of Provisions of
     the second section of an act entitled "An act relating to habeas corpus, act
     and regulating judicial proceedings in certain cases," approved March Vol.'xii. pS.'7,
     third, eighteen hundred and sixty-three, which relate to the discharge of made applicable
     prisoners other than prisoners of war, and to the penalty for refusing to Phee          tion
     obey the order of the court, shall be in full force so far as the same are to be first made,
     applicable to the provisions of this section: Provided further, That the &c.
     President shall first have made proclamation, as now provided by law, Vo. xii. p. 282.
     commanding such insurgents to disperse: And provided also, That the See pp 949-954.
     provisions of this section shall not be in force after the end of the next noto bectinorce
     regular session of Congress.                                               after, &c.
        SEC. 5. That no person shall be a grand or petit juror in any court of
     the United States upon any inquiry, hearing, or trial of any suit, pro- Certain per-
     ceeding, or prosecution based upon or arising under the provisions ofr     8
                                                                                   rnors i ertain
     this act who shall, in the judgment of the court, be in complicity with cases.
     any such combination or conspiracy; and every such juror shall, before Jurors to take
    entering upon any such inquiry, hearing, or trial, take and subscribe an oath-
    oath in open court that he has never, directly or indirectly, counselled,
    advised, or voluntarily aided any such combination or conspiracy; and False swear-
    each and every person who shall take this oath, and shall therein swear th inathtonge
    falsely, shall be guilty of perjury, and shall be subject to the pains and perjury.
    penalties declared against that crime, and the first section of the act Repeal of first
    entitled " An act defining additional causes of challenge and prescribing section of act
    an additional oath for grand and petit jurors in the United States courts," Vol.2xi p.o0.
    approved June seventeenth, eighteen hundred and sixty-two, be, and the
    the same is hereby, repealed.
        SEC. 6. That any person or persons, having knowledge that any of Any person
    the wrongs conspired to be done and mentioned in the second section of knowing that
    this act are about to be committed, and having power to prevent or aid are about to be
    in preventing the same, shall neglect or refuse so to do, and such wrong- done, andhaving
    ful act shall bb committed, such person or persons shall be liable to the eowterto.preg-
    person injured, or his legal representatives, for all damages caused by lects so to do,
    any such wrongful act which such first-named person or persons by ad anysuch
    reasonable diligence could have prevented; and such damages may be                gismadeliblefor
    recovered in an action on the case in the proper circuit court of the all damages
    United States, and any number of persons guilty of such wrongful casuds there.r
    neglect or refusal may be joined as defendants in such action: Provided, in courts of the
    That such action shall be commenced within one year after such cause United States.
    of action shall have accrued; and if the death of any person shall be joined asdefend
    caused by any such wrongful act and neglect, the legal representatives ants.
    of such deceased person shall have           such   action   therefor, and may     If deati   t
                                                                                                      s
    recover not exceeding five thousand dollars damages therein, for the caused bysuch
    benefit of the widow of such deceased person, if any there be, or if there wrongful act,
    be no widow, for the benefit of the next of kin of such deceased person. sentaives of de-
       SEC. 7. That nothing herein contained shall be construed to supersede ceased may
    or repeal any former act or law except so far as the same may be repug- ant.na        ctiond
    nant thereto; and any offences heretofore committed against the tenor whose benefit.
    of any former act shall be prosecuted, and any proceeding already com- Former laws,
    menced for the prosecution thereof shall be continued and completed, the &c    not repealed,
                                                                               &cn'trealed.
    same as if this act had not been passed, except so far as the provisions Former offen-
    of this act may go to sustain and validate such proceedings.              c es to be prose-
          APPRO
      APPROVED,     April 20, 1871.
                    April 20, 1871.
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      42 U.S. Code § 1981. Equal rights under the law

            U.S. Code              Notes




                 (a) S
                 All persons within the jurisdiction of the United States shall have the
                 same right in every State and Territory to make and enforce contracts,
                 to sue, be parties, give evidence, and to the full and equal benefit of all
                 laws and proceedings for the security of persons and property as is
                 enjoyed by white citizens, and shall be subject to like punishment, pains,
                 penalties, taxes, licenses, and exactions of every kind, and to no other.


                 (b) “M                                 ”
                 For purposes of this section, the term “make and enforce contracts”
                 includes the making, performance, modification, and termination of
                 contracts, and the enjoyment of all benefits, privileges, terms, and
                 conditions of the contractual relationship.


                 (c) P
                 The rights protected by this section are protected against impairment by
                 nongovernmental discrimination and impairment under color of State
                 law.

             (R.S. § 1977; Pub. L. 102–166, title I, § 101, Nov. 21, 1991, 105 Stat.
             1071.)



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      42 U.S. Code § 1982. Property rights of citizens

            U.S. Code              Notes



               All citizens of the United States shall have the same right, in every State
             and Territory, as is enjoyed by white citizens thereof to inherit, purchase,
             lease, sell, hold, and convey real and personal property.

             (R.S. § 1978.)




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      42 U.S. Code § 1983. Civil action for deprivation of
      rights

            U.S. Code              Notes



                Every person who, under color of any statute, ordinance, regulation,
             custom, or usage, of any State or Territory or the District of Columbia,
             subjects, or causes to be subjected, any citizen of the United States or
             other person within the jurisdiction thereof to the deprivation of any rights,
             privileges, or immunities secured by the Constitution and laws, shall be
             liable to the party injured in an action at law, suit in equity, or other proper
             proceeding for redress, except that in any action brought against a judicial
             officer for an act or omission taken in such officer’s judicial capacity,
             injunctive relief shall not be granted unless a declaratory decree was
             violated or declaratory relief was unavailable. For the purposes of this
             section, any Act of Congress applicable exclusively to the District of
             Columbia shall be considered to be a statute of the District of Columbia.

             (R.S. § 1979; Pub. L. 96–170, § 1, Dec. 29, 1979, 93 Stat. 1284; Pub. L.
             104–317, title III, § 309(c), Oct. 19, 1996, 110 Stat. 3853.)



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             Author of the "Democracy of Clirintianity,".nd "History of Slavery and Anti-
             SIavery.I
             NEW-YORK:
             AMERICAN AND FOREIGN ANTI-SLAVERY SOCIETY,
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             LETTER FROM HON. WILLIAM JAY TO THE AUTHOR.
             NEW-YORK, 25th January, 1853.
             REV. AND DEAR SIR:
             On returning the MSS. of your "AMERICAN SLAVE CODE, in 7Theory
             and Practice," I must ask you to accept my thanks for writing it,
             as well as for favoring me with its early perusal. Surely, never
             before has mischief been framed by law with more diabolical ingenuity than in this
             infernal code. Your analysis of the slave laws
             is very able, and your exhibition of their practical application by
             the Southern Courts, evinces great and careful research.
             It is more easy to make than to refute a charge of exaggeration
             against a work of fiction like Mrs. Stowe's; but your book is as
             impregnable against such a charge as is Euclid's Geometry, since,
             like that, it consists of propositions and demonstrations. The
             book is not only true, but it is unquestionably true. You show us
             the rack constructed "according to law;" we examine, at our leisure, the cruel but
             skilful contrivance of its machinery; we see the
             ministers of the law bind the victim on the instrument of torture;
             we see one feature of humanity after another crushed and obliterated, till at last an
             immortal man, made a little lower than the
             angels, and for whose redemption the Son of God shed his blood on
             the cross, is converted into a beast of burden-a vendible animal,
             scourged at the will of its owner, and offered for sale in the market
             with horses and oxen.
             Your book will take from our Northern dough-faces and slavecatchers the flattering
             unction they are laying to their souls that


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             LETTER TO THE AUTHOR.
             "Uncle Tom's Cabin" is a gross exaggeration; that, of course, slavery is, after all, not
             so very bad; and that they, in doing its biddings, are not as base as they seem to be.
             You show them that
             the most educated and refined among the slaveholders have, for
             the past century, as legislators, been deliberately enacting the most
             fiendish of laws, in utter defiance of the moral sense of mankind,
             and the precepts of the blessed gospel of the Lord Jesus; and that
             their grave and learned judges have enforced these accursed statutes, in all their
             execrable rigor, thus giving a solemn sanction to
             the atrocities portrayed by Mrs. Stowe and others without number, still more
             aggravated by investing them with legal impunity.
             May God make your book a means of awakening the consciences
             of our cotton divines to the deep sin of upholding, in the name of
             the blessed and adorable Redeemer, a system so damnable as American Slavery!
             These reverend pro-slavery champions of Chlristianity resemble the priests of
             Juggernaut, recommending the worship of their god by pointing to the wretches
             writhng, and shrieking, and expiring under his car.
             That the blessing of God may rest on your labors for his glory
             and the good of our suffering and oppressed brethren, is the fervent prayer of
             Your friend and servant,
             WILLIAM JAY.
             REV. WILLIAM GOODELL.


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             THIE AMERICAN SLAVE CODE.


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             THE AMERICAN SLAYE CODE.
             PRELIMINARY CHAPTER.
             OCCASIONS AND USES FOR THIS VOLUME.
             THE practical importance of an exact knowledge
             of the Slave Code and of its legitimate workings,
             will be manifest from the considerations thlat follow.
             It is often maintained that the "legal relation of
             master and slave" is not a criminal one, and that
             there is no sin, or moral wrong, in the mere fact of
             sustaining that relation. On the other hand, it is
             held that the relation is wrong in itself, and cannot
             be innocently sustained.
             Suchl a question cannot, intelligently, be settled
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             without a correct understanding of that "legal relation," and of the particulars in
             which it consists.
             And it is only by tlte Slave Code of the country that
             "the legal relation" can be ascertained. By this, and
             by this only, is it to be defined. "The legal relation
             of master and slave" is what the Slave Code declares
             it to be. And it is nothirgi else.
             It is worse than mere trifling, it is evasion andcl
             sophistry, to ransack the archives of some other age


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             16 THE AMERICAN SLAVE CODE.
             and nation for the laws and usages which then constituted slavery, or which we may
             now choose to
             call slavery; and then, on the assumed (or even the
             ascertained) innocency or divine sanction or tolerance
             of thIose usages, to argue the innocency of the existing "relation of master and
             slave" in this country.
             Sincere and honest inquirers are bound to ascertain
             "the legal relation of master and slave" as it now
             exists in America, in virtue of the code that authorizes and defines it. They are
             bound to bring "the
             legal relation," as thus defined and ascertained, to the
             standard of the Divine will, and say to whether or no
             it corresponds with that standard. The question
             whether it is right or wrong to sanction such a "legal
             relation" by "sustaining" it, will then be easily settled.
             No man, in America, can hold a slave by any other
             tenure, or in any other "relation," than that which
             the American Slave Code describes. iHe cannot
             hold a slave under the code of Moses, (if it ever could
             have been done,) nor under the usages of Abraham's
             day, for no such code or usages now exist. If he
             relinquishes the hold on his slave that the American
             Slave Code gives him, he manumits him, at once and
             entirely. Let him do this, or let that code be blotted
             out, and he cannot forciblv retain a man in bondage
             a single day, without becoming a felon in the eye of
             the law. So that in "sustaining the legal relation,"
             he sustains and sanctions the code, and its character
             becomes his. The more unsullied his reputation may
             be in other respects, the more effectually does his


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             PRELIMINARY CHAPTER.
             example of slaveholding sanction the system, and
             rivet the chains of the slave.
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             It must be futile and absurd to decry the code, and
             yet attempt to justify him who holds a slave under
             it. Tile code would harm no one, if no one ever
             made use of it. The worst that can properly be said
             of the code is, that it enables men who are thus disposed to hold the "relation"
             described by it. For,
             tile very men for whose consideration we make this
             remark are forward to tell us that the system (in
             othier words, the code) is not to be held responsible
             for the mere abuses committed under it. It must,
             then, be responsible for tile relation, and those who
             sustain the relation must be responsible for it.
             We propose, tlhen, by an exhibition of the American
             Slave Code, to test tlte moral character of American slavelho&ling. The practice (in
             the absence of mere abuses)
             cannot be better than the code, or rule of conduct,
             that gives it license and sanction.
             On the other hand, the usages under any code are
             seldom or never better than tlhe code itself. Com munLLities are not forward to
             proclaim themselves
             worse than they are, by giving public license to evil
             practices not prevalent among them, and which they
             do not intend to practise and sustain. "No people,"
             says a learned writer and profound thinker,* "were
             ever yet found who were better than their laws,
             though many have been known to be worse."
             The only exceptions to this rule are where bad laws
             * Dr. Priestley.
             17


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             18 THE AMERICAN SLAVE CODE.
             are forced upon a community without their consent;
             or where, from their odiousness, or by the progress
             of civilization since their enactment, they have be come obsolete. In our own
             country, the people (ex cept the victims of the Slave Code) enact their own
             statutes. And in the present investigation it will be
             made apparent that the Slave Code has not become
             obsolete.
             The present contest for the abolition of American
             slavery has encountered a species of opposition which
             it has been difficult to meet. If existing practices
             are arraigned, we are told that these are only abuses
             of the system, which argue nothing against the innocent "legal relation." Thus all
             efforts for the abolition of that innocent relation are discountenanced
             and disparaged. At the same time, all adequate,
             trustworthy, and truthful representations of the
             cruelties habitually and extensively practised upon
             slaves, are scouted as incredible or exaggerated.
             Attempts are made to offset them by the cool remark
             that parents are sometimes cruel to their children,
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             mechanics to their apprentices, and capitalists to
             operatives in their employ. To this it is often added
             that, on the whole, slaves are as well off as other
             laboring people, and better off than they would be
             if set free. In this way, the sympathies of the people
             of the North are withdrawn from the slaves. And
             whether we arraign "the legal relation," or the socalled "abuses," we find our attacks
             warded off by
             the arts of sophistry and evasion. Even ministers of
             religion and ecclesiastical bodies have been proficients
             0


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             PRELIMINARY CHAPTER.
             in these arts, and the friends of liberty themselves
             have thereby been led, in some instances, to make
             unwise and unfortunate concessions.
             In this book we shall endeavor to show what "the
             legal relation" is; what the usages of slaveholders
             generally are; and the natural and necessary correspondence and connection
             between them. In
             describing the "legal relation," we shall use the
             testimony of slaveholders themselves, in their own
             language, set forth in the most solemn and authenticated form, the public testimony
             of their legislative
             acts and judicial decisions, made for the very purpose
             of defining and enforcing that relation. If such testimony cannot be received, there is
             an end to all
             rational discussion. Our account of the usages and
             practices current among slaveholders will be found
             sufficiently authenticated by their own testimony,
             and by other. unimpeachable witnesses. More than
             all this: The intelligent and reflecting reader will
             be compelled, if we mistake not, to perceive that the
             connection between " the legal relation" and the most
             frightful "abuses" is that of cause and effect, or more
             properly, of a WHOLE with its constituent and essen tial PARTS, insomuch that the
             presence of the one
             implies and certifies the presence of the other.
             In speaking (as we are compelled by the prevail ing use of language to do) of " the
             legal relation,"
             of the "laws" of slavery and of slave "owners," we
             must not be understood to concede the "legality" of
             such a relation, or the validity of such "laws," or
             the reality of such" ownership," in the proper mean
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             20 THE AMERICAN SLAVE CODE.
             ing of those terms. The "law of sin and death" is
             not obligatory law. "Mischief framed by a law"
             binds men to nothing but to the repudiation and contempt of it. "If it be found," says
             Lord Littleton,
             "that a former decision is manifestly absurd and
             unjuiist, it is declared, not that such a sentence was
             bad law, but that it was not law." "It is generally
             laid down that acts of Parliament contrary to reason
             are void." Of the character and validity of the Slave
             Code the reader of this volume will have an opportunity to judge, when he shall
             have carefully examined and considered it.
             N. B.-It is sometimes alleged that the severe laws against the
             education and free religious worship of slaves were occasioned by
             the impertinent interference of abolitionists. But it will be found,
             on an examination of their dates, that, with few exceptions, they
             were enacted long before any of the Abolition Societies were formed,
             and even before the American Revolution.
             On the other hand, it is sometimes said that these and other
             severe enactments are antiquated and obsolete. It is marvellous
             to see with how much confidence these self-confuting statements
             are made by the same persons. The careful reader of the following pages will find
             ample evidence that both these pleas are without a shadow of foundation.


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             PAPT I.
             THE RELATION OF PASTER AND SLAYV


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             CHAPTER 1.
             SLAVE OWNERSHIP.
             Fundamental Idea of modern Slaveholding; namely, the assumed principle of
             JIuman Chattelhood, or Property in Man; constituting the relation of Owner
             and Property-of Master and Slave.
             SoOUTH CARoLINA.-" Slaves shall be deemed,
             sold, taken, reputed and adjudged in law to be chattels personal, in the hands of their
             owners and possessors, and their executors, administrators and assigns,
             to all intents, constructions, and purposes whatsoever." (2
             Brevard's Digest, 229; Prince's Digest, 446, &c., &c.)
             LoUIsIANA.-" A slave is one who is in the power
             of a master to whom he belongs. The master may
             sell him, dispose of his person, his industry and his
             labor. Hie can do nothing, possess nothing, nor acquire

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             any thing, but what must belong to his master."
             (Civil Code, Art. 35.)
             "'The slave is entirely subject to the will of his master,
             who may correct and chastise him, though not with
             unusual rigor, or so as to maim and mutilate him, or
             expose him to the danger of loss of life, or to cause
             his death." (Art. 173.)
             It will be found, as we proceed, that this attempted


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             24 THE AMERICAN SLAVE CODE.
             or pretended limitation of power has no real existence, and affords no protection to
             the slave.
             An exception, in Lou]siana, to the general tenure
             of "chattels personal," is expressed as follows:
             " Slaves, though movable by their nature, are
             considered as immovable by the operation of law."
             (Civil Code, Art. 461.)
             "Slaves shall always be reputed and considered
             real estate; shall, as such, be subject to be mortgaged,
             according to the rules prescribed by law, and they
             shall be seized and sold as real estate."' (Statute of
             June 7, 1806; 1 Martin's Digest, 612.)
             This provision, if literally carried into effect, would
             prevent the sale of slaves from off the plantations
             of their masters. More of this in its proper place.
             KENTUCKY.-By the lawu of descents, slaves are con
             sidered real estate, and pass in consequence to heirs,
             andl not to executors. (2 Littell & Swigert's Digest,
             115.)
             From the following it appears, however, that special care was taken in Kentucky,
             that the slaves
             should derive no benefit from the distinction between
             real estate and chattels personal:
             They are, however, liable, as chattels, to be sold by
             the master at his pleasure, and may be taken in execution for the payment of his
             debts. (Ib; see also
             1247.)
             VIRGINIA.-In 1705 a law similar to that of Kentucky was enacted, but was soon
             after repealed.
             (Note to Revised Code, 432.) Slaves are therefore
             held as chattels personal in Virginia, as in most of the


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             SLAVE OWNERSHIP.
             slave States, where, in the absence of entire written
             codes, or such general enunciations as those of South
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             Carolina and Louisiana, the chattel principle has,
             nevertheless, been affirmed and maintained by the
             courts, and involved in legislative acts. A specimen
             of the latter description we have in the following:
             MIARYLAND.-" In case the personal property of a
             ward shall consist of specific ARTICLES, such as SLAVES,
             WORKING BEASTS, ANIMALS of any kind, STOCK, FURNITURE, plate,
             books, AND SO FORTIE, the Court, if it
             shall deem it advantageous to the ward, may, at any
             time, pass an orderfor the sale thereof" &c., &c. (Act
             of 1798, chap. CI. No. 12.)
             Without further citation (as might be made) of
             particular enactments in this place, it may be sufficient to state that the "Roman civil
             law," as existing
             at an early period, before its modification under professedly Christian Emperors, is
             generally referred to
             in our slave States, as containing the principles of
             their "peculiar institution." Where other usages or
             statutes, in any of the States, fail of furnishing the
             requisite definition of the "legal relation," recourse
             is generally had to the "Roman civil law." Those
             also who defend the "legal relation" as an innocent
             one, and who claim that Christ and his apostles did
             not disapprove it, but gave it their sanction, are forward to remind us that it existed
             in the Roman Empire at that period. It seems desirable, therefore, in
             more aspects than one, to ascertain precisely what
             that relation was. We find that information in J)r.
             Taylor's Elements of the Civil Law.
             2
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             26 THE AMERICAN SLAVE CODE.
             "Slaves were held pro nullis: pro mortuis, pro quadrutpedibus; they had no head in
             the State; no name,
             title or register; they were not capable of being injured,
             nor could they take by purchase or descent; they had
             no heirs, and could therefore make no will; exclusive of what was called their
             peculium, whatever they
             acquired was their master's; they could not plead or
             be pleaded for, but were excluded from all civil concerns whatever. They could not
             claim the indulgence of absence reipublicce cautsa: they were not entitled to the
             rights and considerations of matrimony, and
             therefore had no relief in case of adultery; nor were
             they proper objects of cognation and affinity, but of
             quasi-cognation only: they could be sold, transferred,
             or pawned as goods or personal estate, for goods they
             were, and as such they were esteemed; they might
             be tortured for evidence, punished at the discretion of
             their lord, or even put to death by his authority." (Taylor's Elements, p. 429.)
             Such was the "legal relation" said to have been
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             sanctioned by Christ and his apostles as innocent, or
             (as others express it) not condemned, disapproved
             or censured by them. Such was the heathen "institution" now held to have been
             adopted as Christian.
             It must be added that the ancient heathen "relation"
             of owner and property has been more rigidly enforced
             in Christian America than it ever was in Pagan Rome.
             Our slavery allows no peculium or exempted property to be held by the slave. It
             denies education and
             literature to its human brutes. It ignores their religious nature, and bars the door of
             redemption and


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             SLAVE OWNERSIIIP.
             release. But we anticipate topics of future examination.
             The testimony already presented is corroborated
             by jurists who have examined the subject. Judge
             Stroud, in his "Sketch of the Laws relating to Slavery," has fully expressed his views
             on this point.
             Having explained the maxim of the civil law, "partus sequitur ventrem," by which
             the condition of the
             slave mother is for ever entailed on all her remotest
             posterity, he remarks as follows:
             "This maxim of the civil law, the genuine and
             degrading principle of slavery, inasmuch as it places
             the slave upon a level with brute animals, prevails
             universally in the slaveholding States." (Stroud's
             Sketch, p. 11.)
             The same writer also says:
             " It is plain that the dominion of the master is as
             unlimited as that which is tolerated by the laws of
             any civilized country in relation to brute animalsto quadrvpeds, to use the words of
             the civil law."
             (Stroud's Sketch, p. 24.)
             "The cardinal principle of slavery-that the slave
             is not to be ranked among sentient beings, but among
             things, as an article of property, a chattel personalobtains as undoubted law, in all
             these (the slaveholding) States." (Ib. pp. 22, 23.)
             This, then, is the definition of the terms, Slavery,
             Slave, and Slaveholding, as furnished by slaveholding communities, and as
             understood by jurists who
             have studied their legislation and jurisprudence.
             This is the theory of American Slavery. This is its
             27


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             28 THiE AMERICAN SLAVE CODE.
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             fundamental Law, if it has any. This is the "legal
             relation of master and slave," if there be any such
             relation.
             The next point of inquiry is, Whether these definitions correspond with existing
             realities, or facts?
             Whether this theory is an empty abstraction; or
             whether it is carried out into actual practice?
             Whether this law is merely a nominal one, (as is
             sometimes alleged,) antiquated and obsolete; or
             whether it furnishes the rule of action to the slaveholder, the rule of condition to the
             slave?
             From statutory enactments and recognized codes,
             we now turn to the courts. Their reported decisions, in the hands of the lawyers, and
             in daily use
             in the decision of new causes, will tell us whether or
             no the Code of Slavery is obsolete, and the statute
             book of the slave states a dead letter.
             Chief Justice Kinsey, of the Supreme Court of
             New-Jersey, in 1797, said:
             "They" (Indians) " have so long been recognized
             as slaves in our law, that it would be as great a violation of tlhe riyhts of property to
             establish a contrary
             doctrine at the present day, as it would in the case
             of Africans, and as useless to investigate the manner
             in which they originally lost their freedom." (The
             State vs. Wagoner, 1 llalstead's Reports, 374 to 378.)
             To be a slave then, even in New-Jersey, is to be
             property, upon the same tenure upon which other
             property is held. This is "the legal relation of master and slave" there, if the courts
             understand it correctly.


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             SLAVE OWNERSIIIP.
             We will now travel further south, and look into
             the courts for information. As our guide we will
             take "Wheeler's Law of Slavery," a regular lawbook, made for the use of
             slaveholders.* Slave
             property, like other property, is the subject of frequent litigation between the
             different owners or
             claimants of it, or with their neighbors. From these
             suits chiefly, and for use in future suits, the volume
             of Mr. Wheeler is compiled. The incidental testimony of such a work to the nature
             and incidents of
             slavery is the strongest and the most unobjectionable
             that can be conceived. We shall refer to it frequently in this volume. On the property
             tenure and
             chattelhood by which slaves are held, its testimony is clear and explicit. The idea is
             involved and
             implied throughout the entire volume. A few direct statements of the doctrine will
             be sufficient.
             Let it; be understood that our quotations are the
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             decisions of Courts, stated in the language of the
             Judges.
             "Slaves, from their nature, are CHATTELS, and were
             put in the hands of executors, before the act of 1792
             * "A Practical Treatise of the Law of Slavery, being a Compila
             tion of all the -)ecisions made on that subject, in the several Courts
             of the United States, and State Courts; with copious notes and
             references to the Statutes and other authorities, systematically
             arranged. By Jacob D. Wheeler, Esq., Counsellor at Law. NewYork: Allan Pollock,
             Jr. New Orleans: Benjamin Levy. 1837."
             476 pages, octavo. This work is recommended by Hon. Judge II.
             Hichcock, of Alabama, and by the New-York Mercantile Advertiser,
             and New-York Star.
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             30 THE AMERICAN SLAVE CODE.
             declaring them to be personal estate." (Wheeler's
             Law of Slavery, p. 2.)
             "The phrase'_personal estate,'in wills and contracts,
             should be understood as embracing slaves." (Ib.)
             "Slaves were declared by law to be real estate, and
             descend to the heir at law. They are considered
             real estate in case of descents." (Ib.)
             "Although for some purposes slaves are declared
             by statute to be real estate, they are nevertheless,
             intrinsically personal, and are therefore to be considered as included in every statute
             or contract in
             relation to chattels which does not, in terms, exclude
             them. They are liable, as chattels, to the payment
             of debts," &c. (Ib. p. 37.)
             In the case of Harris vs. Clarissa and others,
             March Term, 1834, (6 Yerger's Tenn. Rep., 227;
             Wheeler's Law of Slavery, pp. 319-26,) the Chief
             Justice, in delivering the opinion of the Court, found
             occasion (p. 325) to say:
             "In Maryland, the issue" (i. e., of female slaves)
             "is considered not an accessory, but as a part of the
             use, like that of other female animals. (1 Har. &
             McHlen. Rep., 160, 352; 1 Iar. & John's Rep., 526;
             1 Itayw. Rep., 335.) Suppose a brood mare be hired
             for five years, thefoals belong to him who has a part
             of the use of the dam. (2 Black. Corn., 290; 1
             Hayw. Rep., 335.) TIze slave, in Jfaryland, in this
             respect, is placed on no higher or different ground."
             Mr. Gholson, of the Virginia Legislature, by the
             use of similar language, (as will hereafter be quoted,)
             offended the delicacy of some, who supposed him to


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             SLAVE OWNERSHIIP.
             be peculiarly brutish and gross; but we here find it
             to be in accordance with the ordinary language of
             the courts of law!
             About forty-five pages of "Wheeler's Law of
             Slavery" are occupied with judicial decisions concerning the "warranty of slaves"
             sold, in respect to
             their soundness, health, "freedom from all redhibitory vices, diseases," &c. It is
             impossible to look
             over the revolting details, and to notice the coldhearted insensibility with which the
             rules and decisions of the Courts are laid down and recorded,
             without being deeply impressed with the unhumanizing effects of the process,
             particularly in the systematic forgetfulness that the slave is any thing more
             than a brute animal. The section concerning " the
             warranty of moral qualities" may be claimed as an
             exception, and is certainly one of the most remarkable pieces of law literature
             extant:
             "The 2500th article of the Code of Louisiana
             divides the defects of slaves into two classes: vices
             of body, and vices of character." "But with regard
             to those of character, the next article expressly
             declares that they are confined to cases where the
             slave has committed a capital crime, where he is convicted of thef, and where he is
             in the habit of running
             away." (p.133.)
             "Drunkenness is a mental, not a physical defect,
             and is not ground of redhibition." (lb.) "But a
             fraudulent concealment of it will be a ground for
             rescinding the contract." (Ib., p. 134.)
             "In South Carolina there is no i7. phled warranty
             31


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             32 THE AMERICAN SLAVE CODE.
             of the moral qualities of the slave;" " as where a
             slave was sold who had committed burglary, the
             fact being unknown to both the seller and pur chaser." (lb., p. 136.)
             These quotations are made to prove the bona fide,
             matter-of-fact chattelhood of the slave, or his being
             degraded to the condition of mere property, either
             real or personal. And they show that the condition
             adheres not merely to the body, but to the soul; to
             the moral qualities that distinguish a man from a
             brute! It is an honest servant that the vender sells.
             If the article is proved to have been dishonest, the
             sale is vitiated. The honesty of the man, then, is a
             commodity in the market!
             "Craziness or idiocy is an absolute vice; and,
             where not apparent, will annul the sale." (lb., p. 139.)
             The God-like intellect of the human chattel is,
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             therefore, the commodity sold and warranted! On
             the same page, a case is cited-" Icar vs. Suars, Jan.
             Term, 1835. 7 Louisiana Reports, 517"-in which
             Judge Bullard, after stating the law and the facts,
             gave judgment for the plaintiff, saying, " We are
             satisfied that the slave in question was wholly, and
             perhaps worse than useless."
             In the case of the State vs. Mann, the defendant
             was indicted for an assault and battery on a hired
             slave, named Lydia. Judgment was rendered for
             the State; but, on an appeal, the judgment was reversed. In giving his decision,
             Judge Ruffin thus
             disposes of the plea that the relation of master and
             slave resembles other domestic relations:


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             SLAVE OWNERSHIP.
             "This has indeed been assimilated, at the bar,
             to the other domestic relations; and arguments
             drawn from the well-established principles which
             confer and restrain the authority of the parent over
             the child, the tutor over the pupil, the master over
             the apprentice, have been pressed upon us. The
             Court does not recognize their application. There is no
             likeness between the cases. They are in opposition to
             each other, and there is an impassable gulf between them.
             The difference is that which exists between freedom
             and slavery, and a greater cannot be imagined. In
             the one, the end in view is the happiness of the
             youth, born to equal rights with that governor on
             whom the duty devolves of training the youth to
             usefulness, in a station which he is afterwards to
             assume among freemen. To such an end, and with
             such a subject, moral and intellectual instruction
             seem the natural means; and, for the most part,
             they are found to suffice. Moderate force is superadded, to make the others
             effectual. If that fail, it
             is better to leave the party to his own headstrong
             passions, and the ultimate correction of the law, than
             to allow it to be immoderately inflicted by a private
             person. With slavery it is far otherwise. The end is
             the profit of the master, his security, and the public
             safety. The subject is doomed, in his own person
             and his posterity, to live without knowledge, and
             without capacity to make any thing his own, and to
             toil that others may reap thefruits," &e.
             From such premises the Judge infers the necessity
             of absolute power in the master over the slave, and
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             34 THE AMERICAN SLAVE CODE.
             the impossibility of any legal protection to the slave
             from that power, while the slave system continues.
             We shall cite his words, to this effect, in another
             connection.
             It would be easy to multiply appropriate quotations from the courts, but we reserve
             them for a
             still more appropriate use, in treating of the various
             features of slavery, all of which spring out of the
             principle of property in man, and attest its existence
             and activity.
             Let us next see how this matter is understood
             among slaveholders themselves. Hear the testimony
             of their statesmen.
             THOMAS JEFFERSON, in his letter to Governor
             Coles, of Illinois, dated August 25th, 1814, asserts
             that slaveholders regard their slaves as property and
             as brutes, in the paragraph that follows:
             "Nursed and educated in the daily habit of seeing
             the degraded condition, both bodily and mental, of
             these unfortunate beings, FEW MINDS HAVE YET
             DOUBTED THAT THEY WERE AS LEGITIMATE SUBJECTS OF PROPERTY
             AS THEIR HORSES OR CATTLE."
             (Am. Slavery as it is, pp. 110-11.)
             HENRY CLAY, in his celebrated speech in the
             U. S. Senate, in 1839, based his argument against
             the abolition of slavery on the value of the slaves,
             AS PROPERTY. This was his language:
             "The third impediment to immediate abolition is
             to be found in the immense amount of capftal which
             is invested in slave property." "The total value of
             slave property then, by estimate, is twelve hundred


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             SLAVE OWNERSHIP.
             millions of dollars. And now it is rashly proposed,
             by a single fiat of legislation, to annihilate this immense amount of property! To
             annihilate it without indemnity, arnd without compensation to TIE
             OWNERS." " I know that there is a visionary dogma
             which holds that negro slaves cannot be the subject
             of property. I shall not dwell on the speculative
             abstraction. That IS property which the law declares
             TO BE property. Two hundred years of legislation
             have sanctified and sanctioned negro slaves as property."
             This argument identifies slaveholding with human
             chattelhood, and the relinquishment of this claim of
             property with abolition. It bases the practice upon
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             the theory, and rests the justification of its perpetuity upon the practical efficacy of
             the law, as being
             neither a dead letter nor obsolete. In this argument
             the slaveholders confide, the nation consents, and
             therefore slavery exists, with all the evils it brings
             in its train.
             By claiming their slaves as " property," the
             " owners" of this property are naturally led to for get and even to deny that they are
             human beings.
             For proof of this we cite the speech of Mr. SUMMrERS
             of Virginia, in the Legislature of that State, January
             26, 1832, as published in the R?ichmond Whig:
             "When in the sublime lessons of Christianity, he
             (the slaveholder) is taught to'do unto others as he
             would have others do unto him,' he never dreams that
             the degraded negro is within the pale of that holy
             canon."
             35


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             36 THE AMERICAN SLAVE CODE.
             We learn from this that the Southern pulpit has
             failed to teach the community a contrary lesson. The
             innocent "legal relation" has been suffered to cir cumscribe the jurisdiction of the
             golden rule.
             Col. DAYTON, formerly member of Congress from
             South-Carolina, in a work entitled, "The South vin dicated from the Treason and
             Fanaticism of Northern
             Abolitionists," holds the following language:
             "The Northerner looks upon a band of negroes as
             so many men, but the planter or Southerner views
             them in very different light."
             Mr. GHOLSON, of Virginia, in his speech in the
             Legislature of that State, Jan. 18, 1831, as published
             in the Richmond Whig, (in reply to some members
             who had proposed abolition,) said:
             "Why, I really have been under the impression
             that I owned my slaves. I lately purchased four
             women and ten children, in whom I thought I obtained a great bargain, for I really
             supposed they
             were my property, as were my brood mares."
             Mr. WISE, in the United States House of Representatives, said:
             "The right of petition belongs to the people of
             the United Staves. Slaves are not people in the eye
             of the law. They have no legalpersonality."
             Another gentleman (as quoted by Mr. Vanderpool,
             of New-York) said: "SLAVES had no more right to
             be heard than HORSES AND DOGS,"
             Mr. VANDERPOOL, of New-York, himself said:
             "He should be ashamed of himself, if he ever could
             have supposed that slaves had a right to petition
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             this or any other body where slavery exists."-" Had
             any one, before to-day, ever dreamed that the appellation of THE PEOPLE
             embraced SLAVES? Sir! (said
             he,) I hesitate not to say, that were. I a Southern man,
             I would not submit to the doctrine that slaves have
             a right to petition, if Congress were ever mad enough
             to sanction it. Nay, I go farther, and say, that as a
             NVorthern man I would not submit to it."
             Mr. PICKENS, of South Carolina, said:
             "aThe offense of Mr. Adams consisted in his
             announcing, that he had a petition from the slaves,
             THUS DESTROYING THE RELATION BETWEEN MASTER
             AND SLAVE, and denying the doctrine that the-slave
             can BE HEARD ONLY THROUGH HIS MASTER."
             The doctrine, thus explained and advocated, was
             deliberately and solemnly sanctioned by the House
             of Representatives of the United States, in a resolution adopted Feb. 11, 1837-yeas
             162, nays 18, as
             follows:
             "Resolved, that SLAVES do not possess the right of
             petition secured to THE PEOPLE of the United States,
             by the Constitution."
             Thus was the national sanction given to the defi
             nition of "the legal relation between master and
             slave," which denies that "the relation" can consist
             with the recognition of personality and humanity in
             the slave.
             Ecclesiastical bodies have been equally explicit in
             their definition of the relation.
             The Charleston Baptist Association addressed a
             memorial to the Legislature of South Carolina, main
             37


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             38 THE AMERICAN SLAVE CODE.
             taining that "the Divine Author of our holy religion"
             adopted this institution "as one of the allowed relations of society," and they further
             say:
             "Neither society nor individuals have any more
             authority to demand a relinquishment, without an
             equivalent, in the one ease than in the OTHER," (that
             is, their right to) "the money and lands inherited from
             ancestors, or derived from industry." "We would
             resist to the utmost every invasion of this right, come
             from what quarter and under what pretence it may."
             In the settlement of the estate of Rev. Dr. Furman,
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             of the same sect, in the same State, his legal repre
             sentatives exercised this "right," in an advertisement of a public sale of his property
             at auction, as
             follows:
             "A plantation or tract of land on and in Wateree
             swamp, a tract of the first quality of fine land on the
             waters of Black River; a lot of land in the town of
             Camden; a library of a miscellaneous character,
             chiefly theological; twenty-seven negroes, some of
             them very prime; two mules; one horse; and an old
             wagon."
             " Slaves are neither considered nor treated as human
             beings."* This is the testimony of Mr. L. Turner,
             a regular and respectable member of the Second
             * Nothing else than the prevalence of this feeling can account
             for the preposterous effort to discredit the unity of the negro race
             with the rest of mankind! It is very remarkable that Mr. Jefferson,
             who wrote so eloquently against slavery, and whose kindness to
             his own mulatto slave children was so commendable, should have
             published to the world such crude speculations of this character


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             SLAVE OWNERSHIP.
             Presbyterian church in Springfield, Illinois; who was
             brought up in Caroline County, Virginia. And the
             testimony is approvingly communicated by Rev.
             WVilliam T. Allan, of Chatham, Illinois, pastor of a
             Presbyterian church in that place. Mr. Allan is son
             of Rev. Dr. Allan, pastor of the Presbyterian church
             in Huntsville, Alabama. (Weld's "Slavery as it is,"
             p.46.)
             "Slaveholders regard their slaves as property, the
             mere instruments of their convenience and pleasure.
             One who is a slaveholder at heart, never recognizes a
             human being in a slave." This is the testimony of
             Angelina Grimke Weld, daughter of the late Judge
             Grimke of the Supreme Court of South Carolina,
             and sister of the late Hon. Thomas S. Grimke of
             Charleston. (Ib., 57.)
             When a slave is accidentally killed, the Southern
             newspapers speak of it merely as a loss of property to
             the owner. Nothing is said of the bereaved widow,
             children, or parents of the deceased. It would be
             easy to present numerous instances in proof.
             ' The Natchez (Miss.) Free Trader of February 12,
             1838, contained the following advertisement:
             "FOUND.-A NEGRO'S HtEAD was picked up on the
             railroad, yesterday, which TIEE OWNER can have by
             calling at this office and paying for this advertisement." (Ib., 169.)
             not less unphilosophical than unscriptural. It is still more remarkable that professed
             believers in the Bible should express doubts on
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             the subject I
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             40 THE AM3ERICAN SLAVE CODE.
             The idea of the advertiser probably was, that the
             head would be of use to the owner in establishing his
             claim on the Railroad Company, or some one, for
             damages in the destruction of his property.
             The Vicksburg (Miss.) Register, December 27, 1838,
             contains the following item of news for the amusement of its readers:
             "ARDOR IN BETTING. —Two gentlemen at a tavern
             having summoned the waiter, the poor fellow had
             scarcely entered when he fell down in a fit of apoplexy.'He's dead!' exclaimed one.'
             He'll come
             to,' replied the other.'Dead for five hundred!'
             'Done l' retorted the second. The noise of the fall,
             and the confusion which followed, brought up the
             landlord, who called out to fetch a doctor.'No, no!
             we must have no interference there's a bet depending!''But, sir, I shall lose a
             valuable servant!'
             'Never mind, you can put him down in the bill!"'
             This is shocking but, aside from the moral wrong
             of betting, the principle involved differs nothing from
             that avowed by the Charleston Baptist Association
             already quoted, so far as the matter of human chattelhood is concerned. Admit the
             doctrine, as held by
             the Association, and as defended by Mr. Clay, and
             the life of the negro was no more sacred than the life
             of a horse. "The innocent legal relation" "sanctifies and sanctions" the whole.
             The same principle finds daily expression in the
             ordinary vocabulary of slaveholders. Their slaves,
             like their other domestic animals, are called "stock."
             The children of slaves are spoken of, prospectively,


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             SLAVE OWNERSHIP.
             even before they are born, as anticipated "increase."
             Female slaves that are mothers are called "breeders,"
             till past child-bearing. Those who compel the labor
             of slaves are called "drivers." Like horses they are
             warranted, when sold, to be "sound," and are returned by the purchaser when
             "unsound."
             The same principle is recognized by the free citizens and professed Christians of the
             North, whenever
             they speak of the slaveholder's "rights of properlty,"
             or entertain the idea of "compensation" to them, in
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             case of a general abolition of slavery, or of the redemption of particular slaves, in
             any such sense as
             implies that such appropriation or purchase money
             would be equitably due.
             It remains to be observed that this claim of property in slaves, both in theory and
             practice, as defined
             by legislation and jurisprudence, as defended by
             theologians and as sanctioned by ecclesiastical bodies,
             as carried out into every-day practice by the pious
             and by the profane, is manifestly and notoriously a
             claim, not only to the bodies and the physical energies
             of the slave, but also to his immortal soul, his human
             intelligence, his moral powers, and even (in the case
             of a pious slave) to his Christian graces and virtues.
             This is proved by the fact, that the body of the
             slave without his soul would be a dead carcass of no
             value. Or, if it be objected that the same distinction
             obtains between a dead horse and a living one, our
             proposition is proved by the fact, that if the slave
             had only the intellectual powers of a horse, his in feriority to a horse in physical
             strength would sink
             41


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             42 THE AMERICAN SLAVE CODE.
             him below the pecuniary value of a horse, instead
             of his commanding, as he now does, the price of a
             number of horses.
             In advertisements of slaves to be sold or to be
             hired out, their intelligence, their skill, their honesty,
             their sobriety, their benevolent dispositions are spe cified and insisted on, as items
             of primary importance
             in estimating their value. Their piety is not unfrequently mentioned in the inventory,
             and they are
             recommended as being worthy members of Methodist, Baptist, or Presbyterian
             churches. And church
             members of the same sects both buy and sell them
             on the basis of these recommendations.
             This, in the United States of America, in this nineteenth century, is "the legal
             relation of master and
             slave"-a relation that challenges as "goods" and
             "chattels personal, to all intents, constructions, and
             purposes whatsoever," the immortal soul of man, the
             image of the invisible Creator, the temple of the Hloly
             Spirit, the purchase of a Redeemer's blood. The
             statement is no rhetorical flourish. It is no mere
             logical inference. It is no metaphysical subtlety. It
             is no empty abstraction. It is no obsolete or inoperative fiction of the law. It is
             veritable matter-of-fact
             reality, acted out every day wherever and whenever
             a negro or any one else is claimed as an American
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             slave. If any slaveholder denies it, let him be challenged to put the denial in writing,
             duly attested, and
             in such a shape that the courts of law can take cognizance of it. Whenever he does
             this, and puts the
             paper in the hands of his slave or trusty friend, his


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             SLAVE OWNERSHIP.
             slave is set free. Every intelligent slaveholder knows
             this.
             The evidence already presented is sufficient, but
             there is much more in reserve. In the chapters that
             follow, the various features of the slave system will
             be presented, as defined by the Slave Code and as
             exhibited in daily practice. And each one of these
             features will be seen to grow out of the foundation
             principle of American Slavery-to wit, human chattelhood, as exhibited in this
             chapter, thus proving
             the presence and the vitality of that principle by its
             practical operations and bearings. The whole system
             maybe educed from this parent stock, as any science,
             in detail, is educed from its fundamental axioms. Let
             any reflecting person assume that human chattelhood,
             or property in man, is the foundation of the system;
             then let him follow out, in his own mind, the natural
             and necessary workings of such a principle reduced
             to practice, and he will be able to anticipate beforehand almost the entire code of
             slavery, and the practices existing under it.
             43


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             CHIIAPTER II.
             SLAVE TRAFFIC.
             Sale-Purchase-Barter-Mortgage-Auction-Coflle-gang-Shipments-As ab solutely as
             in the case of any other Property, and by the same Tenure.
             Tis feature must result, of necessity, from " the
             legal relation" of ownership exhibited in the first
             chapter. The quotations there made cover explicitly
             this ground.
             "The master may sell him." " Slaves shall be
             sold." "Sold, transferred, or pawned as goods, or
             personal estate, for goods they were, and as such they
             were esteemed."
             Any modification of this feature must evidently
             relax the application of the principle of ownership,
             and limit its operation. In the Spanish, Portuguese,
             and French colonies, such modifications, nevertheless, obtained. The Code Noir, art.
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             47, prohibits the
             selling of the husband without the wife, the parents
             without the children, or vice versa. In cases of voluntary sales, made contrary to this
             regulation, the
             wife or husband, the children or parents, though expressly retained by the seller,
             pass, by the same conveyance, to the purchaser, and may be claimed by


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             SLAVE TRAFFIC.
             him without any additional price. (See Stephen's
             Slavery, 69;* Stroud's Sketch, 51.)
             What bearing this humane regulation would have
             upon our internal slave-trade, if it were established
             in this country, the reader will see by the following
             account of its operation.
             Says the compiler of the Annals of the Sovereign
             Council of Martinique:
             "This law has always been rigidly executed, whenever a claim has been set up on
             the part of the purehaser. I have known slaves who have been sent to
             Guadaloupe or St. Domingo to be expatriated and
             sold, to reclaim their children remaining in our colony,
             with success, through the action of the purchasers in
             the colonies to which they were sent." (See Stephen's
             Slavery, 69 and 70, citing Annals de la Martinique,
             tome i., p. 285. Vide Stroud, p. 51.)
             It would not, probably, be quite as easy for slave
             children to recover their aged parents, or for husbands
             to reclaim their feeble and sickly wives, by this "action
             of the purchasers." iHumanity, nevertheless, would
             gain much. The principle of human chattelhood
             would be weakened. Perhaps it was partly through
             the influence of this and similar relaxations of the
             principle that the entire system was swept away in
             Mexico and the South American Republics. By this
             feature of the Code NVoir, the bondage under its ju
             * This remarkable provision arises, doubtless, from the fact that
             the laws respecting slavery in those colonies are framed in the
             mother country, and not (as in the British colonies) by colonial
             legislatures, composed of slaveholders.
             45
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             46 TME AMERICAN SLAVE CODE.
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             risdiction was made to resemble, in this aspect, the
             feudalism or serfdom of northern Europe, where the
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             villein is attached to the soil, rather than the chattel
             slavery of the American slave States.
             In Pennsylvania, in New-York, perhaps in other
             American States, when measures were taken for the
             prospective abolition of slavery, the sale of slaves
             to be sent out of the State was prohibited by express
             statute. Except in these instances, we know of no
             departure, in the matter of sale and transfer, in our
             American slave States, from the principle of unrestricted and absolute human
             chattelhood, unless the
             anomaly be found in the State of Louisiana, as hinted
             in our first chapter, where it was stated that slaves
             are held in Louisiana as real estate. "In the slaveholding States," (says Judge
             Stroud,) "except in Louisiana, no law exists to prevent the violent separation
             of parents from their children, or even from each
             other." (Stroud's Sketch, p. 50.) Again, after
             dwelling upon these cruelties of the domestic slavetrade, as being peculiar to "the
             republican States of
             North America," the same writer adds in a note,
             (p. 52,) "From the generality of this remark, the
             State of Louisiana must be excepted." "The slaves
             are declared to be real estate, to be ranked among
             immovable property. When, therefore, the owner of
             slaves is, as I presume is most commonly the case,
             possessed of land, the slave cannot be separated from
             it by process of law. Besides this humane regulation, there are several others which
             deserve to be
             signalized, viz.:'If, at a public sale of slaves, there


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             SLAVE TnAFFIC.
             happen to be some who are disabled through old age
             or otherwise, and who have children, such slaves
             shall not be sold but with his or her children, whom
             he or she may think proper to go with."' (1 Martin's Digest, 612; Act of July 7, 1806;
             Stroud's
             Sketch, p. 52-3.)
             How far these provisions are, at this late day,
             available for the benefit of the slaves of Louisiana,
             we have no means of knowing. Louisiana has been
             a purchasing, rather than a slave-exporting State.
             The striking contrast between these enactments and
             the known usages and scenes of other States, mark
             their anomalous character, as exceptions which prove
             and illustrate the general rule of unrestricted chattelhood in our slaveholding States.
             It is to be noticed that these refreshing anomalies
             are witnessed in only one of the slave States: a State
             coming within our jurisdiction from under that of
             France, and receiving its earlier features of polity
             under the laws of Spain. Louisianian slavery took
             its type from the Code Noir, and from the usages
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             growing up under what our citizens are pleased to
             denominate Spanish despotism and superstition.
             Anglo-Saxon civilization and religion, with all their
             " republican" and "Protestant" boastings, have not
             yet reached the same point of progress; nor do we
             learn that in Florida, acquired from Spain, the mild
             features of Spanish slavery have survived the transfer. The reason may be, that too
             many Northern
             citizens (the most merciless of all slaveholders) have
             planted themselves there. Be this as it may, it is
             47


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             48 THE AMERICAN SLAVE CODE.
             certain that the "legal relation of master and slave,"
             as commonly understood, practised, vindicated, and
             protected, in these United States, differs widely, in
             the feature now under consideration, from that defined by the Code Noir. We may
             venture to affirm
             that the commonly received exposition, as it exists
             in theory and practice, in the Church and the State,
             has been truthfully set forth by one of our most prominent and popular statesmen,
             the late Henry Clay,
             in his speech in the U. S. Senate, Feb. 7, 1839, in
             which he said:
             "The moment that the incontestable fact is admitted, that the slaves are property, the
             law of movable
             property irresistibly attaches itself to them, and
             secures the right of carrying them from one State to
             another."*
             * It may be said that there is an exception to this statement of
             Mr. Clay, in the laws of some of the slave States, prohibiting the
             importation of slaves from other States; also, in the restrictions
             recently imposed, on motion of Mr. Clay himself, upon the prosecution of the slave-
             trade from the Federal District.
             Those State regulations were, for reasons of policy or supposed
             interest, to encourage slave-breeding at home, instead of receiving
             supplies from abroad. Whether consistent or inconsistent with
             the rights of property, they have their precedent in the prohibitions of importations
             of other kinds of property, by different nations and States. But, under our Federal
             Constitution, the power
             of regulating commerce between the several States is committed to
             Congress, not to the States; and hence, in Mississippi, notwithstanding the
             prohibitory enactment, the slave-dealers in 1836-7
             brought into that State and sold slaves to the value of ninety millions of dollars! It is
             true that when they undertook the collection
             of their debts, the purchasers pleaded the illegality of the sales; the


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             SLAVE TRAFFIC.
             This definition, which is acted upon every day,
             identifies "the legal relation" and the slave system
             with the domestic slave-trade, and its constant and
             violent disruption of the most sacred and tender ties
             of consanguinity and affection. If the "legal relation" does not produce this effect in
             respect to each
             slave, it does, in each instance, uphold and sanction
             the principle of chattelhood upon which alone the
             traffic in slaves rests. It recognizes the rightfulness
             of the traffic by recognizing the rightfulness of slave
             ownership, which includes the right of purchase andl
             sale. This is what Mr. Clay affirmed, and, thus far,
             he spoke truthfully. The moment the right of property in man is admitted, (and here
             lies the core of
             the "relation,") that moment the right of purchase
             and sale is virtually conceded likewise. It was a
             triumph of human sympathy over legal congruity
             and logical consistency, that enacted the Code Noir.
             The exposition of Mr. Clay reduces slaves to a
             level with poultry and swine; it denies to them personality and the attributes of
             human beings. It
             does this not merely in theory, but on a point of the
             most pressing practical importance. It certifies us
             that the chattel principle is neither a dead letter nor
             an unmeaning abstraction. It exhibits the practical
             statesmanship, not of Henry Clay only, but of all
             State courts sustained them, and thus they obtained the greater
             part of the importation without payment!
             The restriction in the Federal District prevents dealers from bringing in supplies
             from the States, for sale and shipment abroad, but
             does not prevent purchases and sales among the citizens.
             3
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             50 THE AMERICAN SLAVE CODE.
             who admit the validity of the so-called "legal relation."
             A similar exposition we have from Rev. James
             Smylie, of the Amite Presbytery, Mississippi, in a
             pamphlet written in defense of slaveholding. Alluding to the charges of
             abolitionists, he admits the facts
             adduced by them, but denies their criminality. And
             he says:
             "If slavery be a sin, and advertising and apprehending slaves with a view to restore
             them to their
             masters, is a direct violation of the divine law, and if
             the BUYING, SELLING, and holding a slave, FOR
             THE SAKE OF GAIN, is a heinous sin and scandal,
             then verily, THREE FOURTHS of all the Episcopalians,
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             Methodists, Baptists, and Presbyterians, in eleven
             States of this Union, are of the devil. They hold,
             if they do not buy and sell slaves, and (with few
             exceptions) they- hesitate not to apprehend and restore runaway slaves, when in
             their power."
             It will be noticed that the holding, the buying, and
             the selling of a slave are here put together, as being
             essentially of the same character. And common
             sense as well as "the law" of the peculiar "relation,"
             as expounded by Henry Clay, attests the same thing.
             A large portion of "Wheeler's Law of Slavery" is
             occupied with legal decisions connected, directly or
             indirectly, with cases growing out of the transfer of
             slaves. One division, or chapter of the work, treats
             "Of the Increase of Slaves-to whom the increase belongs-of the grant or devise of
             the increase." Another
             topic is, "Of the Title to Slaves;" another, "Of War


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             SLAVE TRAFFIC.
             ranty;" another, "Of liring of Slaves;" another,
             "Of Mortgage of Slaves;" another, "Of Dower of
             Slaves;" another, "Of the Division of Slaves;"
             another, "Of the Remainder in Slaves." Upwards
             of one hundred and fifty pages of the book (nearly
             one third of the entire work) are occupied with these
             topics. From the extent and variety of litigation
             coming before the courts and demanding these complicated legal rules and
             decisions, it would seem that
             a very large part of the business transactions of the
             people must consist in the reception or transfer, in
             some form, of this species of property. And, at
             every step, it appears that transfers of slave property
             are made upon the same principles that govern the
             transfer of other property, that it is held and conveyed under the same tenure, and
             with as little sense
             of the impropriety of the transaction; thus placing,
             in practice, a human being upon a level with a nmere
             thing. Thus, when the judge, the lawyer, or the law
             compiler or author would lay down the legal rule by
             which the decision should be made in a litigated case,
             in a matter of sale, delivery, possession, warranty, &C.,
             he looks up the precedents and rules originally occurring or laid down in respect to
             "a maare" or "a colt,"
             and then, with the utmost coolness and gravity, applies it, as valid law, to the sale,
             delivery, or warranty
             of "a girl!" An instance of this occurs in " Vheeler's Law of Slavery," pp. 119, 120,
             in a note on the
             case of Smith vs. Rowzee, Spring Term 1821; a case
             in which "the girl" purchased was unable to travel
             home with her new master, eight miles distant, andcl
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             52 THE AIMERICAN SLAVE CODE.
             soon died. A lawsuit followed, and the law concerning other live stock determined
             the case!
             In one instance (p. 68) we find "a negro woman
             slave named Peg," sold for $300, with leave to return
             her in three weeks, if the purchaser did not like her.
             With her new master she became frost-bitten, which
             rendered her "of little value." Hence a suit between
             the parties, judgment given, an appeal taken, judgment reversed-just as in the case
             of a horse or an ox.
             On page 79 we learn that "five years' peaceable
             possession gives a title to a slave, and which, if lost,
             may be regained." We infer that if possession, as
             between contending claimants of slave property, be
             thus potent, it would be at least equally powerful, as
             between the possessor and the slave's legal right to
             freedom.
             Of the extent of the slave traffic between the slavegrowing and planting States (of
             which we shall
             speak presently) some tolerably reliable approximation towards the true statistics
             may be gathered. But
             of the extent of local and neighborhood transfers,
             with which Wheeler's reported cases seem mostly
             occupied, very little can be accurately known. We
             can only say that a perusal of "Wheeler's Law of
             Slavery" has very greatly swelled our own estimate
             or apprehension of that extent. It can hardly be
             supposed that more than a tithe of such transfers
             would occasion lawsuits. But we seem to see the
             courts crowded with them, and a compilation of the
             reported cases swelling a law volume. It must be
             folly to pretend that the slave traffic occupies only
             I
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             SLAVE TRAFFIC.
             the vulgar portion of Southern society, when it
             figures so largely in the courts.
             " Slaves may be sold and transferred from one to
             another, without any statutory restriction or limitation,
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             as to thle separation ofparents and children, &c., except
             in Louisiana." (Wheeler's Law of Slavery, p. 41.)
             It can hardly be necessary to cite witnesses to
             prove that this feature of the Slave Code, which
             licenses the slave-trade and the separation of families,
             is not a dead letter. But it might be useful to impress upon the reader some idea of
             the magnitude
             and the atrocity of this traffic. This would open a
             wide field. WVe might refer the inquirer to Weldcl's
             "Slavery as it is," to Jay's "Inquiry," and to Goodell's "History of Slavery and Anti-
             Slavery," for
             collections of facts and testimonies on this subject,
             upon which we cannot enlarge here.
             The extent of the slave-trade in America may be
             conceived, from the testimony of the Presbyterian
             Synod of Kentucky, that "these scenes" (i.e. cofflegangs) are "daily occurring in the
             midst of us;" that
             "there is not a neighborhood where these heart-rending scenes are not displayed;"
             that "there is not a
             village or road that does not behold the sad procession
             of manacled outcasts, whose chains and mournful
             countenances tell that they are exiled by force from
             all that their hearts hold dear."
             Its general prosecution may be seen by the numerous advertisements of both
             purchasers and venders,
             in the most respectable newspapers in the slave
             States, as, for example, the following:
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             r54 THE AMERICAN SLAVE CODE.
             "NEGROES FOR SALE.-A negro woman, 24 years
             of age, and her two children, one eight and the other
             three years old. Said negroes will be sold SEPARATELY or together, as desired.
             Thle woman is a good
             seamstress. She will be sold low for cash, or EXCHANGED FOR GROCERIES.
             For terms, apply to
             "MATTHEW BLISS & Co., 1 Front Levee."
             [New- Orleans Bee.
             "I will give the highest cash price for likely Negroes, from 10 to 25 years of age.
             " GEORGE KEPHART."
             [Alexandria (D. C.) Gazette.
             "FIFTY NEGROES WANTED IMMEDIATELY.-The
             subscriber will give a good market price for fifty
             likely negroes, fromnt 10 to 30 years of age.
             " IUEN RY DAvIS."
             - [Petersburg (Va.) Constellation.
             Having obtained their supplies and driven or
             shipped them South, the dealers offer them for sale,
             in advertisements like the following, which appeared
             in the papers of Charleston, S. C.:
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             "ONE IHIUNDRED AND TWENTY NEGROES FOR
             SALE. —The subscriber hasjust arrivedfrom Petersburg,
             VirYginia, with one hundred and twenty likely young negroes of both sexes and
             every description, which he
             offers for sale on the most reasonable terms. The lot
             now on hand consists of plough-boys, several likely
             and well-qualified house servants of both sexes,
             several women with children, small girls suitable for
             nurses, and SEVERAL SMIALL BOYS WITHOUT THEIR


                                                               Page 55



             SLAVE TRAFFIC.
             MOTHERS. Planters and traders are earnestly requested to give the subscriber a call
             previously to
             making purchases elsewhere, as he is enabled to sell
             as cheap or cheaper than can be sold by any other
             person in the trade. BENJAMIN DAVIS.
             "Hamburg, S. C., September 28, 1838."
             The respectability and profitableness of the traffic
             may be inferred from the fact, that some of the largest
             shipping merchants are slave merchants, that they
             own, and charter, and freight numerous vessels to
             transport their slaves coastwise, and invest princely
             fortunes as capital in the business.
             The importance of this branch of commerce will
             be apparent from the speeches of leading statesmen,
             and the paragraphs of prominent editors.
             HENRY CLAY, in his speech before the Colonization Society, in 1829, said:
             "It is believed that no where, in the farming portion of the United States, would
             slave labor be generally employed, if the proprietor were not tempted
             to RAISE slaves, by the HIGH PRICE of the SOUTHERN
             MARKET which keeps it up in his own."
             Mr. GHOLSON, of Virginia, in the same speech in
             the State Legislature before quoted, after claiming
             his negro women as his property, like his "brood
             mares," expatiated upon the profitableness and the
             rightfulness of the investment. "The owner of land
             had a reasonable right to its annual products, the
             owner of brood mares to their product, and the owner
             of female slaves to their increase." "The value of
             55


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             56 THE AMERICAN SLAVE CODE.
             the property justifies the expense; and I do not
             hesitate to say that in it consists much of our wealth."
             The Editor of the Virgincia Times, in 1836, made
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             a calculation that 120,000 slaves went out of that
             State during the year, that 80,000 of them went with
             their owners who removed, leaving 40,000 who were
             SOLD, at an average price of $600; amounting to
             twenty-four millions of dollars.
             Similar estimates and testimonies might be added.
             The annexation of Texas and the conquest of
             Mexico were openly advocated, and notoriously prosecuted, for the object of
             extending the area of
             slavery, and thereby opening a new slave marke,
             for the breeders of slaves. And the coastwise slave
             trade has been protected by the National Govern
             ment, and its diplomacy prostituted to this purpose
             The particulars may be found in Jay's "View oftthe
             Action of the Federal Government in behialf of
             Slavery," and Jay's "i"Review of the Mexican War;"
             also (briefly) in Goodell's "Hlistory of Slavery and
             Anti-Slavery."
             Of the character of this traffic little more need - be
             said. By our own National Government the African
             slave-trade is branded "piracy." But Thomas Jefferson Randolph, in the Virginia
             Legislature, in
             1832, declared the domestic slave-trade to be "much
             worse."
             About 1100 citizens of the Federal District, including Judge Cranch and the
             principal clergy of
             the District, petitioned Congress against it, (as there
             existing;) and, comparing it with the African slave


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             SLAVE TRAFFIC.
             trade, they said that it is "scarcely less disgraceful
             in its character, and even more demoralizing in its
             influence." This was in 1828. The Grand Jury of
             the District had, many years before, (1802,) presented
             it as a nuisance.* Its character there, at that time,
             differs nothing from its character in the different
             States, at present.
             The New-Orleans Courier, February 15th, 1839,
             says: "The United States law" (prohibiting the
             African slave-trade) "may, and probably does put
             MILLIONS into the pockets of the people living between the Roanoke and Mason
             and Dixon's line;
             still we think it would require some casuistry to
             show that the present slave-trade from that quarter is
             a whit better than the one from Africa."
             It may be asked, who are they,- at the South, that
             prosecute this domestic slave-trade? The Presbyterian Synod of Kentucky,
             describing its extent, its
             common occurrence and its barbarities, inform us, in
             the same paragraph, that "professors of the religion
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             of mercy," "who hold to our communion," have
             "torn the mother from the children, and sent them
             into returnless exile. Yet acts of discipline have
             rarely" [nevert] "followed such conduct." In the
             Presbyterian General Assembly of 1835, it was stated
             * By the Act of Congress of 1850, the slave dealers are prohibited
             from making the Federal District a deposit for slaves. But this
             does not prevent any citizen of the District from selling his slave,
             or purchasing a slave from abroad.
             f James G. Birney, long resident in Kentucky, and a Presbyterian says "never."
             3*
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             58 THE AMERICAN SLAVE CODE.
             by an elder, Mr. Stewart, of Illinois, and without
             contradiction, that "even ministers of the gospel
             and Doctors of Divinity may engage in this unholy
             traffic, and yet sustain their high and holy calling."
             "Elders," said he, "ministers and Doctors of Divinity, are, with both hands, engaged
             in the practice."
             Yet nothing was done or said by the Assembly in
             condemnation of it. The testimony of Rev. James
             Smylie, already cited for another purpose, implicates
             "three fourths" of four leading religious sects in the
             practice.
             If a distinction be set up between the Virginian
             breeders and Mississippi purchasers, gentlemen planters, on the one hand, and the
             human drovers, commonly called "soul-drivers," on the other, who ply
             between the two, disposing at the far South of their
             "stock" purchased at the North, we maintain that
             there is no legal or moral distinction between them.
             "The legal relation" is as innocent and as criminal
             in the one as in the other. The "growers," the "consumers" and "dealers" so
             necessary to them, stand
             on the same level.
             Besides, the "dealers" are sometimes esteemed as
             respectable and as pious as the "growers" and "consumers." A number of authentic
             narratives assure
             us that itinerant preachers, in more sects than one,
             carry on the double avocation of convec'ting souls, and
             buyi?y up the souls and bodies of men, women and
             children, for sale. An instance, in "the fine old Methodist preacher who dealt in
             slaves," maybe found
             in Weld's "Slavery as it is," p. 180. In the higher


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             SLAVE TRAFFIC.
             circles of society at the South, this would be thought
             low and vulgar-equally so with buying up horses
             and swine. But slave-trading on a sufficiently large
             scale is considered a reputable employment, just as
             the large importers and distillers of rum are respected among us, while the dealer of
             drams is despised.
             The items that follow are from thie work of Mr. Weld,
             just mentioned, and which, for thirteen years past,
             has had an extensive circulation and eager perusal
             in our widely extended country, without having had
             one of its vast collection of facts disproved or even
             questioned, to our knowledge.
             " That they" (the smaller dealers) "are not despised because it is thieir business to
             trade in human
             beings and bring them to market, is plain from the
             fact that when some'gentleman of property and
             standing,' and of a' good family,' embarks in a negro
             speculation, and employs a dozen' soul-drivers' to
             traverse the upper country and drive to the South
             coffles of slaves, expending hundreds of thousands in
             his wholesale purchases, he does not lose caste.
             "It is known in Alabama that Mr. ERwiN, son-in law of HENRY CLAY, and brother
             of J. P. Erwin,
             formerly postmaster and late Mayor of the city of
             Nashville, laid the foundation of a princely fortune
             in the slave-trade carried on from the Northern slave
             States to the planting South; that Ion. H. HITCe cocK, brother-in-law of Mr. E., and
             since one of the
             Judges of the Supreme CouLrt of Alabama, was in terested with him in the traffic;
             and that a late mem ber of the Kentucky Senate, (Col. WALL,) not only
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             60 THE AMERICAN SLAVE CODE.
             carried on the same business a few years ago, but
             accompanied his droves in person down the Missis sippi. Not as the driver, for that
             would be vulgar
             drudgery, beneath a gentleman, but as a nabob in
             state, ordering his understrappers.
             "It is also well known that President JAcKSON
             was a'soul-driver,' and that even so late as the year
             before the last war, he bought up a coffle of slaves
             and drove them down to Louisiana for sale.
             " THOMAS N. GADSDEN, Esq., the principal slave
             auctioneer in Charleston, S. C., is of one of the first
             families, and moves in the very highest class of so ciety there. He is a descendant of
             the distinguished
             General Gadsden, of revolutionary memory," and
             "member of the Continental Congress," "afterwards Governor of the State." "The
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             Rev. Dr. Gadsden, rector of St. Philip's Church, Charleston, and
             Rev. Philip Gadsden," and " Col. James Gadsden, of
             the U. States' Army, are his brothers." "Under his
             hammer, men, women and children go off by thousands; its stroke probably sunders,
             daily, husbands
             and wives, parents and children, brothers and sisters,
             perhaps to see each other's faces no more. Now,
             who supply the auction table of this Thomas Gadsden, Esq., with its loads of human
             merchandise?
             These same' detested soul-drivers,' forsooth, (as they
             are sometimes called, even at the South.) They prowl
             through the country, buy, catch, and fetter them, and
             drive their chained coffles to his stand, where Thomas
             Gadsden, Esq., knocks them off to the highest bidder,
             to Ex-Gov. Butler, perhaps, or to Ex-Gov. Wayne,


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             SLAVE TRAFFIC.
             or to HIon. Robert Barnwell Rhett," (M. C.,) "or (it
             may be) to his own Reverend brother, Dr. Gadsden."
             (Weld's "Slavery as it is," p. 174.)
             One illustration more must suffice. During the
             great negro speculation of 1836, when all the negroconsuming States were insanely
             eager to purchase
             at high prices, and all the negro-breeding States
             were enriching themselves with the sales, the' souldrivers,' now multiplied beyond
             all former precedent,
             were separating wives and husbands, parents and
             children, with unwonted celerity, and driving them
             in chained coffles, or droves, as speedily as possible
             to the market. The whole South was feverish and
             in motion. Money for the operation was in brisk
             demand. The banks extended their loans, and were
             drained. Capitalists demanded high rates of interest.
             Through the banks they made loans to the speculators. Then it was that the Trustees
             of the General Assembly of the Presbyterian Church, lured by
             these high rates of interest, though well knowing,
             as every body did, the purposes for which their capital was wanted, withdrew their
             funds, to the amount
             of $94,692.88, from a Northern institution where
             they were drawing the usual interest, and invested
             them in the Southwestern banks, where they would
             be loaned to the speculators in the bodies and souls
             of men, women, and children. In the re-action and
             general bankruptcy that followed, the Presbyterian
             Church lost $68,893.88 of their funds. Hiad the
             Genera] Assembly and its Trustees understood and
             felt, as they should have done, the sinfulness of "the
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             legal relation of master and slave," they would have
             understood and felt the sinfulness of this abominable
             slave-trade which the relation involves, and the
             consequent sinfulness of loaning money to carry it
             on. But they deemed it "ultra" and "fanatical" to
             recognize these self-evident truths. And therefore
             they lost the greater part of their funds.
             We dismiss this feature of the Slave Code, presuming that its paternity, its character,
             its vitality, and
             its practical workings have now been made sufficiently clear. In this feature of the
             system, its Slave
             Traffic, the people have been found no better than
             their laws, and the Church no better than the people.


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             CHAPTER III.
             SEIZURE OF SLAVE PROPERTY FOR DEBT.
             As Property, Slaves may be seized and sold to pay the Debts of their Owners,
             while living, or for the settlement of their Estates, after their decease.
             THIS is evident from the very nature of property,
             especially of chattels personal, as well as from the
             fact that slaves may be bought and sold, and pawned
             or mortgaged for the security of debts. A pawn or
             mortgage is of the nature-of barter. If not redeemed,
             it becomes a barter in the end. And barter is only
             one form of purchase and sale. Whatever may be
             bought and sold may be bartered, consequently
             mortgaged; and, if unredeemed, seized, taken possession of.
             The very definition of slave property, as cited in
             Chapter I., specifies this incident. They "may be
             sold, transferred, and pawned." They are "chattels
             personal, to all intents, constructions and purposes
             whatsoever."
             "The slave, being a personal clhattel, is at all times
             liable to be sold absolutely, or mortgaged, or leased,
             at the will of his master. Hle may also be sold by
             process of law for the satisfaction of the debts of a


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             64 THE AMERICAN SLAVE CODE.
             living, or the debts and bequests of a deceased master, at the suit of creditors or
             legatees." (Stroud's

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             Sketch, pp. 25, 51.)
             "If a slave sold, remains with the vender, he is
             liable to be seized for his debts." (Wheeler's Law of
             Slavery, p. 54.)
             "Slaves are considered as property, and in most of
             tile States they are considered as chattels personal.
             They are therefore subject to those rules and regulations which society has
             established for the purchase
             and sale, and transmission from one to another, of
             that species of property. They therefore may be mortgaged as personal property, or
             are the subjects of a
             qualified or conditional sale, to suit the wants of the
             owner or purchaser of them. They are declared to
             be personal estate by the Revised Code of Mississippi,
             379; Revised Code of Virginia, vol. I., pp. 431.47.
             Indeed, they are considered the subjects of mortgaye in all
             the States by custom, and which exists in many of the
             States by express statutory provisions." By the
             Black Code of Louisiana, vol I., Dig., p. 102, sect.
             10, it is declared that slaves shall be reputed and
             considered real estate; shall be, as such, subject to be
             mortgaged, according to the rules prescribed by law,
             and they shall be seized and sold as real estate. (Ib.,
             Note, pp. 164-5.)
             "Slaves may be sold by creditors for debts of their
             owners, in all the States but Louisiana, where they
             cannot be separated from the land." (1 Martin's Dig.,
             612, Act of July, 1806; cited in Wheeler's Law of
             Slavery, p. 41.)


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             SALE OF SLAVES FOR DEBT.
             "The children of a female slave mortgaged, born
             after the execution of the mortgage, are as much
             liable to the demand of the mortgagee as the slave
             herself." (lb., p. 167.)
             In contrast with the preceding, we present the
             following:
             "Plantation slaves, not only in the Spanish and
             Portuguese, but in the French colonies also, are real
             estate, and attached to the soil they cultivate, partaking therewith all the restraints
             upon voluntary
             alienation to which the possessor of the land is there
             liable, and they cannot be seized or sold by creditors
             for the satisfaction of the debts of the owner. It has
             already been stated that by the Code Noir, art. 47,
             the husband cannot be sold without the wife, nor the
             parents without the children. Sales made contrary
             to this regulation, by process of law, under seizure
             for debts, are declared void. (See Stephens' Slavery,
             68-9; Stroud's Sketch, p. 53.)
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             It is evident that this feature of liability to seizure
             for the master's debt is, in many cases, more terrific
             to the slave than that which subjects him to the
             master's voluntary sale. The slave may be satisfied
             that his master is not willing to sell him-that it is not
             for his interest or convenience to do so. Hie may be
             conscious that he is, in a manner, necessary to his
             master or mistress, or that, being a favorite and tried
             servant, they would not sell him at any price. iHe
             may even confide in their Christian benevolence and
             moral principle, or promise that they would not sell
             him, especially that they would not thus separate
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             66 THE AMERICAN SLAVE CODE.
             him from his wife and children. But all this affords
             hiim no security or ground of assurance that his master's creditor will not seize him,
             or his wife or his
             children, against even his master's entreaties. Such
             occurrences are too common to be unnoticed, or out
             of mind.
             Advertisement in the Georgia Journal of January 2d, 1838.
             "WILL be sold, the following PROPERTY, to wit:
             one CHILD, by the name of James, levied on as the
             property of Gabriel Gunn."
             From the Sou?t7ern thig, March 2, 1838.
             "WILL be sold, in La Grange, Troup County, one
             negro girl, by the name of Charity, aged about ten
             or twelve years, as the property of Littleton L. Burk,
             to satisfy a mortyage fi. fa. from Troup Inferior
             Court, in favor of Daniel S. Robertson vs. said
             Burk."
             Neither the Court, the sheriff, the plaintiff, the
             defendant, nor the negro girl, appear to have been
             instructed in the literature which assures willing
             dupes that the Slave Code is obsolete-a dead letter.
             From the Milledgeville Journal, Dec. 26, 1837.
             "EXECUTORS' SALE.-Agreeable to an order of the
             Court of Wilkinson County, will be sold on the first
             Tuesday of April next, before the Court-House door
             in the town of Irwington, ONE NEGRO GIRL, about
             two years old, named Rachel, belonging to the estate
             of William Chambers, deceased. Sold for the benefit
             of the heirs and CREDITORS of said estate.
             " SAMUEL BELL, Executors."
             "JESSE PEACOCK,.xctr.


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             SALE OF SLAVES FORE DEBT.
             Hiere, again, the "chattel principle" appears not
             to have been regarded as "a mere metaphysical,
             speculative abstraction," as some would persuade us
             to believe it is.
             From the Natchiez Courier, April 2, 1838.
             "NOTICE iS hereby given that the undersigned,
             pursuant to a certain Deed of Trust, will, on Thursday, the 12th day of April next,
             expose to sale at
             the Court-House, to the highest bidder, for cash, the
             following negro slaves, to wit: Fanny, aged about
             twenty-eight years; Mary, aged about seven years;
             Amanda, aged about three months; Wilson, aged
             about nine months. Said slaves to be sold for the
             satisfaction of the debt secured in said Deed of Trust.
             "W. J. MINOR."'
             The "legal relation" was here defined and exemplified, as likewise in the following:
             Extract of a letter to a member of Congress from a friend in Mis sissippi, published
             in the Washington Globe, June, 1837.
             "The times are truly alarming here. Many plantations are entirely stripped of their
             negroes and horses,
             by the marshal or sheriff. Suits are multiplying,"
             &c.
             Truly alarming times, indeed, for slave mothers
             and their babes-for slave wives and their husbands.
             But of their alarms the writer, the publisher, and the
             readers generally, it may be presumed, thought no
             more than they did of the alarms of the "horses"
             associated and seized with them.
             In all this we have only the natural workings of
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             68 TIE AMERICAN SLAVE CODE.
             the "legal relation;" the legality of which was
             understood and enforced by the sheriff. It were idle
             to talk of his act or of the act of the creditors as an
             abuse of the relation. The relation is that of owner
             and chattels, and nothing else. It would be absurd
             (not to say dishonest) for the law to sanction such a
             relation, and then leave the rights unprotected which
             the relation implies. Were it true that such a relation
             existed, and that it was truly legal and valid, there
             would be manifest injustice to the attaching creditor,
             as well as to the voluntary slave vender, in the Code
             Noir. The truth is, no such "legal relation" can be
             valid; and to this fact, the Code Noir gives its attestation, by its veto upon the
             exercise of its involved
             rights.
             We dismiss also this feature of the Slave Code,
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             with the remark that, in respect to it, we find the
             people to be no better than their laws, and their
             usages no worse than " the legal relation" that gives
             sanction to them.


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             CHAPTER IV.
             INHERITANCE OF SLAVE PROPERTY.
             Slaves, as Property, are transmitted by Inheritance or by Will to Heirs at law
             or to Legatees.-In the distribution of Estates, they are distributed like other
             Property.
             THIS feature of the slave system, like all its other
             features, is derived from its cardinal principle of
             PROPERTY in the bodies and souls of men. Without
             this principle, the whole edifice falls to the ground.
             With it, the entire system, in all its parts, and entire,
             is sustained.
             We, have already stated the law on this subject.
             The slave "may be sold" "at the suit of creditors
             OR LEGATEES." (Stroud, p. 51.)
             A more specific recognition of this feature is found
             in a law of North Carolina, substantially copied by
             other States, in which, after prohibiting, in a great
             measure, the further introduction of slaves into their
             limits,* a proviso is added that "nothing in this act
             * It has already been seen that these prohibitions have not prevented an immense
             slave traffic between the States. In some of
             the States, these prohibitions have been repealed.


                                                               Page 70



             70 THE AMERICAN SLAVE CODE.
             shall prohibit any citizen of this State who may ob tain slaves, &c., by marriage,
             gift, legacy, devise, or
             descent," "from bringing the slaves, &c., into this
             State by land or water." (Hayward's Manual, 533-4.
             Act of 1794, chap. 2, &c., &c., &c. Vide Stroud, p. 55.)
             This indicates what is the known fact, that slaves
             had previously been inherited in the several States.
             The inheritance of slave property appears to have
             occasioned much litigation in the courts, and accord ingly the topic occupies no
             little space in the reported
             decisions collected together in "Wheeler's Law of
             Slavery."
             In the case of Beatley vs. Judy, &c., in Kentucky,
             it was determined that the phrase "personal estate"
             in wils and contracts should be construed as embracing slaves. (2 Wash. Rep., 1-8.)
             The same in the
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             case of Plumpton vs. Cook. (2 Marshall's Ky. Rep.,
             450; copied by Wheeler, p. 2.*)
             In the case of Banks, Admr., vs. Marksbury, it
             was decided that "the owner of a female slave may
             give her to one of his children, and the future increase,
             (that is, unborn children!) to another." (Wheeler,
             p. 28.) [The case is reported at length. We give
             here, as in many other instances, the brief marginal
             statement of the compiler.]
             * In our quotations from Wheeler, we often (to save room) omit
             his statements of the names of the litigants, the judges, and the
             "Reports" from which he has copied. We preserve these, in some
             instances, that the reader may be impressed with the matter-of-fac
             nature of the record, and not fancy himself reading " legal fiction."
             Whatever may be said of statutes, the daily decisions of courts are
             not "obsolete," nor are they "theoretical abstractions."


                                                               Page 71



             INHERITANCE OF SLAVES.
             In the case of Carroll et al. vs. Connet, (in Kentucky,) ROBINSON Ch. J., it was
             held that "The administrator is liable for failure to distribute slaves.
             Although for some purposes slaves are declared by
             statute to be real estate, they are nevertheless intrinsically personal, and therefore
             are to be considered
             as included in every statute or contract in relation
             to chattels which does not, in terms, exclude them.
             They are liable, as chattels, to the payment of debts.
             They may be attached as chattels, and they have
             invariably been treated as chattels, in both Virginia
             and Kentucky, so80 far as the rights and dutites of
             administrators are concerned." (Wheeler's Law of
             Slavery, pp. 37-8.)
             And yet Kentucky is one of the only two States
             in which the statutes have declared slaves to be real
             estate, a tenure which, if adhered to, would attach the
             slave to the soil, and prevent the separation of
             families. The practice, as sanctioned by custom and
             the courts, is in this case found to be less favorable
             to the slaves than the words of the statute, in their
             plain import. The people have been worse than
             their statutes, and the judges have conformed to the
             people.
             "Enlaws vs. Enlaws, Spring Term, 1821; 3 Marshall's Ky. Rep., 228. The Court held
             that the
             slaves of a female, immediately on the marriage,
             vest in the husband, and although she may survive
             him, her right to the slaves is not revived."
             (Wheeler, p. 39.)
             "A wife's estate in dower of slaves, by a former
             71

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             72 TIlE AMERICAN SLAVE CODE.
             husband, on her marriage vests in her husband; and
             her right to nmanumit them is gone." (Ib., p. 182.)
             "Slaves are subject to dower, in all the States.
             Not only are they subject to dower, but the widow's
             interest in them is protected by statutory provisions.
             If the husband manumits his slaves, whereby cred itors and the dower are affected,
             the manumission is
             so far ineffectual, that the manumitted slaves may be
             sold for a period, and the proceeds applied to the
             creditors of the former owner and his widow."
             (Wheeler, p. 181.)
             "Slaves are devisable, like any other chattel. A
             distinction, however, exists, where slaves are con sidered as real property. In these
             cases they pass
             immediately to the legatee, and not to the executor
             as personal estate." (Wheeler, p. 57.)
             "If a father, at the time of his daughter's marriage, puts a negro or other chattel into
             the possession
             of his son-in-law, it is, in law, a gift, unless the contrary can be proven." (lb., p. 62.)
             "The increase'? (i. e. the children) "of slaves born
             during the life of a legatee for life, belong to the
             ulterior legatee, who is the absolute owner." (lb.,
             p. 23.)
             "By the Revised Code of Mississippi, p. 50, slaves
             descending from an intestate may be sold by order of
             the Orphan's Court, where equal division cannot be
             made; and persons holding life estate in slaves, or
             guardians for infants, are required to deliver a list of
             slaves to the register of the Orphan's Court, and also
             the increase, p. 51. And similar provisions exist in the


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             INHERITANCE OF SLAVES.
             other States for the division of slaves." (Ib., p.
             183.)
             On the same page appears, however, the following, which seems less inflexible. It
             appears, from
             the "Table of Cases," that the court was held in
             Virginia:
             "HIeld, by the Court, that an equal division of
             slaves in number and value is not always possible,
             and sometimes improper, when it cannot be exactly
             done without separating infant children from their
             mothers, which humanity forbids, and will not be
             countenanced in a court of equity; so that a compensation for excess must, in such
             cases, be made and
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             received in money." (lb.)
             Here, the humanity of the judge appears to have
             modified the statute.
             Every one is familiar with the phrases "inherited"
             or "entailed slave property." Such an one is said
             to have been "born to a slave inheritance," or "born
             a slaveholder." These phrases occur in almost every
             plea for the blamelessness of the slaveholder, and
             for the "innocency of the legal relation." "The
             man was born into it, and how can he be blamed for
             it?" This plea is never more confidently urged than
             by a class of clergymen who are forward to teach
             that all men are born sinners and shapen in iniquity;
             but who would, nevertheless, be shocked at the
             impiety of the reprobate who should urge his " birth"
             in sin, his "inherited" or "entailed" depravity, in
             excuse of his obstinate and voluntary transgression.
             Perhaps it never occurs to them that "inherited" and
             4
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             74 THE AMERICAN SLAVE CODE.
             "entailed" slaveholding, like other "inherited" and
             "entailed" transgressions, incur guilt when they are
             voluntarily adopted and cherished. In the case of
             any other "inherited" sin, they would readily make
             the requisite explanation.
             This feature of the "legal relation," deemed so
             "innocent," so capable of white-washing with the
             supererogation of its meritorious innocency the
             crimes of successive generations and whole nations
             of slave-breeders and slave-venders, with their approving Senates and Synods, will
             be found, on a
             close scrutiny, to embody one of the most foul and
             damning features of the whole system-the feature
             of self-perpetuity-of self-transmission to the future;
             the quality of seducing and cursing posterity-securing the sin and the shame, the
             wretchedness and
             the hopelessness of the unborn. It is an "innocent
             relation," forsooth-! because it embodies, and because
             (as is claimed) it even necessitas these results.
             No feature of the slave system is more terrific to
             the poor slave than this. The hazards of a voluntary sale, by his master, he and his
             loved ones may
             escape. The dreaded mortgage, and creditor, and
             sheriff, may pass them by untouched. But there is a
             mortgage hanging over them, that all the gold of
             California cannot lift. There is a creditor whose debt
             against the master must be cancelled, but seldom
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             without touching some of them. There is a sheriff,
             whose warrant is already out, who may seize at any
             day, and will soon seize, but probably not without
             touching them, if alive! The death of the master is


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             INHERITANCE OF SLAVES.
             the close of their respite. They are liable to be "distributed," like other "property,"
             among the "heirs,"
             whoever and wherever they may be, "for goods they
             are, and as goods they are esteemed,"-" chattels personal, in the hands of their
             owners and possessors,
             THEIR EXECUTORS, ADMIINISTRATORS AND ASSIGNS, to
             all intents, constructions, and purposes whatsoever."
             This is the very definition of an American slave, and
             there is no escape from the condition it describes,
             but by the "fanaticism of abolition." This is the
             "legal relation" too innocent to be questioned, claiming relationship with Abraham
             and Moses, the sanction of Jesus and Paul!
             From the Georyia Journal.
             "To BE SOLD.-One negro girl, about eighteen
             months old, belonging to the estate of William Chambers, deceased. Sold for the
             purpose of distributio?.
             JETHRO DiEAL, }Ex?S."
             " SAMUEL BEALL7 _
             Here, again, the practice corresponds with the
             theory, and the people are in harmony with their
             laws.
             IHow the distribution of slave property among
             heirs and legatees is effected under the Code Noir, or
             where slaves are held as real estate, as in Louisiana,
             we are not minutely informed. If the soil and the
             slaves must remain together, a distribution would
             seem to require the whole to be sold, and to one
             purchaser. We doubt whether such a restriction
             obtains, at present, in that State. Under the old
             75


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             76 THE AMERICAN SLAVE CODE.
             feudal system, the estate, consisting of soil and serfs,
             was kept together by the law of primogeniture,
             entailing it to the eldest son, in perpetuity. The
             repeal of that law has been justly regarded as a step
             in the marchli of human progress; but if the " peculiar institution" of slavery is to
             remain, humanity
             might, perhaps, invoke its re-enactment, as it might
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             prevent the separation of slave families, or rather,
             permit their existence.


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             CHAPTER V.
             USES OF SLAVE PROPERTY.
             Slaves, as Property, may be used, absolutely by their owners at will, for
             their own profit or pleasure.
             PROPERTY is that which may be used by the owner.
             "The slave is one who is in the power of a master,
             to whom he belongs." "Goods they are, and as goods
             they are esteemed." This is the law of the relation.
             "As goods," therefore, they may be used, while, like
             other goods, they "perish with the using."'Have
             I not a right to do what I will with mine own?' is a
             question affirming a prerogative universally claimed.
             Admit the validity of the ownership, and the right
             of use follows of course. If the "legal relation" be
             an innocent one, the right of use and the exercise of
             that right are innocent likewise, provided the use be
             a legitimate one. We shall see what uses are deemed
             legitimate by those who have shaped, defined, and
             administered "the relation."
             It is true that the use of property by the owner
             is limited by the rights of other persons. But slaves
             are not persons in the view of the law, for any pur
             L_


                                                               Page 78



             78 THE AMERICAN SLAVE CODE.
             poses of benefit to them; as will hereafter be more
             fully shown. The rights of a slave are not recognized, and no limitation of the
             master's use of him
             can come from that quarter. "The slave" (says
             the law) "is entirely subject to the will of his master." Nothing, therefore, can
             prevent the master from
             putting him to any use he pleases.
             It is also true, that the use of property by the
             owner is limited by the nature of that property.
             Thus, a living horse, or other domestic animal, may
             not lawfully be hacked and hewed to pieces, as a
             block of wood may be. The barbarity may be
             punished. The most that can be claimed for the
             Slave Code, on this point, is, that by placing slaves
             upon a level with other live cattle, it entitles them to
             the same kind and degree of protection. Beyond this,
             the Slave Code, so far as we know, never attempts
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             or pretends to protect them. It knows them only
             as mere animals. Their rational and moral natures,
             not being recognized by the laws, can claim no legal
             protection. Sufficient evidence of this has already
             been adduced, but it will accumulate as we proceed.
             And it will be seen that as a mere animal, the slave
             has not equal protection, in some respects, with other
             animals.
             We will specify some of the uses of slave property.
             1. A prominent use of slave property is unrequited
             slave labor. The hired laborer is employed. The
             slave laborer is used as a horse or an ox is used.
             Hiis labor is held to be the property of his owner.
             At this point he is degraded to the level of a brute,


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             USES OF SLAVE PROPERTY.
             whether moderately or excessively worked. The
             use of a slave as a brute laborer is an injury and an
             insult. It is a denial of his nature as a man, and of
             his rights as a free moral agent.
             "The end of slavery," said Judge Ruffin, "is the
             profit of thie master." The slave "is doomed to toil,
             that others may reap the fruits." STATE vs. MANN.
             (N. Carolina Reports, p. 263. Wheeler's Law of
             Slavery, p. 246.)
             This honest judicial decision should shame the
             pretense that slaves are held for their own benefit.
             In a separate chapter, we shall look more directly
             into the particulars of slave labor, and in another,
             shall consider the withholding of wages. Additional
             light will then be thrown upon this use of slave
             property. In the mean time, it will be easy to show
             that in this use of slave property, in some of the
             slave States, it is systematically and deliberately so
             used as to be used Up, and destroyed in a manner that
             would be shameful and wicked, even if brute beasts
             were the victims.
             Dr. Deming, a gentleman of high respectability,
             residing in Ashland, Richland county, Ohio, stated
             to Prof. Wright, at New-York city:.
             "That during a recent tour at the South, while
             ascending the Ohio river on the steamboat Fame, he
             had an opportunity of conversing with a Mr. Dickinson, a resident of Pittsburg, in
             company with a
             number of cotton-planters and slave-dealers from
             Louisiana, Alabama, and Mississippi. Mr. Dickinson
             stated as a fact, that the sugar-planters upon the
             79


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             THE AMERICAN SLAVE CODE.
             sugar coast in Louisiana had ascertained that, as it
             was usually necessary to employ about twice the
             amount of labor during the boiling season that was
             required during the season of raising, they could by
             excessive driving, day and night, during the boiling
             season, accomplish the whole labor with one set of
             hands. By pursuing this plan they could afford to
             sacrifice one set of hands once in seven years! He
             further stated, that this horrible system was now
             practised to a considerable extent. The correctness
             of this statement was substantially admitted by the
             slaveholders then on board." (Weld's "Slavery as it
             is," p. 39.)
             "The late Mr. Samuel Blackwell, a highly respected citizen of Jersey.City, opposite
             the city
             of New-York, and a member of the Presbyterian
             Church, visited many of the sugar plantations in
             Louisiana, and says: "That the planters generally
             declared to him that they were obligedc so to overwork their slaves, during the
             sugar-making season,
             (from eight to ten weeks,) as to USE THEM UP in
             seven or eight years. For, said they, after the process
             is commenced, it must be pushed without cessation,
             night and day, and we cannot afford to keep a sufficient number of slaves to do the
             extra work at the
             time of sugar-making, as we could not profitably employ them the rest of the year."
             (Ib.)
             Rev. Dr. Reed, of London, who went through
             Kentucky, Virginia, and Maryland, in the summer
             of 1834, gives the following testimony:
             "I was told, confidently, from excellent authority,
             80


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             USES OF SLAVE PROPERTY.
             that recently, at a meeting of planters in South Carolina, the question was seriously
             discussed whether the
             slave is more profitable to the owner, if well fed, well
             clothed, and worked lightly; or, if made the most of
             at once, and exhausted in some eight years. The
             decision was in favor of the last alternative. That
             decision will, perhaps, make many shudder. But to
             my mind, this is not the chief evil. The greater and
             principal evil is considering the slave as property.
             If he is only property, and my property, then I seem
             to have some right to ask how I may make that
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             property most available." ("Visit to the American
             Churches," by Drs. Reed and Mattheson, vol. II.,
             p. 173.)
             Other testimony might be added. Southern newspapers have published the
             proceedings of Agricultural Societies, in which, after discussion, it had been
             agreed that the more profitable method was to "use
             up" a gang of negroes once in seven or eight years,
             and then purchase a fresh supply of the dealers.
             A terrible sacrifice of life arises from a change of climate. A writer in the New-
             Orleans Argus, of 1830,
             says: "The loss by death, in bringing slaves from a
             northern climate, which our planters are under the
             necessity of doing, is not less than twenty-five per
             cent." Advertisements like the following are not
             uncommon:
             II offer my plantation for sale. Also twenty fine
             acclimated negroes. O. B. COBB." (Vicksburg Beg.,
             Dec. 27th, 1838.)
             "I will sell my Old River Plantation, near Colum 4*
             81


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             82 TiE AMERICAN SLAVE CODE.
             bia, in Arkansas; also one hundred and thirty acclimnated negroes. BEN.
             HUGIIES.-Port Gibson, 14th
             Jan."
             "PROBATE SALE.-IVill be offered for sale, at
             public auction, to the highest bidder, one hundred
             and thirty acclimated slaves. G. W. KEETON, Judge
             of the Parish of Concordia, La., March 22d, 1837."
             General Felix Houston advertises in the Natchez
             Courier, April 6th, 1838, " Thirty very fine acclimated negroes." (See Jay's View,
             pp. 98, 99.)
             Dr. Reed was correct in charging the murderous
             use of slave property to the principle or law of slave
             ownership, which constitutes what is called "I the legal
             relation." Such treatment may be called an "abuse,"
             but is a result which will be almost certain to follow,
             where laborers can be owned and used, instead of
             being bargained with and hired. Even on the low
             ground of "consequences," such a "relation" is to be
             condemned.
             2. Another prominent use of slave property, in
             the case of females capable of being mothers, is that
             of breeders of slaves. And if the tenuire of slave
             property be legitimate, and thie ownership valid, by
             what rule of law or of logic shall this use of slave
             property be condemned? The argument of Mr.
             Gholson, of Virginia, on that assumption, holds good.
             (See Chapter II.) If the owners of lands, of orchards,
             and of brood mares had a right to their products,
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             why had he not a right to the products of the slave
             women hie had purchased? Hiad not the Slave Code,
             the legislatures and the courts secured to him his


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             USES OF SLAVE PROPERTY.
             claim upon them as "chattels personal, to all intents,
             constructions and _purposes whatsoever?" Might he
             not, with other great statesmen,* affirm that "that
             is property which the law declares to be property,"
             and that "two hundred years of legislation have
             sanctified and sanctioned negro slaves as property"?
             Did he not sustain to those women the relation of
             owner? And had not Doctors of Divinity, Northern
             and Southern, attested the lawfulness and the innocency of sustaining the relation?
             And how could
             there be a relation without its implied rights? Thus
             fortified, was not his inference warranted by his premises, when he spoke as
             follows? (we quote again from
             his speech:)
             "The legal maxim of'Partus sequitur ventrem' is
             coeval with the existence of the rights of property,
             and is founded in wisdom and justice. It is on the
             justice and inviolability of this maxim that the master foregoes the service of his
             female slave; has her
             nursed and tended during the period of her gestation,
             and raises the helpless and infant offspring. The
             value of the property justifies the expense, and I do
             not hesitate to say that in its increase consists much
             of our wealth." (Speech in Leg. of Va.)
             The closing sentence indicates the extent and importance of this use of slave
             property. According to
             the estimate of Henry Clay as before cited, (Chap. II.,)
             this use (to "raise slaves" for the "Southern market")
             is of more pecuniary value to "the farming portion
             * Henry Clay. Speech in U.S. Senate, 1839.
             83


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             84 TIHE AMERICAN SLAVE CODE.
             of the slave States" than all their agricultural operations!
             The value, indeed, cannot fall short of the receipts
             for exports of surplus slaves to the South. Professor
             Dew, afterwards President of William and Mary
             University, (Va.,) speaking of the slave-trade from
             Virginia, said: "It furnishes every inducement to
             the master to attend to his negroes, to ENCOURAGE
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             BREEDING, and to cause the greatest number of slaves
             to be raised," &c. "Virginia is, indeed, a negroraising State for other States." To
             which may be
             added the far-famed announcement-" The noblest
             blood of Virginia runs in the veins of slaves."
             In the Clla,rleston MIercury, the leading political
             paper of South Carolina, appeared the following advertisement:
             "NEGROES FOR SALE.-A girl, about 20 years of
             age, (raised in Virginia,) and her two female children, one four, and the other two
             years old is remarkably strong and healthy-never having had a
             day's sickness, with the exception of the small-pox,
             in her life. The children are fine and healthy. She
             is very prolific in her generating qualities, and affords a rare opportunity to any
             person who wishes
             to raise a family of healthy servants for their own
             use. Any person wishing to purchase will please
             leave their address at the Mfercury office."
             The coarseness of this language disgusts us, and so
             does the language of Mr. Gholson. But thefacts involved differ nothing from the
             statements of Henry
             Clay, as quoted in our chapter on the Traffic in Slaves.


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             USES OF SLAVE PROPERTY.
             And whoever will take up AND STUDY the judicial
             decisions cited in "Wheeler's Law of Slavery" concerning "the increase of slaves,"
             will find that the
             newspaper advertisements of which we have furnished a specimen, are merely
             descriptive of a business recognized and protected as respectable, in
             courts of justice. And this remark will be found to
             apply not merely to the supply raised for the interState slave-trade. The litigation
             reported in Mr.
             WVheeler's book under the head of "Increase of
             Slaves," is mainly that which grew out of neighborhood transactions and the
             inheritance of slave property.
             And we have already, in discussing the nature of
             slave ownership, (Chap. I.,) taken occasion to quote
             from Wheeler's Law of Slavery (p. 325) the express
             language of the judges, placing the issue of female
             slaves, when hired out for five years, upon the same
             footing, and to be awarded upon the same rules, as
             in the case of the increase of " brood mares" or other
             "female animals."
             3. Another use of slave property (sometimes,
             probably, connected with the preceding) is indicated( by advertisements of beautiful
             young mulatto
             girls for sale; and by the fact that these commonly
             command higher prices than the ablest male laborers, or any other description of
             slaves. A reputed
             daughter of Thomas Jefferson was said to have been
             sold at auction in New-Orleans for one thousand
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             dollars. Many have been sold for $2,000. One young
             woman was sold at public auction to a rich young
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             planter for $7,500. It must be an able field hand
             that commands $800.
             Forced marriages of slaves with slaves, including
             second and third marriages after separations from
             former companions by sale, constitute a class of well
             attested facts. The Savannah River Baptist Asso ciation decided that in case of such
             separation of
             Baptist slave husbands and wives, it was lawful for
             them, without church censure, to form such new
             connections, " in obedience to their masters," whose
             right to enforce such arrangements was thus tacitly
             acknowledged.
             Forced concubinage of slave women with their
             masters and overseers, often coerced by the lash,
             constitutes another class of facts, equally undeniable.
             Vide Weld's "Slavery as it is," p. 15. "Rape com mitted on a female slave is an
             offense not recognized
             by law." (MSS. by Judge Jay.)
             Such facts, in their almost interminable varieties,
             corroborate the preceding, and illustrate the almost
             innumerable USES of slave property!
             4. Another use of slave property, and a very remarkable one, assures us that the
             Southern "owners"
             of this "peculiar" kind of property have ways of
             turning it to account that even Northern ingenuity
             could scarcely have devised, unless, indeed, it be a
             Yankee's invention. Assortments of diseased, adamaged, and disabled negroes,
             deemed incurable and
             otherwise worthless, are bought up, it seems, (cheap,
             no doubt, like old iron,) by medical institutions, to
             be experimented and operated upon, for purposes


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             USES OF SLAVE PROPERTY.
             of " medical education" and the interests of " medical science!" The Charleston (S.
             C.) Mfercury, Oct.
             12, 1838, contained an advertisement, by Dr. T.
             Stillman, on behalf of the "Medical Infirmary," setting forth its objects, and closing
             as follows:
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             "TO PLANTERS AND OTHERS.-Wanted, fifty negroes. Any person, having sick
             negroes, considered
             incurable by their respective physicians, and wishing
             to dispose of them, Dr. S. will pay cash for negroes
             affected with scrofula, or king's evil, confirmed hypochondriasm, apoplexy, diseases
             of the liver, kidneys, spleen, stomach and intestines, bladder and its
             appendages, diarrhcea, dysentery, &c. The highest
             cash price will be paid, on application as above," (viz.,
             "Medical Infirmary, No. 110 Church street, Charles ton.")
             5. It seems indeed difficult to foresee or imagine
             all the uses to which slave property may be put by
             the owner. "The slave is entirely subject to the
             will of his master." He is supposed to have no con science and no rights. What his
             "owner" commands
             him to do he must do. What he requires him to be
             he must be. What he chooses to inflict upon him
             he must suffer. He must never lift a hand in self defense. He must utter no word of
             remonstrance.
             He has no protection and no redress. This will more
             fully be shown as we proceed.
             The slave, however pious, and whatever his scru ples, must do the work allotted to
             him-it may be
             the drudgery of a tippling shop, a gambling house,
             a brothel, or a den of counterfeiters or shop-lifters.
             87


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             88 TIEE AMERICAN SLAVE CODE.
             And he must witness in silence whatever he sees
             there, if it be murder. IHe cannot testify against a
             white man. He is merely property TO BE USED!
             6. A class of murders of slaves by slave masters
             may as well be put down in this category.
             The monster, Lillburn Lewis, nephew of Thomas
             Jefferson, who chopped in pieces a living article of
             slave property, in presence of his other slaves, only
             USED UP that article to awe the others into subjec tion, as he told them.
             But this was "an abuse" of the relation, a viola tion of the law! Perhaps it was. In
             words, the law
             prohibits the murder of slaves. Hiow much it intends
             or effects, will be seen in another chapter.
             A slaveholder flogged a little slave girl, and put
             her feet in the stocks. She was found dead. A
             prominent lawyer, of a respectable family, was asked
             "whether the murderer of this little helpless child
             could not be indicted." He coolly replied that "the
             slave was Mr. P.'s property, and if he chose to suffer
             the loss, no one else had any thing to do with it."
             (Vide Weld's "Slavery as it is," p. 54.)
             The slave child was "property," and had only
             been used! "It is believed that no record exists of a
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             white man having been executed in the Uniited States,
             simply for the murderof a slave." (MSS. by Judge Jay.)
             In another chapter this point will be examined.
             Again we find the people to be no better than
             their laws. If these practices are to be considered
             unauthorized "abuses," the people are worse than
             their laws, for they are practised with impunity.


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             CHAPTER VI.
             SLAVES CAN POSSESS NOTHING.
             Being Property themselves, they can own no Property, nor make any Contract.
             MAN was created proprietor of the earth, with
             dominion over the beasts of the field. The humanity of the slave is denied, by
             denying to him any
             share in this original right of human nature or capability of its exercise. He is "not
             ranked among
             sentient beings, but among things." A chattel cannot
             be the owner of a chattel. The slave "can possess
             nothing nor acquire ally thing but what must belong
             to his master." (Civil Code, Art. 35.) They "cannot
             take by purchase or descent."
             "Slaves have no legal rights in things, real or
             personal; but whatever they may acquire, belongs,
             inpoint of law, to their masters." (Stroud, pp. 25, 45.)
             "Slaves can make no contract." (Ib., 25, 61.)
             "Slaves are incapable of inheriting or transmitting
             property." (Civil Code, Art. 945.)
             By the Roman law, the slave might possess what
             was called his peculium, or what his master might,
             by stipulation, accord to him, and which, having


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             90 THE A.IERICAN SLAVE CODE.
             thus stipulated, he could not afterwards take from
             him. By this law, slaves acquired property, some times embarked in commerce,
             redeemed themselves
             and amassed fortunes; or, in other cases, without an
             absolute purchase of themselves, paid their masters
             an annuity, as the price of their services, and
             attended to their own affairs. Not so in republican
             and Christian America! The "legal relation" here
             is another thing. The only exception, approxima tinig the Roman code in this
             particular, so far as we
             know, is found in the Civil Code of LOUISIANAi, as
             follows:
             "All that a slave possesses belongs to his master,
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             he possesses nothing of his own except his peculium,
             that is to say, the sum of money or movable estate,
             which his master chooses hle should possess." (Art. 175;
             see 1 Martin's Digest, 616.)
             Yet, in the same Code stands the following:
             "Slaves cannot dispose of or receive by donation,
             fnter vivos or mortis causa, unless they have been previously and expressly
             enfranchised conformably to
             law, or unless they are expressly enfranchised by
             the act by which the donation is made to them."
             (Art. 1462.)
             "The earnings of slaves and the price of their
             service belong to their owners, who have their action
             to recover the amount of those who have employed
             them." (Louisiana Code of Practice, Art. 103.)
             Except in the permission of a peculium, the laws
             of the other States on this subject are similar to thor'
             of Louisiana.


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             SLAVES CAN OWN NOTHING.
             SOUTH CAROLINA.-" Slaves cannot take by descent or purchase." (4
             Desaussure's Chancery Reports, 266, Bynum vs. Bostwick.)
             NORTH CAROLINA.-" Slaves cannot take by sale,
             or devise, or descent." "A devise of land to be rented
             out, for the maintenance of a slave, was adjudged to
             be void." (1 Cameron and Norwood's Reports, 353;
             same decision, 1 Taylor's Reports, 209.)
             MARYLAND.-A gift, bequest, or devise, made to
             a slave, by any one not his owner, would be void,
             (see Dulany's opinion, 1 NMaryland Reports, 561,)
             though such a devise of real or personal estate, made
             by the owner of a slave, has been held to entitle him to
             freedom, as the impled intention of the owner. (Hall
             vs. Mullin, 5 Harris and Johnson's Reports, 190.)
             In "Wheeler's Law of Slavery" may be found
             ample evidence that this feature of the Slave Code
             (the incapacity of the slave to possess property) is
             not a dead letter, but recognized by the courts, and
             enforced whenever there is occasion, not only to the
             letter of the statute, but by an application of the
             principle and spirit of the enactment, in a contin gency which legislative sagacity
             did not, probably,
             foresee.
             A slave, for instance, accidentally found a sum of
             money, in bank bills, which some one took from him
             and carried to the bank. The owner of the slave boy
             brought an action of trover against the bank for the
             sum, and recovered it by judgment of court.
             Judge Safford said:

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             "Our slaves can do nothing in their own right,
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             92 THE AMERICAN SLAVE CODE.
             can hold no property, can neither buy, sell, barter,
             nor dispose of any thing, without express permission
             from the master or overseer; so that every thing they
             can possess or do is, in legal contemplation, on
             authority of the master."
             Judge Crenshaw said:
             "A slave is in absolute bondage; he has no civil
             right, and can hold no property, except at the will
             and pleasure of his master. A slave is a rational
             being, and endowed with understanding and volition,
             like the rest of mankind; and whatever he lawfully
             acquires, and gains possession of, by finding or otherwise, is the acquirement and
             possession of the master. A slave cannot take property by descent or
             purchase." (Brandon et al. vs. Merchants' and
             Planters' Bank of Huntsville, 1 Stewart's Ala. Report, 320; S. P. Bynum vs.
             Bostwick, 4 Desaussure,
             266; Wheeler's Law of Slavery, pp. 6, 7.)
             In the preceding decision, the manhood, the reason,
             the understanding, the volition of the slave are distinctly recognized, and for the
             express purpose of
             claiming all thle acquirements of such a being as the
             property of his master-equivalent to the claim of
             absolute proprietorship in the human soul itself!
             The theory and the practice of slavery are here found
             to be in harmony, and the courts enforce the enactments of the legislatures.
             In a note to the preceding decision, Mr.Wheeler says,
             (p. 7:) "These principles prevail in all the States, and
             are taken from the civil law, and were adopted in all,
             except Connecticut, and perhaps Massachusetts."


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             SLAVES CAN OWN NOTHING.
             "Hall vs. MIullin, 5 Har. and John's Md. Report,
             190. The Court held that no legal contract, whatever,
             could be made with a slave, without the consent of
             his master." (Ib., p. 7.)
             "In Jackson ex. dem. the People vs. Lervey, 5
             Cowen's Rep., 397, the Court held that a slave at
             common law could not contract matrimony, nor
             could the child of a slave take by descent or inheritance." (Ib., p. 7.)
             "Free Lucy and Frank, Fall Term, 1826, 4 Monroe's Rep., 167; Emmerson vs.
             Howland, 1 Mason's
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             Rep., 45. The Court held that contracts made by
             negroes while in slavery, do not bind them when
             liberated; and consequently a plea by a free negro,
             that a writing sued on was delivered when he was a
             slave, is good." (Ib., p. 190.)
             In a note on this topic, Mr. Wheeler says: "One
             general principle prevails in all the States, and in
             the British, Spanish, and Portuguese West Indies,
             and that is, that a slave cannot mnake a contract, not
             even the contract of matrimony." And he cites numerous authorities for the
             statement. (Ib., p. 190.)
             The slave is thus taught that his promises and
             agreements are of no binding force! Even the free
             negro, as'has been seen, is taught the same lesson in
             respect to his former condition! Yet those by whom
             these lessons are taught affect to marvel at the moral
             obtuseness of the negroes, and consider themselves
             as occupying a high moral eminence above-them.
             A warrant for one thousand acres of land, issued
             to a slave in Tennessee, for military services as a
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             musician during the revolutionary war, was adjudged
             to be the property of his owner, in 1834. This de cision was made against the claims
             of an heir of his
             former owner, Col. Patton, a revolutionary officer,
             who caused his slave to be enlisted. No claim ap pears to have been set up on behalf
             of the slave.
             (See Wheeler's Law of Slavery, p.229.)
             Though "a slave can make no contract" on his
             own account, yet his master may constitute a slave
             his agent for the most important pecuniary transac tions. We once knew of a
             prominent public man,
             whose personal credit in his market town was so low
             that his wntten order on his merchant for fifty dollars' worth of goods was rejected;
             but when his
             managing slave stepped forward and promised that
             the next loads of produce should be delivered in
             payment, the answer was: "Yery well, Cuffee, if
             you say so, I'll deliver ten times the amount of
             "Chastain V8. Bowman et al., May Term, 1833,
             1 Hill's S. C. Beports, 276. The Court charged the
             jury that a slave might be the agent of his master,
             and if his agency was established, the master was
             new trial.
             "Per Cur., Johnson J.-It is not questioned that
             a master may constitute his slave his agent, and I
             cannot conceive of any distinction between the circumstances which constitute a
             slave and a freeman
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             an agent. They are both the creatures of the principal, and act upon his authority.
             There is no con


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             SLAVES CAN ONVN NOTHINIG.
             dition, however degraded, which deprives one of the
             right to act as a private agent. Motion dismissed."
             (Wheeler's Law of Slavery, p. 228.)
             It is certainly remarkable that a man should "have
             a right" to act as an agent for another who can have
             no right to act for himself. Equally remarkable is
             the plea that slaves cannot take care of themselves
             and must be benevolently superintended for their
             benefit, while they conduct the business of their
             masters. The slave is adjudged to be a mere thing,
             except where his master's interests or convenience
             require that he should be regarded a man.
             Another curiosity of slave jurisprudence deserves
             notice here. Although it is adjudged an offense
             against the State for a free white citizen to hold
             honest commerce with a slave, for the beneficial
             and useful purposes of life, to employ a slave to
             labor and to pay him just wages-an offense, likewise, for the master of a slave to
             permit and authorize such transactions, (as will be shown presently,)
             yet, according to Wheeler, "It is not an offense,
             either at common law or by statute, to gamble with
             slaves." This statement is his marginal title to the
             law case of "The State vs. Pemberton and Smith,
             Dec. Term, 1829, 2 Devereaux's N. Carolina Rep.,
             281," in which, "after verdict for the State, his Honor
             Judge Strange arrested the judgment, being of opinion" as before stated. "From this
             judgment the
             solicitor for the State appealed," but the judgment
             of the Court below was affirmed. (Wheeler's Law
             of Slavery, p. 441.)
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             96 TIHE AMERICAN SLAVE CODE.
             With exception of Louisiana, as already mentioned, our American slave States have
             signalized
             themselves by special enactments to prohibit the possession of the smallest amount
             of property by the
             slave, even with the consent of the master! The
             Greeks, the Romans, the ancient Germans, the Poles,
             with the Portuguese, the Spanish and the French of
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             our own times, had provided, both by law and by
             custom, for the possession of property by the slave,
             which could not be seized by his master. In the
             British West Indies, though no written law had
             sanctioned the custom, a public sentiment had indulged the slave in the enjoyment
             of some petty
             possessions, and had forbidden the master to interfere with them.
             But this lenity was manifestly inconsistent with
             the absolute and unlimited chattelhood of the slave.
             A principle was seen to be involved, which, if tolerated in an age of inquiry, would
             undermine the
             whole system. If the slave could possess property,
             he could dispose of it; he could make contracts; he
             might contract marriage; he might become a man,
             and, becoming such, cease to be a slave. The safety
             of the entire fabric required that not one stone in
             the edifice should be missing. And besides, the
             idea that a slave can possess property, however trifling
             the amount, is the idea that the slave has rights, an
             idea that must by no means be permitted to enter
             the mind of the slave, or be entertained by the community around him. Especially
             must this not be
             done in a land wherein human rights have been
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             SLAVES CAN OWN NOTHINIG.
             discussed and proclaimed. The jealousy, the vigilance, the sagacity, the appliances
             of a grim despotism are never so severely tasked as ini the presence of the spirit and
             the doctrines of freedom.
             This single thought solves the enigma, and repels
             the opprobrium, of an unprecedented tyranny in a
             land wherein are taught the principles of liberty.
             A despotism, in such a country, must be doubly
             despotic or die instantly. The reader has, in these
             suggestions, our philosophy of the remarkable enactments that follow.
             SOUTH CAROLINA.-" It shall not be lawful for
             anay slave to buy, sell, trade, &c., for any goods, &C.,
             without a license from the owner, &e. Nor shall
             any slave be permitted to keep any boat, periauger,
             or canoe, or raise and breed for the benefit of such
             slave any horses, mares, cattle, sheep, or hogs, under
             pain of forfeiting all the goods, &c., and all the boats,
             periaugers or canoes, horses, mares, cattle, sheep, or
             hogs. And it shall be lawful for any person whatsoever to seize and take away from
             any slave, all such
             goods, &c., boats, &c., &c., and to deliver the same
             into the hands of any justice of the peace, nearest to
             the place where the seizure shall be made, and such
             justice shall take the oath of the person making such
             seizure, concerning the manner thereof; and if the
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             said justice shall be satisfied that such seizure has
             been made according to law, he shall pronounce and
             declare the goods so seized to be forfeited, and order
             the same to be sold at public outcry; one half of
             the moneys arising from such sale to go to the State,
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             98 THE AMERICAN SLAVE CODE.
             and the other half to him or them that sue for the same."
             (James's Digest, 385-6; Act of 1740.)
             GEORGIA.-The statute is nearly the same as in
             South Carolina, with this additional prohibition:
             Lest the master should sometimes permit the slave
             to hire himself to another for his own benefit, the
             State imposes a penalty of thirty dollars "for every
             weekly offense on the part of the master, unless the
             labor be done on his own premises." (Prince's
             Digest, 453, 457.)
             KENTUCKY.-The same, with a slight modification. (2 Litt. & Sui. Digest, 1159-
             60.)
             TENNESSEE.-Similar. (Act of October 23, 1813,
             chap. 135.)
             VIRGINIA.-If the master shall permit his slave
             to hire himself out, it is made lawful for any person,
             and the duty of the Sheriff, &c., to apprehend such
             slave, &c., and the master shall be fined not less than
             ten dollars, nor more than twenty, &c. (1 Revised
             Code, A. D. 1819, 374-5.)
             MIssIssippi.-Same as in Georgia and Kentucky,
             before stated. (Revised Code, 375.)
             A slave, in Mississippi, is forbidden to raise cotton
             for his own use; and should the master permit him
             to do so, he incurs a fine of fifty dollars. (Revzsed
             Code, 379.)
             Further: "If any master, &c., of a slave, license
             such slave to go at large and trade as a freeman, he
             shall forfeit the sum of fifty dollars for each and
             every offense." (Revised Code, 374. See also North
             Carolina.)


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             SLAVES CAN OWVN NOTHING.
             An equal fine is imposed upon any master con
             victed of permitting his slave to keep "stock of any
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             descriltion." (Act of Jan. 29, 1825; Pamph. Laws
             of Mississippi, of 1825.)
             MIssouRI.-Same as Virginia, before stated. (2
             Missouri Laws, 743; Hayward's MaInual, 534.)
             Also, same as Mississippi, third specification, just
             stated. (2 Missouri Laws, 743.)
             NORTH CAROLINA.-Act of 1779: "All horses,
             cattle, hogs, or sheep, that, one month after the passage of this act, shall belong to
             any slave, or be of
             any slave's mark, in this State, shall be seized and
             sold by the County Wardens, and applied, one half
             to the support of the poor of the county, and the other
             half to the informer!" (Hayward's Manual, 526.)
             Same or similar law also in Mississippi. (]Revised
             Code, 378.) Same also in Maryland. (Act of 1723,
             chap. 15, sect. 6; Kilty's Laws of Maryland.)
             And so the white poor are to be fed by plundering
             the colored poor!
             MARYLAND. —See last preceding item. Also Mississippi, third item there stated.
             See Kilty's Laws
             of Maryland, Act of April, 1787, chap. 33.
             By act of April sessions, 1787, any person who
             shall permit and authorize any slave belonging to
             him or herself, &c., to go at large himself or herself
             within this State, shall incur the penalty of five
             pounds ($13.33) current money per month, except
             ten days at harvest. The penalty was increased to
             twenty dollars, excepting, however, an additional ten
             days in harvest. (Act of December Sessions, 1817.
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             THE AMERICAN SLAVE CODE.
             chap. 104, sect. 1.) By both acts, a slave being a
             pilot is not included in the prohibition.
             "No person shall trade, barter, commerce, or in
             any way deal with any servant or slave, &c., &c.,
             without leave or license first had from such servant
             or slave's master, dame, or overseer, for his or her
             so doing, under penalty of two thousand pounds of
             tobacco," &c. (Laws of Maryland, 1715, chap. 44,
             sect. 11, 12, 13.)
             DISTRICT OF COLUMBIA.-" Under exclusive jurisdiction of Congress." Same as
             in Maryland.
             It may easily be conceived that this law would
             be inconvenient and disadvantageous to many owners of slaves in or near maritime
             towns, where job
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             labor, or labor by the day or the hour, might be
             picked up by the laborers themselves, better than by
             their owners. In such localities the strict letter of
             the law could not always be rigidly enforced. The
             public convenience, the wants of every body who
             must needs employ transient laborers, would interpose obstacles. It is known that in
             Wilmington,
             N. C., a port from which much lumber used to be
             shipped, which needed much cooper's labor in the
             preparing, the work was often or commonly carried
             on by slaves, who paid a large monthly stipend to
             their owners. Stevedores, (who stow away cargoes,)
             caulkers, riggers, and perhaps ship-blacksmiths, and
             even sail-makers, being slaves, were allowed the
             same privilege. The custom had an elevating effect
             on the slaves, and was therefore looked upon with
             jealousy by masters not interested in such arrange
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             SLAVES CAN OWN NOTIIING.
             ments. This was thirty years ago. The present usages
             are unknown to the writer, who gladly presents this
             one brighter spot in the picture. But it must not be
             forgotten that all the surfplus earnings of these slaves,
             if any, over and above their support, (after having
             paid ten or fifteen dollars monthly to their masters
             for their time,) is nevertheless, in the eye of the law, the
             property of their masters, and they can take away,
             if they please, whatever they find in their possession.
             The convenience and interest of the planter might
             permit or even direct the slaves to cultivate small
             patches of vegetables near their cabins, for food, by
             Sunday labor, for the most part. In Spanish Florida
             this was a custom. It may obtain to a small extent
             in other States, without serious violation of the letter
             or spirit of the statutes quoted. Such small and
             transient supplies would hardly be accounted possessions or prooperty.
             That the statutes quoted are not commonly regarded a dead letter, may be seen by
             reports of
             judicial decisions, as compiled by Mr. Wheeler, who
             expressly refers to the statutes as the ground of the
             decisions. And in a note he adverts to some of
             their provisions which we have not yet mentioned:
             "By the Revised Code of Virginia, (A. D. 1819,)
             vol. I., p. 442, sect. 81, it is declared that a slave going
             at large, or hiring himself out, may be committed by
             a magistrate, who may fine the owner, and may order
             the slave to be sold."' "Also, by the Revised Code of
             Mississippi, 374, sect. 25 "-" in certain cases, the
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             slave may be sold. And by sect. 20, any citizen may
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             THE AMERICAN SLAVE CODE.
             seize a slave offering articles for sale, and take him
             before a justice of the peace, and the justice shall
             order the slave to be whi/)oped, and forfeit the artice TO
             THIE PERSON APPREHENDING THE SLAVE"! (Wheel er's Law of Slavery, p.
             153.)
             It is preposterous to suppose that such modern
             enactments, holding out such inducements to informers and prosecutors, should
             remain a dead letter.
             Mr. Wheeler adds:
             "Similar provisions are to be found in the statute
             books of those States where this species of property is
             recognized." (Ib.)
             In the same note he had before said:
             "The statutes of the States contain a prohibition
             with a penalty against the slave going at large, or
             hiring himself out." (p. 152.)
             iHe cites the law of Alabama, in particular; and
             Judge IHitchcock, of Alabama, says of his book:
             "I have no doubt it will be a valuable work for the
             use of the members particularly of the Southern bar
             of the United States." Hie understands, of course,
             that these laws are to be enforced, as in the following
             instance recorded in the same "valuable" auxiliary
             of "the Southern bar":
             "Jarrett vs. Higbee, 5 Monroe's Ky. Report, 546.
             Jarrett brought trespass against Higbee for taking
             and imprisoning his slave." "Defendant admitted
             that when he took the slave up he produced a pass
             from his master" which gave him permission "to
             bargain and trade for himself until the first day of
             May next; and also for to pass and repass from Liv
             102


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             SLAVES CAN OWN NOTHING.
             ingston county, Kentucky, to Monongahela county,
             State of Virginia," &c., dated 26th Sept., 1822. The
             following is from thle judicial decision:
             "Per Cur., Bibb Ch. J. That the master shall
             not let loose his slave, withi a permit for him to violate the estabished order and
             economy _prescribed by law
             in relation to slaves, is due to society." "Without abridging the lawful powers of the
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             master to use his property in the slave, it may safely be declared that this
             paper, given by the master in (to) the slave, violated
             that duty which he, as owner, owed to the laws of
             society." " These permissions, and such acts of the
             slave, are violations by master and slave of the policy, spirit, and letter of the statute
             of 16th DIec.,
             1802, against permitting the slaves to go at large
             and hire thernselves." "Such licenses would tend
             to beget idle and dissolute habits in the particular
             slaves.so indulged, as well as in others, and to lead
             to depredations upon the property of others, and to
             crimes and insubordination. To such licenses and
             indulgences society are not bound to submit; the
             master has no right to give such." "It was not a
             lawful pass or permit. It was a species of temporary
             and unlawful nanumission," &e. (Wheeler's Law of
             Slavery, pp. 269-70.)
             In other language, the statute and its enforcement
             are deemed necessary to the security and the perpetuity of slavery.
             It deserves especial notice that this decision was
             made in Kentucky, where slavery is said to be exhibited in its mildest form, and
             where the privileges
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             TIHE AMERICAN SLAVE CODE.
             of slaves are greater than in most of the other
             States.
             It is not known that in any other nation, ancient
             or modern, the robbery of the poor has been carried,
             by system, to such a pitch as to prohibit the mass
             of the laboring people from holding the smallest
             article of property as their own, or from making any
             bargain or contract.
             And it ought to be noticed and remembered that
             this condition of things has resulted from an extreme solicitude to protect from
             danger the so-called
             "legal relation" of owner and owned, of master and
             slave.
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             CHAPTER VII.
             SLAVES CANNOT MARRY.
             Being held as Property, and incapable of making any Contract, they cannot
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             contract Marriage recognized by Law.
             MEN may forget or disregard the rules of logic in
             their reasonings about slavery, but the genius that
             presides over American slavery never forgets or
             disregards them. From its well-defined principle of
             human chattelhood it never departs, for a single moment. If any thing founded on
             falsehood might be
             called a science, we might add the system of American slavery to the list of the
             strict sciences. From
             a single fundamental axiom, all the parts of the system are logically and
             scientifically educed. And no
             man fully understands the system, who does not
             study it in the light of that axiom.
             The slave has no rights. Of course he, or she,
             cannot have the rights of a husband, a wife. The
             slave is a chattel, and chattels do not marry. "The
             slave is not ranked among sentient beings, but among
             things," and things are not married.
             "Slaves are not people, in the eye of the law.
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             THE AMERICAN SLAVE CODE.
             They have no legal personality." So said Afr. Wise.
             So, by their votes, said the Federal Congress. But
             none except "people" and "persons" ever marry.
             "The slave is one who is in the power of a master
             to whom he beZoi?,s." How, then, can the slave marry?
             "The legal relation of master and slave," with all
             the vestal robes of its spotless innocency, and saintly
             Biblical paternity, has never, in this country, been held
             to be compatible with marriage. So early as in colonial times, when parish ministers,
             all over New-England, owned slaves, it was held by learned civilians,
             in good old Connecticut, that when a slave master,
             though inadvertently, gave verbal license to a female
             slave to narry, the license made her free. Being married, she was not-a slave, and the
             husband bore off
             his prize in triumph, before her master!
             The same doctrine has always been held (though
             differently enunciated) at the South. Slave mothers
             are there licensed by their masters to be "breeders,"
             not wives, and thus they are retained as slaves.
             "A slave cannot even contract matrimony, the
             association which takes place among slaves, and is
             called marriage, being properly designated by the
             word contuberniurn, a relation which has no sanctity,
             and to which no civil rights are attached." (Stroud's
             "Sketch of the Slave Laws," p. 61.)
             "A slave has never maintained an action against
             the violator of his bed. A slave is not admonished
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             for incontinence, or punished for fornication or adultery; never prosecuted for
             bigamy, or petty treason
             for killing a husband being a slave, any more than
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             SLAVES CANNOT MARRY.
             admitted to an appeal for murder." (Opinion of Daniel Dulaney, Esq., Attorney
             General of Maryland.
             1 Maryland Reports, pp. 561, 563.)
             "Slaves were not entitled to the conditions of
             matrimony, and therefore they had no relief in cases
             of adultery; nor were they the proper objects of
             cognation or affinity, but of quasi-cognation only."
             (Dr. Taylor's "Elements of the Civil Law," p. 429.)
             "It is clear that slaves have no legal capacity to
             assent to any contract. With the consent of their
             master they may marry, and their moral power to
             agree to such a contract or connection cannot be
             doubted; but while in a state of slavery it cannot produce any civil effect, because
             slaves are deprived of
             all civil rights. Emancipation gives to the slave his
             civil rights, and a contract of marriage, legal and
             valid by the consent of the master, and moral assent
             of the slave, from the moment of freedom, ALTIIOUGI
             DORMANT DURING SLAVERY, produces all the effects
             which result from such contract among free persons."
             (Opinion of Judge Matthews, case of Girod vs. Lewis,
             May Term, 1819; 6 Martin's "Louisiana Reports," p.
             559. Wheeler's "Law of Slavery," p. 199.)
             The most favorable inference from this ingenious
             decision is, that the joint action of master and slave
             can legalize a slave's marriage when he ceases to be a
             slave!
             The obligations of marriage are evidently inconsistent with the conditions of
             slavery, and cannot be
             performed by a slave. The husband promises to
             protect his wife and provide for her. The wife prom
             107


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             TIE AMERICAN SLAVE CODE.
             ises to be the help-meet of her husband. They mu tually promise to live with and
             cherish each other,
             till parted by death. But what can such promises
             by slaves mean? The "legal relation of master and
             slave" renders them void! It forbids the slave to
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             protect even himself. It clothes his master with authority to bid him inflict deadly
             blows on the woman
             he has sworn to protect. It prohibits his possession
             of any property wherewith to sustain her. His labor
             and his hands it takes from him. It bids the woman
             assist, not her husband, but her owner! Nay! it
             gives him unlimited control and full possession of
             her own person, and forbids her, on pain of death,
             (as will be shown,) to resist him, if he drags her to
             his bed! It severs the plighted pair, at the will of
             their masters, occasionally, or for ever! The innocent "legal relation" of slave-
             ownership does or permits all this, and without forfeiting clerical favor, or
             a high seat in the Church, or in the Senate, or Presidential chair. What, then, can the
             marriage vows
             of slaves mean?
             The laws annulling slave marriage are explicit, as
             has been seen. The corresponding position of the
             judiciary, as attested by the Maryland Reports, has
             been adduced. Will any one inquire whether or
             no, in this particular, the Code be a "dead letter"?
             or whether the institution of marriage among slaves
             may not have survived the annulling action of the
             legislatures and the courts? As a recognized "legal relation," most assuredly the
             marriage relation
             among slaves does not and cannot exist. The petted
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             SLAVES CANINOT MARRY.
             "legal relation" of owner and slaves crowds it off
             from the platform of human society. The twlo "legal
             relations" cannot coexist. A choice must be made
             between the two. And those who will still persist
             in affirming the innocency and the validity of the
             "relation" of slave owner, are bound, if sincere and
             truthful men, to repudiate the "relation" of slave
             marriage. The Savannah River Baptist Association
             had the nerve and the consistency to do this.
             "In 1835, the following query relating to slaves
             was propounded to the Savannah River Baptist
             Association of ministers: Whether, in case of involuntary separation of such a
             character as to preclude all future intercourse, the parties may be
             allowed to marry again?"
             "A ANSWER.-That such separation, among persons
             situated as our slaves are, is, civilly, a separation by
             death, and they believe that, in the sight of God, it
             would be so viewed. To forbid second marriages in
             such cases, would be to expose the parties not only
             to greater hardships and stronger temptations, but
             to church censure for acting in obedience to their rnasters,
             who cannot be expected to acquiesce in a regulation
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             at variance with justice to the slaves, and to the
             spirit of that command which regulates marriage
             between Christians. The slaves are not free agents, and
             a dissolution by death is not more entirely without
             their consent and beyond their control than by such
             separation."
             The Church is here seen submitting, with complacency, to that feature of the Slave
             Code that
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             THE AMERICAN SLAVE CODE.
             annuls marriage! What the Southern Baptists have
             avowed, the other religious sects there practise.
             Some of the facts stated concerning the "uses of
             slave property" illustrate the absence of slave marriage.
             And so do the statistics of the domestic slave-trade.
             The restored institution and sanctity of marriage
             would cut off the supplies that gorge the slave
             markets.
             The Presbyterian Synod of Kentuclky, in their
             address, have given us their testimony to the general
             fact and its effects. They say:
             The system " produces general licentiousness among
             the slaves. Marriage, as a civil ordinance, they cannot enjoy. Our laws do not
             recognize this relation
             as existing among them, and, of course, do not enforce, by any sanction, the
             observance of its duties.
             Indeed, until slavery waxeth old, and tendeth to
             decay, there CANNOT BE any legal recognition of the
             marriage rite, or the enforcement of its consequent
             duties. For, all the regulations on this subject would
             limit the master's absolute RIGHT OF PROPERTY in the
             slaves. In his disposal of them he could no longer
             be at liberty to consult merely his own interest. He
             could no longer separate the wife and the husband
             to suit the convenience or interest of the purchaser,
             no matter how advantageous might be the terms
             offered." "II Henee, all the marriages that could ever
             be allowed them, would be a mere contract, violable
             at the master's pleasure. Their present guasi marriages are continually thus voided.
             They are, in
             this way, brought to consider their matrimonial
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             SLAVES CANNOT MARRY.
             alliances as a thing not binding, and they act accordingly. We are then assured by the
             most unquestionable testimony that licentiousness is the necessary
             result of our system." (Address, pp. 15, 16.)
             " IChastity is no virtue among them; its violation
             neither injures female character in their own estimation, nor in that of their master
             or mistress. No
             instruction is ever given-no censure pronounced. I
             speak not of the world. I speak of Christian families
             generally." (Lexington, Ky., Luminary.)
             Even in Puritan New-England, seventy years ago,
             female slaves, in ministers' and magistrates' families,
             bore children, black or yellow, without marriage.
             No one inquired who their fathers were, and nothing
             more was thought of it than of the breeding of sheep
             or swine. We had the facts from those who well
             remembered them.
             The universal testimony concerning " slave quarters" connected with plantations is,
             that " the sexes
             are herded together, promiscuously, like beasts."
             Said a sister of President Madison to the late Rev.
             George Bourne, then a Presbyterian minister in
             Virginia: "We Southern ladies are complimented
             with the name of wives; but we are only the mis tresses of seraglios."
             The report of the Presbyterian Synod of Georgia,
             December, 1833, sustains, on this general subject,
             the testimony of the Synod of Kentucky.
             We have seen a well-authenticated account of a
             respectable Christian lady at the South, who kept a
             handsome mliatto female for the use of her genteel
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             THE AMERICAN SLAVE CODE.
             son, as a method of deterring him, as she said, from
             more indiscriminate and vulgar indulgences. Undoubtedly he passed current in the
             first circles of
             respectable young ladies. In our chapter on the uses
             of slave property, this item would have been in
             place.
             The rapid and constant bleaching of colors, at the
             South, assures us that there is no exaggeration in
             these pictures. And if the Synod of Kentucky were
             not mistaken, the innocent "legal relation" of slave
             ownership is to be held responsible for it all. Where
             the laws annul marriage, we may be certain that
             " the people are not better than their laws."
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             CHAPTER VIII.
             SLAVES CANNOT CONSTITUTE FAMILIES.
             Being Property, "Goods" and "Chattels Personal," to all intents, construc tions and
             purposes whatsoever, they have no claim on each other-no security
             from Separation-no Marital Rights-no Parental Rights-no Family Govern ment-no
             Family Education-no Family Protection.
             . THE family relation originates in the institution of
             marriage, and exists not without it. We have
             already proved that slaves cannot have families or
             be members of families, by proving that they cannot
             be married. To this latter point, in its connection
             with the former, we cite the words of Judge Jay:
             "A necessary consequence of slavery is the absence
             of the marriage relation. No slave can commit
             bigamy, because the law knows no more of the marriage of slaves than of the
             marriage of brutes. A
             slave may, indeed, be formally married, but so far as
             legal rights and obligations are concerned, it is an
             idle ceremony." "Of course, these laws do not
             recognize the parental relation, as belonging to
             slaves. A slave has no more legal authority over
             his child than a cow has over her calf." (Jay's Inquiry, p. 132.)
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             TiE AMERICAN SLAVE CODE.
             The fact that the slave, as a chattel personal, may
             be bought, sold, transported from one place to
             another, mortgaged, attached, leased, inherited, and
             "distributed" in the settlement of estates, shows
             plainly that slaves cannot constitute families.
             "In the slaveholding States, except in Louisiana,
             no law exists to prevent the violent separation of
             parents from their children, or even from each
             other." (Stroud's Sketch, p. 50.)
             "Slaves may be sold and transferred from one to
             another without any statutory restriction or limitation, as to thie separation of
             parents and children,
             &c., except in the State of Louisiana." (Wheeler's
             Law of Slavery, p. 41.)
             This has been the condition of American slaves
             in every period of our history, since their first introduction among us. John
             Woolman, the philanthropist, a minister of the Society of Friends, residing
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             in New-Jersey, bears the following testimony concerning the slaveholders of his
             times, (A. D. 1757:)
             " They often part men from their wives by selling
             them far asunder, which is common when estates are
             sold by executors at vendue." (Journal of the Life
             of John Woolman, London edition, p. 74.)
             At a later period than this, according to a wellauthenticated tradition in the
             neighborhood, a Congregational minister at iampton, Conn., (Rev. Mir.
             Aioseley,) separated by sale a husband and wife who
             were bothi of them members of his own church, and
             who had been, by his own officiating act as a minister, united in marriage. Yet no
             legal or ecclesiasti
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             NO FAMILY RIGHTS.
             cal proceedings grew out of the transaction. Some
             thought it a hard case, but the sufferers were only
             negroes and slaves.
             It is tile common understanding at the South,
             that slaves do not constitute families. It is the common understanding of the country
             at large. The
             American Bible Society, many years ago, proposed
             to supply each/family in the United States with a
             Bible. After a long effort, it was announced by the
             Society that the great workl was completed. It was
             afterwards ascertained that no part of the supply
             went to the then two and a half millions of slaves.
             The Society made no apology for its mistake, nor
             acknowledged that it had committed any. Public
             sentiment in general (with exception of abolitionists) attributed to them no error.
             The nation knew
             nothing aboutfamilies of slaves!
             The practice corresponds with the theory. The
             statement that follows is from Sarah M. Grimke,
             daughter of the late Judge Grimke, of Charleston,
             S.C.:
             "A slave who had been separated from his wife,
             because it best suited the convenience of his owner,
             ran away. Hie was taken up on the plantation
             where his wife, to whom he was tenderly attached,
             then lived. His only object in running away was
             to return to her; no other fault was attributed to
             him. For this offense he was confined in the stocks
             six weeks, in a miserable hovel, not weather-tighlt.
             He received fifty lashes week7ly during that time, was
             allowed food barely sufficient to sustain him, and
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             THE AMIERICAN SLAVE CODE.
             when released from confinement, was not permitted
             to return to his wife. Ihis master, although himself
             a husband and a father, was unmoved by the
             touching appeals of the slave, who entreated that he
             might only remain with his wife, promised to discharge his duties faithfully; his
             master continued
             inexorable, and he was torn from his wife and
             family. The owner of this slave was a professing
             Christian, in full membership with the church, and
             this circumstance occurred while he was in his
             chamber, during his last illness." (Weld's "Slavery
             as it is," p. 23.)
             The following is from Mrs. Angelina Grimke
             Weld, sister of the preceding witness:
             "Chambermaids and seamstresses often sleep in
             their mistresses' apartments, but with no bedding at
             all. I know of an instance of a woman who has
             been gnarried eleven years, and yet has never been
             allowed to sleep out of her mistress's chanmber. This is
             a great hardship to slaves. When we consider that
             house slaves are rarely allowed social intercourse
             during the day, as their work generally separates
             them, the barbarity of such an arrangement is obvious. It is peculiarly a hardship in
             the above case,
             as the husband of the woman does not'belong' to
             her'owner,' and because he is subject to dreadful
             attacks of illness, and he can have but little attention from his wife in the day. And
             yet her mistress,
             who is an old lady, gives her the highest character
             as a faithful servant, and told a friend of mine that she
             was entirely dependent on her for all her comforts;
             116


                                                              Page 117



             NO FAMILY RIGHTS.
             she dressed and undressed her, gave her all her food,
             and was so necessary to her that she could not do
             without her. I may add that this couple are tenderly attached to each other."
             "I know an instance in which the husband was a
             slave, and the wife was free. During the illness of
             the former, the latter was allowed to come and nurse
             him; she was obliged to leave the work by which
             she made a living, and come to stay with her husband, and thus lose weeks of her
             time, or he would
             have suffered for want of proper attention; and yet
             this'owner' made her no compensation for her services. Hie had long been a faithful
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             and a favorite
             slave, and his owner was a woman very benevolent
             to the poor whites." " She, no doubt, only thought
             how kind she was to allow her to come and stay so
             long in her yard." (Ib., p. 56.)
             "Persons who own plantations and yet live in the
             cities often take their children from them as soon as
             they are weaned, and send them into the country;
             because they do not want the time of the mother
             taken up with attendance upon her owzvn children, it
             being too valuable to the mistress. As a favor she
             is sometimes permitted to go to see them once a year.
             So, on the othier hand, if the field slaves happen to
             have children of an age suitable to the convenience
             of the master, they are taken from their parents and
             brought to the city. Parents are almost never consulted as to the disposition to be
             made of their children, and
             they have as little control over them as have domestic animal. over the disposdal of
             their young. Every natural
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             THiE AMERICAN SLAVE CODE.
             ancd socialfelizng and affection are violated with indif ference. Slaves are treated as
             though they did not
             possess them." (lb., pp. 56-7.)
             If such be the condition of domestic or house servants, in the best and most refined
             families of the
             South, what must be the condition of field slaves,
             under the direction of overseers, on the plantations?
             "Among the gangs there are often young women,
             who bring their children to the fields, and lay them
             in a fence corner while they are at work, only being
             permitted to nurse them at the option of the overseer. WVhen a child is three weeks
             old, a woman is
             considered in working order. I have seen a woman,
             with her young child strapped to her back, laboring
             the whole day beside a man, perhaps the father of the
             chid, and he not permitted to give her any assistance, himself being under the whip."
             (Testimony of
             L. Sapington, a native of Maryland. Ib., p. 49.)
             On page 157 of the same book may be found the
             particulars of the public execution of a negro in a
             barbarous manner, by burning and beheading, after
             which his head was stuck up on a pole. Hiis crime
             was the killing of a white man. The provocation
             was, that the white man "owned his wife, and was in
             the habit of sleeping with her. The negro said he
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             killed him, and he believed he should be rewarded
             in heaven for it."
             The bearing of' the legal relation" of slave ownership upon the "family" relation
             may be seen by
             such advertisements as the following, which abound
             in the Southern papers. They are selected from
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                                                              Page 119



             NO FAMILY RIGHTS.
             about thirty similar ones in Weld's "Slavery as it
             is," pp. 164-166:
             From the Richmond Enquirer, Feb. 20, 1838.
             "$50 REWARD.-Ran away from the subscriber,
             his negro man Pauladore, commonly called Paul. I
             understand Gen. R. Y. HlAYNE* has purchased his
             wife and children from IHI. L. PINCKNEY, Esq.,t and
             has them now on his plantation at Goose-creek,
             where, no doubt, the fellow is frequently lurking.
             " T. DAVIS."
             "$25 REWARD.-Ran away from the subscriber, a
             negro woman named Matilda. It is thought she
             may be somewhere up James River, as she was
             claimed as a wife by some boatman in Goochland.
             " J. ALVIS."
             "$10 REWARD for a negro woman named Sally, 40
             years old. We have reason to believe said negro to
             be lurking on the James River Canal, or the Green
             Spring neighborhood, where, we are informed, her
             husband resides. POLLY C. SHIELDS.
             "Mount Elba, Feb. 19, 1838."
             From the Savannah Georgian, July 8, 1837.
             " Ran away from the subscriber, his man Joe. He
             visits the city occasionally, where he has been harbored by his manother and sister. I
             will give one hundred dollars for proof sufficient to convict his harborers.
             " R. P. T. MONGIN."
             * Ex-Governor of South Carolina, and U.S. Senator.
             f Member of Congress from South Carolina
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             THE AMERICAN SLAVE CODE.
             We add another, on page 156:
             From the Wilmingtoi (N. C.) Advertiser of July 13, 1838.
             " Ran away, my negro man RICHARD. A reward
             of $25 will be paid for his apprehension, DEAD or
             ALIVE. Satisfactory proof only will be required
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             of his being KILLED. He has with him, in all
             probability, HIS WIFE ELIZA, who ran away from
             Col. Thompson, now a resident of Alabama, about
             the time he commenced his journey to that State.
             " DURANT Il. RHODES."
             We have some reason to believe that this Rhodes
             was originally from New-England. When he visits
             the North he will probably tell his friends that he
             has never known any cruel treatment of slaves.
             Should he dine with the parish pastor, the result
             would perhaps be a sermon on "the innocent legal
             relation!"
             The hair-splitters in logic will nevertheless persist in admonishing us to distinguish
             between the
             "relation" and its "abuse." But what, we demand,
             must be the nature of a "relation " that is constantly
             producing such fruits?
             Undoubtedly there are slaveholders who would
             not thus advertise slaves. But if, in refraining, they
             are governed by any moral _principle, it must be a
             principle at variance with the "legal relation" of
             slave-ownership which authorizes such acts and interposes no check or
             disapprobation of them. The
             very idea of slave-ownership naturally suggests the
             right of doing such things. And when slave-owner
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             NO FAMILY RIGIITS.
             ship is held to be legalized, and is dignified with the
             name of a "legal relation "-and when these results
             (which some call "abuses") are neither forbidden
             nor discountenanced by the authorities that establish
             the said "legal relation," it is sheer sophistry to
             attempt discriminating between them so as to approve the one and condemn the
             other.
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             CHAPTER IX.
             UNLIMITED POWER OF SLAVEHOLDERS.
             The Power of the Master or "Owner" is virtually unlimited-The submission
             required of the Slave is unbounded-The Slave being "Property" can have no
             protection against the Master, and has no remedy or redress for injuries in flicted by
             him.
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             THIS proposition is substantially involved in the
             legal definition of slavery, as presented in our first
             chapter. The proof and illustration of it has been
             gradually evolving as we have proceeded thus far.
             It will continue to accumulate as we shall in future
             chapters examine the topics of slave labor, slave
             sustenance and clothing, slave punishments, and the
             intellectual and religious condition of slaves. At
             every step, the slave will have been found wholly
             subject to his master, dependent upon him, and defenseless. In this chapter we shall
             aim only to present, in a condensed form, the precise doctrine of the
             Slave Code on this subject.
             If the slave be the absolute property of his master
             -" entirely subject to his will" —" incapable of being
             injured"-I" chattels personal, to all intents, constructions, and purposes whatsoever "
             -not ranked


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             POWER OF THE MASTER.
             among sentient beings, but among things "-the sub jects of absolute purchase and
             sale-of seizure for
             debt-of inheritance and distribution-incapable of
             possessing property-" not entitled to the conditions
             of matrimony "-" not capable of constituting fami lies "-(and all this has been
             shown)-then the mas ter is indeed absolute, and the slave defenseless, of
             course. And any attempt by the Legislature or by
             the Courts to afford him protection, would be, in
             effect, an attempt to subvert "the legal relation of
             master and slave," and overturn the tenure of slaveownership entirely.
             The question before us is, whether any such attempts have been made, and if so,
             how much, in a way
             of limitation and protection, has been accomplished.
             We repeat, here, a quotation before made from
             Judge Stroud: "It is plain that the dominion of
             the master is as unlimited as that which is tolerated
             by the laws of any civilized country in relation to
             brute animals-to quadrupeds, to use the words of
             the civil law." (Stroud's Sketch, p. 24.)
             We quote further and still more specific statements of the law, firom the same
             writer:
             " The master may determine the kind, and degree,
             and time of labor to which the slave shall be subjected.
             "The master may supply the slave with such food
             and clothing only, both as to quantity and quality,
             as he may think proper or find convenient.
             "The master may, at his discretion, inflict any
             punishment upon the person of his slave.
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             THE AMERICAN SLAVE CODE.
             " All the power of the master over his slave may
             be exercised not by himself only in person, but by
             any one whom he may depute as his agent.
             "A slave cannot be a party before a judicial tribunal, in any species of action, against
             his master,
             no matter how atrocious may have been the injury
             received from him.
             "Slaves cannot redeem themselves, nor obtain a
             change of masters, though cruel treatment may have
             rendered such change necessary for their personal
             safety."
             "Slaves being objects of property, if injured by
             others, their owners may bring suit, and recover
             damage for the injury." (Stroud's Sketch, p. 25.)
             To this we will add:
             The master may wholly forbid and prevent the
             education, the moral and religious instruction of his
             slaves-their attendance on religious meetings and
             religious worship, either among themselves or at
             meetings conducted by white persons.
             There is not a slave in the United States that can
             claim these benefits as legal rights, or that can enjoy
             these privileges, in any degree, except with the leave
             of their " owne8s " or their agents.
             There is not a slave-owner in the United States,
             however ignorant, vulgar, degraded, immoral, and
             irreligious, that does not hold this authority over
             each and all of his slaves, however pious or intelligent they may be. And this
             authority, involved in
             slave-ownership, is part and parcel of "the legal
             relation of master and slave."
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             POWER OF THE MASTER.
             There is not a slave State, or slave Territory or
             District under the Federal jurisdiction, that does not,
             by its Slave Code, extend its sanction and its guaranty
             to this power of the slave-owner.
             We speak here only of the power of the individual
             who holds slaves. The laws forbidding education and
             the free exercise of religion will be considered in
             another connection.
             "A statu Tiber " (a slave minor, entitled to freedom
             at the age of twenty-one) has (in the mean time)
             "no action at law for ill treatment." Dorothee vs.
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             Coquillon et al., Jan. Term, 1829. (19 Martin's
             Louisiana Rep., 350. Wheeler's Law of Slavery,
             pp. 108-9.)
             N1o resistance must be made by a slave to his
             master.
             "l]Fhile the institution of slavery exists, every thing
             like resistance to the master's lawful authority should
             be decisively checked. Strict subordination must be
             exacted from the slave, or bloodshed and murders
             will unavoidably ensue. The laws of the slaveholding States demand, however, a
             much larger
             concession of power to the master than is here
             granted: they demand that THE LIFE of the slave
             shall be in the MASTER'S KEEPING-that the
             slave, having the physical ability to avoid the infliction of a barbarous and
             vindictive punishment by his
             master, shall not be permitted to do so." (Stroud's
             Sketch, p. 97.)
             We reserve a quotation from Prince's Digest and
             from several statutes, until, in treating of the civil
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             THE AMERICAN SLAVE CODE.
             relations of the slave, we shall use them to prove
             more than our present argument requires, viz.: that
             the same absolute submission of the slave is required
             by the laws, not merely towards the "owner"' and
             his agent, but towards "all white persons "
             Judge Ruffin, of North Carolina, in the ease of
             State vs. Mann, decided as follows: "The power of
             the master must be absolute, to render the submission
             of the slave perfect. It would not do to allow the
             rights of the master to be brought into discussion in
             the courts of justice. The slave, to REMAIN a slave,
             must be sensible that there is NO APPEAL from
             his master." (2 Devereaux's N. Carolina Rep.,
             263.)
             263.)
             This justifies our statement that "the legal relation of master and slave " is
             responsible for all this
             despotic power.
             In Wheeler's Law of Slavery, pp. 244-8, there is
             a full report of the opinion of Judge Ruffin, from
             which we have taken the preceding extract. We
             shall revert to it again, and make further extracts,
             when, in another chapter, we come to treat of
             "Punishments of Slaves by the owners and hirers."
             An examination of that topic will more fully illustrate the general proposition at the
             head of this
             chapter, for the correctness of which we here cite a
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             few personal testimonies.
             "The whole commerce between master and slave
             is a perpetual exercise of the most boisterous passions, the most unremitting
             DESPOTISM on the one
             part, and degrading SUBMISSIOX on the other."
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                                                              Page 127



             POWER OF THE MASTER.
             "Thus nursed, educated, and daily exercised in tyranny," &c. (Jefferson.)
             "I knew a gentleman of great benevolence and
             generosity of character," "speak of breaking down
             the spirit of a slave, under the lash, as perfectly
             right." (Angelina Grimke Weld, "Slavery as it
             is," p. 54.)
             "There was no law for the negro, but that of the
             overseer's whip." (L. Sapington, Ib., p. 49.)
             The Savannah River Baptist Association approvingly recognized the unlimited
             authority of the
             master, when they maintained his authority to annul
             slave marriages, and to compel new sexual connections between Baptist husbands
             and wives whom he
             had forcibly severed! The people are here found
             to be no better than their laws, and the Church no
             better than the people. Hence they consider the
             "legal relation an innocent one." It stands precisely
             on their own moral level.
             This chapter may serve as a key to a number of
             the chapters that follow, as it contains the principle
             upon which their specifications are based, the absolute
             authority of the master. Those chapters, in their turn,
             will furnish illustrations and evidences of the truth
             of this.
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             CHAPTER X.
             LABOR OF SLAVES.
             The Slave, being a Chattel, may be worked at the discretion of his Owner, as
             other working Chattels are.
             IF the Legislature of one of our Northern States
             should enact a law restricting farmers to a specified
             number of hours per day, in which their oxen and
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             horses should be worked; and if the Act should be
             prefaced with a preamble, stating that many farmers
             were in the habit of over-working their cattle, it
             would be thought a severe reflection upon the farmers. A stranger would conclude
             that they were an
             inhuman as well as a short-sighted class of people,
             to treat their working beasts in that manner. They
             would eagerly read the Act, to see how many hours
             were allowed as a relief to the poor beasts. And
             they would necessarily infer that the practice had
             been to work the cattle a longer time than that prescribed by the law.
             Let us now look at some of the laws of the slave
             States.
             SOUTII CAROLINA, (Act of 1740.)-" Whereas,
             many owners of slaves, and others who here.bi
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             LABOR OF SLAVES.
             care, management, and overseeing of slaves, do confine them so closely to hard
             labor that they have not stfficient time for natural rest, Be it therefore enacted,
             That if any owner of slaves, or other persons, who
             shall have the care, management, or overseeing of
             slaves, shall work or put any such slave or slaves to
             labor more than fifteen hours in twenty-four hours,
             from the 25th day of March to the 25th day of September; or more than fourteen
             hours in twenty-four
             hours, from the 25th day of September to the 25th
             day of March, every such person shall forfeit any
             sum not exceeding twenty pounds nor under five
             pounds current money, for every time he, she, or
             they shall offend herein, at the discretion of the justice before whom the complaint
             shall be made." (2
             Brevard's Digest, 243.)
             How much longer than fourteen or fifteen hours per
             day, in winter and summer, the South Carolina planters had been in the habit of
             working their slaves, we
             are left to conjecture! But we know that "the laws
             of Maryland, Virginia, and Georgia forbid that the
             criminals in their penitentiaries shall be compelled to
             labor more than ten hours a day," (Jay's Inquiry,
             p. 130;) and not exceeding nine hours in some portions of the year, and eight during
             the three other
             months, (Stroud's Sketch, p. 29.) In Jamaica, (before
             emancipation,) "besides many holidays which are
             by law accorded to the slave, ten hours a day is the
             extent of the time which the slave is compelled,
             ordinarily, to work." (2 Edwards' W. Indies, book
             iv., chap. 5, &c.)

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             THE AMERICAN SLAVE CODE.
             GEORGIA, (Act of 1817.)-" Any owner of a slave
             or slaves, who shall cruelly treat such slave or slaves
             by unnecessary or excessive whipping, by withhold ing proper food and
             nourishment, by requtinrng greater
             labor from such slave or slaves than he or she or they
             may be able to perform, by not affording proper
             clothing, whereby the health of such slave or slaves
             may be injured or impaired, every such owner or owners of slaves shall, upon
             sufficient information being
             laid before the grand jury, be by said grand jury presented, whereupon it shall be the
             duty of the attorney or solicitor general to prosecute said owner or
             owners, who, on conviction, shall be sentenced to
             pay a fine, or be imprisoned, at the discretion of the
             Court." (Prince's Digest, 376.)
             In this act, the "owner" only is specified, and not
             the overseer, or agent.
             LOUISIANA, (Act of July, 1806.)-" As for the
             hours of work and rest which are to be assigned to
             slaves in summer, the old usages of the territory
             shall be adhered to, to wit: The slaves shall be allowed half an hour for breakfast
             during the whole
             year; from the first day of May to the first day of
             November they shall be allowed two hours for dinner; and from the first day of
             November to the first
             day of May, one hour and a half for dinner: Provided, however, that the owners who
             will themselves
             take the trouble of causing to be prepared the meals
             of their slaves, be, and they are hereby authorized
             to abridge, by half an hour per day, the time fixed
             for their rest." (1 MIartin's Digest, 610-12.)
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             LABOR OF SLAVES.
             This relic of "the old usages" under the Spanish
             and French laws may be considered, like the Louisiana laws before quoted, an
             exception to the general
             code of American Slavery. Yet even here the hours
             of beginning and ending the day's labor are not specified, and consequently, the
             hours of labor, per day,
             are not limited nor ascertained. The known custom
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             of night-work in boiling sugar is not touched by this
             statute.
             In Georgia and in Mississippi, there are laws forbidding the unnecessary labor of
             slaves on the Sabbath.-This is all the information before us. In
             most of the slave States, there are no laws limiting
             slave labor. (See Stroud, p. 26.)
             One single consideration is sufficient to show that
             the limitations just quoted are of no practical value.
             NO SLAVE AND NO FREE COLORED PERSON, IN THE
             SLAVE STATES, CAN BE A WITNESS AGAINST A WHITE
             PERSON. (Ib., 27.) Slaveholders would not be forward to prosecute each other for
             ill treatment of
             slaves. And many of the non-slaveholding whites,
             at the South, are a servile and degraded class, not
             daring to offend the slaveholders.
             The celebrated George Whitefield, in a "Letter to
             the Inhabitants of Maryland, Virginia, North and
             South Carolina," in 1739, (after having travelled
             among them,) says: "Your slaves, I believe, work
             as hard, if not harder, than the horses whereon you
             ride. These, after their work is done, are fed, and
             taken proper care of, but many negroes, when
             wearied with labor in your plantations, have been
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             THE AMERICAN SLAVE CODE.
             obliged to grind their own corn, after their return
             home."
             John Woolman, in his Journal, under date of 1757,
             speaks of the labor of slaves as "heavy, being fol lowed at their business in the field
             by a man with a
             whip, hired for that purpose." (Life of Woolman,
             p. 74.)
             The following are specimens of a great amount of
             similar testimony recorded in Weld's "Slavery as it
             is," p. 35 and onward:
             "So laborious is the task of raising, beating, and
             cleaning rice, that had it been possible to obtain
             European servants in sufficient numbers, thousands
             and tens of thousands of them must have perished."
             (History of Carolina, vol. I. p. 30.)
             HIlon. Alexander Smythe, of Va., in a speech in
             Congress on the Missouri question, January28, 1820,
             argued, on the ground of humanity, in favor of extending slavery into Missouri, that
             the slaves would
             be more comfortable there than in the older States,
             where they are "forced to incessant toil," "hardworked," &c. If you "hem them in
             where they are,"
             you "doom them to hard labor." It would be "extreme cruelty to the blacks."
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             Henry Clay, in 1834, in a conversation with James
             G. Birney, expressed a belief (contrary to his former
             impressions) that at the far South, the births among
             the slaves were not equal to the deaths. Hie related
             what he had heard and believed, that an overseer in
             Louisiana "worked his hands so closely, that one of
             the womenl brought forth a child while engaged in
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             LABOR OF SLAVES.
             the labors of the field." He was also told of a plantation containing from "twenty to
             thirty young
             women in the prime of life," and the proprietor told
             him there had not been a child born among them for
             the last two or three years, although they all had
             husbands.
             We have before us much more testimony to the
             same point; also, to the fact, that the slaves are commnonly "obliged to work from
             daylight till dark, or
             as long as they can see."
             "Every body here (Natchez, Miss.) knows overdriving to be one of the most
             common occurrences.
             The planters do not deny it, except, perhaps, to
             Northerners." (A. A. Stone, Theological Student.)
             In our Chapter V. on the " Uses of Slave Property,"
             it was shown how coolly and deliberately gangs of
             slaves are used up on the sugar plantations of Louisiana, once in seven or eight
             years. In Mr. Weld's
             book, before us, we have many testimonies that corroborate the general fact. We
             spare room for only
             one, which comes on the authority of Rev. John 0.
             Choules, Baptist minister, once of New-Bedford,
             Mass., afterwards of Buffalo, New-York. "While
             attending the Baptist Triennial Convention at Richmond, Va., in 1835," says Mr. C.,
             "I had a conversation with an officer of the Baptist church in that
             city, at whose house I was a guest. I asked him if
             he did not apprehend that the slaves would eventually
             rise and exterminate their masters?'Why,' said
             the gentleman,'I did use to apprehend such a catastrophe, but God has made a
             providential opening, a
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             TIHE AMERICAN SLAVE CODE.
             merciful safety valve, and now I do not feel alarmed,
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             in the prospect of what is coming.''What do you
             mean,' said Mr. Choules,'by Providence opening a
             merciful safety valve?''Why,' said the gentleman,' I will tell you. The slave-traders
             come from
             the cotton and sugar plantations of the South, and
             are willing to buy up more slaves than we can part
             with. We must keep a stock for the purpose of rearing slaves, but we part with the
             most valuable, and
             at the same time the most dangerous; and the demand
             is very constant, and is likely to be so, for when they
             go to those Southern States, the average existence is
             ONLY FIVE YEARS!"
             The people, including church members, are not
             better than their laws.
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             CHAPTER XI.
             FOOD, CLOTHING, AND DWELLINGS OF SLAVES.
             The Slave, as a Chattel, is fed or famished, covered or uncovered, sheltered
             or unsheltered, at the discretion or convenience of his Owner, like other
             working Animals.
             LOUisiANA.-" Every owner shall be held to give
             his slaves the quantity of provisions hereinafter specified, to wit, one barrel of
             Indian corn,* or, the equivalent thereof in rice, beans, or other grain, and a
             pint of salt, and to deliver the same to the slaves, in
             kind, every month, and never in money, under
             penalty of a fine of ten dollars for every offense."
             (1 Martin's Digest, p. 610. Act of July 7, 1806.)
             "The slave who shall not have, on the property
             of his owner, a lot of ground to cultivate on his
             own account, shall be entitled to receive from said
             owner one linen shirt and pantaloons for the summer, and a linen shirt and woollen
             greatcoat and
             pantaloons for the winter." (1 Martin's Digest, 610.)
             Neitl-er the quantity nor the quality of the " lot of
             * Meaning a flour barrel full of Indian corn in the ear, equal to
             about 1 bushels of shelled corn.
             t;I.


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             THE AMERICAN SLAVE CODE.
             ground" is specified, nor the amount of time to be
             allowed for tilling it.
             NORTH CAROLIXA.-"In case any slave or slaves,
             who shall not appear to have been fed and clothed
             according to the intent and meaning of this Act, that
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             is to say, to have been suffciently clothed, and to
             have constantly received for the preceding year an
             allowance of not less than a quart of corn* per day,
             shall be convicted of stealing any corn, cattle, &c., &c.,
             from any person not the owner of said slave or
             slaves, such injured person shall and may maintain
             an action of trespass against the master, owner, or
             possessor of such slave, &c., and shall recover his or
             her damages." (hayward's Manual, 524-5.)
             GEORGIA.-The Act of 1817 (as quoted in the last
             previous Chapter on Labor) provides for the punishment of "owners" of slaves who
             "by excessive whipping, by withholding proper food and sustenance, by
             requiring greater labor," &c., shall "cruelly treat"
             such slaves, "whereby the health of such slave, &c.,
             may be injured or impaired."
             Another Act, of Dec. 12, 1815, is as follows:
             " Sect. 1. From and after the passing of this Act, it
             shall be the duty of the inferior courts of the several
             counties in this State, on receiving information, on
             oath, of any infirm slave or slaves in a suffering condition, from the neglect of the
             owner or owners of
             said slave or slaves, to make particular inquiries into
             * It will be observed that in neither of these legal rations of
             food is any mention made of meat.
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             CHAPTER XI.
             FOOD, CLOTHING, AND DWELLINGS OF SLAVES.
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             working Animals.
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             his slaves the quantity of provisions hereinafter specified, to wit, one barrel of
             Indian corn,* or, the equivalent thereof in rice, beans, or other grain, and a
             pint of salt, and to deliver the same to the slaves, in
             kind, every month, and never in money, under
             penalty of a fine of ten dollars for every offense."
             (1 Martin's Digest, p. 610. Act of July 7, 1806.)
             "The slave who shall not have, on the property
             of his owner, a lot of ground to cultivate on his
             own account, shall be entitled to receive from said
             owner one linen shirt and pantaloons for the summer, and a linen shirt and woollen
             greatcoat and
             pantaloons for the winter." (1 Martin's Digest, 610.)
             Neither the quantity nor the quality of the "lot of
             * Meaning a flour barrel full of Indian corn in the ear, equal to
             about 1A bushels of shelled corn.


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             FOOD-CLOTHING —SHELTER.
             the situation of such slave or slaves, and render such
             relief as they in their discretion shall think proper.
             "Sect. 2. The said courts may and are hereby
             authorized to sue for and recover from the owner or
             owners of such slave or slaves, the amount that may
             be appropriated for the relief of such slave or slaves,
             in any court having jurisdiction of the same; any
             law, usage, or custom, to the contrary notwithstanding." (Prince's Digest, 460.)
             SOUTH CAROLINA.-'-" In case any person, &c., who
             shall be owner, or who shall have the care, government, or charge of any slave or
             slaves, shall deny,
             neglect, or refuse to allow such slave or slaves, under
             his or her charge, sufficient clothing, covering, or
             food, it shall and may be lawful for any person or
             persons, on behalf of said slave or slaves, to make
             complaint to the next neighboring justice in the pa rish where such slave or slaves
             live, or are usually
             employed, and the said justice shall summon the
             party against whom such complaint shall be made,
             and shall inquire of, hear, and determine the same;
             and if the said justice shall find the said complaint to
             be true, or that such person will not exculpate or clear
             himself from the charge by his or her own oath, which
             such person shall be at liberty to do, in all cases
             where positive proof is not given of the offense, such
             justice shall and may make such orders upon the
             same, for the relief of such slave or slaves, as he in
             his discretion shall think fit; and shall and may set
             and impose a fine or penalty on any person who may
             offend in the premises, in any sum not exceeding
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             FOOD-CLOTHING-SHELTER.
             hungry slave's exemption from punishment by his
             master or by the magistrate, for his "stealing" to
             appease hunger. There is no humanity in this law.
             It is a monument of the barbarity of its framers and
             of the slaveholders.
             4. The Georgia Act of 1817, strictly construed,
             imposes no punishment on a master who shall
             "cruelly treat" his slave by "excessive whipping,"
             or by withholding proper food, or by "requiring
             greater labor," &c. All these acts of "cruelty" must
             be combined in each instance, or the statute fails to
             apply to the case. Even then, it is not reached,
             unless "the health" of the slave be "injured or
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             impaired." There may be "cruelty" by "excessive
             whipping," by hunger, and by excessive labor, but if
             the subject of all this "cruelty" retains his " health,"
             the "cruelty" is not to be punished.
             5. The Georgia Act of 1815 applies only to the
             case of " infirm slaves." Other slaves" in a suffering
             condition from the neglect of the owner" are not
             provided for. It requires "information on oath,"
             (which no colored person can give,) before a legal
             inquiry can be commenced! The facts must be first
             proved before the process can begin, and proved,
             too, without the testimony of the sufferer! It shall
             be "the duty" of the courts to render such relief as
             they think proper. From whence the supply is to
             be obtained, unless from the pockets of the judges,
             does not appear. (We have copied the entire act.)
             They are not authorized to order an execution
             against the delinquent "owner" on their judgment.
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             THE AMERICAN SLAVE CODE.
             Instead of this, the judges are authorized (not di rected) to become SUITORS
             themselves, as a "court,"
             in ANOTHER court, to collect of the owner the
             amount of the appropriation, if they can; and if
             not, put up with the loss as they can, costs and all!
             Where shall we find a parallel to this farce?
             6. The South Carolina Act must also be useless for
             the want of "positive proof," (as the slave cannot
             testify,) in the absence of which the defendant is
             cleared by his own oath.
             7. We conclude, therefore, that these laws, on the
             whole, are no better than none. We should not
             anticipate, from their operation, any better provision
             for the clothing and sustenance of slaves, in these
             four States, than in the other slave States, where no
             laws exist. We are not aware that there is any perceptible difference in fact. And we
             may extend the
             remark to the laws of the four States mentioned in
             the previous chapter, on the subject of slave labor.
             l'e 2rinciple of slave-ownership, viz., human chattelhood, is not impaired or
             infringed by them. The
             master has the power in his own hands. Ie may do
             what he wills with his own. Such, at every point, is
             " THE LEGAL RELATION OF MASTER AND SLAVE."
             From the law, we now turn to the prevailing
             practice. From the former we may anticipate the
             latter. In the work to which we have so often
             referred (Weld's "Slavery as it is") may be found
             a great amount of authentic testimony of highly
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             respectable witnesses, of former and later times, for
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             FOOD-CLOTHING-SHELTER.
             which we cannot spare room, but the substance is
             as follows:
             IIUNGER.-Slaves in Virginia (1820) are "ill fed."
             They are "doomed to scarcity and hunger." (Alex.
             Smythe, M. C.) In 1739, they "had not sufficient
             food to eat; they were scarcely permitted to pick up
             the crumbs that fell from their masters' tables."
             (Rev. Geo. Whitefield.)-They are "deprived of needfulsubsistence." (Rev. Geo.
             Bourne.)-In 1791 "they
             were supplied with barely enough to keep them from
             starving." (Dr. Jonathan Edwards, of Connecticut.)In Georgia "their allowance is
             often not adequate to
             the support of a laboring man." (Thomas Clay, Esq.,
             a slaveholder.)-In Tennessee "thousands are pressed
             with the gnawings of hunger." (Rev. John Rankin.)In North Carolina, 1826, "the
             greater part of them
             go half starved, much of the time." (Moses and
             Wm. Swain.)-In Louisiana, 1835, " there is a good
             deal of suffering from hunger"-" utter famishment,
             during a great portion of the year." (A. A. Stone.)In Mississippi, "half starved."
             (Tobias Boudinot.)
             KINDS OF FooD.-The general testimony is, that
             slaves are allowed meat only as an occasional "indulgence or favor"-" at Christmas,"
             &c. &c. Experiments have been made with cotton seed, as a substitute in part for
             corn. Gen. WVade Hampton is said
             to have tried the experiment, till, as he himself de clared with an oath, his slaves
             "died like rotten
             sheep." This statement was furnished by "a lady
             of high respectability and great moral worth," to "a
             clergyman in the WVest, extensively known both as
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             THE AMERICAN SLAVE CODE.
             a preacher and a writer. His name is with the
             Executive Committee of the American Anti-Slavery
             Society." (Weld's "American Slavery as it is," p. 29.)
             QUANTITY.-" The quantity allowed by custom
             is a peck of corn a week." (Thos. Clay, Esq., Geor gia, 1833.) Same testimony by
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             WV. C. Gildersleeve,
             now of Wilkesbarre, Pa.; and Rev. Horace Moulton,
             of Marlboro, Mass.-both once resident in Georgia.
             Maryland: Same quantity, 1788. (Baltimore Advertiser.)-Florida: A quart of corn a
             day, to a full task
             hand, with a modicum of salt. Kind masters allowed
             a peck of corn a week. Some masters allowed no
             salt." (Wm. Ladd, once a Florida slaveholder, since
             of Minot, Me.)- North Carolina: Seven quarts of
             meal, or eight quarts of small rice, for one week.'
             (Nehemiah Caulkins, Waterford, Ct.; resident in
             North Carolina eleven winters.)-Virginia: A pint
             of corn meal and a salt herring is the allowance, (for
             one meal,) or, in lieu of the herring, a'dab' of fat
             meat of about the same value. I have known the
             sour milk and dclauber to be served out to the hands,
             when there was an abundance of milk on the plantation. This is a luxury, not often
             afforded." (Rev.
             C. S. Renshaw, a native Virginian.)
             John Woolman, in his Journal, (1757,) makes the
             general statement, that "they have in common little
             else allowed but one peck of Indian corn and some
             salt, for one week, with a few potatoes; the potatoes
             they commonly raise by their labor on the first day
             of the week." (Life of Woolman, p. 74.)
             QUALITY OF FOOD.-" There is often a defect here."
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             FOOD-CLOTHINGSHELTER.
             (Thos. Clay, Esq., Georgia.)-'" The feed of slaves is
             generally of the poorest kind." (Rev. Horace Moulton.)-In Kentucky, "They live on a
             coarse, crude,
             unwholesome diet." (WVeslern Jfedical Reformer.)"Large numbers of badly fed
             negroes were swept off
             by a prevailing epidemic."-"The best remedy for
             that horrid malady,' Cachexia Africana,' is to feed
             the negroes with nutritious food." (Prof. A. G. Smith,
             of New-York Medical College, once physician in
             Louisville, Ky.)
             NUMBER AND TIMiES OF MEALS, EACH DAY.-" The
             slaves eat twice during the day." (Dr. Jonathan Edwards, Connecticut, 1791.)
             Florida: " The slaves go to the field in the morning; they carry with them meal, wet
             with water,
             and at noon build a fire on the ground, and bake it
             in the ashes. After the labors of the day are over,
             they take their second meal of ashcake. (Philemon
             Bliss, Esq., Elyria, Ohio; resident in Florida, 1834-5.)
             Mississippi, 1837: " The slaves received two meals
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             during the day. Breakfast about 11 o'clock; the
             other meal after night." (Eleazer Powell, now of Chippewa, Pa.)
             North Carolina: " The breakfast of the slaves was
             generally about 10 or 11 o'clock A. M." (Nehemiah
             Caulkins.)
             Virginia: "Two meals a day. Breakfast from 10
             to 11 o'clock A. M. Supper from 6 to 9 or 10 at
             night, as tile season and crops may be." (Rev. C. S.
             Reushaw.)-" MAeals generally taken without knife,
             dish, or spoon." (Wm. Leftwitch, a Virginian.)
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             THE AMERICAN SLAVE CODE.
             Georgia: "The corn is ground in a hand mill, by
             the slave, (fter his task s done. Generally there is
             but one mill on a plantation, and as but one can
             grind at a time, the mill is going sometimes very late
             at night." (W. C. Gildersleeve, Esq., a native Georgian.) Similar testimony from
             other States.
             South Carolina: "Only two meals a day are
             allowed to the house slaves; the first at 12 o'clock. If
             they eat before this time it is by stealth, and I am
             sure there must be a good deal of suffering among
             them from hunger, particularly by children. Besides
             this, they are often kept from their meals by way of
             punishment. No table is provided for them to eat
             from. They know nothing of the comfort and pleasure of gathering round the social
             board; each takes
             his plate or tin pan, and holds it in the hand or on
             the lap. I never saw slaves seated round a table, to
             partake of any meal." (Angelinia Grimke Weld.)
             "Stealing food is a crime, punished by flogging. A
             woman was punished for stealing four potatoes."
             (P. Bliss, Esq.)
             "Cooks, waiters, chambermaids, &c., generally get
             some meat every day-the remaining bits and bones
             of their masters' tables." (Weld, p. 31.)
             The law of Louisiana of 1806, (Chap. X.,) prescribing the time allotted to meals, by
             its mention of
             breakfast and dinner, seems to indicate a third meal,
             though it is not directly mentioned.
             The fare of slaves is doubtless better in the slavegrowing than in the slave-
             consuming States. And
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             FOOD-CLOTHING-SHELTER.
             there are exceptions to the general picture we have
             presented.
             CLOTHIINiG.-Mr. Weld has shown by abundant
             and unimpeachable testimony, that "the clothing of
             slaves by day, and their covering by night, is not
             adequate either for comfort or decency." (p. 40,
             &c.)
             Virginia: Hon. T. T. Bouldin, a slaveholder, in a
             speech in Congress, Feb. 16, 1835, said: "He knew
             that many negroes hadc died from exposure to
             weather," and added, "They are clad in a flimsy
             fabric that will turn neither wind nor water."
             Maryland: "The slaves, naked and starved, often
             fall victims to the inclemencies of the weather."
             (Geo. Buchanan, M.D., of Baltimore, 1791.)
             Georgia, &c.: "We rode through many rice
             swamps, where the blacks were very numerous""working up to the middle in water,
             men and women
             nearly naked." (Wm. Savery, of Philadelphia, Minister Friends' Soc., 1791.)
             Tennessee, &c.: "In every slaveholding State many
             slaves suffer extremely, both while they labor and
             when they sleep, for want of clothing to keep them
             warm." (Rev. John Rankin.)
             The South generally: "Men and women have
             many times scarce clothes enough to hide their nakedness, and boys and girls, ten
             and twelve years old,
             are often quite naked among their masters' children."
             (John Woolman, 1757. Journal, &c., p. 150.)
             "Both male and female go without clothing at the
             age of 8 or 10 years." (John Parrish, Minister Soc
             14:5
             i,
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             THE AMERICAN SLAVE CODE.
             Friends, 1804.) Same testimony from many others
             more recently.
             Alabama, 1819: "Hardly a rag of clothing on
             them."-"Generally the only bedding was a blanket." (S. E. Maltby.)
             Virginia: "Two old blankets." (Wm. Leftwich.)
             Advertisements of fugitives every year often describe
             them as "ragged" or "nearly naked."
             Florida: "They were allowed two suits of clothes
             a year; viz: one pair of trowsers with a shirt or
             frock of osnaburgh, for summer; and for winter, one
             pair of trowsers and a jacket of negro-cloth, with a
             baize shirt and a pair of shoes. Some allowed hats,
             and some did not; and they were generally, I believe,
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             allowed one blanket in two years. Garments of
             similar materials were allowed the women." (Wm.
             Ladd, late of Minot, Me.)
             "The slaves are generally without beds or bedsteads."-"I have seen men and women
             at work in
             the fields, more than half naked." (Testimony furnished by Rev. C. S. Renshaw,
             from his friend.)
             "In Lower Tennessee, Mississippi and Louisiana,
             clothing made of cotton bagging" — "no shoes."
             (G. W. Westgate.)
             "WILL" of the celebrated JoHN RANDOLPH of
             Roanoke, Va., distinguished as a "kind master":
             "To my old and faithful servants Essex and his
             wife Hetty, I give and bequeath a pair of strong
             shoes, a suit of clothes, and a blanket each, to be
             paid them annually; also an annual hat to Essex."
             No socks, stockings, bonnets, cloaks, handkerchiefs,
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             FOOD —CLOTHING-SHELTER.
             or towels-no change either of outside or inner garments! And a solemn "Last Will
             and Testament"
             was deemed necessary to secure to them even the
             articles specified!
             Family servants, waiters, &c., and hotel attendants,
             must needs appear decently clad. And kept mistresses of gentlemen are often
             arrayed extravagantly.
             Superficial observers and shallow thinkers, seeing
             this, report the happy condition of slaves in general,
             having never seen the "negro quarters" on the plantations.
             DWELLINGS.-These "generally contain but one
             apartment, and that without a floor;"- "no partition to separate the sexes;"-nothing
             that a Northern
             laborer "would call a bed"; —sometimes "built by
             themselves of stakes and poles, and thatched with
             palmetto leaf; sometimes of clay;"-" no window glass
             or sashes;"-"not sufficient to keep off the inclemency of the weather;-sometimes
             built of logs; on
             old plantations sometimes of frame and clapboards,
             size, 8 feet by 10, or 10 by 12, and but 8 feet high;""without any chimney-a hole at
             top to let the
             smoke out;"-"generally put up (in Georgia) without a
             nail;"-" ill ventilated; "-'"surrounded with filth;""with neither chairs, table, nor-
             bedstead;"- " on the
             cold ground they must lie without covering, and
             shiver while they slumber." Such is the picture
             attested by competent witnesses. (Weld's "Slavery
             as it is," p. 43, &c.)
             TREATMENT OF THiE SICK, TIHE INFIRM, AND THE
             AGED.-On this topic we have not room here to enter.
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             THE AMERICAN SLAVE CODE.
             In Mr. Weld's work, pp. 44, 45, may be found state ments from the late Rev. Dr.
             Channing, of Boston,
             once resident in Virginia, (extracted from his work
             on Slavery;) from Miss Sarah M. Grimke, formerly
             of Charleston, S.C.; from Geo. A. Avery, merchant,
             Rochester, N. Y., once living in Virginia; from Rev.
             Wm. T. Allan, once of Alabama; the late Rev. Elias
             Cornelius, (p. 161;)* and several others, all showing
             that great barbarity characterizes the slaveholders,
             generally, in their ill treatment or neglect of these
             unfortunate beings, held dependent upon them, and
             defenceless, as slaves.
             Into all the particulars which go to make up the
             dreadful condition of the slave, the plan and limits
             of the present treatise do not permit us to go. We
             select mainly such facts as illustrate the slave laws,
             and the consequent "legal relation" of master and
             slave. At every step we find it a relation identified
             with wretchedness and wrong.
             From Wheeler's "Law of Slavery" it would seem
             that slaveholders are in the habit of refusing to pay
             physicians for medical attendance on their slaves,
             and that suits at law are the consequence, which are
             variously decided, the decisions of a lower court
             being sometimes reversed by a higher. The following points are put down by Mr.
             Wheeler in his
             marginal titles:
             Dunbar vs. Williams. 10 John's New-York Rep.
             249: "No action lies by a physician against the
             * See Edwards' Life of Rev. Elias Cornelius, pp. 101-3.
             1.48


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             FOOD-CLOTHING-SHELTER.
             master for attendance upon his slave without his
             knowledge, unless it be a case of extreme necessity."
             (Wheeler, p. 225.)
             Wells vs. Kennerly, 4 MeCord's S. C. Rep. 123:
             The owner is not liable for medical attendance upon
             a hired slave, given at the request of the hirer."
             (lb., p. 226.)
             It is hardly to be expected that the temporary
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             hirer of a slave would be forward to incur the expense of much medical attendance.
             In the case of Johnson et al. vs. Barrett, Judge
             Johnson, South Carolina, said: "If a slave be in
             _peril in the absence of his master, the interest of the
             owner is most effectually subserved by rendering
             assistance to the slave, and in good conscience the
             owner is bound to make satisfaction." (Ib.)
             The legal rule then is, to give medical aid when
             the interest of the owner demands it!
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             CHAPTER XII.
             COERCED LABOR, WITHOUT WAGES.
             The "legal relation of Master and Slave"-being the relation of an Owner to a
             Chattel, is a relation incompatible with the natural and heaven-sanctioned
             "relation" of Labor and Wages.
             CHRISTIANITY is "a swift witness against those
             that oppress " even "the hireling IN his wages." It
             also proclaims: "Woe unto him that useth his neighbor's service WITHOUT wages,
             and giveth him not for
             his work."
             To "oppress the hireling IN his wages," is to pay
             him inadequate wages, or to withhold a part of his
             earnings. To use a neighbor's service WITHOUT
             wages, is to pay him no wages at all. This latter is
             the definition of slave labor, and that labor is extorted
             by brute force. The slave is not a "hireling." ie
             is not hired at all, any more than a working horse
             or ox is hired. In saying this, we only state the legal
             and the inevitable fact of the case. iMore particularly:
             1. Wages is "that which is stpulated to be paid
             for services." There is, in this, of necessity, the concurrent action of two parties who
             stipulate, namely:
             the employer and the employed; the payer and him


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             SERVICE WITHOUT WAGES.
             that receives pay. The wages are determined by a
             mutual stipulation, agreement, or contract between
             the parties.
             2. Wages, to be legitimate, must be equitable, or
             equal. There must be, by both the parties, an
             equivalent given and received. The labor must be
             equal in value to the wages, and the wages must be
             equal in value to the labor.
             3. Wages is that which, when received by the
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             laborer, becomes his own, his property. The very
             ideas of property and of the rights of property have
             their origin here. He who receives wages, possesses,
             appropriates, and disposes of his wages; and no one,
             without an equivalent, or without his leave, can take
             them from him.
             4. Wages for the faithful services of an able-bodied
             man, during the proper working hours of the day,
             in order to be adequate and equitable wages, must
             ,more than suffice for his comfortable sustenance as a
             mere animal. They must enable him to support a
             family, to supply his own and their social wants as
             intellectual and moral beings, to discharge his responsibilities as a member of
             society, and lay up a
             surplus for the ordinary exigences of the future.
             5. The wages of the successful producer of the
             fruits of the earth, to be equitable, must secure to
             him, as his possession, a large proportion of those
             fruits. On a plantation, or in a parish, township, or
             province, in which the men whose labor has built
             comfortable houses may not live in comfortable
             houses; whose labor has procured ample supplies of
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             THiE AMERICAN SLAVE CODE.
             food, clothing, and family comforts, but may not
             share in and enjoy those supplies and comforts,
             (unless squandered by improvidence,) there could not
             have been an equitable receipt of wages, by the
             laborer.
             By each and all of these definitions and tests of
             wages, the slave system, the slaveholding "relation,"
             both in theory and practice, stand condemned. They
             do not and they cannot accord WAGES to the
             LABORER.
             For, in the first place, "the slave can make no
             contract," and hence he cannot stipulate for wages.
             2. "The slave can possess nothing," and hence he
             cannot receive (because he cannot possess, appropriate, or use) wages.
             3. The slave is "goods and chattels," and these
             cannot earn wages. The sustenance of the horse and
             ox are not wages. The needful repairs of a machine
             are not wages. Were alt the slaves as "fat and
             sleek" as Henry Clay's, their comfortable fare would
             not be wages. Besides:
             4. The cost of sustenance for the slave (were it
             matter of mutual stipulation) is too trivial to be dignified with the name of wages!
             Look over the preceding chapters. Estimate the labor. Look at its
             products-houses, equipages, wardrobes, wines, feasts,
             exports, returns, revenues, banks, cities, navies!
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             Imagine an exodus of the slaves, like that of the
             Hiebrews out of Egypt, and let the wand of their
             Moses sweep along with them all the products of
             their labor! What would be left after them? Then
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             SERVICE WITHOUT WAGES.
             inquire after the compensation that has been paid for
             this labor. "A peck of corn a week, with a modicum
             of salt." Say 12- bushels of corn a year, at 50 cents,
             is $6.25-the salt, 25 cents, makes $6.50 for a year's
             board. Then add the wardrobe of John Randolph's
             "faithful servant Essex "-possibly $10 more. The
             house-rent, at what the " owner" thinks it worth!
             Then foot up the sum total-or, take the estimate of
             slaveholders themselves, in Reports of Committees
             of Agricultural Societies, published to the world,
             viz., $15 to $20 per annum, along with the confession of Thomas Clay, Esq., of
             Georgia: "The present
             economy of the slave system is, to get ALL YOU CAN
             from the slave, and give him AS LITTLE as will support him in a working
             condition." It is no counterproof or palliation, that the system is unprofitable.
             To "use a neighbor's service without wages" has
             always been profitless, because always wrong, and
             heaven-abhorred.
             The balance between the slave's earnings (possessed
             or squandered by his "owner,") and the cost of the
             slave's support, may tell us whether the slave could
             "take care of himself" if suffered to receive honest
             wages.
             Again, we say, look at the wealth earned by the
             slave; then look at the slave, half famished, half
             naked, without a bed, shivering, sleeping on the bare
             ground with an old blanket around him, or turned
             off, perhaps, in decrepid old age, by his "owner,"
             "a gentleman [reputedly] of great benevolence and
             generosity of character," to beg in the streets of
             7*
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             THE AMERICAN SLAVE CODE.
             Charleston, (S. C.,) because "too old to work, and
             therefore Ihis allowance was stopped;"* then learn how
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             "the innocent legal relation" enforces LABOR WITHOUT WAGES.
             W'hen we say it is "the legal relation" that does
             this, we have the testimony of Southern judicial decision to sustain us.
             In the case of the State vs. Mann, before cited,
             Judge Ruffin said:
             The slave is "doomed, in his own person and his
             posterity, to live without knowledge, and without
             capacity to make any thing his own, and to toil that others
             meay reap the fruits." (Wheeler's Law of Slavery, p.
             246, copied from 2 Devereaux's North Carolina
             Rep., 263.)
             * See Weld's "Slavery as it is," p. 54. Testimony of the daughter of Judge Grimke, of
             Charleston, (S. C.)
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             CHAPTER XIII.
             PUNISHMENTS OF SLAVES BY THE OWNER AND HIRER.
             Being the absolute property of the Owner, the Slave is wholly in his power,
             without any effectual restraint.
             WE have seen that "the legal relation" of slave
             ownership, being the relation of an owner to his
             property, invests him with unlimited power. We
             have traced the exercise of that power in a number
             of directions, and have witnessed at every step, thus
             far, the express sanction or the silent acquiescence
             of the slave laws. Or, if limitations to his power
             have, at some points, and in some of the States, appeared to be interposed, it has
             been found, on a close
             scrutiny, to be only an appearance, and not a reality.
             In the vitally important matters of absolute purchase,
             sale, seizure for debt, inheritance, distribution, marriage, (or rather, no marriage,)
             annihilation of family
             sanctities, incapacity to possess property, to make a
             contract, or to receive wages in the appointment of
             labor, supply of food, clothing, and habitations, we
             have seen the power of the master every thing, the
             rights, the protection, the defense, the redress, and
             the power of the slave, nothing! We come now to
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             THE AMIERICAN SLAVE CODE.
             inquire whether, in the item of slave punishments by
             the master, there are any available limitations or re strictions of his power. In other
             words, whether, in
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             "the legal relation" of slave owner and slave, the
             "owner" be, in reality, at this vital point, amenable
             to law; or whether here, as at all the preceding
             points, he rises above law, making it the instrument
             of his will, but not stbjecting himself to its authority.
             If there be any such limitation, it must be, thus far,
             an inroad upon thIe principle of human chattelhood,
             denying its claims, and thwarting the exercise of the
             "rights of property" involved in it. The rights of
             property in brute animals might be limited at this
             point, without danger to the tenure of such property.
             The brute could take no advantage of such lenity, to
             throw off the yoke of dominion and outgrow its
             chattelhood. Not so with chattels endued with
             thought and reason. To be held and used as chattels at all, they must be taught (as
             before quoted
             from Prince's Digest, 450) that "the life of the slave
             must be in his master's keeping," or, as Judge Ruffin
             expressed it, "the slave must be sensible that there
             is no appeal from his master." The old Romans understood this necessity, when they
             engrafted the same
             maxims into their civil code: the slaves "are not
             capable of being injured"-they may be "punished
             at the discretion of their lord, or even put to death
             by his authority." The people of the South, their
             courts, and their jurists, understand this, when they
             "generally refer" (as Stroud says they do) to the
             Roman civil code, "as containing the true principles
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             PUNISHMENT BY MASTERS.
             of their institution," "except where modified by
             statutes, or by usages whicli have acquired the force
             of law." Those statutes and usages (on this point)
             we are now to inquire after. If it be found that
             Judge Ruffin, and that Mr. Prince, in his Digest,
             have rightly represented them, the apologists of the
             "innocent legal relation" must not too severely or
             too exclusively arraign their barbarism for expounding (not enacting) the law of the
             "relation."
             It could hardly be supposed that, in any civilized
             country, the Legislature would, by express statute,
             authorize the master to commit cruel outrages upon
             the persons of his slaves, or murder them; nor that,
             in the present age of the world, a civil government
             would openly proclaim impunity to any persons
             beforehand, in the commission of such crimes. If it
             were desired and intended by the Legislature to produce such a result, the more
             feasible and effect-ual
             means of doing this (especially in an elective governs
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             ment) would be to make a show of prohibiting an4
             punishing the crimes, but under circumstances and
             arrangements so contrived as to render the execution
             of the law or the conviction of the offenders impracticable.
             Laws and courts of justice are chiefly needed for
             the protection of the weak and the defenseless. That
             class in any community that, from these causes, is
             most exposed to violence and outrage, is the class in
             respect to which the Legislature, if it intends to protect
             theen at all, will most solicitously seek methods of
             doing it effectually. If any distinctions are made
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             THE AMERICAN SLAVE CODE.
             between the subjects of the government, it will be
             made in theirfavor. Whenever an opposite policy is
             witnessed, especially when this is carried so far that
             the exposed class are not allowed to bring a complaint
             against one of the class to whose aggressions they are
             most exposed, or even to bear testimony against them,
             we may be certain that no protection of thiem was
             intended; but that, on the other hand, the powerful
             party was intended to be countenanced in their injurious aggressions. And this
             would be doubly
             confirmed, if none but the same powerful party administered the law, or had any
             share in the government, or participation in the immunities or privileges
             enjoyed under it. Let such be the case between
             Catholics and Protestants, Normans and AngloSaxons, or Turks and Greeks, and no
             reader of
             history would hesitate in making such a decision.
             This is the precise fact in respect to American slaveholders and slaves. No principle
             in the slave code
             is more firmly established than this: that a slave
             can bring no suit against his master, unless it be a
             suit for his freedom. Even the minor female slave
             who is to be free at the age of twenty-one can have
             no suit brought by a free parent for her relief from
             ill treatment. Such was the decision (before alluded
             to) of Judge Martin, in thie case of Dorothee vs.
             Coquillon et al., Jan. Term, 1829. (19 Martin's
             Louisiana Reports, 350. Wheeler's Law of Slavery,
             p. 198.)
             It must be idle to pretend that any statutes for the
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             PUNISHMENT BY MASTERS.
             protection of the slave can be of any avail in the
             presence of such rules, and the following:
             "It is an inflexible and universal rule of slave law,
             founded in one or two States upon usage, in others
             sanctioned by express legislation, THAT THE TESTIMONY OF A COLORED
             PERSON, WHETHER BOND OR
             FREE, CANNOT BE RECEIVED AGAINST A WHITE PERSON." (Stroud's
             Sketch, p. 27.)
             To this feature of slave law we have alluded before, and shall devote to its details a
             distinct chapter,
             when we come to treat of the civil relations of the
             slaves. In the mean time, it is a feature of sufficient
             notoriety to be assumed in this chapter, having been,
             at one time, enacted in the free State of Ohio, and
             also incorporated into the ecclesiastical polity of the
             Methodist Episcopal Church, as administered in those
             States where it obtains as civil law.
             In the presence of such- a regulation, very clearly,
             there can be no adequate protection of the slave
             under any laws framed for his benefit, however well
             constructed in other respects. Nevertheless, we will
             examine them, and notice their spirit, and the kind
             and degree of protection they appear to contemplate.
             SOUTH CAROLINA.-Act of 1740: "In case any
             person shall wilfully cut out the tongue, put out the
             eye, castrate, or cruelly scald, burn, or deprive any
             slave of any limb or member, or shall inflict any
             other cruel punishment, OTHER THAN by whipping,
             or beating with a horsewhip, cowskin, switch, or
             small stick, or by putting irons on, or confining or
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             THE AMERICAN SLAVE CODE.
             imprisoning such slave, every such person shall, for
             every such offense, forfeit the sum of one hundred
             pounds, current money." (2 Brevard's Digest, 241.)
             This law, it is believed, is still on the statute book.
             We have said, it could hardly be supposed that any
             legislature, in a civilized country, would, by express
             statute, authorize the master to commit cruel outrages upon the persons of his
             slaves. But this is
             done in the statute just quoted. The expression
             "other than," in its connection, does expressly authorize "cruel punishment." And it
             authorizes "cruel
             punishment" in a number of forms specified, viz:
             "by whipping or beating with a horsewhip, cowskin,
             switch, or small stick, or by putting irons on, or confining or imprisoning." "Cruel
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             punishment," if inflicted in either of these ways, is expressly excepted
             from the "cruel punishments" forbidden. And on
             inspection it will be found, that the methods of
             "cruel punishment" forbidden are such, and such
             only, as diminish the pecuniary value of the slave.
             The "legal relation" which contemplates the slave
             only as a chattel, was evidently the presiding genius
             of this enactment.
             The specific prohibitions assure us that certain
             "persons" (whether owners, overseers, or others) had
             commnitted outrages of that character, or such particular specifications would not
             have been thought of.
             Such wanton destruction of "property" was not to
             be suffered. The heavy pecuniary fine would afford
             some security to slave "owners" against passionate
             "overseers" and others. The defenselessness of the
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             PUNISHMENT BY MASTERS.
             slave, and the brutality of those around him, are
             frightfully depicted in this statute, the like of which
             was never needed for the security of domestic beasts.
             Yet no compensation or damages are awarded to the
             sufferers. The "owner" might be the aggressor, but
             the slave was not allowed "to go free for his eye's
             sake," like the Hebrew servant, whose master had
             thus injured him. (Exodus xxi. 26, 27.) The
             "cruelty" authorized is a sufficient proof that the
             Legislature had little or no regard to the suffering
             or pain endured by the slave, provided the article
             of "property" were not essentially damagedl.
             LoUIsIANA.-"The slave is entirely subject to the
             will of his master, who may correct and chastise him,
             though not with unusual rigor, nor so as to maim or
             mutilate him, or to expose him to the danger of loss
             of life, or so as to cause his death." (Civil Code of
             Louisiana, Art. 173.)
             Here, again, the protection of slave property, rather
             than the prevention of suffering by the slave, appears
             to be the leading object in view. The slave may not
             be maimed, he may not be mutilated, he may not be
             killed. Beyond this, there is nothing in the way of
             prohibition that is tangible or definite. Permission
             to the master is far more distinct and prominent.
             The "master may chastise," and he may chastise
             "with rigor," (severity; without abatement, relaxation or mitigation. Vide Webster,)
             but "not with
             ,unusual rigor." There is something in this singular
             phraseology that requires study. Such a law, instead

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             of correcting prevailing usages, receives its definition
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             THE AMERICAN SLAVE CODE.
             from them. That which is "usual" is authorized,
             whatever it may be, short of maiming mutilation,
             and murder. And the more rigorous, severe, and
             cruel may be the prevailing usages of a community,
             the more rigorous, severe, and cruel they are ex pressly authorized to be. The
             individual is referred,
             as a standard of lawful action, to the common prac tices of his neighbors around
             him. What is "usual"
             among them is lawful for him. If it is "usual" to
             '" chastise" a slave by inflicting on him a hundred
             lashes, it is lawful to do so. If it is " usual" to
             add five hundred lashes more, it is equally lawful!
             In short, the current usages of the fraternity of
             slaveholders (with the exceptions specified) are proclaimed, by the Civil Code of
             Louisiana, to constitute the law. This approximates closely to the
             abrogation of law, so far as slaveholders are concerned, or the abdication of
             supremacy by the civil
             government in their favor. The condition of this
             great nation of twenty millions of people, controlled
             by a little more than one hundred thousand slaveholders, seem but an expansion of
             this idea.
             "Unusual rigor" must be defined in the light of
             what is usual. And we may learn something of what
             was then considered usual rigor in Louisiana, by the
             fact that the provisions of the law of South Carolina,
             before cited, with exception of its prohibition of mutilation, had been substantially
             in force there, up to the
             time this new Civil Code was adopted. We may
             infer, therefore, that "cruel punishment" by "whipping or beating with a horsewhip,
             cowskin, switch,
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             PUNISHMENT BY MASTERS.
             or small stick, or by putting irons on, or confining
             or imprisoning," was not "Imunusual," and consequently not forbidden, by the new
             Civil Code.
             In 1819, the Legislature of Louisiana recognized
             the lawfulness of putting iron chains and collars
             upon slaves, to prevent them from running away, as
             follows:
             "If any person or persons, &c., shall cut or break
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             any iron collar which any master of slaves shall
             have used in order to prevent the running away or
             escape of any such slave or slaves, such persons so
             offending shall, on conviction, be fined not less than
             two hundred dollars, nor exceeding one thousand
             dollars; and suffer imprisonment for a term not exceeding two years, nor less than
             six months." (Act
             of Assembly of March 6, 1819. Pamphlet, p. 64.)
             Compare this penalty with that imposed by the
             Legislature of the same State for cruelties committed
             on slaves, viz: "not more than five hundred dollars
             nor less than two hundred," (1 Martin's Digest, 654,)
             and it will appear that the releasing of a slave from
             the " usual" punishment of thie " iron chain or collar"
             is regarded a more aggravated crime than inflicting
             upon him the "unusual punishment," whatever it
             may be, prohibited by law! For thle act of mercy,
             the offender may be fined $1000 and imprisoned two
             years; for the act of atrocious cruelty, he may be
             fined $500, but without imprisonment. Thus it is
             that the Legislature of Louisiana discountenances
             cruelty.
             MississiPPI.-The Constitution empowers the Le
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             TIHE AMERICAN SLAVE CODE.
             gislature to make laws to oblige the owners of slaves
             to treat them with humanity-to abstain from all
             injuries to them extending to le and lisb, and in
             case of their refusal or neglect to comply with the
             directions of such laws, to have such slave or slaves
             sold, for the benefit of the owner or owners. (Const.
             Mississippi, title slaves, Sect. 1. Rev. Code, 554.)
             The Legislature, so far as appears, have taken no
             action under the powers granted in this last clause
             for the sale of maltreated slaves.* Under the former
             clause the action of the Legislature is as follows:
             " No cruel or unusual punishment shall be inflicted
             on any slave ill this State. And ally master or
             other person entitled to the service of any slave, who
             shall inflict such cruel or unusual punishminent, or
             shall authorize or permit the same to be inflicted,
             shall, on conviction, &c., be fined according to the
             magnitude of the offense, at the discretion of the
             * No such provision appears to exist in any of the States, except,
             perhaps, in Louisiana; and this constitutes another harsh feature
             of modern American slavery, as contrasted with the ancient.
             Nothing can be more manifest than that no laws against the
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             cruelty of masters and overseers can be of much benefit to the slave,
             if he is still to remain in the hands of a master whose tyranny had
             already demanded legal interference, and who would, in most cases,
             be exasperated against the slave on whose behalf the interference
             had been made. Judge Ruffin, if we rightly understand him, in the
             case of "the State vs. Mann," adduces this as a reason why the master must not be
             indictable for a battery on his slave. It would
             only prompt him to "bloody vengeance, generally practised with
             impunity, by reason of its privacy." (Wheeler's Law of Slavery,
             p. 247.)
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             PUNISHIMENT BY MASTERS.
             Court, in any sum not exceeding five hundred dollars," &c. (Rev. Code, 379; Act of
             June 18, 1822.)
             Hiere, again, no satisfaction or remuneration is
             awarded to the slave,for "a slave is not capable of
             being injured;" he is a "chattel"-a "thing "-not
             a person. And it is only an "unusual" punishment
             that is forbidden! The masters and overseers have
             only to repeat their excessive punishments so frequently that they become "usual,"
             and the statute
             does not apply to them! In this view it holds out
             an inducement to render the most cruel inflictions
             usual. Besides all this, the slave can bring no suit.
             Hie can enter no complaint. Hie can bear no testimony. No other slave or free
             colored person can
             bear testimony against a while person; and the law
             is administered by slaveholders. It is incredible that
             owners and overseers should be much restrained by
             the provisions of this act.
             ALABAMA-has a statute similar to that of Mississippi, except that the fine imposed
             is only one hundred dollars, instead of five hundred. (Toulman's
             Digest, 631.)
             MIssouRI.-The Constitution not only empowers
             the Legislature "to oblige the owners of slaves to
             treat them with humanity, and to abstain from all
             injuries to them extending to le or limb," (Art. 3,
             Sec. 26, last clause, 1 Missouri Laws, 48,) but it is also
             made its DUTY to pass such laws as may be necessary
             for this purpose.
             HIere, as before, the "life and limb "-the pecuniary value of the "property "-appears
             the prominent
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             THE AMERICAN SLAVE CODE.
             idea. Owners of property may not wantonly destroy
             it, to the public detriment, at the risk of their families and creditors. Owners of this
             refractory species
             of property, being "nursed and daily exercised in
             tyranny," are under special temptations. "To treat
             them [the slaves] with humanity" is an indefinite
             expression. Rightly construed, it would restore to
             them the right of testimony-the rights of human
             beings. But this was not the design, nor is it the
             practical construction of the instrument. So far as
             is known, (or previously to 1827, the latest dates in
             our possession,) "no law has been enacted on the
             authority of this article in the Constitution." (Vide
             Stroud's Sketch, p. 43.)
             The following, however, is found on the statute
             book:
             "If any slave resist his or her master, mistress,
             overseer, or employer, o0 refuse to obey his or her
             lawful commands, it shall be lawful for such master,
             &c., to commit such slave to the common jail of the
             county, there to remain at the pleasure of the master,
             &c.; and the sheriff shall receive such slave and keep
             him, &c., in confinement, at the expense of the person committing him or her." (1
             Missouri Laws, 309.)
             "LaZ ful commands "-But what if the commands
             are not lawful? And who is to decide, and by what
             testimony? The slave can bear no testimony-can
             enter no complaint-can set up no plea in arrest of
             proceedings. The "innocent legal relation," being
             a mere relation of owner and property, would not
             permit this. A legal process between owner and
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             PUNISHMENT BY MASTERS.
             chattel would be an absurdity, and the statute,
             accordingly, prescribes none. The master simply
             "commits" his slave to the "I sheriff," and it is the
             business of that public functionary to "receive" him.
             The insertion of the word "lawful" was a mere
             farce. It might be the "command" of the " owner"
             to a slave wife or virgin to submit to his embraces.
             Worse punishments than imprisonment are known
             to be in use in such cases, and are believed to be
             not "zunusual." This law has its counterpart or
             emendation in the municipal regulations of slave
             cities, where house servants (in the absence of any
             plantation overseer) are summarily sent to a public
             officer to be whipped a specified number of lashes,
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             without any mention of the offense.
             So far from any imitation of the "owner's" authority and power, we here find it
             enlarged. The public
             arm, instead of protecting the slave against the mas
             ter, assists the master in the exercise of his irresponsible despotism over the slave.
             And in doing this the slave owner is invested with
             a dignity not conferred on any other class of citizens. He becomes ex officio, in
             virtue of his being
             a slaveholder, a judicial functionary himself, with
             the powers of a court of justice to award sentence,
             and order a public officer to put it in executionua
             court in which the prosecutor is judge, and without
             even the forms of trial, or permitting the adverse
             party a hearing, gives verdict and sentence in his
             own case!
             This feature of the Southern Slave Code was ex
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             THlE AMERICAN SLAVE CODE.
             tended over all the United States by the decision of
             the U. S. Supreme Court, Prigg vs. Pennsylvania,
             in which it was laid down that the slave owner himself has authority to arrest his
             alleged fugitive without a warrant from a magistrate. The same principle
             is also contained in the Fugitive Slave Bill, enacted
             by the Federal Congress in 1852.
             From the acts of the Legislatures we now turn to
             the decisions of the Courts, to learn the practical
             vtalue of the protection provided by the statutes for
             the slave.
             The State vs. Maner, 2 Hill's S. C. Rep. 453.
             S. P. Hilton vs. Caston, 2 Bay's Rep. 98.
             White vs. Chambers, 2 Bay's Rep. 70.
             State vs. Cheatwood, Hill's Rep. 459.
             "Per Cur., O'lfeil, J.-The criminal offense of
             assault and battery cannot, at common law, be committed on the person of a slave.
             For, notwithstanding
             for some purposes a slave is regarded in law as a
             person, yet generally he is a mere chattel personal,
             and his right of personal protection belongs to his
             ,master, who can maintain an acti, ).: trespass for
             the battery of his slave.
             "There can therefore be no offense against the State
             for a mere beating of a slave, unaccompanied by any
             circumstances of cruelty, or an attempt to kill and
             murder. The peace of the State is not thereby broken,
             for a slave is not generally regarded as legally capable of being within the peace of
             the State. He is
             to not a citizen, and is not, in that character, entitled
             her protection." (Wheeler's Law of Slavery, p. 243.)
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             PUNISIHMENT BY MASTERS.
             It may be thought that this case is not in point,
             in discussing, as we here do, the liabilities of masters
             for maltreating their slaves, as this was not the case
             of a slave master. Our argument is this: If the
             Courts decide that white persons, not the owners of
             the slave thus abused, cannot be punished for assault
             and battery, it is very evident that the owners cannot be.
             And this is distinctly laid down in the case that
             next follows, where, although the defendant was
             only the hirer and not the owner, the Court laid down
             the rule of law for an owner, and then applied it to
             the hirer, which (with the preceding) covers the
             whole ground, and shows that the slave has no legal
             remedy or protection in the Criminal Code against
             assault and battery, from any person whatever! The
             right of the master to maintain an action against the
             assailant of his slave property for pecuniary damages, is altogether another question.
             "The master is not liable to an indictment for a battery committed UPON his slave."
             (Wheeler's Law of
             Slavery, p. 244.)
             This statement is the Reporter's (or Mr. Wheeler's)
             marginal title to the case of " The State vs. Mann,
             Dec. 7, 1829. 2 Devereaux's North Carolina Rep.
             263."
             "The defendant was indicted for an assault and
             battery upon Lydia, the servant of one Elizabeth
             J,ones. On the trial it appeared that the defendant
             had hired the slave for a year; that during the term
             the slave had committed some small offense, for
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             THE AMERICAN SLAVE CODE.
             which the defendant undertook to chastise her; that
             while in the act of so doing, the slave ran off, whereupon the defendant called upon
             her to stop, which
             being refused, he shot at and wounded her. The
             Judge in the Court below charged the jury that if
             they believed the punishment inflicted by the defendant was cruel and
             unwarrantable, and disproportionate to the offense committed by the slave, that in
             law
             the defendant was guilty, as he had only a special
             property in the slave. A verdict was returned for the
             State, and the defendant appealed.
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             "Per Cur., Ruffin, J.-A Judge cannot but lament,
             when such cases as the present are brought into judgment. It is impossible that the
             reasons on which
             they go can be appreciated but where institutions
             similar to our own exist, and are thoroughly understood. The struggle, too, in the
             Judge's own breast
             between the feelings of the man and the duty of the
             magistrate, is a severe one, presenting strong temptation to put aside such questions,
             if it be possible.
             It is useless, however, to complain of things in our
             political state. And it is criminal in a Court to avoid
             any responsibility which the laws impose. With
             whatever reluctance, therefore, it is done, the Court
             is compelled to express an opinion upon the extent
             of the dominion of the master over the slave in North
             Carolina." "The inquiry here is, whether a cruel and
             unreasonable battery upon a slave, by the hirer, is indict.
             able. The Judge below instructed the jury that it
             is. He seems to have put it upon the ground that
             the defendant had but a special property. Our laws
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             PUNISHMENT BY MASTERS.
             uniformly treat the master or other person having
             the possession and command of the slave, as entitled
             to the same extent of authority. The object is the
             same-the service of the slave; and the same powers
             must be confided. In a criminal proceeding, and
             indeed in reference to all other persons but the general owner, the hirer and
             possessor of the slave, in
             relation to both rights and duties, is, for the time
             being, the owner. This opinion would, perhaps,
             dispose of this particular case, because the indictment which charges a battery upon
             the slave of
             Elizabeth Jones is not supported by proof of a battery upon defendant's own slave;
             since different justifications may be applicable to the two cases. But
             upon the general question whether the owner is answerable, criminalter, for a
             battery upon his own
             slave, or other exercise of authority or force, not forbidden by statute, the Court
             entertains but little
             doubt. That he IS so liable has never been decided, nor,
             as far as is known, been hitherto contended. TIIERE
             IHAS [have] BEEN NO PROSECUTIONS OF
             THE SORT.* THE ESTABLISHED AND UNIFORlVM PRACTICE OF THIE
             COUNTRY in this
             * This testimony tells us how much those statutes are worth
             that pretend to limit the amount of punishment that an owner
             may inflict on his slave. It may indeed be said that although a
             master is not indictable in general terms for an assault and battery,
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             yet he may be indicted for violations of specific provisions of a
             statute. But if this be so, why was not the defendant, in this case,
             indicted for the shooting of Lydia, if there existed any statute forbidding such an
             outrage? And if not, where is the protection.
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             THE AMERICAN SLAVE CODE.
             respect is the best evidence of the portion of power DEEMED BY THE WHOLE
             COMMUNITY REQUISITE TO THE PRESERVATION OF THE MASTER'S
             DOMINION. If we thought differently, we
             could not set our notions in array against the judgment of every body else, and say
             that this or that
             authority may be safely lopped off. This has indeed
             been assimilated, at the bar, to the other domestic
             relation," &c., &c.*
             Having answered this plea by showing the contrast between such domestic relations
             and those
             between master and slave, and the consequent degradation of "the subject," his
             Honor proceeds:
             "What MORAL considerations shall be addressed to
             such a being, to convince him, what it is impossible
             but that the most stupid must feel and know can
             never be true, that he is thus to labor upon a principle of natural duty, or for the sake
             of his own personal happiness? Such services can only be expected
             from one who has no will of his own; who surrenders his will in implicit obedience
             to that of another.
             Such obedience is the consequence only of uncontrolled authority over the body.
             There is nothing else
             which can operate to produce the effect. The power
             of the master must be absolute, to render the submission
             of the slave perfect. I most freely confess my sense
             of the harshness of the proposition. I feel it as
             * The answer of Judge Ruffin to this plea, we have already
             copied, in our definition of Slavery in Chapter I., and need not
             repeat it here.
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             PUNISHMENT BY MASTERS.
             deeply as any man can. And, as a principle of moral
             right, every person in his retirement must repudiate
             it. But in the actual condition of things it must be
             so. There is no remedy. This discipline belongs to the
             state of slavery. They cannot be disunited, without abrogatinrtg at once the rights of
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             the master, and absolving the
             slave from his subjection. It constitutes the curse of
             slavery to both the bond and the free portions of our
             population. BUT IT IS INHERENT IN THE
             RELATION OF MASTER AND SLAVE. That
             there may be particular instances of cruelty and
             deliberate barbarity where in conscience the law
             might properly interfere, is most probable.
             "The difficulty is to determine where a Court may
             properly begin. Merely in the abstract, it may well
             be asked, WHICH power of the master accords with
             RIGHT? The answer will probably sweep away all of
             them. But we cannot look at the matter in that light.
             The truth is, that we are forbidden to enter upon a
             train of general reasoning on the subject.,lTe cannot allow the right of the mastir to
             be brought into discussion in the Courts of justice. The slave, to remain a
             slave, must be made sensible that there is no appeal from
             his master; that his person is in no instance usurped,
             but is conferred by the laws of man at least, if not
             by the law of God. The danger would be great
             indeed, if the tribunals of justice should be called on
             to graduate the punishment appropriate to every
             temper and every dereliction of menial duty. No
             man can anticipate the many and aggravated provocations of the master, which the
             slave would be
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             THE AMERICAN SLAVE CODE.
             constantly stimulated, by his own passions or the
             instigations of others, to give; or the consequent
             wrath of the master, prompting him to bloody ven geance upon the turbulent traitor;
             A VENGEANCE
             GENERALLY PRACTISED WITH IMPUNITY, BY REASON
             OF ITS PRIVACY. The Court, therefore, disclaims the
             power of CHANGING THE RELATION in which these
             parts of our people stand to each other." "I repeat
             that I would gladly have avoided this ungrateful question; but being brought to it,
             the Court is compelled
             to declare, that while slavery exists amon us in itspresent state, or until it shall seem
             fit to the Legislature to
             interpose express enactments to the contrary, it will
             be the imperative duty of the Judges to recognize
             the full dominion of the owner over the slave, except
             where the exercise of it is forbidden by the statute.
             And this we do on the ground, that tlis dominion is
             essential to the value of slaves as p)roperty, to the security of the master, and the
             public tranquillity, greatly
             dependent upon their subordination; and, in fine, as
             most effectually securing the general protection and
             comfort of the slaves themselves. Judgment below
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             reversed, and judgment entered for the defendant."
             (Wheeler's Law of Slavery, pp. 244-8.")
             Here is a document that will repay profound
             study. The moral wrong of slavery is distinctly and
             repeatedly admitted, along with the most resolute
             determination to support it, by not allowing the rights
             of the rnaster to come under judicial investigation, betraying a consciousness that
             they would not abide
             the test of the first principles of legal science. The
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             PUNISIMENT BY MASTERS.
             struggle between the man and the magistrate, implying that slavery requires of its
             magistrates to trample
             upon their own manhood; the cool and deliberate
             decision to do this, and to elevate the law of slavery
             above the law of nature and of nature's God, are
             painful but instructive features of the exhibition.
             And so is the incidental testimony to the frequency
             of bloody outrages, "generally practised with impunity, by reason of their privacy."
             But, in this chapter, we are chiefly concerned with
             this judicial decision that "a cruel and unreasonable
             battery on a slave by a hirer is not indictable," because such battery by an owner
             would not be; the
             testimony that the opposite doctrine has never
             been held by the Courts; "that he [the master] is
             so liable has never been decided, nor, so far as known,
             contended for;" that "there has been no prosecutions
             of the sort;" that "the established habits and uniform practice of the country" prove
             that the whole
             community deem this power of the master "requisite to the preservation of his
             dominion," and that
             this must be so, while the slave system continues.
             The arguments of Judge Ruffin in proof of this, we
             deem impregnable. And it deserves notice that this
             decision, made in 1829, before there was any excitement raised on the slave
             question, was virtually
             endorsed in the midst of the anti-slavery agitation, in
             1837, by Judge Hitchcock of Alabama, (through his
             recommendation of the volume for the use of the
             "Southern bar,") as containing the true Southern
             doctrine.
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             All this should be borne in mind, in the discussions
             of the next chapter. In order to understand, correctly and fully, any one phase or
             feature of the
             slave system, it must be studied in its natural and
             necessary connection with the other features of the
             system most nearly related to it, and, indeed, with all
             its features; for they are all mutually dependent upon
             and defined by each other.
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             CHAPTER XIV.
             OF LAWS CONCERNING THIE MURDER AND KILLING
             OF SLAVES.
             The structure of the Laws, and the condition of the Slaves, render adequate
             protection impossible.
             WE come now to consider the laws purporting to
             restrain and punish the murderers of slaves.
             The revelations of the last chapter establish clearly
             the principle and the fact that the authority of the
             master is unlimited, and that he is not indictable, and
             never has been indicted and punished for the "cruel
             and unreasonable battery of his slave." It seems
             difficult to conceive how, in such a condition of the
             statute book, the judiciary, and the community, there
             couWd be any effectual restraints upon the murderers
             of slaves, or how they could be convicted and
             punished, at least where the offenders were owners
             or hirers of the slaves they had murdered. If a man
             is not protected from cruel and unreasonable battery
             at the pleasure of his assailant, how can he be protected from the liability to be
             kzilled by such battery?
             And if the law permits the optional battery of a
             8*
             L


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             THE AMERICA.N SLAVE CODE.
             man, what power can it retain to punish him for the
             natural effects of such battery? Will the law allow
             on0 man to beat another as much as he pleases, or
             shoot him, (as in the case last cited,) and then punish
             him because the man is thus killed?
             In former times, the murder of a slave in most, if
             not all the slaveholding reg(ions of this country, was,
             by law, punishable by a pecuniary fine only. At
             present, the wilful, malicious, and deliberate murder
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             of a slave, by whomrsoever perpetrated, is declared to
             be punishable with death, in every State. (See
             Stroud's Sketch, p. 36.) The exclusion of all testimony of colored persons, bond or
             free, is a feature
             sufficient, of itself, to render these laws nugatory.
             The "owner" or "overseer" may command the slave
             to attend him to any secret spot, and there murder
             him with impunity. Or he may do it openly, (it has
             often been done,) in the sight of many colored persons, with equal impunity. But let
             us examine some
             of these laws.
             SOUTH CAROLINA, 1740.-The Act, in its preamble, sets forth that "cruelty is not
             only highly
             unbecoming those who profess themselves Christians,
             but is odious in the sight of all men who have any
             sense of virtue or humanity." [Therefore:] "To
             restrain and prevent barbarity being exercised towards slaves, Be it enacted, that if
             any person shall
             wzif/ly rmurder his own slave, or the slaves of any
             other person, every such person [i. e., the offender]
             shall, upon conviction thereof, forfeit and pay the
             sum of seven hundred pounds, current money, and
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             MURDER OF SLAVES.
             shall be rendered for ever incapable of holding, exercising, &c., any office, &c. And
             in case any such
             person shall not be able to pay the penalty and forfeiture hereby inflicted and
             imposed, every such
             person shall be sent to any of the frontier garrisons
             of the Province, or committed to the workhouse in
             Charleston for the space of seven years, &C., &e., at
             hard labor." (2 Brevard's Digest, 241.)
             Another provision of the same Act is as follows:
             "If any person shall, on a sudden heat or passion,
             OR by undue correction, kill HIS OWVN SLAVE, or the
             slave of any other person, he shall forfeit the sum
             of three hundred and fifty pounds, current money."
             (lb., 241.)
             For this latter offense there seems to have been no
             incapacity to hold office.
             The greater part of cases, especially in the absence
             of colored testimony, would come under this latter
             provision. To shoot down a slave deliberately would
             incur the heavier fine, and the civil disability. To
             beat out his brains with a club, or whip him to death,
             would cost ~350; that is, if any free WHITE person
             should witness the act, and see fit to institute proceedings.
             This Act continued in force till 1821, when the
             wilful murder of a slave was made punishable with
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             death, without benefit of clergy; while the penalty
             for killing in "sudden heat," or "undue correction,"
             was reduced to five hundred dollars, but authorizing an
             imprisonment for six months. This latter sum, therefore, in South Carolina, may be
             considered the price
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             THE AMERICAN SLAVE CODE.
             at which a slave owner is licensed to kill a slave, in
             the prescribed manner, as above; with some hazard,
             perhaps, of six months' confinement —both contingent
             upon the testimony of a free WHITE person!
             NORTH CAROLINA. - -Act of 1798, section 3:
             Whereas, by Act of another Assembly, passed in
             the year 1774, the killing of a slave, however wanton,
             cruel, and deliberate, is only punishable, in the first
             instance, by imprisonment, and _paying the value
             thereof to the OWNER, which distinction of criminality
             between the murder of a white person and one who
             is equally a human creature, but merely of a different
             complexion, is disgraceful to humanity, and degrading in the highest degree to the
             laws and principles of a free, Christian, and enlightened country;
             Be it enacted, &c., that if any person hereafter be
             guilty of maliciously killing a slave, such offender
             shall, on the first conviction thereof, be adjudged
             guilty of murder, and shall suffer the same punishment as if he had killed a free
             man: Provided always,
             this act shall not extend to any person killing a slave
             outlawed by virtue of any Act of Assembly of this
             State, or to any slave in the act of resistance to his
             lawful owner or master, or to any slave DYING UNDER
             MODERATE CORRECTION!" (Hiayward's Manual, 530.)
             What a contrast between the preamble and the
             details of the Act! Disgraceful to make a distinction
             between white and colored persons, yet still keeping
             up the disgraceful distinction. The "wilful and
             malicious murder" of the slave to be punished,
             "'provided " said "wilful and malicious murder" be
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             MURDER OF SLAVES.
             not thus and thus committed, &c.; implying impunity to other forms of such murder.
             Notice the exceptions provided against.
             1. "Wilful and malicious killing a slave" is to be
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             punished, "provided" it be not " the killing of a slave
             outlawed," &c.
             The meaning of this appears in the fact, that a
             proclamation of outlawry against a slave is authorized by statute, whenever he runs
             away from his
             master, conceals himself in some obscure retreat, and,
             to sustain life, "kills a hog, or some animal of the
             cattle kind." (See Hiayward's Manual, 521. Act of
             1741, ch. 24, sect. 45. Stroud, p. 38.)
             2. Another exception is the case of "any slave in
             the act of resistance to his lawful owner or master."
             The Courts have determined that this proviso renders
             it lawful to kill a slave "resisting or offering to resist
             his master by force." (2 Hayward's Reports, p. 54.)
             No matter what the occasion or the necessity of
             resistance may be-iwhether to ward off murderous
             attacks, or (in the case of females) outrages worse
             than murder, the first motion or preparation for selfdefense is the signal for lawful
             slaughter, on the
             spot, according to statute! This, in an Act ostensibly
             for the slave's protection. Bearing in mind that the
             miaster's account * of the matter (in the absence of
             * At Alexandria, (D. C.,) in 1823, a slave owner chased his female
             slave, whip in hand, in open daylight, before multitudes, to the
             end of a wharf, where she jumped in and was drowned. Verdict
             of the coroner's inquest: "Death by suicide to escape deserved
             punishment." The term "deserved" being inserted by testimony of
             the "owner," without even a statement of the offense.
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             1=,:


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             white witnesses) cannot be questioned in Court, we
             have the doctrine of Judge Ruffin and of Prince's
             Digest sustained. "The slave must be taught that
             there is no appeal from his master.7' "lHis life must
             be in his master's keeping."
             3. The third exception is the case of a slave dying
             under moderate correction!!! This gives us a legislative definition of "moderate
             correction." It is such
             as may be apprehended or supposed to endanger and
             even take away the life of the slave. In the light of
             this, we may understand also the prohibition of "unusual punishment." It does not
             always reach the case
             of those who die under the lash, for even this may
             be "moderate correction," and consequently not
             " unusual."
             The sum of the matter is, then, this: In North
             Carolina, the "wilful and malicious killing of a slave,"
             if proved by WHITE witnesses, is to be punished by
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             death, "provided" the said slave, being "in pursuit
             of" "liberty and happiness," does not hold his "right
             to life" more sacred than the life of "a hog, or some
             animal of the cattle kind!" Provided, also, that, in
             self-defense, she or he never offers to lift a finger to
             avert rape or murder; and provided, finally, that he
             is not killed "under moderate correction!"
             TENNESSEE.-Act of October 23, 1799; similar to
             the Act of North Carolina, and with a like proviso.
             (Laws of Tennessee.)
             The outlawry of slaves is a very common occurrence in the slave States.
             GEORGIA.-Constitution, art. 4, sect. 12: "Any
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             MURDER OF SLAVES.
             person who shall maliciously dismember or deprive a
             slave of life, shall suffer such punishment as would
             be inflicted in case the like offense had been committed upon a free white person,
             and on like proof,*
             except in case of insurrection of said slave, and unless
             SUCH DEATH SHOULD HAPPEN BY ACCIDENT, IN GIVING
             SUCH SLAVE MODERATE CORRECTION." (Prince's Digest, 559.)
             One question presents itself in a review of such
             enactments. What definite objects were INTENDED to
             be reached by them? A decent respect for the intellects and the common sense of
             Southern legislators
             forbids the supposition that they could have been
             seriously intended for the protection of the slave.
             The uniform exclusion of colored witnesses is conclusive of this. When, in a distinct
             chapter, we
             shall consider that feature of the Slave Code, this
             conclusion will, perhaps, be more deeply impressed.
             The preambles quoted from the Acts of North and
             South Carolina betray a consciousness that the sterner
             features of the Slave Code are "odious," "disgraceful," and "degrading" to a "free,
             Christian, and enlightened country." Philanthropic men at the South,
             more or less distinctly dissatisfied with the Slave Code,
             might be also appeased by some apparent relaxations.
             Attempts by some members of the Legislatures to
             * It must not be inferred that this provision restores the testimony of colored
             witnesses. It only reminds us that such witnesses
             cannot be summoned to attest the murder of one white person by
             another, thus weakening the arm of civil protection in general,
             throughout the entire South.
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             introduce reforms would be likely to be marred and
             rendered abortive by incongruous provisos, engrafted
             by the majority upon bills proposed by them. In
             these ways, we may readily account for the absurd
             and confused legislation recorded in this and the pre ceding chapters.
             We turn next to the reported cases in Wheeler's
             Law of Slavery, for any additional light on the subject of this chapter, and of the
             preceding one. One
             division of his book, numbered XIV., on page 200,
             is headed thus: "MASTERS' AND OTHERS' LIABILITIES
             FOR MALTREATING THEIR SLAVES." If any materials
             are to be found "in all the decisions made on that
             subject [of Slavery] in the several Courts of the
             United States and State Courts," * of which Mr.
             W'heeler's work is "a compilation," which could show
             that adequate legal protection against outrage and
             murder is extended to the slave, we have certainly
             a right to look for it under this appropriate head.
             Especially might it be reasonably expected, after
             such a note by the author or compiler as the following, which is appended to the title
             of this same
             division or chapter, at the foot of page 200, viz:
             "It is stated in Stroud's Sketch of the Laws relating to Slavery, p. 35,' that the
             mnaster mnay, at his
             pleasure, inflict any species of puni.shment upon the person of his slave.' This
             proposition, so repugnant to
             humanity, is equally opposed to the fact, and also to
             the law. In those States where there are no enact
             * See title-page of Wheeler's Law of Slavery.
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             MURDER OF SLAVES.
             ments upon the subject, the common law would be
             efficient to protect the slave. Our books are full of
             criminal prosecutions for cruelty to horses and other
             animals. And the common law remedy is considered
             effective without any statutory enactment. And if
             the slave be considered an animal, still he is under
             the protection of the law, and acts of inhumanity and
             cruelty to him is a public misdemeanor, and the person guilty may be indicted and
             punished."
             On this note of Mr. Wheeler we remark:
             1. It is undoubtedly true that the common law, if
             algpied to the slave, would amply protect him from
             outrage and murder. It would also protect him in
             his right to his earnings and to the disposal of the
             products of his industry, to exemption from seizure
             and sale: in a word, the common law, if applied to
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             the slave, would emancipate him; for every body
             knows, and the Louisiana and Kentucky Courts have
             decided, that the slave becomes free the moment he
             comes under the jurisdiction of common law, by
             being carried by consent of his master out of the
             jurisdiction of the municipal law which alone binds
             him. There is no such municipal law against "horses
             and other animals," removing them from the protection of the common law. Mr.
             Wheeler does not
             appeal to the municipal law, as existing either in
             statutes or in the judicial decisions with which he is
             so conversant, to prove that the slave enjoys effective
             protection. It is this municipal law, and not the
             common law, that defines the condition of the slave.
             2. Judge Stroud had explained and vindicated his
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             THE AMERICAN SLAVE CODE.
             statement by the following explanation, of which
             Mr. Wheeler takes no notice:
             "From the laws which I shall now cite, it will
             fully appear that, so far as regards the pages of the
             statute book, the lafe, at least, of the slave is safe from
             the authorized violence of the master. The evil is
             not that laws are wanting, but that they cannot be
             enforced; not that they sanction crime, but that they
             do not punishi it. And this arises chiefly, if not
             solely, from the cause that has been more than once
             mentioned-the exclusion of the testimony, on the
             trial of a white person, of all who are not white."
             If the reader will examine the laws against the
             murder of slaves which we have already quoted, ihe
             will probably agree with us that Judge Stroud has
             conceded quite enough in their favor.
             3. On a candid review of all the slave laws we
             shall have collected in this book, with the judicial
             decisions we shall have quoted from Wheeler's Law
             of Slavery, let the reader judge what benefit the
             slave derives from the existence either of common
             law, or of statutes, or of decisions of Courts.
             4. "Our books," says Mr. Wheeler, "are full of
             criminal prosecutions for cruelty to horses and other
             animals!" This is undoubtedly true. But this is
             not pertinent to the question at issue. Mr. Wheeler,
             in order to have met the statement of Judge Stroud,
             should have been able to say, "Our books abound
             in criminal prosecutions for cruelty to slaves." But
             this he has not said.
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             5. And this brings us back to the observation
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             MURDER OF SLAVES.
             before made, that if the Courts have extended to the
             slave effective protection against outrages and murders, especially by their owners,
             we have a right to
             expect the reported cases and instances, in this division
             of Wheeler's "compilation of all the decisions," &c.,
             &c., which is headed, "MASTERS' AND OTHERS' LIABILITIES FOR
             MfALTREATING THEIR SLAVES.1"
             Let us, then, see what this division of the work
             contains, and notice whether it "is full of criminal
             prosecutions for cruelty to" SLAVES, and notice, too,
             the amount of protection thus afforded to them.
             The reported cases under this head occupy less
             than five pages, and are only seven in number Two
             only of these were "' criminal prosecutions" in the
             name of "THE STATE." The remaining five are
             suits at law between one white citizen and another,
             respecting this peculiar kind of property.
             1. "Markham vs. Close, Sept. 1831. 2 Louisiana
             Rep., 581.-iHeld by the Court, Porter, J., that the
             infliction of cruel punishment on a slave by his
             master is a criminal offense, and must be punished
             by a cri~ninal prosecution, and not before a civil tribunal. And after conviction, the
             fine is to be levied
             on the offender by the Court before whom the conviction takes place." (Wheeler's
             Law of Slavery, p.
             200.)
             The decision seems at variance with that of Judge
             Ruffin before quoted, but the real object and the
             efects of the decision do not clearly appear. If, as
             seems implied, the defendant was the owner of the
             slave he abused, the right of the plaintiff to bring a
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             THE AMERICAN SLAVE CODE.
             suit against him is not apparent. And the decision
             would seem to have dismissed the proceedings on the
             ground that there was no foundation for a private
             litigation. Whether any "criminal prosecution "
             was ever brought against the offender, we do not
             learn. Very probably the effect of the decision was
             to quash the proceedings and hush up the matter entirely, while the marginal title
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             reads, "'Master may be
             convicted and fined for maltreating his slave." We
             get no evidence that he was thus convicted and fined.
             2. "Allan vs. Young, Jan. T., 1821. 9 Martin's
             Louisiana Rep., 221.-fatthews, J.: "This is a case
             in which the plaintiff seeks to recover damages to the
             value of a slave, alleged to have been killed by the
             defendant." The decision is thus stated in the margin: "If a slave of a bad character is
             pursued on
             suspicion of felony, attempt to seize a gun, flies and
             is killed in the pursuit, the Supreme Court will not
             disturb a verdict for the defendant who killed him,."
             Of what felony the slave was "suspected," or in
             what respects he sustained "a bad character," we are
             not informed. Hie may have ventured to take a
             tithe of his own earnings-he may have harbored a
             fugitive slave he may have attempted to escape,
             himself, into freedom-he may have been in the
             habit of absenting himself to visit his wife-he may
             have attempted to teach or to learn the alphabet.
             Or he may have been " suspectcd" of some of these
             crimes!
             3. "Jennings vs. Furderburg, Jan. T., 1827. 4
             MeCord's S. C. Rep., 161.-Trespass for killing the
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             MURDER OF SLAVES.
             plaintiff's slave. The defendant, with others, being
             in search of runaway negroes, surprised them in
             their camp, and fired his gun towards them as they
             were running away, to induce them to stop. One of
             the negroes was, however, killed by a random shot.
             Decision: "The firing of the defendant in the manner stated was rash and
             incautious." Hence tlie rule,
             as in the margin: "To excuse a trespass for killing a
             slave, on the ground of accident, it must appear to
             have been done without the least fault on the part
             of the person killing." (Ib., p. 201.)
             4. "Richardson vs. Dukes, Jan. T., 1827. 4 McCord's S. C. Rep., 156.-Trespass for
             killing the
             plaintiff's slave. It appeared that the slave was
             stealing potatoes from a bank near the defendant's
             house. The defendant fired on him with a gun
             loaded with buck-shot, and killed him. The jury
             found a verdict for plaintiff for one dollar. Motion
             for a new trial-which was granted. The point of
             law established, as stated in the margin, was this:
             The I)?oper rule of damages for killing a slave, is the
             value of the slave to the master at the time of his death."
             (lb., p. 202.)
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             5. "Westell vs. Earnest and Parker, Jan. T., 1818.
             1 Nott and McCord's S. C. Rep., 182." This was
             another suit for damages in killing a runaway slave
             by shooting him, as he ran towards a swamp. Verdict for the defendants. Motion to
             set it aside,
             which motion prevailed. Judge Colcock said: "If
             the slave assaults a white person, he may be killed;
             but a slave merely flying away cannot be killed;"
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             1,


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             THE AMERICAN SLAVE CODE.
             to which it is added in the margin, " and if he be,
             the owner may recover compensation for the loss."
             (Wheeler, 202-3.)
             6. "The State vs. E. Smith and R. Smith, Nov. T.,
             1817. 1 Nott and McCord's S. C. Rep., 13.-The
             defendants were convicted of killing a negro, under
             the Act of 1740." "Sentence was pronounced by
             the Judge upon the defendants, that they pay three
             hundred and fifty pounds, old currency." They paid
             the sum and took the Clerk's receipt. Afterwards
             the sentence was amended by fining each of the defendants ~350. On an appeal,
             before Judge Colcock,
             the emendation was sustained. (Wheeler, p. 203.)
             7. "The State vs. Raines, May T., 1826. 3 McCord's S. C. Rep., 533.- The prisoner
             was indicted
             for murder." " Verdict, guilty of manslaughter, and
             motion in arrest of judgment." The motion prevailed, on the ground that the charges
             in the indictment were not sufficiently specific. (lb., pp. 2034.)
             Whether the defect was intentional cannot be
             known, but such arts are not uncommon when the
             guilty are to be shielded.
             The reader has now before him all the evidences
             of protection to the slave, whether by "common law"
             or otherwise, which Mr. Wheeler has presented under
             his appropriate division, headed, "Masters' and others'
             liabilities for maltreating their slaves "-although, as
             he says, "Our books are full of prosecutions for
             cruelty to horses and other anirmals."
             Of the seven cases adduced, not one of them appears to have resulted in the
             punishment, in any
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             MURDER OF SLAVES.
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             way, of a master for maltreating his own slave. Except, perhaps, in the first case,
             where no conviction
             was reached, it does not appear that either of the
             defendants were the owners of the slaves maltreated
             or killed. And four of the seven cases were clearly
             the prosecutions of slave owners against others for
             the destruction of their fproperty!
             In the division of the book headed, "Of the trial
             and punishment of slaves," there is a case (that of
             State vs. Reed, June Term, 1823, 2 Hawk's N. C.
             Rep., 454) which, if it had appeared in the division
             of "Masters' and others' liabilities," would have
             seemed a case in point for citation in this discussion.
             It is possible that it was placed, by mistake, under
             the wrong head, though nothing conclusive appears
             to show that the prisoner was not a stave. He was
             indicted for the murder of a slave, was found guilty,
             and a motion for arrest of judgment because of
             the insufficiency of the indictment was overruled.
             (Wheeler, p. 210.)
             Another case occurs in the division of the book
             headed. "Liabilities of others to masters for abusing
             their slaves," which seems not to have been classified
             under the appropriate head. It is not a suit of the
             owner for damages, but a criminal prosecution by the
             State for the "murder of a slave," under the Act of
             1821, viz: State vs. Cheatwood, 2 iill's S.C. Reports.
             The defendant was convicted, and moved in arrest of
             judgment, on the ground that the indictment did not
             charge the crime in the words of the statute. The
             motion was overruled. The Report does not state
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             THiE AMERICAN SLAVE CODE.
             whether the prisoner was a slave, a free colored
             man, or a white mall. (Wheeler, p. 250.)
             A similar instance appears in the case of "State
             of Mississippi rs. Jones, June Term, 1820, Walker's
             Rep., 83.) "The question in this case," said Judge
             Clarke, "arising in arrest of judgment, transferred on
             doutbts/ fon Adam.s Superior Court, is, whether, in this
             State, murder can be committed on a slave."' IIs Honor
             proceeded to argue that it could, and decided accordingly. The color and condition
             of the prisoner does
             not appear from the Report.
             In the same division is found the case of the State
             vs. Hale, December Term, 1823, 2 Hawk's N. C. Rep.,
             582, in which it was decided by Judge Taylor, as
             stated in the marginal note of the Reporter, that "a
             battery committed on a slave, no justification or circumstances attending it being
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             shown, is an indictable offense." (Wheeler, pp. 239-40.) But this could
             not have been intended to apply to the case of a slave
             master abusing his own slave, as the case stands
             under the heading of "Liabilities of others to the
             master for abusing his slave." And in giving his
             opinion, Judge Taylor said: "If such offenses may
             be committed with impunity, the public peace will
             not only be rendered extremely insecure, BUT TI-IE
             VALUE OF SLAVE PROPERTY MUST BE MiUCHi IMPAIRED, for the
             offenders" [previously described as a
             low class of persons] "can seldom make any reparation
             IN DAMAGES." "It cannot be disputed that a slave
             is rendered less capable of performing his master's
             service, when he finds himself exposed by the law
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             MURDER OF SLAVES.
             to the violence of every turbulent man in the community."
             We seem to have, here, a revelation of the existing state of things in that community,
             which compelled the Courts, with the ready assent of the slaveholders, to make use
             of the criminal code to protect
             slave p)roperty! And this perhaps explains, further,
             why it is that we find, in Wheeler's Law of Slavery,
             under the head of "Liabilities of others to the master for abuse of his slave," a
             number of Reports of
             criminal prosecutions, in the name of the State, for
             battery and even for the murder of slaves! What
             had seemed to us an inappropriate classification, is
             now, perhaps, explained. Irresponsible rowdies, "of
             dissolute habits," unable to pay "DAMAGES" to the
             "owner" of the slaves whom they may maim and
             murder, must be restrained and punished by the
             criminal code!
             " Hall, J.: I concur in the opinion given. I think
             it would be highly improper that EVERY assault and
             battery on a slave should be considered an indictable
             offense," &c. "Much depends on the circumstances
             of the case, when it happens," &c.
             Anomalies and self-contradictions may be expected in slave jurisprudence, for
             slavery is an anomalous thing. The chattel principle is, however, the key
             to its mysteries. An "attempt to kill and murder"
             a slave is a blow at slave _property. Even if an owner
             kills his slave, it familiarizes murder, and incites
             others to similar acts.
             In the case of State vs. Maner, it was decided that
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             TIE AMERICAN SLAVE CODE.
             "an assault with intent to murder a slave is indicta ble." (Wheeler, p. 244.)
             "Commonwealth vrs. Carver, June T., 1827. 5
             Rand's Va. Reports, 600.-The prisoner was indicted
             for feloniously, maliciously, and unlawfully shooting, with intent to maim, disfigure,
             disable, and kill
             a negro man slave, of the name of Armistead, THE
             PROPERTY of Andrew IIouten, under the Act of 9th
             of February, 1819. The Judge DOUBTED whether
             a negro slave is the subject or person on which the
             offense created and the penalties prescribed by the
             Act can be committed or incurred, and adjourned the
             case to the General Court.
             "TIze Court-Breckenbrough, J,-after referring to
             Dolly Chapple's case, 1 Virg. Cas. 184, declared that
             the slave was a person on whom the offense of stabbing and shooting might be
             committed; and that the
             Act was intended to protect slaves as well as free
             persons from such outrages. It may further be remarked that there appears no
             reason, arising from
             the relation of master and slave, why a free person
             should not be punished as a felon for maiming a
             slave. Wliatever power our laws may give to tfhe MASTER over h]i slave, IT IS AS
             IMPORTANT FOR THE
             INTEREST OF THE FORMER as for the protection of
             the latter, that A STRANGER should not be permitted
             to exercise an UNRESTRAINED authority over him.
             The opinion of the Court is, that judgment ought
             not to be arrested." (Wheeler, p. 254.)
             The plain implication here is, that the power
             of the MASTER IS as unrestrained as was repre
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             MURDER OF SLAVES.
             sented and decided by Judge Ruffin, as before
             cited.
             And in this case, again, we see the criminal law of
             "the State" wielded as a mere implement for enforcing "the liabilities of others to
             the master, for abusing
             his slave," to the injury of his "interests."
             In the case of Fields vs. thle State of Tennessee,
             (Jan. T., 1829, 1 Virger's Reports, 156,) on writ of
             error to arrest judgment against said Fields, on a
             verdict against him for manslaughter, it was decided
             that "the felonious slaying of a slave without malice
             is manslaughter." Judgment affirmed.
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             We close our examination of Wheeler's Law of
             Slavery on the topics involved in our present chapter, without having been able to
             ascertain a single
             instance in which a slave owner has been convicted
             or even prosecuted for the murder of his owl slave;
             nor have we found an exception to the statement of
             Judge Ruffin, before cited, that a "cruel and unreasonable battery on a slave" by his
             owner, or hAter,, is
             not an indictable offense, and that "there Iave been
             no prosecutions of this sort." Thus far, therefore, the
             statement of Judge Stroud, that "the master mary,
             at his pleasure, inflict any species of punishment on
             the person of his slave," though contradicted by Mr.
             Wheeler, stands unimpeached, so far as we can discover, by any cases he has
             recorded in his compilation of Reports. Not even the case of Markham vs.
             Close furnishes any such instance, so far as appears
             from his Report of it.
             If it be said that a motive of self-interest in the
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             i..


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             THE AMERICAN SLAVE CODE.
             master would prevent his inflicting outrages upon
             his slave, we answer, (1.) That this restraint operates
             only in those cases where the injury would destroy
             his property in the slave, or impair his power to
             labor: it would be no protection against the infliction
             of any sufferings and indignities which fall short of
             this. (2.) Abundant evidence is at hand to prove
             that thiis motive is not, in numerous instances, sufficient to restrain the passions of
             the masters, and
             prevent the maiming and killing of their own slaves,
             as will be shown in another chapter. (3.) Were it
             otherwise, the fact remains that the law does not protect
             the slave against his master. (4.) Anger and malice
             often act in opposition to self-interest. How comes
             it that "our books are full of criminal prosecutions
             for cruelty to horses and other animals," if the interest of the owner is itsef a security
             against his abuse
             of his own property? The malignant passions of
             the master are far more likely to be excited against
             his slave, who by a word or a look may dispute his
             authority, defy his power, or withhold the respect he
             claims, than by a dumb animal, governed only by
             natural instinct.
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             CHAPTER XV.
             OF THE DELEGATED POWER OF OVERSEERS.
             All the Power of the Owner over his Slave is held and exercised also by Over seers
             and Agents.
             WE have, thus far, considered chiefly the power
             of the slave owner. It has been seen, likewise, that
             essentially the same power is lodged in the hirer of
             a slave. Incidentally, the power of overseers and
             agents has been alluded to. But we must now take
             a more distinct view of this feature of slavery. It
             has been expressed thus:
             "All the power of the master over the slave may be
             exercied, not by himself only, in person, but by any one
             whomn he may depute as his agent. (Stroud's Sketch,
             p. 44.)
             Considering the judicial authority vested in the
             slave owner, whoever he may be, (drunk or sober,)
             and the duty of the "sheriffs" and public negro
             whippers to execute his decisions, (as already noticed,) this additional power of
             delegating his magisterial dignity and authority to whomsoever (drunk
             or sober) he may think proper, becomes a very re
             I


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             THE AMERICAN SLAVE CODE.
             markable one. Irresponsible himself, and absolute,
             he commits the same authority over the slave to a
             subordinate despot, responsible solely to himself.
             LOUISIANA, by express statute, enacts as follows:
             "The condition of a slave BEING MERELY A PASSIVE
             ONE, his subordination to his master, AND ALL WHO
             REPRESENT HIM, is not susceptible of any nodification
             or restriction, (except in what can excite the slave to
             the commission of crime,) in such manner that lihe
             owes to his master and to all his family a respect
             WITHOUT BOUNDS and an ABSOLUTE OBEDIENCE, and
             he is consequently to execute all the orders which
             hle receives from him or from them." (1 Martin's
             Digest, 616.)
             Thus does "the innocent legal relation" of slave
             ownership confer on every slave owner a power
             which no magistrate or government holds over him,
             or over any subject or citizen; and, not content with
             this, it clothes him with the prerogative of transferring thlis authority, not only by
             the sale of the slave,
             but by verbal commission while he yet owns lhim.
             Ilis wife, his hiousekeeper, hiis overseer, and even
             his young children share his unlimnited power and
             authority over the slave, though at the age of threescore! Instead of controlling his
             own children, the
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             slave is controlled by the children of his master, and
             by hired overseers.
             The exception, in the statute just cited, informs us
             that when tlheic slave is "incited to crime" by the
             commands of his tyrant, whom he may not resist,
             lhe may nevertheless be held responsible for the
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             POWER OF OVERSEERS.
             crime! In its practical bearings, the law can effect
             nothing else, unless it be the martyrdom of the slave.
             W'hatever crime he may be commanded to commit,
             he can lodge no information against his master, he
             can bear no testimony against lhim. If he persists
             in refusing to assist in the commission of the crime,
             his master may lawfully " chastise" him with the
             "moderate correction" that may cause his death, andcl
             then, if he "offers" resistance, he may be lawfully
             killed!
             Louisiana is said to be the only State with an express statute on the topic of the
             master's delegated
             authority, but the usage, recognized by the Courts
             as law, universally exists. "In thle other slave
             States," says Stroud, (p. 44,) " the subjoined extract
             from Mr. Stephelien's delineation of Slavery in the
             West Indies will, it is believed, accurately express
             the law and the practice:
             '' The slave is liable to be coerced or punished by
             the whip, and to be tormented by every species of personal il-treatment, subject only
             to the exceptions
             already mentioned, (i. e., the deprivation of life and
             limb,) by the attorney, manager, overseer, driver, and
             every other person to whose goverez?cnt and control the
             owner may choose to subject him, as fully as by the
             owner himself. Nor is any special mandate or express general power necessary for
             this purpose; it is
             enough that the inflictor of the violence is set over the
             slave for the moment, or by the owner or by any of his
             delegates or sub-delegates, of whatever rank or character.'
             (Stephen's Slavery, p. 46.)
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             THE AMERICAN SLAVE CODE.
             "This power of deputation by the master is one
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             of the degrading and distinguishing features of negro
             slavery. It was not permitted by the laws of villeinage." (Stroud, p. 45. See 9 Coke's
             Reports, 76
             A, &c. See Stephen, supra.)
             The following description of " overseers" is from
             William Wirt's Life of Patrick Henry: "Last and
             lowest, (i. e., of the different classes of society in Virginia,) a feculum of beings
             called overseers; the most
             abject, degraded, unprincipled race, always cap in
             hand to the Dons who employed them, and furnishing materials for the exercise of
             their pride, insolence, and spirit of domination."
             The great majority of slaves, male and female,
             labor on plantations, under the charge of these
             "overseers." The "house servants," as already seen
             by the statute of Louisiana, are under absolute subjection to every member of the
             family. Slaves hired
             out, waiters at hotels, &c., are, in this particular, in
             no better condition. Almost every where, they are
             controlled by others, in addition to the direct control
             of their owners.
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             CHAPTER XVI.
             OF THE PROTECTION OF SLAVE PROPERTY FROM
             DAMAGE BY ASSAULTS FROM OTHER PERSONS THAN
             THEIR OWNERS.
             Slaves are better protected as PROPERTY, than they are as SENTIENT BEINGS.
             IT has been represented that the slaves are sufficiently protected from outrage and
             murder on the
             part of those who are not their owners, by the fact
             that slave property is, of course, protected by law
             from such depredations, and that the interest of the
             master affords a guaranty for the enforcement of
             such laws.
             In our researches after the legal protection of
             slaves, in the preceding chapters, a large portion of
             all the legal proceedings that have come before us
             have been found to be of this character. Under the
             head of "Masters' and others' liabilities for maltreating
             their slaves," we have met, chiefly, with suits of masters against the depredators
             upon their )roperty!
             And what purported to be criminal prosecutions, we
             have found, on inspection, to be State actions to prevent "damage" to the
             slaveholder. But we come
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             THE AMERICAN SLAVE CODE.
             now to consider, directly, the laws avowedly framed
             for that object.
             "Slaves, being objects of property, if injured by
             third persons, their owners may bring suit and recover damages for the injury. This
             is a maxim of
             the common law, ill respect to property in general,
             and it may therefore be assumed to be the law of all
             the slaveholding States, in regard to slaves also."
             (Stroud's Sketch, p. 59.)
             MARYLAND.-Decision of Supreme Court: " There
             must be a loss of service, or at least a dininution of
             the faculty to labor, to warrant an action by the
             master." (1 Harris & Johnuson's Reports, 4; Cornfute vs. Dale. Stroud, p. 59.
             Wheeler, p. 239.)
             SOUTH CAROLINA.-Act of 1740: "If any negro
             or other slave who shall be employed in the lawful
             business of his master, owner, overseer, &c., shall be
             beaten, &c., by aniy person or persons not having
             sufficient cause or authority for so doing, and shall
             be mnaimed, or disablecl by suchi beating from performing his or her workl, such
             person or persons, so80 oending, shall forfeit and pay to the owner or owners of
             such slaves, the sum of fifteen shilliggs current money
             per diem, for every day of his lost time, and also tihe
             chiarge of the cure of such slave." (2 Brevard's Digest, 231-2.)
             The worlcings of thiis law will appear in the fol]owingr:
             Constitutional Court of Appeals, South Carolina,
             1796. Sims iWhite vs. James Clhambers.-"Special
             action in the case for beating the plaintiff's negro
             202


                                                              Page 203



             DAMAGES DONE TO SLAVES.
             man." The negro was charged by his master with
             the care of a fishing-canoe, with strict orders not to
             let any one have it. The defendant persisted in
             taking it away, and the negro persisted in forbidding
             him, "whereupon, defendant struck him a blow with
             his fist, then took a paddle, knocked him down, and
             afterwards beat him severely, which laid him up for
             several clays, before he was able to go about his business
             again." Verdict for thle plaintiff. Damages ~5, and
             costs. (2 Bay's Reports, 70.)
             A similar law exists in LOUISIANA.-(Statute.) "If the slave (maimned,
             &c.) be for ever rendered unable to work, the offender
             shall be compelled to pay the value of said slave, according to the appraisement
             made by two freeholders,
             appointed by each of the parties; and the slave thus
             disabled shall for ever be maintained at the expense
             of the person who shall have thus disabled him,
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             which person shall be compelled to maintain and
             feed him, agreeably to the duties of masters and
             slaves, as ordered by this Act." (1 Martin's Digest,
             630-2.)
             NORTH CAROLINA.-It has been held that patrols
             are not liable to the master for inflicting punishment
             on the slave, unless their conduct clearly demonstrates MALICE AGAINST TUE
             MASTER." (1 Hawks'
             Reports, 418, Tate vs. O'Neal.)
             VIRGINIA.-Supreme Court of Appeals. May vs.
             Brown and Boisseau. Action of trespass, &c., for
             breaking into his close, and beating several of his slaves,
             so that he was deprived of their services for a long time.
             203


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             THE AMERICAN SLAVE CODE.
             The defense in mitigation of damages was, thatplain tff had given a general
             permission to BRowN (though
             not in his employ as overseer) to VISIT his neg-o quar ters, and chastise any of his
             slaves who might be found
             acting improperly! This defense failed, because
             BOISSEAU, who had inflicted the beating, had received no such permission from
             the plaintiff. (1
             Munford's Reports, 288. Stroud's Sketch, pp. 59-60.
             Wheeler's Law of Slavery, p. 248.)
             The workings of the principle of delegated authority are signally exemplified in this
             last case.
             In Wheeler's Law of Slavery, the division or
             chapter entitled, " Of the liability of others to the master
             for abusing his slave," occupies about 27 pages. Some
             of the cases we have cited already. Under this
             head are classed several State prosecutions for crime;
             viz: State vs. Hale, State vs. Maner, State vs. Mann,
             (before Judge Ruffin,) State vs. Cheatwood, State of
             Mississippi vs. Jones, and Commonwealth of Virginia
             vs. Carver, which we have before cited in our 13th
             and 14th Chapters. Under this same classification,
             we found and cited also a number of civil prosecutions for killing slaves, some of
             whom were runaways.
             We will here glance hastily at a few other decisions of the same class..
             Smith vs. Hancock, 4 Bibb's Ky. Rep., 222."Hleld by the Court that in an action of
             trespass
             for beating a slave, the property of the plaintiff,
             whereby he died, the defendant may justify by showing
             that the slave was at an unlawful assembly, combining
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             DAMAGES DONE TO SLAVES.
             to rebel, and that he refused to surrender, and
             resisted by force." (Wheeler, p. 239.)
             Meetings of slaves for religious worship or mental
             instruction are "unlawful assemblies," as will be
             shown in the proper place.
             In the case of Skidmore vs. Smith, the harboring of
             slaves was the ground of complaint. (Wheeler, p.
             248.) It will not be claimed that there is any
             valuable protection to the slave in this.
             Crawford vs. Cheney, A. D. 1824, 15 Martin's
             Louisiana Rep., 142, was "an action brought to
             recover the price of a negro whom the plaintiff
             charges the defendant with having shot and killed."
             The testimony, it was argued, was weak. Judge Porter said: "The act charged here is
             one rarely committed
             in the presence of witnesses;" (owing, he might have
             added, to the law excluding colored witnesses.) He
             therefore allowed "presumptive evidence to support
             the verdict." (Weeeler, p. 249.)
             Jourdan vs. Patten, 1818; 5 Martin's Louisiana
             Rep., 615.-A suit for damages by injuring a slave,
             who was made blind by the assault. The defendant
             was adjudged to pay the price of the slave, and to
             tate possession of him, as his property. Marginal
             note, (as a rule of law established:) "If, on an injury
             to his slave, the plaintiff recovers his full value, the
             property is transferred to the defendant, on payment of
             the judgment." (Wheeler, p. 249.) And so the
             disabled slave is "transferred" from perhaps a kind
             master or mistress, and from the presence of his
             wife and children, and the scenes of his childhood,
             205


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             THE AMERICAN SLAVE CODE.
             and turned over to the tender mercies of his perse cutor, rendered the more bitter
             against him for the
             losses sustained in the transaction, and the prospect
             of receiving no valuable service from him! And
             this is the protection (in this exigency) afforded to the
             slave by his master's right of prosecuting his assailant!
             The Court, it seems, were not unaware of the
             effects of this decision. In making it, Judge Matthews said: " The principle of
             humanity, which
             would lead us to suppose that the mistress, whom
             he had so long served, would treat her miserable
             blind slave with more kindness than the defendant,
             to whom the judgment ought to transfer him, cannot
             be taken into consideration, in deciding the case." And
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             so the judgment of the "Parish Court" (which had
             decreed the payment of the price of the slave, with
             an additional annuity for his sustenance, and to rernain with the plainti&) was
             reversed. (Ib.)
             The benefit to the slave of this protection of slave
             property is sufficiently apparent. It is the master
             that is protected in his property, not the slave in his
             right to security. The award is to his master, not to
             him. It is for the "loss of service" or "capacitto
             labor," not for indignities and sufferings endured;
             it is for the injury of a working beast, not of a man;
             for in this the maxim of the civil law holds good" the slave is not capable of being
             injured!" Property damaged, or "malice against the master," constitute the offense-
             compensation to the master is the
             redress! The "legal relation" of owner and pro
             206
             0


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             DAMAGES DONE TO SLAVES.
             perty is worthily honored and expressed in all this.
             Incidentally and remotely, the slave, it may be, in
             some instances, is protected by this from injuries
             that would otherwise cripple or kill him. The
             dread of the bill of "damages" may be some restraint. Slender as it is, it is the best, if
             not the only
             protection afforded to him by the law.
             In one important and comprehensive view, this
             incidental and dubious _protetion, if it be such, is an
             injury to tlhe slave in the long run, and on the whole.
             It not only certifies and sanctions his degradation to
             the condition of a brute, but, in so doing, it stands in
             the way of any suitable legislative and judicial protection. It is regarded as a
             substitute or equivalent
             for it. It not only prevents proper enactments and
             processes, but it vitiates those in existence and in
             use. We have seen how it confounds the criminal
             with the civil prosecutions for maltreating slaves,
             classifies indictments for murder under the head of
             "liabilities of othiers to the miaster for abusing his
             slave;" makes the penal code the instrument of the
             slave owner, and seduces even the better portion of
             the judges, as in the case of "the State vs. Hale,"
             (Wheeler, pp. 239-43,) while making the most favorable and merciful decisions
             known to slave jurisprudence, into the lamentable expedient of grounding
             their decisions upon " thze interests " of the owner, and
             " the value of slave property," instead of the majesty
             of violated law, and the sacredness ofl human life;
             or, perhaps, commingling incongruously the two
             classes of considerations!
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             THE AMERICAN SLAVE CODE.
             As a matter-of-fact result of all this, we may well
             be assured that a judiciary and a community accustomed to award "damages" to a
             slave owner for the
             maiming and killing of his slave, will not long continue to prosecute with efficiency
             any other-any
             criminal processes for the same acts. One punishment for one misdemeanor will be
             accounted sufficient. If the one is inflicted, the other will, as a
             general if not a universal fact, be withheld or
             evaded. On the first announcement of a barbarous
             or murderous outrage upon a slave, human nature
             even among slaveholders will gush forth, in demands
             for justice upon the perpetrator. An indictment for
             murder may be talked of, or even resorted to. In
             the mean time comes the " owner" with his suit for
             damages for loss of property! All eyes are directed
             to watch the result. The high tone of moral indignation gives place to an anxiety for
             the pending
             issue of dollars and cents! If the defendant loses his
             case and pays the equivalent, the public feeling is
             appeased or modified. Perhaps a sympathy is got
             up in the defendant's favor. The indictment for
             murder slumbers, or, results in an acquittal or a pardon. The man is not to be fined
             five hundred dollars
             and then hanged! And in a community wherein
             slaveholders administer the law, the prosecution for
             damages will be deemed of paramount importance.
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             CHAPTER XVII.
             FACTS ILLUSTRATING THE KIND AND DEGREE OF
             PROTECTION EXTENDED TO SLAVES.
             The extent, the atrocity, the frequency, and the impunity of barbarous outrages
             upon Slaves, show that the Laws afford them little or no protection.
             WE have occupied so much space with the laws
             on the subject of the protection of slaves, that we can
             spare little room for the abundant facts which correspond with and illustrate them.
             In respect to the murdering of slaves by white
             men, with general impunity, two propositions, if sustained, will settle the question.
             First, the murdering
             of slaves by white men has all along been, and still
             is, notoriously frequent. Not a few of these murdered their own slaves. Second,
             upon the most diligent inquiry and public challenge, for fifteen or
             twenty years past, not one single case has yet been
             ascertained* in which, either during that time or pre
             * We say " ascertained." We have already alluded to some few
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             cases in Wheeler's Law of Slavery, which may have been of that
             character, though the result does not appear clearly, which is the
             more remarkable, as the compiler had called in question the state
             i


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             THE AMERICAN SLAVE CODE.
             viously, a master killing his slave, or indeed any
             other white man, has suffered the penalty of death
             for the murder of a slave. These two general facts,
             if they are facts, tell the whole story, so far as the
             protection of thte lives of slaves is concerned.
             At a time of much general excitement on this very
             question, during the period just now mentioned,
             (1839,) a case occurred which, it was generally supposed on all hands at the North,
             would prove an
             exception. A Court in South Carolina convicted a
             white man of having murdered a slave, and sentenced
             him to death. Governor Butler declined to comply
             with an application for his pardon, assigning, as a
             reason, that the eyes of the civilized world were
             upon them, and that the reputation of the State was
             at stake. This appeal, it was supposed, would be
             sufficient, but it only added fuel to the general excitement occasioned by the
             unusual if not unprecedented sentence of the Court. The whole State was
             in a ferment. The Court and the Governor were
             denlounced. The press fulminated its anathemas;
             and before the day of execution arrived, the community were quieted with the
             announcement that the
             prisoner had escaped! Whether the locks were
             opened with keys, or the bolts broken; whether the
             walls were pierced or the windows opened; or
             whether the higher or lower authorities connived,
             the great public never heard! The Southern papers
             ment of Stroud. There may have been convictions, and sentences
             of death may have been passed, and the criminals permitted to
             escape, or pardoned.
             210


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             PRACTICAL PROTECTION.
             were watched for announcements of executive offers
             of reward for the prisoner's apprehension, but none
             ever appeared. The fugitive was not a fugitive
             slave. He might come to the North, if he pleased,
             without danger that the arm of the Federal Government would molest him! He was
             not guilty of rebelling against a slave owner's authority. He had
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             only murdered a slave!
             The fieyuency of such murders in South Carolina,
             so long ago as 1791, was publicly announced in her
             Courts of law, no one contradicting it. In the case
             of the State vs. McGee, Messrs. Pinkney and Ford,
             Counsel for the State, said: "The frequency of the
             offense (witful murder of a slave) was owing to the
             nature of the punishment," &c., (i. e., a pecuniary fine.)
             (1 Bay's Reports, 164. Vide Stroud, p. 39.)
             "In 1791, the Grand Jury for the District of
             Cheraw, (South Carolina,) made a presentment on
             the same subject, expressing their confidence that
             the Legislature would provide some other more
             effectual measures to prevent the FREQUENCY of
             crimes of this nature." (Matthew Carey's American
             Museum for February, 1791, Appendix, p. 10. Weld's
             Slavery, &c., p. 155.) Yet thirty more years elapsed
             before the penalty was changed, and still the law
             seems as powerless as ever. It is paralyzed by "the
             innocent legal relation" between an owner and his
             human chattel!
             If any one doubts the frequency and the impunity
             of such murders, let him con over the attested facts
             in the book to which we have so frequently referred,
             211
             I


                                                              Page 212



             THlE AMERICAN SLAVE CODE.
             Weld's "Slavery as it is." Take a few specimens.
             On page 47 are four cases, related by Rev. William
             T. Allan, son of a slaveholding D.D. in Alabama.
             (1.) "A man near Courtland, Ala., of the name
             of Thompson, recently shot a negro woman through
             the head, and put the pistol so close that her hair
             was singed. Hie did it in consequence of some difficulty in his dealings with her as a
             concubine. He
             buried her in a log heap; she was discovered by the
             buzzards gathering around it." (2.) "Two men, of
             the name of Wilson, found a fine-looking negro man
             at Dandridge's Quarter, without a pass, and flogged
             him so that he died in a short time. They were not
             punished." (3.) "Col. Blocker's overseer attempted
             to flog a negro. He refused to be flogged, whereupon the overseer seized an axe, and
             cleft his skull.
             The Colonel justified it." (4.) " One Jones whipped
             a woman to death for grabbing a potatoe hill."
             Compare these four cases with the slave laws already cited. The second and fourth,
             being deaths
             by whipping, would pass, probably, as cases of
             "death under moderate correction." The third, Col.
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             Blocker's overseer, would be justified by a Court of
             law as readily as by the Colonel. The slave was
             "resisting" or "offering to resist" the overseer, and
             was therefore an outlaw. The first case is not quite
             as clear. If the concubine "resisted" or "offered to
             resist" Mr. Thompson's advances, whether revengeful or lustful, she came, plainly,
             into the same legal
             predicament, and was lawfully killed! For "the
             legal relation" must be maintained! But were not
             212


                                                              Page 213



             PRACTICAL PROTECTION.
             these flagrant cases of murder? Take some other
             facts, furnished also by Mr. Allan on the page previous, (46.)
             (1.) Mr. Turner stated that one of his uncles, in
             Caroline county, Virginia, had killed a womanbroke her skull with an axe-helve: she
             had insulted
             her mistress! No notice was taken of the affair.
             (2.) Mr. T. said that slaves were frequently murdered.
             (3.) In Mississippi a slave chanced to come forward
             hastily from eating, to hear the'orders,' with a knife
             in his hand. The overseer, alarmed, raised his gun
             and shot him dead. He afterwards saw and confessed his mistake. But "no notice
             was taken" of
             the killing.
             On page 50 will be found, by the testimony of
             Mrs. Nancy Lowry, a native of Kentucky, three
             cases of "premature deaths"- -"generally believed
             by the neighbors that extreme whipping was the
             cause." Mr. Long, the inflictor and owner, was "a
             strict professor of the Christian religion," and
             "thought to be a very humane master." The victims,
             "John, Ned, and James, had wives." They were flogged frequently and "severely."
             "The cause of their
             flogging was, commonly, staying, a little over the time,
             with thleir wives!"
             On page 97, in the testimony of Rev. Francis Hawley, there is a characteristic case.
             A son of a slaveholder "took," as was believed, "the wife of one
             of the negro men. The poor slave felt himself
             greatly injured, and expostulated with him. The
             wretch took his gun and deliberately shot him.
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             THE AMIERICAN SLAVE CODE.
             Providentially hlie only wounded him badly." This
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             shows, however, the cause of many murders of slaves.
             In South Carolina, a physician whipped his slave
             to death, "was tried and acquitted, and the next year
             ELECTED TO THE LEGISLATURE!" (Ib., p. 173.)
             "I know a local Methodist minister, a man of
             talents, and popular as a preacher, who took his
             negro girl into the barn to whip her, and she was
             brought out a corpse." (p. 173.) This is the testimony
             of Mr. Geo. A. Avery, of Rochester, N. Y., who
             states further that the friends of the minister seemed
             to think it of "little importance to his ministerial
             standfig." Of course he was not indicted! This
             was in Virginia.
             A minister in South Carolina, a native of the
             North, had a stated Sabbath appointment to preach,
             about eight miles from his residence. Hie was in the
             habit of riding thither in his gig or sulkey, after a
             very swift trotting horse, which he always drove
             briskly. Behind him ran his negro slave on foot,
             who was required to be at the place of appointment
             as soon as his master, to take care of his horse.
             Sometimes he fell behind, and kept his master waiting for him a few minutes, for
             which he always
             received a reprimand, and was sometimes punished.
             On one occasion of this kind, after sermon, the
             master told the slave that he would take care to have
             him keep up with him, going home. So he tied him
             by the wrists, with a halter, to his gig behind, and
             drove rapidly home. The result was that, about two
             or three miles from home, the poor fellow's feet and
             214


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             PRACTICAL PROTECTION.
             legs failed him, and he was dragged on the ground
             all the rest of the way, by the wrists! Whether the
             master knew it or not till he reached home, is not
             certain; but on alighlting and looking round, he
             exclaimed, "Well! I thought you would keep up
             with me this time!" so saying, he coolly walked
             into the house. The servants came out and took up
             the poor sufferer for dead. After a time he revived
             a little, lingered for a day or two, and died! The
             facts were known all over the neighborhood, but
             nothing was done about it! The minister continued
             preaching as before; and another slave of his, Lunable to labor or walk, was seen
             laid under a shed,
             near the house, where he would have starved, but
             for the food thrown over the fence to him by some
             mechanics working near by, and whichl he devoured
             ravenously. iHe was sent off to the plantation, and
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             soon after died. When that minister comes up to
             our General Assemblies, Annual Conferences, or
             May Anniversaries, he can doubtless tell us all about
             the "innocent legal relation" of slave owner, and how
             kindly the slaves are treated by their masters! We
             should not publish this narrative, which has never
             before appeared in print, had it not been told to'us
             by an eye-witness, with whom we are well acquainted, and in whose statements we
             can implicitly
             confide: Mr. John W. Hill, Green Point, near NewYork city. He saw the gig when it
             came up, with
             the slave dragging behind, and saw the minister
             alight and go in.
             "I knew a young man" (in Virginia-says Mr.
             215


                                                              Page 216



             THE AMERICAN SLAVE CODE.
             Geo. A. Avery, of Rochester, N.Y.) "who had been
             out hunting, and returning, with some of his friends,
             seeing a negro man in the road, at a little distance,
             deliberately drew up his rifle, and shot him dead.
             This was done without the slightest provocation, or
             a word passing. This young man passed through
             the form of a trial; and although it was not even
             pretended by his counsel that he was not guilty of
             the act, deliberately and wantonly perpetrated, he
             was acquitted. It was urged by his counsel that he
             was a young man, (about twenty years of age,) had
             no malicious intention, his mother was a widow, &c.,
             &c." (Weld's "Slavery as it is," p. 172.)
             The young man or his mother probably paid the
             "owner" the value of the chattel, (if he was a slave,)
             and he would perhaps be cautious in indulging his
             propensities as a sportsman, in shooting such expensive game, in future. In a civil
             suit of the "owner"
             for "damages," a jury of slaveholders would be less
             lenient. It would, however, be too much to expect
             of them that, for the same act, they would first oblige
             the unfortunate young gentleman to pay the market
             value of the commodity, and then hang him for the
             murder of the man-especially where it is gravely
             maintained that satisfaction to the 9master is a sufficient protection to the slave! The
             FACTS, as thus
             stated, (the most charitable version that could be
             made,) present the most favorable illustration of the
             LAW. It would appear still worse if there was not
             even the pecuniary forfeiture. The facts and the law
             combined are the legitimate and natural results of
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             PRACTICAL PROTECTION.
             "the legal relation of owner and slave." If the principle and the relation are right, it
             might be difficult
             to show the practice to be wrong. Communities educated in the former will be sure
             to become involved
             in the latter.
             Will it be said that these statements are only the
             fictions or exaggerations of Northerners? Or that
             they describe only a few isolated cases? Or that they
             apply only to the lower circles of society at the South?
             Listen, then, to a Virginian slaveholder, moving in
             the very highest circles of Southern society-the
             HIon. John Randolph, of Roanoke:
             "Avarice alone can drive, as it does drive, this infernal traffic, and the wretched
             victims of it, like so
             many post-horses, WHIPPED TO DEATH in a mailcoach. Ambition has its cover-
             sluts in the pride,
             pomp, and circumstance of glorious war; but where
             are the trophies of avarice? The handcuff, the manacle, the blood-stained cowhide!
             WHAT MAN IS WORSE
             RECEIVED IN SOCIETY FOR BEING A HARD MASTER?
             WHO DENIES THE HAND OF A SISTER OR DAUGHTER
             TO SUCH MONSTERS?" (Speech in Congress.)
             Study this picture. Wholesale murder-barbarism-cruelty. The general prevalence of
             these in
             the highest circles, and no one regarding the perpetrators the worse for it, or
             shrinking back from the
             closest family affinity with "the monsters!"
             What Northern pencil has drawn a more frightful
             picture of the slave States than this? Old Virginia
             sat for the likeness, drawn by one of her most gifted
             sons! Was John Randolph a slanderer, a fanatic?
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             THE AMERICAN SLAVE CODE.
             Hear the testimony, then, of another honored son of
             Virginia, the sage of Monticello.
             "When the measure of their tears is full; when
             their GROANS HAVE INVOLVED HEAVEN ITSELF IN
             DAnRKNESS, doubtless a God of JUSTICE will listen to
             their DISTRESS." (Jefferson's Correspondence.)
             Recall to mind the wholesale murders of Gen.Wade
             Hampton, recorded in another connection, (Chap. XI.)
             Remember the still more extensive and systematic
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             murders of the Louisiana sugar planters, (Chap. V.,)
             complacently regarded and connived at by pious
             slave-breeders in Virginia, (Chap. X.,) cold-blooded,
             calculating, diabolic, like that of pirates; then say
             whether it be credible that such laws as have been
             reviewed in this chapter could protect the lives of
             slaves! Say, rather, what possible enactments could
             avail for them, while the "legal relation" of slave
             ownership continues?
             If any further light is wanted on that feature of
             the Slave Code that insultingly proffers to the slave
             its protection from "unztsual" punishments, the inquirer might see what
             punishments are "usual" by
             looking over the advertisements and paragraphs of
             a dozen leading Southern journals, from as many
             different States, for twelve months. Cut out, arranged, and pasted in a scrap-book,
             with an index,
             they would furnish him with a copious and authentic
             commentary on the slave laws. Every successive
             year, if he chose to repeat the process, would furnish a new volume. If he would
             save the labor, and
             avail himself of a faithfully collated scrap-book, made
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             PRACTICAL PROTECTION.
             up to his hand, we refer him to Weld's "Slavery as
             it is," large portions of which he will find to have
             been gathered by this process.
             He will there find numerous advertisements of
             runaway slaves, and of jailers' notices of apprehlensions and commitments of them,
             in which the descriptions specify scars from whipping, from iron collars,
             from gun-shots, from branidings, &c., &c. Many are
             described as ]aving on halndcuffs, chailns, and iron
             collars. One is "much marked with the whip"another "severely bruised"-another, "a
             great many
             scars from the lashi"-another, "several large scars on
             his back from severe whipping ir early lj/e!"-another " had a collar on, with one
             prong turned
             down"-another "had on a drawing-chain, fastened
             around his ankle with a house-lock"-another was
             "much gnarked with irons"-another (negress Fanny)
             "had an iron band about her neck," &c., &c. All
             this, as the reader now knows, is aut/orized by lawnot prohibited as "unusual."
             Then comes another class, which, if not expressly
             authorized, are found by their frequency to be outside
             of the prohibited pale of "unusual." "Mary has a scar
             on her back and right arm, caused by a rife ball"another " branded on the left jaw"
             —"Arthur has a
             scar across his breast and each arm, made by a
             knife; loves to talk much of the goodness of God""George has a sword-cut, lately
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             received in his left
             arm"-" Mary has a small sear over her eye, a good
             many teethi missing, the letter A branded on her
             cheek and forehead." Many others "scarred with
             the bite of a dog."
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             .L


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             THE AMERICiAN SLAVE CODE.
             "RAN AWAY, a negro woman and two children.
             A few days before she went off, I burTt her with a hot
             iron on the left side of her face. I tried to make the
             letter M."
             Another class are described by mutilations which,
             though nominally prohibited by law, appear to be
             far from being " u?unusual;" and neither fear of law
             nor of public odium prevent the public advertisement of them.
             One "has only one eye;" another, "Rachel, has
             lost all her toes except the large one." "Joshua, his
             thumb is off, on the left hand." Another, "his right
             leg broken." "John, left ear cropt;" another "has
             lost one of his ears."
             Many pages might be occupied with similar advertisements, which appear in the
             most respectable
             Southern journals, with the names of the advertisers,
             many of them prominent citizens, and sometimes
             respectable ladies!
             One case, on page 15 of Mr. Weld's book, is
             doubtless a specimen of tens, if not hundreds of
             thousands; assuredly it does not come under the
             condemnation of being "unusual." The "owner"
             of a female slave, who was a Methodist, proposed a
             criminal intercourse with her: she refused. iHe
             sent her to the "overseer" to be flogged. Again he
             made advances-again she refused, and again she
             was flogged! Afterwards she yielded to his adulterous wishes! And now, the
             attentive reader of
             the preceding pages will have learned that all this
             was strictly within the protection of the law! Its
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             L


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             PRACTICAL PROTECTION.
             limitations this monster had not overstepped. At
             least, there is no adequate law for his punishmentnay, so far as appears, there have
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             been no legislative
             attempts or even pretensions to provide protection
             against such outrages!
             But details of this kind, on this subject, are always
             set down as exceptions. We turn, then, again to a
             specimen of general testimonies.
             lRev. GEORGE WHITEFIELD, ill his letter to the
             slaveholders of Maryland, Virginia, the two Carolinas and Georgia, after admitting
             "particular exceptions," charges them, in general, with treating their
             slaves "worse than if they were brutes." Hie adds,
             "The BLOOD of them, SPILT for these many
             years in your respective provinces, will ascend up
             to heaven against you."
             WILLIAM PINCKNEY, of Maryland, (1789,) calls
             Maryland "the foster-mother of petty despots, the
             patron of waton, oppression!"
             Dr. JONATHIAN EDWARDS, of Connecticut, (1791,)
             says, " The smack of the whip is all day long in the
             ears of those who are on the plantation, or in the
             vicinity; and it is used with such dexterity and
             severity as not only to lacerate the skin, but to tear
             out small portions of the flesh at almost every stroke.
             This is THE GENERAL TREATMIENT of the slaves. But
             gany individuals suiffer still more severely. /[afry
             are 7noce(d down; som?e have their eyes beaten out;
             sone have an arrn or a leg broken, OR CHOPPED OFF;
             and many, for a very small or for no crime at all,
             have been BEATEN TO DEATH," &C.
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             I


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             THE AIMERICAN SLAVE CODE.
             JOHN WOOLMfAN, of New-Jersey, (1758:) "Their
             punishment is often severe, and sometimes des perate." (Journal, &c., p. 74.)
             GEORGE BUCHANAN, M.D., of Baltimore, (4th of
             July Oration, 1791:) "Their situation" [the slaves']
             "is insuppFortable: misery inhabits their cabins, and
             pursues them in the field. Inhumanly beaten, they
             OFTEN fall sacrifices to the turbulent tempers of
             their masters. Who is there, unless inured to
             savage cruelties, that can bear to hear of the INHUMAN PUNISHMENTS DAILY
             INFLICTED upon the unfortunate blacks, and not feel for them? Can a
             man, who calls himself a Christian, coolly and deliberately tie up, t[hlumb-screw,
             torture with pincers,
             and beat unmercifully, a poor slave, for, perhaps,
             a trifling neglect of duty?"
             AMIERICAN COLONIZATION SOCIETY: " ~We have
             never heard of slavery in any country, ancient or
             modern. Pagan, Mohammedan, or Christian, so terrible inl its character, as thie
             slavery which exists in these
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             United States." (Seventh RIeport, 1824.)
             The PRESBYTERIAN SYNOD OF KENTUCKY (1834)
             said, "Brutal stripes, and all the varied kinds of personal indignities, are not the only
             species of cruelty
             which slavery LICENSES."
             "They [the slaves] s,ffer all that can be inflicted
             by wanton caprice, by grasping avarice, by brutal
             lust, by malignant spite, and by insane anger. Their
             happiness is the sport of every whim, the prey of
             every passion that may occasionally or habitually
             infest the master's bosom."
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             PRACTICAL PROTECTION.
             Rev. JAMES A. THOME, now of Ohio City, a native of Kentucky, and son of a
             slaveholder, says,
             "Slavery is the parent of more suffering than has
             flowed from any one source since the date of its
             existence. Such sufferings too! Sufferings inconceivable and innumerable;
             unmingled wretchedness
             from the ties of nature rudely broken and destroyed;
             the acutest bodily tortures, groans, tears and blood;
             lying for ever in weariness and painfulness, in
             watchings, in hunger and in thirst, in cold and in
             nakedness."
             We forbear citing further witnesses. It is manifest
             that human chattels must be worse treated than
             brutes, in order to be kept in chattelhood. Other
             working animals are not punished as examples to
             their fellows. They are not the objects of suspicion,
             jealousy, lust, or revenge. They are not hated.
             They are not threatened. They are not conversed
             and quarrelled with. They cannot be regarded
             guilty, or proper subjects of censure or punishment.
             They have no aspirations above their condition.
             They have no keen sense of being injured by being
             imbruted. They can utter no provoking language,
             nor retort, nor retaliate. All these items are bulwarks of defense to the brute, but
             inlets and avenues
             of attack upon the slave. The individuals and the
             classes of men most wronged, are proverbially most
             hated by the wrong-doer. This is the dreadful doom
             of the poor negro, and he is completely under the
             power of his tyrant. As the exercise of despotic
             power over the defenseless makes men hardhearted
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             THE AMERICAN SLAVE CODE.
             and cruel, it is evident that the more absolute any
             despotism becomes, the more cruel will the persons
             become who administer it. And the most absolute
             form of despotism known among men, is that of
             human chattelhood in the United States of America,
             as its code proves.
             The unnatural and monstrous "legal relation" of
             slave ownership, unhumanizing human beings, insures cruelties that human
             language cannot describe,
             nor human imagination conceive! No pencil can
             portray them; no statistics exhibit the sum total.
             The slave code is sufficiently horrible, but every
             syllable of it can be written, printed, and measured
             by pages. The practical illustration has no limits;
             its horrors swell into infinity
             "No people were ever yet found who were better
             than their" [living and recognized] "laws, though
             many have been known to be worse."
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             i


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             CHAPTER XVIII.
             FUGITIVES FROM SLAVERY.
             The Slave, being Property, may be hampered or confined to prevent his escape may
             be pursued and reclaimed-must not be aided, or concealed from his
             Owner-and when too wild or refractory to be USED by his Owner, may be
             KILLED by him with impunity.
             Tiis topic is closely connected with those of
             several of the preceding chapters, and is, in some of
             its aspects, a branch of them. The laws on this subject are too verbose and various to
             be transcribed at
             large, which would swell the volume and weary the
             reader. We shall present only an abstract of what
             is characteristic and most important, connected with
             the usages under them. One design of these laws
             and usages is to prevent escapes; another, to facilitate recaptures; another, to punish
             the fugitives and
             deter others; another, to punish slaves, free colored
             people, or whites who may entice or aid the fugitives.
             Prevention of escapes is sometimes sought by the
             use of iron collars, chains, handcuffs, locks, &c., as
             before mentioned, whenever the'owner" or his
             agent thinks proper; and the law, as has already
             10*

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             THE AMERICAN SLAVE CODE.
             been seen, authorizes this, and punishes any one who
             may cut or break them.
             Another frequent precaution is the locking up of
             the slaves at night, and this, too, is within the lawful power of the master, at his own
             discretion.
             In cities, corporate towns, &c., there are regulations
             forbidding the slaves or free people of color to be in
             the streets after a specified hour in the evening. At
             Wilmington, (N. C.,) we knew a case (1821) in which
             the holding of a Methodist meeting (under charge
             of white persons) a few minutes too late, occasioned
             the locking up of one half the worshipping assembly
             in the watch-house, men, women, and children, till
             eight or nine o'clock the next morning, church
             members and all, when the legal forms were gone
             through with, to effect their release; in which it
             appeared that a "class-leader" at the meeting had
             "taken up" five members of his own "class," and all
             in obedience to "the law!"
             A general rule on plantations is, that slaves must
             not be absent from "quarters" in the evening, nor
             leave the plantation at any time without a written
             "pass." In at least some of the States, there are laws
             strictly enforcing this rule. Then, there are "patrols"
             established in city and country, regulated by law,
             and clothed with ample powers to arrest whom they
             please, and see that the existing laws and usages are
             enforced.
             An Act of Maryland, (1715,) chap. 44, sect. 6, "for
             the better discovery of runaways, &c., requires that
             " any person or persons whatsoever," travelling beyond
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             FUGITIVE SLAVES.
             the limits of the county wherein they reside, shall
             have "a pass under the seal of said county;" otherwise, "if apprehended, not being
             sufficiently known,
             nor able to give a good account of themselves," the
             magistrate, at his discretion, may deal with them as
             with runaways. (Stroud, p. 83.) This is particularly
             remarkable as being without distinction of color, and
             so applicable to the class of low whites. These, however, were to be released after
             six months, in distinction from "negroes and mulattoes."
             To facilitate recaptures, sect. 7 of the same Act"for the better encouragement of all
             persons to seize
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             and take up all runaways travelling without pass, as
             aforesaid"-provides a bounty, in tobacco, (commuted
             for six dollars.) "to be paid by the owner" of said
             runaway; "and if such suspected runaways be not servants, and refuse to pay the
             same, he, she, or they
             shall MAKE SATISFACTION BY SERVITUDE OR OTEERWISE, &c." In 1q19,
             an additional provision authorized the sheriff; in case of nonpayment of costs, &c.,
             by these wronged and innocent free negroes and
             mulattoes, to sell them to the highest bidder!!!
             This monstrous provision was afterwards expunged
             fromn the Code of Maryland, but not till after the
             cession of the Federal District, which therefore remains under the old law. And this
             furnishes the
             foundation of those laws of the Corporation of Washington City by which, at the
             present day, FREE
             NEGROES or IULATTOES arrested as fugitive slaves,
             and not being claimed by any one, are held liable
             for their jail fees, and, in default of payment, sold
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             pl-1,


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             THE AMERICAN SLAVE CODE.
             into slavery. (Vide Jay's Inquiry, p. 154; and Jay's
             View, p. 33, &c., where it is shown that such cases
             frequently occur.)
             It is made the official duty of sheriffs and con stables to arrest suspected fugitives,
             and of jailers to
             commit them to prison. By law of Maryland, (1723,)
             ch. 15, sect. 2, &c., it is made the duty of the con stables to repair monthly to all
             suspected places, and
             whip every negro he finds there without a license!*
             Owners of plantations, by the same Act, are required
             to send home to their masters any "strange negroes"
             on their premises; they are authorized to whip them,
             &c.; and forbidden to harbor or encourage them, on
             penalty of fine, &c. Same law in Federal District.
             (Snethen's Dist. Col., p. 13.)
             "In Georgia, any person may inflict twenty lashes
             on the bare back of a slave found without license on
             the plantation, or without the limits of the town to
             which he belongs. So also in Mississippi, Virginia,
             and Kentucky, at the discretion of the justice."
             (Jay's Inquiry, p. 134.)
             "In South Carolina and Georgia, any person finding more than seven slaves together
             in the highway
             without a white person, may give each one twenty
             * In this aspect, the slave is neither treated as a mane nor as a
             brute, but worse than either man or beast is treated! A man has
             the right of locomotion and social intercourse. And when a brute
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             animal leaps his fence in quest of food or company, or to roam at
             large, no one thinks of treating him as a criminal, of subjecting
             him to punishment. The power of the State is not in requisition,
             to send sheriffs and constables after him.
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             FUGITIVE SLAVES.
             lashes." (lb.) Similar in Delaware: "more than six
             slaves." (Delaware Laws, 104. Stroud, p. 102.)
             This law has also been introduced into Florida,
             since its cession to the United States, contrary to the
             milder code of Spanish slavery. Many of the Indian
             slaves in East Florida, with most of the free people
             of color near St. Augustine, transported themselves
             to Hiavanna, as soon as they heard of the approach
             of the American authorities. (Stroud, p. 101.)
             "In Kentucky, Virginia, and Missouri, a slave,
             for keeping a gun, powder, shot, a club, or other
             weapon whatever, offensive or defensive, may be
             whipped thirty-nine lashes, by order of a justice." (Ib.)
             "In North Carolina and Tennessee, a slave travelling without a pass, or being found
             in another person's negro quarters or citchen, may be whippedforty
             lashes, and every slave in whose company the visitor
             is found, twenty lashes!" (Ib.) The visits of parents
             and children, husbands and wives, may be thus
             punished.
             "In Louisiana, a slave, for being on horseback,
             without the written permission of his master, incurs
             twenty-five lashes; for keeping a dog, a like punishment." (Ib.) Horses and dogs, as
             well as weapons,
             might assist their escape.
             "By the law of Maryland, for'rambling, riding,
             or going abroad in the night, or riding horses in the
             daytime without leave, a slave may be whpat,
             cropped, or branded on the cheek with the letter R,
             or otherwise punished, not extending to life, or so as
             to unfit him for labor.'" (Ib.)
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             I


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             THE AMERICAN SLAVE CODE.
             In Georgia and South Carolina, " If any slave shall
             be out of the house, &c., or off the plantation, &c.,
             of his master, &c., and shall refuse to submit to an
             examination by any white person, &c., such white
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             person may apprehend and moderately correct him;
             and if he shall assault or strike such white person,
             he may be lawfully killed." (2 Brevard's Digest, 231.
             Prince's Digest, 447. Sect. 5 of Act of 1770, and
             page 348, No. 43; title, Penal Laws. Stroud's
             Sketch, p. 101.) The reader will recollect here that
             " moderate correction," as legally defined, is suchl as
             may cause death! And the slave not submitting
             quietly to this may be lawfully killed!"
             "If any slave shall presume to come upon the
             plantation without leave it writing from his master,
             employer, &c., not being sent on lawful business, the
             owner of the plantation may inflict ten lashes for
             every such offense." (1 Virg. Rev. Code of 1819,
             422-3. Mississippi Rev. Code, 371. 2 Littel and
             Suigert's Digest, 1150. 2 Missouri Laws, 741, sect.
             3. Maryland Laws, Act of 1723, chap. 15, sects. 1
             and 5.)
             North Carolina.-'"Any 13ersorn may lawfully kill a
             slave who has been outlawed for running away and
             lurking in swamps," &c. (Act of 1741. Hiaywood's Manual, 521-2. Stroud, 103.)
             Similar in
             Tennessee.
             In Maryland and District of Columbia, "If any
             negro or other slaves, absenting themselves from
             their master's service, running out into the woods
             and there remaining, killing and destroying hogs
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             FUGITIVE SLAVES.
             and cattle belonging to the people of this province,
             shall refuse to surrender themselves, and make
             resistance against such persons as pursue to apprehend and take them up, being
             thereunto legally
             empowered, it shall be lawful for such pursuers,
             when such resistance is made, to shoot, kill, and
             destroy such negroes or other slaves." (Laws of
             Maryland, 1723, chap. 15, sect. 7. Snethen's Dist.
             Col.)
             In North Carolina, (as cited in the chapter previous,) a proclamnation of outlawry
             against a slave is
             authorized whenever he runs away from his master,
             conceals himself in some obscure retreat, and, to
             sustain life, "kills a hog, or some animal of the cattle
             kind." (See Hiaywood's Manual, 521. Act of 1741,
             chap. 24, sect. 45. Stroud, p. 38.) The same or
             similar in Tennessee.
             InVirginia, "in 1705, two justices of the peace
             were authorized, by proclamation, to outlaw runaways, who might thereafter be
             killed and destroyed
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             by any person whatsoever, by such ways and means
             as he may think fit, without accusation or impeachment of any crime for so doing."
             (Stroud's Sketch, p.
             103.) This Act was, however, repealed in 1792. (Ib.)
             From an article in the Norfolk (Va.) Herald of
             Feb., 1837, it however appears that a case of slave
             hunting and shooting had just occurred "near New
             Point Comfort." "It was not until a musket was
             fired at them, [the slaves,] and one of them slightly
             wounded, that they surrendered." (Weld's "Slavery
             as it is," p. 160.)
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             THE AMERICAN SLAVE CODE.
             The customary usages of the South in general, on
             this subject, are such as to supersede the necessity
             of any formal procclamation of outlawry by the magistrates. The more general laws,
             as in South Carolina, Georgia, Maryland, and District of Columbia,
             just now cited, sufficiently answer the same purpose.
             In South Carolina, "a slave endeavoring to entice
             another slave to run away, if provisions, &c., be prepared, for thie purpose of aiding
             such running away,
             shall be punished with DEATH." (2 Brevard's Dig.,
             233, 244.) "And a slave.who shall aid and abet the
             slave so endeavoring to entice another slave to run
             away shall also suffer DEATH." (Ibid.) An equivocal
             and unimportant modification of this Act was afterwards made. (Stroud, p. 104.)
             The "owner" of
             slaves sentenced to death is probably remunerated
             out of the public treasury. This is the law of Maryland. (Laws of Maryland of 1737,
             chap. 2, and of
             1751, chap. 11. Vide Snethen's Dist. Col., p. 16.)
             "If a slave harbor, conceal, or enitertain another
             slave, being a runaway, in South Carolina and Georgia, he is subjected to corporal
             punishment to any
             extent, not affecting life and limb." (2 Brevard's
             Digest, 237. Prince's Digest, 452.) In Maryland,
             thirty-nine stripes is the penalty for harboring one
             hoer. (Act of 1748, chap. 19, sect. 4.)
             In South Carolina, "if a FREE negro harbor, conceal,
             or entertain a runaway slave," he is fined tell pounds
             for the first day, and twenty shillings for every succeeding day; and if unable to pay
             the fines and
             charges, he may be SOLD at public outcry, and
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             FUGITIVE SLAVES.
             the overplus, if any, paid into the hands of the
             public Treasurer." (2 Brevard's Dig., Act of 1740.)
             In August, 1827, the Charleston Court passed sentence, according to this law,
             against Hannliah Elliott,
             a free black woman, her daughter Judy, and her
             sons Simon and Sam, and they were sold into
             slavery. (Stroud's Sketch, p. 17.) Yet Judge
             Stroud is of opinion that that section of the Act of
             1740 had been repealed. (Ib.) The law of 1821
             provides "corporal punishment, not extending to
             life or limb." (Ib.)
             White as well as colored persons are forbidden,
             under heavy penalties, to entice, transport, or secretly
             carry away slaves. (Laws of Maryland of 1715,
             chap. 19, sect. 4. Snethen's Dist. Col., p. 12.) Also,
             forbidden to entertain slaves unlawfully absent.
             (Laws of Maryland, 1748, chap. 19, sect. 2, &c.
             Snethen, p. 17.) Also, masters of vessels to conceal slaves on board. (Laws of
             Maryland, 1753,
             chap. 9, sect. 3. Snethen, p. 19.)
             "By Aiken's Alabama Digest, p. 109, it is declared
             that'any person or persons, being convicted of harboring or concealing any negro or
             negroes belonging
             to any other person or persons whatsoever, or suffering the same to be done with his
             consent or knowledge, shall be fined in a sum not exceeding seven
             hundred dollars, and shall be imprisoned not less than
             one calendar month, nor exceeding six calendar
             months; and shall be liable n damages to the party
             injured, to be recovered by action onthe case before
             any tribunal having competent jurisdiction.' And
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             THIE AMERICAN SLAVE CODE.
             similar enactments are to be found in the statute
             books of the other States." (Wheeler's Law of
             Slavery, note, pp. 264-5.)
             Giving passes to slaves is prohibited in Maryland
             by Act of 1796, chap. 67, sect. 20. (Snethen, p. 29.)
             And "free negroes or mulattoes" who may sell or
             give away their "certificates of freedom," may be
             fined $300, which, if not paid, may be raised by the
             sale of such free persons into slavery! (Laws of
             Maryland, 1796, chap. 67, sect. 18. Snethen, pp.
             28-9.)
             By Act of Congress of 1852, heavy penalties are
             imposed upon all persons who knowingly entertain
             or aid fugitive slaves; and it is made the duty of
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             United States Commissioners, Marshals, and "all
             good citizens," to assist in returning them.
             In our examination "of the laws concerning the
             murder and killing of slaves," (Chap. XIV.,) we had
             occasion to cite some cases from Wheeler's Law of
             Slavery, by which it would appear that the Courts
             are quite familiar with such occurrences as the shooting and killing of fugitive
             slaves, since the owners
             often bring suits against the "hunters" for damages
             in killing them! And these suits are as coolly argued
             and disposed of as if it were a question of the shooting of a mad bull. Sometimes,
             where the shooting.
             appeared to have been needless, "rash, and incautious," the plaintiff recovered
             damages. Other cases
             conclude with "judgment for the defendant."
             The subject of "Runaway or fugitive slaves" occupies a distinct division or chapter,
             of above a dozen
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             FUGITIVE SLAVES.
             pages, in Mr. Wheeler's Compilation of Reported
             Cases. The decisions of the Courts are in harmony
             with the statutes already cited, and show that they
             are not a dead letter. We refer to a few cases. The
             first case introduces us to Slave Law as expounded in
             the State of New-York:
             Glen vs. Hodges, Jan. T., 1812; John's New-York
             Reports, 67. Trespass for taking the plaintiff's slave.
             The fugitive had been seized by his master in Vermont. The defendant, who had
             a'claim on the negro
             for debt, pursued him, and, with a writ of attachment, took him from the plaintiff's
             possession, and
             imprisoned him for debt. It was decided that the
             contract with a slave was void, and therefore the
             defendant had no right to take him. (Wheeler, pp.
             266-7.)
             Hutchins vs. Lee, Dec. T., 1827; WValker's Miss.
             Reports, 293. In this case it was decided that in the
             sale of a fugitive slave by a sheriff, "if the slave sell
             for less money because of any neglect in the sheriff
             to perform his duty, the remedy is by an action
             against the sheriff for damages." (Ib., p. 270.)
             Labranche vs. WVatkins, June T., 1816; 4 Martin's
             Louisiana Reports, 391. This was a litigation between a slave owner and the sheriff,
             who had had
             him in custody as a runaway. The sheriff sold the
             slave, then bought him back of the purchaser. The
             Court decided the act of the sheriff to be fraudulent, and that "a runaway slave
             cannot be sold by
             the sheriff till hie had been advertised two years."
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             (Wheeler, pp. 275-6.)
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             THE AMERICAN SLAVE CODE.
             Under the head of "harboring slaves," in Wheeler's Law of Slavery, a number of
             cases are put down,
             e.g.:
             Scidmore vs. Smith. The Court decided that "the
             penalty for harboring slaves is cumulative, and does
             not destroy the common law remedy." (p. 442.) That
             is, the penalty for the criminal act is in addition to
             the darnamaes that may be claimed by the master in a
             civil suit.
             We need occupy little space with proofs that the
             part of the Slave Code contained in this chapter,
             frightful as it is, is not a dead letter! Slave hunts,
             with muskets and bloodhounds, are too horribly
             frequent, by the testimony of the Southern journals,
             to admit of any doubt on this subject. And so are
             advertisements of runaway slaves by their owners,
             with offers of reward for them, "dead or) aive"! or
             "for killing them," or for "evidence of their being
             killed!" Of such slave hunts the inquirer may find
             ample details in WVeld's "Slavery as it is," pp. 21,
             97, 102, 108, 155, 160. Specimens of such advertisements may be found on page
             1l6 of that book,
             together with a proclamation of outlawry, and an
             announcement of the consequent "killing" of a
             negro.
             The following advertisement is from the Ouachita
             Register, a newspaper dated "Monroe, La., Tuesday
             evening, June 1, 1852":
             "NEGRO DOGS.
             "The undersigned would respectfully inform the
             citizens of Ouachita and adjacent parishes, that he
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             FUGITIVE SLAVES.
             has located about 221 miles east of John White's,
             on the road leading from Monroe to Bastrop, and
             that he has a fine pack of Dogs for catching negroes.
             Persons wishing negroes caught will do well to give
             him a call. He can always be found at his stand
             when not engaged in hunlting, and even then information of his whereabouts can
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             always be had of some
             one on the premises.
             Terms.-Five dollars per day and found, when
             there is no track pointed out. When the track is
             shown, twenty-five dollars will be charged for catching the negro.
             Jfon~'oe, TFeb. 17, 1852. M. C. GOFF."
             With a full knowledge of these laws and of these
             facts, nay, under the hardening effects of familiarity
             with them, our leading statesmen and religious teachers will affect to believe that
             the slaves are contented
             and happy in their present condition. In almost the
             same breath they will exhort us to the patriotic and
             Christian duty of enforcing the infamous Fugitive
             Slave Bill; quote the Bible and the Constitution to
             sustain their exhortations; and then complain of
             being slandered, if accounted pro-slavery!
             " No people were ever yet found who were better
             than their [recognized and living] laws, though many
             have been known to be worse."
             Judge Tucker, Professor of Law in the University
             of William and Mary, Virginia, speaking of this law
             of "outlawry" of runaways, and others of a similar
             nature, said: "Such are the cruelties to which
             SLAVERY gives birtha; such the horrors to which the
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             I


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             THE AMERICAN SLAVE CODE.
             human mind is capable of being reconciled by its
             acloption." (Stroud, p. 103.)
             The tree is known by its fruit. The laws on this
             subject, State and national, are but the natural progeny, as they are also the
             indispensable defenses of
             "the innocent legal relation." Repeal them, and
             slave "property" takes to itself legs, and runs away.
             To recognize the right of "property"' is to recognize
             the right of reclaiming it, and the duty of its restoration. But it is likewise to reverse
             the divine law:
             "Thou shalt not deliver unto his master the servant
             which is escaped from his master unto thee: IHe shall
             dwell with thee, even among you, in that place which
             he shall choose, in one of thy gates, where it liketh
             him best: thou shalt not oppress him." (Deut. xxiii.
             15, 16.)
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             CHAPTER XIX.
             TIHE SLAVE CANNOT SUE HIS MASTER.
             Slave Property cannot litigate with its Owner!
             THE slave is a "chattel;" his master is his "owner."
             This "legal relation" precludes the idea of a suit at
             law between them, especially a suit in which the
             chattel should be plaintiff! As a horse or an ox
             cannot sue his owner, so neither can a slave; for
             "slaves shall be deemed, sold, taken, reputed and
             adjudged in law to be chattels personal, &c., &c., to
             all intents, constructiorts, and purposes whatsoever." "A
             slave is one who is in the power of his master, to
             whom he belongs." These all-comprehensive definitions are not a dead letter, and
             they accordingly
             settle, at every step, every question that can be raised
             concerning the condition of the slave. This is "the
             legal relation," and the whole of it. If this be
             tolerated, all the rest of the system, in all its parts,
             and in all its legitimate and natural workings and
             results, may be tolerated likewise. The parts, severally, cannot be worse than the
             whole.
             "A slave cannot be a party before a judicial tri


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             THE ANIMERICAN SLAVE CODE.
             bunal, in any species of action against his master,
             no matter how atrocious may have been the injury
             which he has received from him." (Stroud's Sketch,
             p. 57.)
             We cited this paragraph in our Chapter IX., in
             proof of the master's "unlimited power." In the
             chapters succeeding it has been shown that the laws
             ostensibly framed for the protection and redress of
             the slave are of no value to lhim. And no wwhere have
             we found any provision for a suit at law by the slave
             against his master. If the master assaults his life, if
             he inflicts torture, if he takes away his wife by force,
             or ravishes her before his eyes, neither he nor his
             wife can bring him to trial, nor enter complaint or
             bear testimony against him. If any instance has occurred, amid the outrages of the
             last two hundred
             years, LET IT BE PRODUCED.
             " The law is unquestionably as stated above, without any exception or limitation."
             (Stroud's Sketch,
             p. 57.) *
             The proposition at the head of this chapter, that
             "a slave cannot sue his master," is involved, of necessity, in the still more
             comprehensive one (which
             will be established when we come to treat of "the
             civil condition of the slave") that a slave cannot be
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             a party in any civil suit whatsoever. It would be
             absurd to suppose that he could maintain a suit
             * The case of an alleged slave bringing a suit for his freedom
             (which will be considered in its place) is not an exception to the
             above proposition, because the question whether the plaintiff be a
             slave is still to be settled, and is not to be taken for granted.
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             OWNER CANNOT BE SUED.
             against his owner, when he could maintain a suit
             against no body else. And it would be equally absurd
             to suppose that he who could possess nothing, if he
             should gain a suit, could have any power to bring a
             suit before the Courts for so idle a purpose. The
             testimony of Mr. Wheeler to this point, in his "Law
             of Slavery," p. 197, we reserve for its more appropriate place hereafter, but refer to it
             here, for the
             convenience of the inquiring reader.
             The following cases, extracted from the same author, will, however, be as
             appropriately inserted here
             as elsewhere, though they prove more than the mere
             proposition now before us:
             "Berard vs. Berard et al., Feb. Term, 1836; 9 Louisiana Rep., 156.
             "Per Cur?., Martin, J.: The plaintiff is a person,
             and SUES HER AUNT, Marie Louise Berard, for the
             purpose of establishing her and her children's claim
             to their freedom. The defendant disavowed any title
             to the plaintiff, but averred that she belonged to her
             late sister, Marie Jeane Berard, and that she descended
             to her sister's natural children and legal heirs, Celina
             and Antoine Garidel. These heirs intervened, and
             claimed the plaintiff and her children as their property, in the right of their deceased
             mother. The
             case was tried by a jury, who found a judgment for
             the intervening party, and the plaintiff appealed.
             "The Court instructed the jury that the interveners were not bound to show their
             title. The plaintiff
             excepted.
             "On a full consideration of the case, this Court is
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             THE AMERICAN SLAVE CODE.
             Of opinion that the instruction given to the jury by
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             the District Judge was correct. A slave cannot
             stand in judgment for any other purpose than to
             assert his freedom. Hie is not even allowed to contest the title of the person holding
             him as a slave."
             (Wheeler's Law of Slavery, 197-8.)
             This decision covers the entire ground of the incapacity of the slave to sue his
             master, or any other
             person. And it lifts the curtain from the scenery of
             society in a slaveholding community. It shows us a
             niece, suing her aunt for her freedom-the aunt
             claiming her niece as a slave, not for herself, but on
             behalf of two other nieces-those nieces coming forward to claim their cousin and
             her children as their
             slave-the Court and Jury sustaining the claim with'out calling upon the claimants to
             show their titlethe Supreme Court, "on a full consideration of the
             case," confirming thle decision, and all as coolly as if
             the claim were for a horse! yet upon a principle by
             which no horse could be held, without showing a
             title! This is slavery in the concrete, as actually
             existing, sanctioned by the Courts, and not merely
             an abstraction.
             The case that follows has been twice alluded to
             already, and may be referred to again. We give it
             in full here:
             "Dorothee vs. Coquillon et al., Jan. T., 1829; 19
             Martin's Louisiana Rep., 350.
             "Appeal from the Parish Court of the parish and
             city of New-Orleans.
             "Per Cur., Martin, J.: The plaintiff, a free woman
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             OWNER CANNOT BE SUED.
             of color, complained that her child was directed to
             be emancipated at thle age of twenty-one, by the will
             of her mistress, who bequeathed her services, in the
             meanwhile, to defendant's daughter, who is still a
             minor; that the will requires the child to be edu cated in such a manner as may
             enable her to earn her
             livelihood when free; that no care of her education is
             taken, and she is treated cruelly. The prayer of the
             petition is, that the child be declared free at twentyone, and in the meantime hired
             out by the sheriff.
             The answer denies the plaintiff's capacity to sue; that
             she has any cause of action; and the general issue is
             pleaded. Thepetition was dismissed, and the plaintiff
             appealed. The plaintiff cannot sue for her minor
             daughter, in a case in which the latter could not sue
             were she of age. The daughter is a state tiber, and
             as such, a slave till she reaches her twenty-first year.
             Clef des toix romaines verbi state liber. As a slave, she
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             can have no action except to claim or prove her
             liberty. (Civil Code, 177.) Her right to her freedorn will not begin till she is twenty-
             one; if in the
             meantime the legatee fails to perform the conditions
             of the bequest, and the heirs of the testatrix have
             the legacy annulled therefor, the state liber must continue a slave in the meanwhile,
             and her services
             enjoyed by her heir; so that the object of the suit,
             so far as concerns her, is relief from ill treatmenit,
             which a SLAVE cannot sue for. The plaintiff is without any right of action.
             Judgment affirmed, with
             costs." (Wheeler's Law of Slavery, pp. 198-9.)
             And so the poor free colored woman loses her
             43


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             THE AMERICAN SLAVE CODE.
             case in behalf of her slave daughter, who is to be free
             at twenty-one, and is saddled with the costs of two
             Courts, because she did not know better than to
             suppose that a slave might sustain an action against
             her master for ill-treatment, and that the conditions
             of the Will would be enforced by the Courts!
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             CHAPTER XX.
             NO POWER OF SELF-REDEMPTION, OR CHANGE OF
             MASTERS.
             The Slave, being a Chattel, has no power of Self-redemption, nor of an exchange
             of Owners.
             AN ox cannot buy himself of his owner, nor
             transfer himself to the ownership of another. Here
             again, "to all intents, constructions, and purposes
             whatsoever," the slave is on a level with other working chattels! This must be his
             predicament in the
             very nature of the case, if the principle of cl-attelAood
             is to be consistently maintained.
             "Slaves cannot redeem themselves, nor obtain a
             change of masters, though cruel treatment may have
             rendered such a change necessary for their personal
             safety." (Stroud's Sketch, pp. 57-8.)
             It is of American slavery in the nineteenth century of the Christian era, and amnong
             a people
             boasting their pure religion and their free institutions, that this is affirmed. Among
             ancient heathen
             nations were found laws providing that slaves abused
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             by their masters might apply to the magistrates,
             who would order them to be sold to a new master.


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             THE AMERICAN SLAVE CODE.
             In Mississippi, as before noticed, the Constitution
             has empowered the Legislature to enact such a law,
             but the Legislature have not seen fit to exercise the
             power.
             In Louisiana, the new Civil Code contains a regulation looking apparently in that
             direction, but difficult, if not impossible, to be made effective. It is
             as follows:
             "No master shall be compelled to sell his slave,
             but in one of two cases, to wit: the first, when, being
             only co-proprietor of the slave, his co-proprietor demands the sale, in order to make
             a partition of the
             property; second, when thie master shall be CONVICT'LOD of cruel treatment of
             his slave, and the Judge
             shallu deem it proper to pronounce, besides the penalty
             established for such cases, that the slave shall be sold
             at public auction, in order to place him out of the
             reach of the power which his master has abused."
             (Art. 192.)
             It is to be noticed here, that the Judge is only
             e~apowered, not directed, to make such a decree. iHe
             may apply merely thie other penalties alluded to, and
             which have already been examined, (Chap. XIII.)
             The master must be CONVICTED of cruelty by
             " WHITE" testimony, by a Court and jury of slaveholders, and amid legal rules and
             usages that expressly authorize chastisement with rigor, provided it be
             not "unusual," nor "so as to maim or.mutilate," or
             endanger life. (Civil Code of Louisiana, before cited,
             Chap. XIII.)
             It is not known that this law of Louisiana has
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             NO RIGHT OF REDEMPTION.
             ever been enforced, and no other slave State in the
             Union, so far as we know, has any similar provision,
             though they are careful to provide, in this particular,
             for the security of indented apprentices. Without a
             change of masters, it is evident that no other laws
             against cruelty would be of any value. To punish
             an owner or overseer for abusing a slave, (even if it
             ever were done,) and then send the slave back again
             to be under the power of the same tyrant, (enraged,
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             as he would be, at his punishment,) Would only be to
             secure fresh injuries in secret.
             As to the slave's power of self-redemption, there
             is no legal provision for it in any of our American
             slave States. Under the Spanish laws-as, for example, in Cuba-a slave may apply to
             the proper
             magistrates and be appraised. If, within a specified
             period, by the assistance of friends, or by a customary if not prescribed arrangement
             with the master,
             and by his own extra exertions, the amount of the
             appraisal can be raised, he becomes free. In this
             way many emancipations take place, as was also the
             fact among the ancient heathen. Our Christian and
             Protestant slavery knows no relaxation of the kind!
             The late U. S. Senator, James D'Wolfe, of Rhode
             Island, who owned a slave plantation in Cuba, and
             who was, in early life, a captain or supercargo of a
             slaver to Africa, was wont to dwell with satisfaction
             on this feature of Cuban slavery, and to congratulate
             himself that he was not a slaveholder under our
             American Code, which allowed no opportunity to an
             industrious and enterprising slave to become free.
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             CHAPTER XXI.
             THE RELATION HEREDITARY AND PERPETUAL.
             Slaves being held as Property, like other domestic animals, their Offspring are
             held as Property, in perpetuity, in the same manner.
             "THE law of South Carolina says of slaves,'All
             their issue and their offspring, born or to be born, shall
             be, and are hereby declared to be, and remain FOR
             EVER HEREAFTER, absolute slaves, and shall follow
             thie condition of the mother." (Jay's Inquiry, p. 129.
             See Act of 1740. 2 Brevard's Digest, 229.)
             In Maryland, "All negroes and other slaves, already imported or hereafter to be
             imported into this
             province, and all children, now born or hereafter to be
             born of such negroes and slaves, shall be slaves during
             their natural lives." (Act of 1715, chap. 44, sect.
             22. Stroud's Sketch, p. 11.)
             Similar in Georgia. (Prince's Dig., 446. Act of
             1770.) And in Mississippi. (Revised Code of 1823,
             p. 369.) And in Virginia. (Revised Code of 1819,
             p. 421.) And in Kentucky. (Littell and Swigert's
             Digest, 1149-50.) And in Louisiana. (Civil Code,
             art. 183.) In all these laws it is laid down that the
             child follows the condition of the mother, whoever


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             SLAVERY HEREDITARY-PERPETUAL. 249
             the father may be! The same usage, whether with
             or without written law, prevails in all our slave
             States; and under its sanction, the slave "owner"
             very frequently holds and sells his own children as
             "property," though sometimes as white as himself.
             "That Is property which the law declares TO BE
             property. Two hundred years of legislation have
             sanctified and sanctioned negro slaves as property."
             (HENRY CLAY; Speech, U.S. Senate, 1839.)
             So also Mr. Gholson, in the Legislature of Virginia: "The owner of land has a
             reasonable right
             to its annual produce, the owner of brood mares to
             their products, and the owner of female slaves to
             their increase."
             Thus the perpetuity of slavery grows out of its
             hereditary transmission, and this again comes from
             its tenure of chattelhood. If the "legal relation"
             be valid and innocent, there can be no argument
             admitted against the right of its perpetuity; and
             slave property may be held so long as other property
             is held. The duty of a future liberation would
             imply the unlawfulness of present possession. Intelligent slaveholders, perceiving
             this, are careful to
             fortify their present claims upon human chattels, by
             enactments seeking the perpetuity of the system.
             In Jamaica, before emancipation, the mixed breed,
             at the fourth degree of distance from the negro ancestor, were liberated by express
             law. In the other
             British West India Islands, a similar custom prevailed. (See Stephen's West Inidia
             Slavery, p. 27, and
             Edwards' West Indies, book 4, chap. 1.) In the
             11*


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             THE AMERICAN SLAVE CODE.
             Spanish and Portuguese colonies, (probably, also, in
             the French,) a similar usage is believed to prevail.
             (Vide Stroud's Sketch, p. 14.) Not so ill our North
             American slave States, where biblical defenses of
             slavery, on the pretended foundation of Hebrew
             servitude, forget to define it by the Hebrew usages,
             and are resorted to in defense against the proclamation of the Hebrew Jubilee! By
             this process, and
             by defenses of or apologies for "the legal relation"
             of slave ownership, the idea of "rights of property"
             is sustained, which includes the right of perpetuity,
             of course, and makes it a work of supererogation to
             emancipate. Refusing to do so, the citizen remains
             as good as the laws; and the Christian (so he is
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             taught) as good as the apostles and Moses, so far as
             the slave question is concerned. With "fanatics"
             he leaves it to attempt being better. HIence, the
             people (withl few exceptions) are "no better than
             their laws" in this matter.
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             CHAPTER XXII.
             RIGHT TO EDUCATION-RELIGIOUS LIBERTY RIGHTS OF CONSCIENCE.
             The Slave, being held as a Chattel, is held by a tenure which excludes any
             legal recognition of his rights as a thinking and religious being.
             WE are not now speaking of laws or of usages that
             directly infringe such rights and prohibit their exercise. Wiere are such laws, and we
             shall give some
             specimens of them, when we come to inquire after
             the condition of the slave in relation to civil society.*
             At present, we are only unfolding to view "the legal
             relation of rnacster and slave." We affirm that a recognition of the validity or
             lawfulness of that relation
             is equivalent to a denial of the literary and religious
             rights of the slave. And if that relation be an
             innocent one, then the denial and the withholding
             of those rights, AS RIGHTS, are innocent likewise.
             The mere bestowal of privileges, with the permission
             to enjoy them, is not the recognition of rights; it is
             rather an implied denial of their existence. Men
             do not grant permission nor confer privileges where
             * Chapters VI. and VII., Part IL


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             THE AMERICAN SLAVE CODE.
             they recognize rights. The power to permit and to
             confer, carries with it the power to refuse and to
             withhold. Both the master andcthe slave understand
             this, where permissions are most frequently given.
             It is injurious to confer, as it is degrading to accept
             as a boon, what belongs to every man AS man, by
             absolute and inherent RIGHT. The rights of investigation, of free speech, of mental
             culture, of religious
             liberty, and of conscience, are of this class. Man
             may no more affect to confer them or permit their
             exercise, than he may presume to take them away.
             The statement, then, is not that slave masters do
             not educate nor permit the education of their slaves,
             nor allow nor furnish them the benefits of religious
             instruction and social worship. As a general statement, with particular and local
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             exceptions, it mnight
             be made and sustained, as will appear in its allotted
             place. But we waive and pass by all this, for the
             present, to affirm distinctly that "the legal relation"
             of slave ownership, in America, as defined by the
             code that upholds it, is a relation that cannot and
             does not consist with the recognition (either in
             theory or practice) of the intellectual and religious
             RIGHTS of the slave.
             The slave "is a chattel." But chattels have no
             literary or religious rights. He is a chattel "to all
             intents, constructions, and purposes whatsoever."
             He is "in the power of a master, to whom he belongs "-" entirely subject to the will
             of his master"
             — "not ranked among sentient beings, but among
             things." It would be an absurdity for such a code to
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             SPIRITUAL DESPOTISM.A
             recognize the slave as possessing religious rights. It
             is free from any such absurdity.
             Except the provisions, in some of the States, for
             the "baptis7n" of slaves, and for their "spiritual
             assistance when sicc," (see Chap. VII., Part II.,) we
             have found no recognition of their religious wants,
             their religious natures, or immortal destinies. Even
             hIere they seem to be considered passive beings, whose
             salvation is to be bestowed by their masters. The
             American Slave Code, from beginning to end, knows
             no rights of conscience in its subjects. The master
             is to be implicitly obeyed. His will is to be law
             The slave is allowed no self-direction, no sacred
             marriage, no family relation, no marital rights-none
             that may not be taken away by his master.
             Religion and its duties are based on human relations, including family relations.
             These relations,
             the "relation of slave ownership" and chattelhood
             abrogates. Religion requires and cherishes self-control; but the "owner's " authority
             supersedes and
             prohibits self-control. Religion implies free agency;
             but "the slave is not a free agent." His" condition
             is merely a passive one." So says the Slave Code,
             and so says ecclesiastical law, and therefore releases
             him from the obligations of the seventh commandment. Witness the decision of the
             Savannah River
             Baptist Association, while allowing its slave members, without censure, to take
             second or third companions, in obedience to their masters, by whom
             their original connections had been severed!
             Rights of conscience require, and therefore au
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             THE AMERICAN SLAVE CODE.
             thorize a man to choose his own place of worship,
             and not "forsake the assembling together;" nay, to
             choose and follow the avocation, and select the residence and the associates where,
             in his ownjudgment,
             he can best serve God, fit his own soul for heaven,
             and lead his fellow-men to the Saviour. It commands and authorizes him to "search
             the Scriptures," and train up his family "in the nurture and
             admonition of the Lord." The master emancipates
             his slave, and ceases to be his "owner" when he
             fully accords to him, in practice and in theory, these
             Heaven-conferred RIGHTS. It is useless to attempt
             evading this, by adducing the case of children and
             minors. The slave, at maturity, is entitled to the
             rights and responsibilities of a man, and without
             them he is despoiled of his religious rights.
             The slave master may withhold education and the
             Bible; he may forbid religious instruction, and access
             to public worship. Hie may enforce upon the slave
             and his family a religious worship and a religious
             teaching which he disapproves. In all this, as completely as in secular matters, he is
             "entirely subject
             to the will of a master, to whom he belongs." The
             claim of chattelhood extends to the soul as well as
             to the body, for the body cannot be otherwise held
             and controlled.
             There is no other religious despotism on the face
             of the earth so absolute, so irresponsible, so soulcrushing as this. It is not subjection
             to an ecclesiastical body or functionary of any description; a
             presbytery, a conference, a bishop, a prelate, a pope,
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             SPIRITUAL DESPOTISM.
             who may be supposed to be sensible, in some sort,
             of their sacred and responsible charge! The free
             white American exults in his exemption from the
             jurisdiction of these, except during his own free consent. He would freely part with
             his life's blood, in
             martyrdom or in war, rather than relinquish or compromise this right! But he thinks
             it a light matter
             (if he thinks of it at all) that three millions of his
             countrymen are in a worse spiritual thraldom than
             this, under bishops that regard and treat them as
             "chattels personal!" a bishopric entailed by descent,
             or conferred by the hammer of the auctioneer, the
             writ of the sheriff, or the chances of the billiardtable, and transferable in the same
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             manner! nay,
             exercised by deputation every day, by the brutal
             overseer, the ignorant housekeeper, the spoiled
             child; a bishopric, Christian or infidel, drunken or
             sober, chaste or lewd, as the chances may happen!
             Who thinks of t, that the religious RIGHTS of izmMotal men are thus trampled in
             the dust in this country;
             that their religious privileges are in such keeping?
             How is it that Christian ministers, "sons of the
             Pilgrims," can overlook all this, as they do, when
             they speak of the "innocent legal relation" that
             involves, of necessity, all this? The absolute power
             of the Pope, though conferred, as it once was, by
             the almost unanimous consent of all Christendom,
             they can denounce as "THE Antichrist," forgetful
             of the more absolute power of every "owner" of an
             American slave! The doom of the former they
             read in the Apocalypse; the latter they deem Heaven
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             THE AMERICAN SLAVE CODE.
             sanctioned and approved, blaming only its abuse!
             Why may not Papal power have the benefit of the
             same apology? Whence comes it that the absolute
             religious despotism (for such it is) of the slave owner
             is so much more sacred and unapproachable than
             that of the Protestant or Catholic Church?
             A single incident-we hope it is an uncommon
             one-will illustrate this absolute power of the slaveholder. At a planter's dinner-table,
             one day, (perhaps over the wine,) a guest remarked upon the
             hypocrisy of all religious slaves. The planter dissented. iHe was the owner of one
             who would rather
             die than deny his Redeemer. This was ridiculed.
             The slave was brought and put to the test. He was
             ordered to deny his belief in the Lord Jesus Christ.
             IHe refused; was terribly whipped; retained his integrity; the whipping was
             repeated, and "he died
             in consequence of this severe infliction." This was
             in South Carolina. The facts were related to Miss
             Sarah M. Grimke, daughter of Judge Grimke, of
             Charleston, by an intimate friend, the wife of a slaveholder. The particulars, over the
             signature of Miss
             Grimke, are inserted in Weld's "Slavery as it is,"
             p. 24.
             There is eno adequate cgal protection against such
             outrages, nor can there be, consistently with the
             "legal relation" of slave ownership. There was
             probably no legal investigation of this case. If
             there had been, and if "white" witnesses had attested the fact, the verdict, in
             conformity with the
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             laws of the State, would probably have been, " death
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             SPIRITUAL DESPOTISM.
             by moderate correction!" Into the causes or reasons
             of chastisement, the Slave Code does not inquire!
             -t is sufficient that the slave disobeys his "owner,"
             "overseer, or agent!"
             We have made no quotations from the statutes or
             judicial decisions of the slave States, on the subject
             of this chapter directly, because we have found none!
             Neither Stroud nor Wheeler, nor any other compiler
             of slave laws and decisions that we know of, appear
             to have discovered any provisions for the education
             and religious liberties of slaves! The eloquent
             silence of these significant blanks in the statute
             book and judicial reports of the slave States, is
             sufficient to certify the facts of the case. Whoever
             has read the preceding enactments and decisions
             well knows how to interpret such silence.
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             CHAPTER XXIII.
             ORIGIN OF THE " RELATION,7 ANXD ITS SIUBJECTS.
             The so-called " legal relation" of slave ownership of Negroes originated in that
             African Slave-Trade which our laws now punish as piracy; but Slavery is,
             in general, extended over all classes whom the slaveholders have been able to
             seize upon and retain; over Indians, free persons of color, and whites.
             SIR JOHN IHAWKINS obtained leave of Queen
             Elizabeth, in the year 1562, to transport Africans
             into the American Colonies with their own free con.sent, a condition withl which he
             promised to comply,
             But he forfeited his word, and forced them on board
             his ships by acts of devastation and slaughter. For
             this he was denominated a murderer and a robber,
             even by the historian Edwards, an advocate of the
             slave-trade. (Vide Clarkson's History, p. 30; and
             Edwards' Hist. W. Indies, vol. 2, pp. 43-4.) This
             was the beginning of the slave-trade by Englishmen.
             By Act of 23 George II., the "trade to Africa"
             was "regulated," including a strict prohibition, under
             penalties, of the taking on board or carrying away
             any African "by force, fraud, or violence." (Vide
             Clarklsonl, p. 314. See also Spooner's Unconstitutionality of Slavery.)


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             ITS ORIGIN AND SUBJECTS.
             Under no other legal sanction than this, the forcible
             and fraudulent seizure and transportation of slaves
             from Africa to the British-American Colonies was
             carried on till the West India and North American
             Colonies were stocked with slaves, and many were
             introduced into England, held as slaves there, and
             the tenure accounted legal!
             But in 1772 it was decided by Lord Mansfield, in
             the case of James Somerset, a slave, that the whole
             process and tenure were illegal; that there was not,
             and never had been, any legal slavery in England.
             This decision was understood by Granville Sharpe,
             the chief agfent in procuring it, to be applicable to
             the British Colories, as well as to the mother-country,
             and undoubtedly it was so. The United States were
             then Colonies of Great Britain. But the slaves in
             the Colonies had no Granville Sharpe to bring their
             cause into the Courts, and the Courts were composed
             of slaveholders.
             In the great struggle, afterwards, in the British
             Parliament for abolishing the African slave-trade,
             William Pitt cited the Act of 23 George II., (which
             we have already mentioned,) and declared that instead of authorizing the slave-
             trade, as was pretended, it was a direct prohibition of the whole
             process, as it had actually been carried on by fraud,
             force, and violence. An elaborate investigation by
             Parliament sustained the statement; and, after a
             long struggle, the doctrine prevailed, and' the traffic
             was expressly and solemnly abolished, though it has
             been secretly carried on to the present day, and is
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             THE AMERICAN SLAVE CODE.
             prosecuted still. There is reason to believe that
             great numbers are still smuggled annually into the
             United States, as it is known that numerous plantations in the States bordering on
             the Gulf of
             Mexico are stocked with slaves, evidently African,
             and unable to speak English.* The whole process is,
             and has been, illegal, from beginning to end.
             The first introduction of slaves into Georgia was
             in direct violation of express statutes of the Colony
             itself, until slaveholders gained the ascendency and
             repealed the laws. Into the other Colonies slaves
             were introduced a long time before there were any
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             colonial enactments authorizing it, and consequently
             without any show of legal sanction. When statutes
             were enacted, they did not pretend to create or originate the relation. Nor did they
             define, with exactness, who were slaves and who were not slaves.
             They only assumed or took for granted the existence
             * See Weld's Slavery as it is, (p. 139, &c.,) for important facts on
             this subject, among which are the following: The President's Message, in 1837,
             stated that a naval force had been employed in preventing the importation of slaves.
             Mr. Middleton, of South Carolina,
             in 1819, declared, in a speech in Congress, that "thirteen thousand
             Africans are annually smuggled into the Southern States." Mr.
             Mercer, of Virginia, in a speech in Congress, declared that " cargoes' of African
             slaves were smuggled into the South, to a deplorable extent. Mr. Wright, of
             Maryland, in a speech in Congress,
             estimated the "number imported annually at fifteen thousand."
             Particulars are also given of the importation of a cargo of five hundred from Guinea
             and Congo, into Savannah, the capture, the sham
             trial of the importers, their acquittal, and the distribution of the
             slaves among the planters! New-Orleans papers, in 1839, recorded
             the fact of frequent and extensive smuggling.
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             ITS ORIGIN AND SUBJECTS.
             of slave property, and made laws for its security and
             regulation. The consequence is, that no slaveholder
             can now prove that the particular slaves claimed by
             him were ever made slaves according to law, or that
             their ancestors were thus enslaved! And there are no
             statute laws in either of the States, by which it can
             be legally proved by the common rules and- usages
             of Courts, as applied to other subjects, that slavery
             legally exists there. This was avowed by Mr. Mason,
             of Virginia, in the Senate of the United States, when
             the Fugitive Slave Bill was pending. Hie objected to
             the proposed "trial by jury" that it would bring up
             the question of the legality of slavery in the States,
             which, said he, it would be impossible to prove. Mr.
             Bayly, member of Congress from Virginia, took the
             same ground. So Congress struck out the jury trial,
             because slaveholders avowed their inability to prove
             the legality of slavery in a Court of law!
             It may be proper to explain, that while these gentlemen admit that there are no
             express statutes of
             the States that are adequate to the legalization of
             slavery, they nevertheless affect to believe that it is
             legalized by the common law! It is not strange that
             they are unwilling to go with that plea into the
             Courts! The Courts of Louisiana, Mississippi, and
             Ifentucky have already set it aside. (See the case of
             Marie Louise vs. Mariott et al., May Term, 1836; 8
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             Louisiana Reports, 475. Wheeler's Law of Slavery,
             348-9. Also, same principle in Rankin vs. Lydia,
             Fall Term, 1820; 2 Marshall's Kentucky Rep., 467.
             Wheeler, p. 339. Also in Lunsford vs. Coquillon,
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             THIE AMERICAN SLAVE CODE.
             May Term, 1824; 14 Martin's Louisiana Rep., 401.
             Wheeler, p. 335. See also larvy and others vs.
             Decker and Hopkins, June Term, 1818; Walker's
             Miss. Rep., 36. Wheeler, pp. 340-6. See also Commonwealth of Massachusetts vs.
             Thomas Aves, Aug.,
             1836. Wheeler, p. 368, and Story's Conflict of
             Laws, 92-97.)*
             All these affirm that slavery, being without foundation in nature, is the creature of
             municipal law,
             and exists only under its jurisdiction. In the ease
             first mentioned, (Marie Louise vs. Mariott et al.,)
             in which the slave had been taken to France by
             her master, and brought back to Louisiana, Judge
             Matthews said: " Beivng free for one moment in
             France, it was not in the power of her former owner to
             reduce her again to slavery." (Wheeler, p. 349.)
             The absence, therefore, of municipal law, is fatal
             to the legality of the claims of the slaveholder, even
             by the Slave Code. In the case of Lunsford vs.
             Coquillon, above mentioned, Judge Martin said:
             "The relation of owner and slave is, in the States of
             this Union in which it has a LEGAL existence, the creature
             of municipal law." (Wheeler, p. 335.)
             In Wheeler's Law of Slavery, pp. 8-11, there is a
             brief account of the origin of slavery, which in no
             essential particular conflicts with the account we
             have here given of it, and in some of the most im
             * While these statements were in the hands of the printer, a
             gentleman of the city of New-York, who, for several years, was
             a practising lawyer in Georgia, informed the author that there
             had I.nn similar judicial decisions in that State.
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             ITS ORIGIN AND SUBJECTS.
             portant. particulars is coincident with it. The same
             remarks will apply to the statements cited from
             Judge Matthews, of Louisiana, pp. 15, 16.
             "It is an admitted principle, that slavery has been
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             permitted and tolerated in all the colonies established
             in America by the mother-country. Not only of
             Africans, but also of Indians. No LEGISLATIVE ACT
             OF THE COLONIES CAN BE FOUND IN RELATION TO
             IT." (Wheeler, pp. 8, 9.)
             In other words, the practice had no municipal law
             to sanction it. It was barely " tolerated;" that is, it
             was not suppressed. This is a very different thing
             from saying that it was LEGAL, which could not be
             without local enactment, even according to the
             lowest definition of legality. No lawyer ever speaks
             of the holding of property in horses (which is a
             natural right) as being "tolerated!" Again,
             "i Hudgins vs. Wright, Nov. T., 1806; 1 ien. and
             Munf., Va. Rep., 139.
             "Per Cur.: The slavery of the African negro has
             existed from the time of bringing them into the
             Colony. In many of the States express enactments
             have been made declaring them slaves, and in others
             they are slaves by CUSTOM." (Wheeler, p. 12.)
             It would have been interesting to have learned
             from the Court in which of the colonies, and when
             and how "express enactments" were made. It would
             then have confirmed fully the statement before
             quoted, that "no legislative enactments" originating
             slavery can be found. Again,
             In the case of Seville vs. Chretien, Sept. T., 1817;
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             10
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             THE AMERICAN SLAVE CODE.
             5 Martin's Louisiana Reports, 275, Judge Matthews
             admits, and labors to account for, "the absence of any
             legislative act of Eurolgean powers for the introduction of
             slavery into theirAmerican domninions." (Wheeler, p. 15.)
             So that American slavery owes its origin neither
             to American nor European legislation. The Courts,
             indeed, whenever they approach the subject, appear
             to be perplexed with the problem of its legal origin.
             As for example,
             Hall vs. Mullen, June T., 1821; 5 lar. and John's
             Md. Rep., 190.-Judge Johnson said: "But the condition and rights of slaves in this
             State depend not
             exclusively either on the civil or feudal law, but
             may, perhaps, rest in part on both; subject, nevertheless, to such changes in their
             condition," &c., "as
             the laws of the State may prescribe." (Wheeler, pp.
             10, 11.)
             By what authority, when, and how, the feudal law
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             or the Roman civil law became established in the
             American States, we are not informed; nor is it very
             important, since the Courts at the South will be careful not to allow the feudal law to
             define slavery, as
             indeed appears by the preceding.
             Whence, then, is the original of slavery? And
             how does it appear to have been or to be legalized?
             In the case of
             Harvey and others vs. Decker and lHopkins, June
             T., Walker's Miss. Rep., 36, the Court said: "Slavery
             is condemned by reason and the laws of nature. It exists, and can ONLY exist,
             through municipal regulalions." (Wheeler, pp. 340-6.)
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             ITS ORIGIN AND SUBJECTS.
             But the "municipal regulations" (so far as ORIGINATING the "legal relation" is
             concerned) appear, as
             has been seen, to be missing! They "cannot be
             found" on the statute book!
             The New-Jersey Judge who frankly confessed that
             he could not tell and did not care how the legal right
             to enslave the Indians originated, took the most
             prudent course, and should be imitated by all proslavery Judges who are so
             unfortunate as to stumble
             upon " the delicate question" of the origin of legalized negr-o slavery.
             "The State vs. Waggoner, April T., 1797; 1 Hialstead's N.J. Rep., 374-476.
             " They" [Indians] " have so long been recognized
             as slaves in our law, that it would be as great a violation of the rights of property to
             establish a contrary
             decision at the present day, as it would in the case
             of the Africans, and as useless to investigate the
             manner in which they originally lost their freedom."
             (Wheeler, p. 18.)
             And yet, in Wheeler's Law of Slavery, we find
             cases in which even Southern Judges (to their honor
             be it recorded) have awarded freedom to persons
             enslaved, upon the opposite principle, that "prescription is never pleadable to a
             claim of freedom." This
             is the marginal note to the case of
             "Delphene vs. Devise, 14 Martin's Louisiana Rep.
             650:
             "Per Cttr., Porter, J.: The plaintiff urges she is descended from one Marie Catherene,
             a negro woman
             now deceased, who was the slave of a certain Marie
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             THIE AMERICAN SLAVE CODE.
             Durse, and that the said Marie emancipated and set
             free Catherene and her children, Florence, Luce, and
             Catherene, the mother of the petitioner." " The de fendant pleaded the general issue,
             and prescription.
             We shall, before entering upon the merits, dispose
             of the exception which forms the second ground of
             defense in the defendant's answer. We do so by
             referring to the third partida, title twenty-nine, law
             twenty-four, in which we find it provided that, if a
             man be FREE, no matter how long he may have been HELD
             by another AS A SLAVE, his state or condition cannot
             be thereby changed, nor can he be reduced to slavery in
             any manner whatever, on account of THE TIME he may
             have been held in servitude." " The plaintiff is entitled
             to her freedom." (Wheeler, p. 101.)
             Same principle in case of Metayer vs. Metayer,
             Jan. T., 1819; 6 Martin'sLouisiana Rep. 16. (Wheeler, p. 103.) Also in Vaughan vs.
             Phebe, Jan. T.,
             1827; Martin and Yerger's Tenn. Rep. 1. (Wheeler,
             pp. 395404.) Judge Crabb said: "The act of limitations would be no bar." (p. 399.)
             Neither by statute, therefore, nor by the common
             law, nor yet by prescription, are the negroes in America LEGALLY held in
             bondage.
             But it is time now, in further confirmation of this,
             to cite more fully the language held by Judge
             Matthews, of Louisiana, in the case of Seville vs.
             Chretien, before mentioned.
             Having alluded to " the absence of any leyislative act
             of the European powers for the introduction of slavery
             into their American dominions, Judge Matthews adds:
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             ITS ORIGIN AND SUBJECTS.
             "If the record of any such act exists, we have not been
             able to find any trace of it. It is true that Charles the
             Fifth, in the first part of the sixteenth century,
             granted a patent to one of his Flemish subjects for
             the privilege of importing four thousand negroes
             into America, which was purchased by some Genoese
             merchants, who were the first who brought into any
             regular form the commerce for slaves between Africa
             and America. A few years before, a small number
             of negroes had been introduced by order of Ferdinand. But the privilege granted by
             the Emperor, so
             far from being the first introduction of slavery into
             the New World, was intended as a means of enabling
             the planters to dispense with the slavery of the Indians
             by their European conquerors. A full account of
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             these transactions may be seen in Robertson's History of America." (Wheeler, p.
             15.)
             It will not, probably, be contended that the enslavement of the Indians, here
             mentioned, was under
             sanction of law. But let us hear Judge Matthews
             further:
             " On turning our attention to the first settlement
             of the British Colonies in America, we find that the
             introduction of negro slaves into one of the most
             important, was accidental. In the year 1616, as
             stated by Robertson, and 1620 by Judge Marshall,
             in his Life of Washington, a Dutch ship from the
             coast of Guinea sold a part of her cargo of negroes to
             the planters on James River. This is the first origin
             of the slavery of the blacks in thie British-American
             provinces. About twenty years after, slaves were intro
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             THE AMERICAN SLAVE CODE.
             duced into New-England, and it is believed that Indians
             were at the same time, or before, held in bondage. THE
             ABSENCE OF ANY ACT OR INSTRUMENT OF GOVERNMENT UNDER
             WHICH THEIR SLAVERY ORIGINATED IS
             NOT A MATTER OF GREATER SURiPRISE THAN THAT
             THERE SHOULD HAVE BEEN NONE FOUND
             AUTHORIZING THE SLAVERY OF THE
             BLACKS. The first Act of the Legislature of the Province of Virginia o2t the
             subject of the slavery of the Indians was passed in 1670, and one of its provisions,
             according to Judge Tucker, prohibits free or manumitted Indians from purchasing
             Christian servants.
             The words free or manumitted are useless and absurd,
             if there did not exist Indians who had been slaves
             and had been manumitted, before and at the time
             this Act was passed." (Wheeler, pp. 15, 16.)
             Thus full and explicit is the testimony of Judge
             Matthews, of Louisiana, (and in the very act of making a decision against the claims
             of an Indian "to
             recover his liberty,") to the fact that both Indians
             and negroes were originally enslaved in this country,
             in the absence of either European or colonial legislation to sanction or create the
             relation of owner and
             slave.
             Put this by the side of the Southern decisions, before cited, that slavery can have no
             legal existence
             in the absence of municipal law, and we have the
             result that slavery in this country had no legal origin,
             and has continued to exist without law; since (by
             the same testimony) "no legislative act of the Colonies can be found in relation to
             it."
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             ITS ORIGIN AND SUBJECTS.
             The reader may be curious to know on what
             ground Judge Matthews, of Louisiana, in the case
             already cited, could maintain the legality of Ameri can slavery. It is this:
             "However, we are of opinion that it may be laid
             dow~ as a legal axiom, that in all governments in
             which the municipal regulations are not absolutely
             opposed to slavery, persons already reduced to that
             state may be held in it; and we also assume it as a
             first principle that slavery has been permitted and
             tolerated in all the colonies established in America by
             European powers, most clearly as relates to the
             blacks and Africans, and also in relation to Indians,
             in the first periods of conquest and colonization."
             (Wheeler, p. 15.)
             According to this " legal axiom," any person in a
             State where there are no express statutes forbidding
             slavery, (as perhaps in Massachusetts and Maine,)
             may seize any other person and enslave him! And
             having done this, he may continue to "hold" him
             legally, because the laws have not forbidden it! By
             the same or a similar "legal axiom," it would follow
             that in a State where no express statutes had been
             enacted against such minor injuries as assault, battery, and maiming, such practices
             might be considered legal! Thus the " axiom" ignores the existence
             of natural law and common law!
             Another important circumstance is, that the
             colonial charters, which were their constitutions of
             government, expressly provided that the Colonies
             should enact no laws contrary to the common law,
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             THE AM'ERICAN SLAVE CODE.
             the Constitution and the fundamental laws of Great
             Britain. But these (as decided by Lord Mansfield,
             and as attested by Coke, Fortescue, and Blackstone)
             are incompatible with the existence of slavery.
             Another fact is, that the thirteen United States, on
             the fourth of July, 1776, declared that "all mew are
             created equal, and are endowed by their Creator with
             certain inalienable rights, among which are life,
             liberty, and the pursuit of happiness." Similar
             declarations were incorporated into the original
             Constitutions of the several States, and the Courts in
             Massachusetts decided that this was equivalent to an
             act abolishing slavery.*
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             Such was the origin, and such are the legalfoundations of the "legal relation of
             master and slave" in
             this country; just as "legal" now, and no more so
             * The historical facts hastily hinted at in this chapter, are detailed at length in
             Goodell's "History of Slavery and Anti-slavery."
             Since that work was issued, and since this book has been in the
             hands of the printer, the author has received additional information from John
             Scoble, late Secretary of the British and Foreign
             Anti-slavery Society, London. In consequence of atrocities committed by a West
             India slaveholder of eminence, a legal investigation took place, which resulted in
             the discovery and announcement
             that there was no legalized slavery in the British Colonies. This
             was made public in England previous to the Act of Parliament
             terminating the practice of slaveholding. The Act, accordingly,
             does not repeal or assume to repeal any existing laws, either
             colonial or British. It only provides for the suppression of an
             unlawful custom or practice. Intelligent Englishmen do not now
             speak of British West Indian slavery as having ever been legyal.
             This accords with the maxim of James Madison and of Lord
             Brougham that man cannot hold property in man.
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             ITS ORIGIN AND SUBJECTS.
             just as " innocent" now, and no more so, than in
             the person of John Hawkins, when he first forced a
             band of naked Africans on board his slave-ship, on
             the coast of Africa, or when he first offered them for
             sale in the Colonies; quite as cruel, Heaven-defying,
             and murderous now as it was then, and involving its
             present perpetrators in the same condemnation with
             John Hawkins, at the bar of an impartial posterity,
             and at the bar of God. " WVhere the foundation is
             weak," says the common law, " the structure falls."
             "What is invalid from the beginningy, cannot be
             made valid by length of time." (Noyes' Maxims.)
             "He that stealeth a man and selleth him," says
             Moses, "or if he be found in his hand, he shall
             surely be put to death." "The law was made for
             men-stealers," says Paul. "Stealers of men," said
             the Presbyterian General Assembly of 1794, "are
             those who bring off slaves or freemen, and keep, sell,
             or buy them." "Those are man-stealers," says Grotius, "who abduct, keep, sell, or
             buy slaves or freemen." "To hold a man in a state of slavery," said
             Dr. Jonathan Edwards, "is to be, every day, guilty
             of robbing him of his liberty, or of nan-stealing."
             "Men-buyers," said John Wesley, "are exactly on a
             level with men-stealers." We might quote similar
             language from Dr. Porteus, Bishop of London, Bishop
             Warburton, Macknight, Abraham Booth, and other
             eminent writers.
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             This is the pretended "legal relation" of master
             and slave in America. Let us now see who are its
             subjects.
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             THE AIMERICAN SLAVE CODE.
             1. The descendants of all who were stolen by John
             Hawkins and others on the coast of Africa! The
             law of hereditary slavery, as defended by Henry
             Clay and Mr. Gholson, and as practised by the entire
             community of slaveholders, identifies their slaveholding with the slaveholding of
             John IHawkins, and
             bases their claim of property upon his! If this is
             not so, then they are guilty of commencing the
             process de novo, and of kidnapping the innocent,
             helpless infant "upon their own hook!" This is
             called being "born to a slave inheritance!" This is
             the "innocent legal relation!" The slave law
             enables the heir to seize upon the slaves of his
             father or their offspring; and he is under the unfortunate necessity of seizing upon
             all within his
             grasp-not unfrequently his own father's daughters
             and sons! Were they his own mother's daughters
             and sons too, and -if he had the power, it would be
             the same thing! Equally "legal "-equally "innocent!".
             And here is the evidence:
             Hudgins vs. Wrights, Nov. T., 1806; 1 Hen. and
             Munf, Va. Rep., 134. Per CuAr., Tucker, J.: "From
             the first settlement of the colony of Virginia to the
             year 1788, October Session, all negroes, Moors, and
             mulattoes, except Turks and Moors in amity with
             Great Britain, brought into this country, by sea or
             land, were slaves; and, by the uniform declaration
             of our laws, the descendants of females remain slaves
             to this day, unless they can prove a right to freedom
             by actual emancipation, or bv descent in maternal
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             ITS ORIGIN AND SUBJECTS.
             nal line from an emancipated slave." (Wheeler,
             p. 3.)
             Hudgins vs. Wrights, (same case.) " Held by the
             Court, Green, J., that, to solve all doubts, the Act
             of 1662 was passed, which declared that all children
             born in this country shall be bond or free, according
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             to the condition of the mnother. It is the rule of the
             civil law. By that law the state of the child was
             determined by that of the mother at the time of its
             birth." (lb., p. 3.) "The rule is universally followed." (lb., p. 34.)
             "The code of the civil law prevails in all the
             States," (says Mr. Wheeler, in a note on the preceding,) "and in many of them,
             statutes have been
             enacted on the subject." (lb. See also Stroud's
             Sketch, p. 11.)
             By Act of Maryland, 1663, chap. 30, we are informed (in the preamble) that "divers
             free-born
             English women," &c., "do intermarry with negro
             slaves, by which also divers suits may arise touching
             the issue of such women," &c.; whereupon it was
             enacted that, in such cases, the woman shall also
             serve the master of her husband during his life, and
             their children " shall be slaves, as their FATIIERS were."
             But in 1770 this law was repealed, and it was enacted
             that the child should follow the condition of the
             another instead of the father. (Stroud's Sketch, pp.
             8-L 0.)
             As mulattoes, with few exceptions, were the offspring of white fathers by slave
             mothers, this law,
             as was intended, secured to the father the right of
             12*
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             THE AMERICAN SLAVE CODE.
             ownership over his own children-a very common
             and extensive manifestation of "the innocent legal
             relation." As this law obtains in all the slave States,
             a large and increasing proportion of the slaves are
             held in slavery under its operation. If the child
             followed the condition of the father, the system
             would rapidly run itself out.
             2. Free people of color may be and continually are
             brought in'to slavery, in this country, in a variety of
             ways. Some of these ways have been already specified, incidentally, while treating
             of other topics.
             Some will be specified hereafter. And they will be
             clustered together and adverted to again, in a chapter
             on "The Liberties of the Free People of Color." In
             the mean time, the topic demands attention here, in
             our inquiry concerning the subjects of slavery, and we
             shall cite some 2)articulars which need not be repeated
             again.
             The general fact of the enslavement of the free
             colored people, of the facility with which it is done,
             and of the indifference, not to say the connivance, of
             the Southern Courts, will appear from the following:
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             Davis vs. Sandford, Spring Term, 1815; 6 Littell's
             Ky. Rep., 206.
             "The appellant sold to the appellee a slave.
             The deed of bargain and warranty certified that the
             negro was born a slave. It appeared that the negro
             had been in Ohio, and had, by the Courts of that
             State, been declared free, which fact was known to
             both parties-the seller alleging that the judgment
             declaring the slave free had no force or effect upon
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             ITS ORIGIN AND SUBJECTS.
             his rights, as he was not made a party. The Court,
             Ch. J. Boyle, held that the warranty was not broken,
             it not being alleged or proved that the negro was not
             born a slave; and the justice- of the case was with
             the seller-the buyer purchasing with a knowledge
             of all the facts, which was properly shown by parol
             evidence." (Wheeler, p. 121.)
             But we must proceed to classify some of the principal methods of reducing free
             people of color to
             slavery.
             (a) Slaves made free by the voluntary act of their
             masters may be re-enslaved in various ways. A
             failure of conformity, in every minute particular, to
             the enactments regulating emancipations, (however
             vexatious and unreasonable,) will work the forfeiture
             of liberty to the emancipated.
             In cases where infant children of slaves were made
             free by the will of their "owners," but inadvertently
             the precise time of their becoming free failed to be
             specified, such "shall be esteemed slaves for life!"
             (Maryland Laws, Act of 1809, chap. 71. Stroud's
             Sketch, p. 151. See chapter on Legislative and Judicial Obstructions to
             Emancipation.)
             (b) A full and exact compliance with the legal
             regulations, in emancipating slaves, does not always
             secure their freedom. The Legislature of North
             Carolina set aside the decisions of the Courts, and
             re-enslaved large numbers who had been legally set
             free. (See chapter just mentioned.)
             In Virginia, "if any emancipated slave (infants
             excepted) shall remain in the State more than
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             THE AMERICAN SLAVE CODE.
             twelve months after his or her right to freedom
             shall have accrued, he or she shall fofeit all such
             right, and may be apprehended and sold by the over seers of the poor, &c., for the
             benefit of the Literary
             Fund!!!" (1 Revised Code of 1819, 436.)
             President Jefferson, in his will, having emanci pated five of his slaves, adds: "I
             humbly and earn estly request of the Legislature of Virginia a confirm ation of the
             bequests to these servants, with leave to
             remain in the State, where their families and con nections are," &c.
             (c) Colored persons who cannot prove their free dom may be enslaved. In
             Mississippi, "every negro
             or mulatto found within the State, and not having the
             ability to show himself entitled to freedom, may be
             sold, by order of the Court, as a slave." (Mississippi
             Revised Code, 389.) And no negro or mulatto can
             be a witness to prove his freedom!
             In North Carolina, by decision of the Courts, this
             rule is limited to negroes, and the mzixed race is exempted. It is by this unrighteous
             presumption against
             color that suspected fugitives, though unclaimed, are
             sold for the payment of their jail fees in Washington
             City. In South Carolina, by Act of 1740, the doctrine is affirmed, both in respect to
             negroes and the
             mixed races. The same in Georgia by Act of 1770.
             Also in Mississippi, Revised Code, 389. In Virginia,
             there is no statute, but the Courts have affirmed the
             doctrine, except where Indians or white persons are
             claimed as slaves. (See Stroud's Sketch, p. 19; also,
             pp. 76-88, including Notes.)
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             ITS ORIGIN AND SUBJECTS.
             "Every negro is presumed to be a slave."-" This is
             the general doctrine in all the States, and the appli cation of a different rule is only
             in cases where the
             person is a mulatto, or some other grade approx imating to a white person."
             (Wheeler, p. 5.)
             "Or person of color."-" Color and long possession
             are such presumptive evidence of slavery as to throw
             the burden of proof on the party claiming his freedom." (Ib., pp. 5, 6; case of Davis,
             a man of color,
             vs. Curry, Fall T., 1810; 2 Bibb's Ky. Rep., 238.)
             And who is a "person of color?"
             "When there is a distinct and visible admixture
             of African blood, the person is to be denominated a
             mulatto, or person of color." (State vs. Davis and
             Hlanna, Dec. T., 1831; 2 Bailey's S. C. Rep., 558.
             Wheeler, p. 4.)
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             And the fact of color "may be known by inspection." (Wheeler, p. 5; also p. 22.)
             (d) Free negroes may be enslaved for "entertaining" a runaway slave, and for
             nonpayment of the
             fine thus incurred! (See law of South Carolina before cited, and the consequent
             sentence of the Court
             of Charleston in the case of " Hannah Elliott, a free
             black woman, with her daughter Judy, and sons
             Simon and Sam." Stroud's Sketch, pp. 16, 17.)
             (e) Also, for selling or giving away to a slave their
             certificates of freedom, as before mentioned. (Laws
             of Maryland, 1796, chap. 67, sect. 18. Snethen's
             Dist. Col., pp. 28-9.)
             (f) Also, free negroes and mulattoes, arrested on
             suspicion of being fugitives, but not claimed by any
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             THE AMERICAN SLAVE CODE.
             one, and unable to pay their jail fees, are sold by the
             sheriff! (Jay's Inquiry, p. 154, and Jay's View, p.
             33, &c.)
             (q) "Where a white woman intermarries with a
             slave, the issue are slaves; though the Act subjecting
             such issue to slavery was repealed, if the marriage
             took place before the repeal of the Act." (Butler
             vs. Boardman, Sept. T., 1770; 1 Hlar. and M'lten.
             Md. Rep., 371. Wheeler, p. 21.)
             (h) "The issue of slaves entitled to liberty at a
             future day, if born before the day, are slaves." (Maria
             vs. Surbaugh, Feb. T., 1824; 2 Rand's Va. Rep., and
             other cases. Wheeler, p. 32.)
             (i) "Children born during a qualified manumission
             of their mothers, are born slaves." (McCutchen et al.
             vs. Marshall et al., Jan. T.; 8 Peters' U. S. Rep.,
             220, and another case. Wheeler, p. 35.)
             (j) Intermarriages with whites are punished by
             enslavement. (Maryland, Act of 1717, chap. 13,
             sect. 5.) "If any free negro or mulatto intermarry
             with any white woman; or if any white man shall intermarry with any negro or
             mulatto woman, such
             negro or mulatto shall become a slave during life,
             except mulattoes born of white women, &c., who
             shall become servants for seven years." (Stroud, p.
             19.) For "a white man" to live in adulterous concubinage with his slave woman,
             incurs no penalty
             at all. Adulterers are entitled Honorable, but marriage is punished by the Judge!
             (k) Innumerable free persons of color are kidnapped and sold by the operation of the
             laws excluding
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             ITS ORIGIN AND SUBJECTS.
             colored witnesses, and forbidding colored persons to
             resist white persons. In Philadelphia, within two years,
             inore than thirty persons, mostly children, known to be
             free, were kidnapped and earried away, and only
             five of them, with great diffieulty and expense, were
             reclaimed. (Stroud's Sketch, p. 74.)
             This process of kidnapping is facilitated by the
             fact that such vast numbers of slaves are carriedcl
             from State to State, not only by the removal of
             "owners," but by the inter-State slave-trade. The
             kidnapper of free colored persons readily passes for
             a removing owner, or for a dealer in slaves; and, in
             fact, many of the dealers are themselves kidnappers
             of free negroes and mulattoes. Persons ostensibly
             or in reality employed to arrest fugitives are known
             frequently to practise the same villany even in the
             free States, and under this cover they are generally
             secure. The colored person seized cannot testify in
             a slave State, and no colored person can testify for
             him. At the South, very few white persons would
             pay the least attention to their protestations of being
             free. It would seldom or never embarrass the auctioneer, or diminish the number and
             amount of the
             bids. This is evident from the fact that "hundreds
             of advertisements in the Southern papers" of sales
             of negroes at auctionl, and of runaways, describe them
             as claiming to be free! See Weld's "Slavery as it
             is," pp. 162-3, where specimens of such advertisements may be found, one of them
             describing a negro
             "who was originally from New- York7c."
             (1) Free people of color, by passing out of a free
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             THE AMERICAN SLAVE CODE.
             State into a slave State, (where by the Federal Constitution they are entitled to all
             the rights of free
             citizens,) incur penalties of fines for so doing, which,
             if unable to pay, they may be enslaved! (Jay's Inquiry, p. 24. See chapter on
             "Liberties of Free
             People of Color.")
             (m) Negroes unlawfully imported from Africa are
             enslaved, not only when clandestinely smuggled,
             (which is done to a great extent,) but, strange to
             tell, when brought into port by capture of naval
             officers! A case occurring at Savannah, and before
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             alluded to, is narrated circumstantially in Weld's
             " Slavery as it is," pp. 139-40. So openly and systematically has this been done, that
             the States of
             Louisiana, Georgia, and Alabama, have enacted statutes for the express purpose of
             having the slaves
             sold for the benefit of the State Treasury! A law
             of Congress, conferring power on the State Legislatures to dispose of the slaves
             illegally imported, was
             not repealed until 1819. And the law of Alabama
             (of 1823) is still more recent, and in open defiance
             of the laws of the United States abolishing the African slave-trade! (See Stroud's
             Sketch, pp. 158164.)
             And the Courts have accordingly laid down the
             principle, that "a slave does not become free on his
             being illegally imported into the State." Such is
             the marginal note to the case of "Gomez vs. Bonneval, June T., 1819; 6 Martin's
             Lou. Rep. 656.Per Cur., D)erbigny, J.: The petitioner is a negro in
             actual state of slavery: he claims his freedom, and
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             ITS ORIGIN AND SUBJECTS.
             is bound to _prove it. In his attempt, however, to
             prove that he was free before he was introduced
             into this country, he has failed, so that his claim now
             rests entirely on the laws prohibiting the introduction of slaves in the United States.
             That the plaintiff was imported since that prohibition does exist,
             is a fact sufficiently established by the evidence.
             What right he has acquired under the laws prohibiting such importation is the only
             question which
             we have to examine. Formerly, while the Act dividing Louisiana into two Territories
             was in force in
             this country, slaves introduced here in contravention
             of it were freed by the operation of that law; but
             that Act was merged in the legislative provisions
             which were subsequently enacted on thie subject of
             the importation of slaves into the United States
             generally. Under the now existing laws, the individuals thus imported acquire no
             personal rights.
             They are mere passive beings, who are disposed of
             according to the will of the different Legislatures.
             In this country they are to remain slaves, and to be sold
             for the benefit of the State. The plaintiff, therefore,
             has nothing to claim as a freeman; and as to a mere
             change of master, should such be his wish, he cannot be listened to in a Court of
             justice." (Wheeler,
             pp. 380-1.)
             2. But the descendants of Africans are not the
             only subjects of American slavery. The native
             Indians have also been enslaved, and their descendants are still in slavery. In South
             Carolina, by Act
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             of 1740, "All negroes, Indians, (free Indians in
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             THE AMERICA SLAVE CODE.
             amity with this Government, and negroes, mulattoes,
             and mestizoes who are now free, excepted,) mulattoes
             and mestizoes who now are or shall hereafter be in
             this province, and all their issue and offspring born
             or to be born, shall be and are hereby declared to
             be and to remain for ever hereafter, absolute
             slaves, and shall follow the condition of the mother."
             (2 Brevard's Digest, 229.) Similar in Georgia.
             (Prince's Dig., 446, Act of 1770.) And in Mississippi. (Rev. Code Miss. of 1823, p.
             369.) And
             in Virginia. (1 Rev. Code of 1819.) And in Kentucky. (2 Littell and Swigert's Dig.,
             1149-50.) And
             in Louisiana. (Civil Code Lou., art. 183. Stroud's
             Sketch, pp. 11, 12-15.) Same in New-Jersey, by decision of Supreme Court, 1797.
             (Stroud, p. 16.)
             And finally,
             3. WVhites are enslaved. Several known instances
             have occurred already of the successful kidnapping
             of free whites, without a drop of negro or Indian
             blood in their veins! And the process of intermixture of the races is now so far
             advanced, and is so
             rapidly going forward, that a "perfectly white complexion, light blue eyes, and
             flaxen hair," are scarcely
             a presumptive evidence of freedom. Persons thus
             described are advertised as runaway slaves; are
             liable to be pursued with muskets and bloodhounds,
             shot, maimed, captured, brought before United States
             Marshals, sworn to be slaves, given up and sent to
             the rice and cotton and sugar plantations of the
             South, without trial by jury, and by a "summary"
             process that precludes any thing deserving the
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             ITS ORIGIN AND SUBJECTS.
             name of an investigation. Sometimes, under a
             peremptory refusal to wait a few hours for witnesses. Yet the people imagine
             themselves free,
             and their liberties secure under this enactment,
             (the Fugitive Slave Bill of 1850,) which, while it
             rakes no distinction of color, forbids them, under
             pains and penalties, to "harbor" and "entertain"
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             each other when thus pursued! By the estimate of
             Hienry Clay, (speech in Senate, 1839,) one hundred
             and fifty years will obliterate the distinctions of race
             and color in this country, but without abolishing
             slavery! Reposing, as it does, by his showing, upon
             the "rights of property," and " sanctified and sanctioned" already "by two centuries
             of legislation,"
             its conservators look for its perpetuity, as they do
             for the perpetuity of property in "brood mares and
             their increase." For "that is property which the
             law declares to be property." The blacks will not be
             the slaves of the whites, but the poorer will be the
             slaves of the wealthier; and the most they can hope
             for is that, perhaps, they will be kept "fat and
             sleek!" Their idolized statesmen, their venerated
             religious teachers, can promise them nothing better.
             Nor do they seem to desire it! The "innocent
             legal relation" of slave ownership conducts us to
             this result, and it leaves us here.
             In our chapter concerning " Fugitives from
             Slavery," it was shown that the State of Maryland,
             at an early date, (1715,) enacted laws by which all
             persons, irrespective of color, were forbidden to travel
             out of their own county without an official pass;
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             TIlE AMERICAN SLAVE CODE.
             and " if apprehended, not being sufficiently known,
             nor able to give a good account of themselves," the
             magistrates might deal with them as with runaways,
             and sell them temporarily, to pay their fines. Our
             Fugitive Slave Bill of 1850, in like manner, knows
             nothin2 of color; and its provisions are more stringent and humiliating than the old
             law of Jfaryland!
             The reader is referred to Jay's View, pp. 83-87,
             for a number of advertisements of runaway slaves,
             in which they are described as being white.
             As for example "$100 REWARD.-The above reward will be paid
             for the apprehension of my man William. IIe is a
             very bright mulatto, straight yellowish hair. I have
             no doubt he will change his name, and try to pass
             himself for a white man, which he may be able to
             do, unless to a close observer.-T. S. PITCHARD."
             " $100 REWARD.-Ran away from James Hiyhart,
             Paris, Ky., &c., the mulatto boy Norton, &c. Would
             be taken for a white boy, if not closely examined.
             His hair is black and straight, &c."- -Ngew-Orleans
             Free American, 11th Aug. 1836.
             Anderson Bowles advertises, in the Richmond
             TVhiy, 6th Jan. 1836, his "negro!" who has "straight
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             hair," and is "nearly white;" so that "a strailnger"
             would suppose there was "no African blood in him."
             " HIe was with my boy Dick a short time since at
             Norfolk, and offered to sell him, but escaped, under
             pretense of being a WI-IITE MAN."
             In the Newbern Spectator, 13th March, 1837, John
             T. Lane advertises "William, about 19 years old,
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             ITS ORIGIN AND SUBJECTS.
             quite white, and would not readily be taken for a
             slave."
             Edwin Peek, Mobile, April 22, 1837, offers $100
             reward for a slave named Sam, "light sandy hair,
             blue eyes, ruddy complexion; is so white as very easily
             to pass for a white man."
             In the Yew- Orleans Bee of June 22, 1831, P. Balie
             advertises as a runaway, "Maria, with a clear white
             complexion."
             "Mr. Paxton, a Virginia writer, tells us in his
             work on Slavery, that' the best blood of Virginia
             runs in the veins of slaves."' (Jay's View, p. 85.)
             "Dr. Torrey, in his work on Domestic Slavery in
             the United States, p. 14," relates, that " not far from
             Fredericktown there was a slave estate, on which
             there were several white fenales, of as fair and elegant appearance as white ladies in
             general, held in
             legal bondage as slaves." (Ib., pp. 85-6.)
             " White lady fugitives" have been hunted in the
             State of New-York, and have taken refuge in Canada. (Vide Utica "Friend of Man,"
             and the Syracuse papers.)
             "A Missouri paper, reporting the trial of a slave
             boy, says,'All the physiological marks of distinction
             which characterize the African descent had disappeared."' (Jay's View, p. 86.)
             Mr. Niles, in his Register, tells us that John C.
             Calhoun related a similar instance. (Ib., pp.86-7.)
             I"Mary Gillmore, of Philadelphia, claimed as a
             runaway slave in 1835, was proved to be the child
             of Irish parents, and had not a single drop of African blood in her veins." (Ib., p. 86.)
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             PART II.

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             RELATION OF THE SLAVE TO SOCIETY AND TO
             CIVIL GOVERNMENT.


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             CEIAPTER I.
             OF THE GROUND AND NATURE OF THIE SLAVE'S CIVIL
             CONDITION.
             The Civil Condition of the Slave grows out of his relation to his Master as
             "property," and is determined and defined by it.
             IF slaves were "deemed, reputed, andcl adjudged
             in law" to be "sentient beings," and not "things,"
             then their relation to society and to civil government would be the relation of
             IIHUMAN BEINGS. But
             this is directly the opposite of the fact. "Slaves"
             are "deemed, sold, taken, and adjudged in law to be
             chattels personal, in the hands of their owners and
             possessors, their administrators and assigns, to all intents, constructions, and
             purposes whatsoever." Their
             relation to society and to civil government is, accordingly, the relation of BRUTES.
             The only real exception to this, or modification of
             it, is where the interests of the " owner," the wants
             of society, or the exigences of the Government require an anomalous departure from
             the principle of
             slave chattelhood, by the temporary and partial recognition of their humanity. Such
             exceptions and
             13


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             THE AMERICAN SLAVE CODE.
             modifications are never made for the benefit of the
             slave. They enable the Government to punish, as a
             human being, the poor creature whom, in no other
             respect, it recognizes as such! The slave is subjected
             to the control of the Government, but is not considered entitled to its protection.
             The slave cannot be considered by the Government as entitled to its protection while
             he is not regarded by it as having any rights to be protected.
             And the Government that recognizes and protects
             slave chattelhood has already, in that very act, denied to the slave the possession of
             any rights by
             denying to him the right of self-ownership, which is
             the foundation and parent stock of all other rights,
             and without which they cannot exist.
             Having no right to himself, to his bones, muscles,
             and intellect, (being all of them the property of his

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             "owner,") he has no right to his own industry, to
             its wages or its products; no right to property or
             capability of possessing it, as already shown. Of
             course he has no rights of property to be protected by
             the Government, and none of the rights that grow
             out of them.
             Having no recognized right of making any contract, he has no contracts with others
             to be enforced
             by the Government, and no one has any legal pecuniary claims upon him to be
             enforced. He can
             neither sue nor be sued. This is no arbitrary rule.
             It is the inevitable result of his chattelhood.
             Unable to contract marriage, as already seen, he
             can bring no action at law against the violator of his
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             SLAVE'S CIVIL CONDITION.
             bed. Hiaving no marital or parental rights, he has
             none for the Government to protect.
             Not being accounted a person, but a thing, he can
             have no personal rights to be protected-no rights
             of reputation or character-no right to educationno rights of conscience-no rights of
             personal security-no social - rights-no political capabilities or
             rights-not even the right of petition, as the Federal
             Congress (very consistently with its recognition of
             legal human chattelhood) have affirmed. It would
             be an anomaly to receive the testimony of such an
             one in a Court of law!
             It is futile, it is absurd, it is self-contradictory, it
             is short-sighted and foolish (to say nothing more
             severe) for any persons to find fault with any of these
             things while they recognize as innocent and valid
             " the legal relation of master and slave," the relation of
             slave ownership, which includes, implies, and necessitates it all. Such persons
             should ask themselves
             seriously what they would have?
             Would they have the Government stultify itself,
             and add mockery to injustice by pretending to attempt known impossibilities in the
             enactment of
             contradictions? by making a show of civil protection
             where none is intended, or where they have rendered
             it impossible? What protection can they bestow so
             long as, by sustaining or even permitting or tolerating
             human chattelhood, or failing to suppress it as a crime,
             they leave not the slave the possession of one single
             right of humanity to be protected?
             Or, suppose the Government to be honest and
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             THE AMERICAN SLAVE CODE.
             successful in its attempts to confer upon the slave
             civil righyts, to recognize and treat him as a member
             and component element of civil society. Suppose it
             to protect, instead of denying these rights-rights of
             conscience —rights of security —rights of reputation —
             right to education free speech-parental rightsmarital rights-right of testimony-right
             to sue and
             be sued-right to make contracts-rights of property-right to his earnings and products.
             What
             would become of the right of slave ownership, "the
             legal relation of master and slave?" Would it not
             vanish and disappear? Assuredly it would.
             These thoughts open a wide field for reflection
             and remark, if we could spare room.
             The Hebrew servitude, so often cited as a precedent for modern slavery, was
             wanting in its essential
             element, human chattelhood. Its abundant recognition and guaranty of the civil
             rights of servants
             affords demonstrative proof of this.
             In the Spanish, Portuguese, French, and even the
             (recent) British West India types of slavery, we see
             the principle of human chattelhood less perfectly
             developed than in our own, less consistently enforced. They exhibit faint
             recognitions of civil
             rights in the enslaved. They are less inveterate,
             and hence (under the same appliances) less difficult
             to be overthrown. In our country, where so much
             is said and known of human rights, the slave power
             has been compelled to fortify and entrench itself
             in the most unlimited and unmitigated system of
             despotism ever known or conceived.
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             SLAVE'S CIVIL CONDITION.
             In dealing with such a type of slavery, it is especially important to remember that
             nothing is to be
             accomplished without striking directly at the root.
             Attempts at ameliorations, restrictions, limitations,
             and gradual removal, are signally out of place here.
             Such a despotism, under such a form of government,
             and in such a state of society as ours, and at such a
             crisis as that which is now reached, must be overwhelmed and uprooted speedily, or
             it will overwhelm
             and uproot all that does not harmonize with and uphold it. But we must not enlarge.
             The statements made in this chapter, like those
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             made in the first chlapter of the former series, will
             be found to contain the key to the chapters that
             follow. And the present series is the sequel to the
             former one.
             The single idea of human chattelhood, or of slave
             ownership, carried out in all possible directions,
             gives us the details of the entire code of slavery.
             Take away that, and they all vanish. Retain it, and
             they all stand firmly. The Courts in the slave
             States understand this.
             "A slave is in absolute bondage. He has no civil
             -rights." So said Judge Crenshaw, in Brandon et al.
             vs. Planters' and Merchants' Bank of Huntsville,
             Jan. T., 1838; 1 Stewart's Ala. Rep., 320. Same
             principle in Bynum vs. Bostwick, 4 Desauss., 266.
             Wheeler, p. 6.
             "Slaves are deprived of all civil rights." "Emnancipation gives to the slave his civil
             rights." (Judge
             Matthews, in Girod vs. Lewis, May T., 1819; 6
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             THE AMERICAN SLAVE CODE.
             MIartin's Lou. Rep., 559. Wheeler, p. 199.) If this
             be true in Louisiana, with its relics of the Code Noir,
             we may be well assured that it is true of the codes
             of the other States.
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             CHAPTER II.
             NO ACCESS OF SLAVES TO TIIE JUDICIARY, AND NO
             HONEST PROVISION FOR TESTING THtE CLAIMS OF
             THE ENSLAVED TO FREEDOM.
             "A Slave cannot be a party to a civil suit." (Stroud's Sketch, p. 76.)
             "A SLAVE cannot be a party to a suit, except in the
             single case where a negro is held as a slave and he
             claims to be free." [We omit the references to
             authorities here cited.] " It would be an idle form
             and ceremony to make a slave a party to a suit, by
             the instrumentality of which he could recover nothing; or, if a recovery could be
             had, the instant it
             was recovered, would belong to the master. A slave
             can possess nothing. iHe can hold nothing. Hie is
             therefore not a competent party to a suit. And the
             same rule prevails wherever slavery is tolerated,
             whether there be legislative enactments upon the
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             subject or not." (Note to p. 197, in Wheeler's Law
             of Slavery. Case of Berard vs. Berard, before cited.)
             We proceed to examine the condition of the slave
             in reference to suits for freedom.
             "In all cases where the slave alleges to be free, he


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             THE AMERICAN SLAVE CODE.
             is of course a party. He may have a habeas corpus,
             and if there be a false return, may sue upon it. Or
             he may bring a trespass for assault and battery, and
             false imprisonment, in which action, the defendant,
             to justify himse~f must plead that he is his slave. In
             many States he may proceed by petitions for freedom." (Note in Wheeler, p. 197.)
             In inquiring after "the origin of the relation and
             its subjects," (Chapter XXIII. of the former series,)
             it was ascertained that colored persons who cannot
             prove their freedom may be enslaved; that colored
             persons, whether negroes or mulattoes, whether bond
             or free, cannot be admitted as witnesses to prove
             their freedom, (a free colored mother not being permitted to come into Court to
             identify, under oath,
             her own kidnapped free child, torn from her arms
             the day previous, nor give testimony to the fact, nor
             identify the kidnapper!) it was ascertained, further,
             that color was held to be presumptive evidence of
             the condition of slavery. The bearing of all this
             upon law-suits for the recovery of freedcom will be
             readily appreciated. (Hudgins vs. Wrights, 1 i[en.
             and Munf. Va. Rep., 134.) Judge Roane said: "In
             the case of a person visibly appearing to be a negro,
             the presumption is, in this country, that he is a slave,
             and it is incumbent on him to make out his right to
             freedom; but in the case of a person visibly appearing to be a while man, or an
             Indcian, the presumption
             is that he is free, and it is necessary for his adversary to show that he is a slave."
             (Wheeler, p.
             394.)
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             NO ACCESS TO JUDICIARY.
             The same principle appears in other cases, and
             seems to be the general rule.
             South Carolina.-The act of 1740 provides that
             "if any negro, Indian, mulatto, or mestizo, claim
             his or her freedom, it shall be lawful" for such person "to apply to the Judges," &c.,
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             who are empowered to appoint for the applicant a guardian, to
             prosecute in his or her behalf, &c., &e. "And if
             judgment shall be given for the plaintiff, a special
             entry shall be made, declaring that the ward of the
             plaintiff is free, and the jury shall assess damages,
             with full costs of suit -but in case judgment shall b
             given for the defendant, the said Court is hereby fully empowered to inflict SUCH
             CORPORAL PUNISHMENT, NOT
             EXTENDING TO LIFE OR LIMB, on the ward of the plaintaf, as they, in their
             discretion, shall think fit. Provided
             that, in any action or suit to be brought in pursuance
             of the direction in this Act, THE BURTHEN OF THE
             PROOF SHALL LAY ON THE WARD OF THE PLAINTIFF,
             and it shall always be PRESUMIED that every negro, Indian, mulatto and mestizo is
             a slave, unless the contrary
             be made to appear; (the Indians in amity with the
             Government excepted, in which case the burthen of
             proof shall be on the defendant.)" (2 Brevard's
             Digest, 229-30.)
             In Georgia, the Act of May 10, 1770, is almost
             literally a copy of the preceding. (Prince's Digest,
             446.)
             The slave, it seems, must first find a white friend
             willing to incur the expense and trouble of conducting the suit, liable, in case of
             failure, to lose the costs.
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             TEIE AMERICAN SLAVE CODE.
             Then he must find white witnesses to prove his free dom, instead of demanding that
             the pretended
             "owner" (as in the case of other property) prove
             his right to ownership. And then, for the crime of
             losing his case in Court, (the fault, perhaps, of Judge
             and jury, even by their own laws,) he may be sub jected, by the same Court, to
             corporal punishment,
             resulting perhaps, in " death by moderate correction! I!"
             But this is not all.
             In South Carolina, by Act of 1802, (by way of progress in sixty-two years!) " the
             guardian" (in a trial
             for freedom) "of a slave " (who may have been illegally imported into the State, and
             is, on that account,
             by the same law, declared to be free) "claiming his
             freedom shall be liable to double costs of suit, if his
             action shall be adjudged groundless; and shall be
             liable to pay to the bona fide owner of such slave,
             all such damages as shall be assessed by a jury, and
             adjudged by any Court of Common Pleas." (2 Brevard's Digest, 260.)
             In Maryland, the attorney, in a trial for freedom,
             must pay all the costs, unless the Court shall be of
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             opinion that there was probable cause for supposing
             that the petitioner had a right to freedom." (Act of
             1796, chap. 67, sect. 25.) And on such a trial, the
             master (the defendant) is allowed twelve peremptory
             challenges as to the jurors. (Ib., sect. 24.)
             In Virginia, "for aiding and abetting a slave, in a
             trial for freedom, if the claimant fail in his suit, a
             fine of one hundred dollars is imposed." And this
             is by the "REVISED Code" (of 1819), 482.
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             NO ACCESS TO JUDICIARY.
             Missouri mercifully allows the slave, on permission of Court, to "sue as a poor
             person." So far,
             the law appears praiseworthy. Yet "it is made to
             depend upon the arbitrament of the Court, or even
             of a single Judge, whether the petitioner shall be
             heard by a jury at all." (Stroud, p. 78.)
             In Alabama, the objectionable parts of the Missouri
             law are retained, and the beneficial provisions omit
             ted! (Ib. TouLlinin's Digest, 632.)
             It is evident that very few of the thousands of
             free colored persons kidnapped into slavery, or
             otherwise held, contrary to even the Southern laws,
             will ever be able to institute a suit at law for their
             freedom; and it is equally evident that very few of
             those who may get their cases into Court will ever
             derive any benefit from the process, but only secure
             to themselves a terrible punishment in the first instance, and worse treatment from
             their masters afterwards. The spirit of these laws warrants us to say
             this.
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             CHAPTER III.
             REJECTION OF TESTIMONY OF SLAVES AND FREE
             COLORED PERSONS.
             Slavery is upheld by suppressing the testimony of its Victims.
             "A SLAVE cannot be a witness against a white person, either ill a civil or criminal
             cause." (Stroud's
             Sketch, p. 65.)
             "It is an inflexible and universal rule of slave
             law, founded in one or two States upon usage, in
             others sanctioned by express legislation, THAT THE
             TESTIMONY OF A COLORED PERSON, WHETHER BOND
             OR FREE, CANNOT BE RECEIVED AGAINST A WHITE
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             PERSON. (lb., p. 27. Same in Wheeler's Law of
             Slavery, 193-5.)
             In Virginia, the Act of Assembly is as follows:
             "Any negro or mulatto, bond or free, shall be a good
             witness in pleas of the Commonwealth, for or
             against negroes or mulattoes, bond or free, or in
             civil pleas where free negroes or mulattoes shall
             alone be parties, acind in no other cases whatever." (1
             Revised Code, 422.)
             Similar in Missouri. (Missouri Laws, 600.) And


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             NO COLORED WITNESSES.
             in Mississippi. (Revised Code, 372.) And in Kentucky. (2 Littell and Swigert's
             Digest, 1150.) And
             in Alabama. (Toulmin's Dig., 627.) And in Maryland. (Maryland Laws, Act of 1717,
             chap. 13, sects.
             2, 3; and Act of 1751, chap. 14, sect. 4.) And in
             North Carolina and Tennessee. (Act of 1777, chap.
             2, sect. 42.) And in the free State of OHIO. (Act
             of January 25, 1807.)
             In South Carolina and in Louisiana there are
             enactments which, in direct allusion to this feature
             of their laws, and reciting in a preamble, that
             " Whereas many cruelties may be committed on slaves
             because no white I2erson may be present to give evidence
             of the same, unless some method be provided for the better
             discovery of the offense," &c., &c., Be it enacted, &c., &c.:
             The only remedy provided is, that "when no white
             person shall be present," or, being present, shall refuse to testify, "the owner or other
             person having
             charge of such slave [who shall have "suffered in
             life, limb, member," &c.] shall be deemed guilty and
             punished," "unless such owner or other person,
             &c., can make the contrary appear by good and
             sufficient evidence, OR SHALL, BY HIS OW OW OATH,
             clear and exculpate himself;" and the Court may ad minister the oath and "acquit the
             offender, if clear
             proof of the offense be not made by two witnesses
             at least." (2 Brevard's Dig., 242.)
             Judge Stroud (in his Sketch, &c., p. 76) considers
             this "a modification of the former law, not for the
             protection of the slave, BUT FOR THE ESPECIAL
             BENEFIT OF A CRUEL MASTER OR OVERSEER.'
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             THE AMERICAN SLAVE CODE.
             In most of the slaveholding States, the owners of
             slaves are required by law "to keep at least one
             white person on each plantation to which a certain
             number of slaves is attached." (Stroud, p. 67.)
             This indicates the previous absence of white persons,
             and the consequent lack of white witnesses. Whether the law was ostensibly for the
             remedy of that
             defect, or whether it was for the greater security
             against the slaves, does not appear. It is hardly
             credible that a white person is employed for the
             former object. And as most of the present overseers
             are whites, it may be inferred that the design was to
             discountenance the employment of slaves or other
             colored persons as overseers. Be this as it may, a
             white overseer answers the requisitions of the law,
             and he could hardly be a witness against himself,
             though specially authorized to exculpate himself by
             his own oath!
             Chief Justice Ottley, of St. Vincent's, in answer
             to Parliamentary inquiries proposed to him in 1791,
             said:
             "The only instances in which their [the slaves']
             persons appear to be protected by the letter of the
             law, are in cases of murder, dismemberment, and
             mutilation; and in these cases, as the evidence of
             slaves is never admitted against a white man, the
             difficulty of establishing the facts is so great, that
             white men are, in a manner, put beyond the reach of the
             law."
             Sir William Young, Governor of Tobago in 1811,
             and an advocate of slavery, said: "I think the slaves
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             NO COLORED WITNESSES.
             have no protection. In this, as I doubt not in every
             other island, there are laws for the protection of the
             slaves, and good ones, but circumstances in the administration of whatever law,
             render it a dead letter.
             When the intervention of the law is most required, it
             will have the least effect; as, in most cases, where a
             vindictive and cruel master has care to commit the
             most atrocious cruelties, even to murder his slave,
             NO FREE PERSON BEING PRESENT TO WITNESS THE
             ACT," &C., &C.
             Many others, holding official stations in the British
             West Indies during the existence of slavery, have
             testified to the same general fact, the insufficiency
             of all laws for the protection of slaves, in consequence
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             of rejecting slave testimony. (Vide Stephen's WVest
             Indian Slavery, pp. 168-9.)
             The case is too plain to require either testimony
             or argument. A community or a Government that
             could tolerate such rejection of testimony-the testimony of the defenseless against
             those holding and
             daily exercising despotic power over them-must be
             resolutely bent on oppressing instead of protecting
             them.
             Yet the reasonableness of the rule is beyond ques
             tion, if the "innocent legal relation" is to be pre
             served. It would be an absurdity for chattels to
             come into Court and bear testimony against their
             owners! They could not be " chattels, to all intents,
             constructions, and purposes whatsoever." They could
             not remain chattels at all. The power to testify
             against their owners and overseers would imply the
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             THIE AMERICAN SLAVE CODE.
             right of protection from assaults by them. "The
             slave, to REMAIN a slave," said Judge Ruffin, "must
             be sensible that there is NO APPEAL from his master."
             Allow slaves to testify, and the hitherto unimagined
             secrets of the Bastile would explode like an earthquake. Universal humanity would
             unite in one
             general crusade, and break down the whole fabric.
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             CHAPTER IV.
             SUBJECTION TO ALL WHITE PERSONS.
             "Submission is required of the Slave, not to the will of the Master only, but
             to the will of all other White Persons." (Stroud's Sketch, pp. 96-7.)
             IN Georgia it is enacted, that "If any slave shall
             presume to strike any white person, such slave, upon
             trial and conviction before the Justice or Justices,
             according to the directions of this Act, shall, for the
             first offense, suffer such punishment as the said Justice or Justices shall, in his or
             their discretion, think
             fit, not extending to life or limb; and for the second
             offense, suffer DEATH." "Provided always, that
             such striking, &c., be not done by the command
             and in the defense of the OWNER or OTHER PERSON
             having the care and government of such slave, in
             whiich case the slave shall be wholly excused, and
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             the owner or other person, &c., shall be answerable,
             as if the act had been committed by himself." (Prince's
             Digest, 450.)
             South Carolina has an Act in the same words, except that death is the penalty of the
             third offense,
             instead of the second. (2 Brevard's Digest, 235.)


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             THE AMERICAN SLAVE CODE.
             In Maryland, for this offense, the offender's ears
             may be cropped, though he be a free black. (Act
             of 1723, chap. 15, sect. 4.)
             In Kentucky there is the same prohibition; and,
             as in Maryland, free colored persons are included.
             Penalty, "thirty lashes on his or her bare back, well
             laid on." (Littell and Swigert's Digest, 1153.)
             In Virginia, the same as in Kentucky, from 1680
             till 1792, when the following exception was added:
             "Except in those cases where it shall appear to said
             Justice that such negro or mulatto was wantonly
             assaulted, and lifted his or her hand in his or her selfdefense." (1 Rev. Code, 426-7.)
             In Maryland, "If any slave shall happen to be
             slain for refusing to surrender him or herself, contrary to law, or in unlawful
             resisting any officer, or
             other person, who shall endeavor to apprehend such
             slave or slaves, &c., such officer or other person so
             killing such slave, as aforesaid, making resistance, shall
             be and is by this Act i)ndemnified from any prosecution for such killing aforesaid,"
             &c. (Maryland Laws,
             Act of 1751, chap. 14, sect. 9.) This is cited by Judge
             Stroud as a specimen of the laws of several States,
             (pp. 98-9.)
             South Carolina.-Act of 1740: " If any slave who
             shall be out of the house or plantation where such
             slave shall live or shall be usually employed, or
             without some white person in company with such
             slave, shall refuse to submit to undergo the examination of any white person, it shall
             be lawful for any
             such white person to pursue, apprehend, and mode
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             SUBJECTION OF COLOR.
             rately correct such slave; and if such slave shall
             assault and strike such white person, such slave may
             be lawfully killed"!!! (2 Brevard's Digest, 231.)
             It does not appear that any of these laws recognize
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             or contemplate any self-defense by the slave, male
             or female, from the most villanous assaults of any
             white person, except the Act of Virginia. And as the
             "negro or mulatto," whether bond or free, cannot
             lodge a complaint, or even testify, it is not easy to
             see how the exception can be made available for his
             or her benefit. Such laws illustrate the general position already laid down, that the
             Government cannot secure to the master his assumed right of slave
             ownership, and yet extend to the slave civil protection. If the negro be a chattel, he
             must needs be
             restrained from straying; he must be held subject,
             like other domestic animals, to the superior race
             holding dominion over him. It would be preposterous for the Legislature to attempt
             doing this by
             a process which should at the same time provide for
             his protection as a man! It would be abusive to
             demand this at their hands, if the "relation" of human
             chattelhood is to be held legal and innocent!
             Yet the existence of such laws renders more than
             probable, and even certain, the common prevalence
             of the worst outrages that could be imagined. The
             best laws cannot fully protect the weaker portion of
             a community against the stronger. The weak must
             be left utterly defenseless when all protecting laws
             are only repealed. But the climax is reached when,
             by express statute, each member of the weaker class
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             THE AMERICAN SLAVE CODE.
             is placed under the absolute control of any one of
             the dominant class; when resistance is forbidden
             on penalty of stripes and cropping by the public
             authorities, with the liability of being "lawfully
             killed" by the assailant! If civil government were
             designed for human demoralization and torture, it is
             not easy to see how its ends could be more effectually
             reached.
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             CHAPTER V.
             PENAL LAWS AGAINST SLAVES.
             The Laws are unequal-their administration despotic-their execution bar barous.
             Even this is exceeded by "Lynch Law."
             THE slave, who is but "a chattel" on all other
             occasions, with not one solitary attribute of personality accorded to him, becomes "a
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             person" whenever
             he is to be punished! Hle is the only being in the
             universe to whom is denied all self-direction and free
             agency, but who is, nevertheless, held responsible
             for his conduct, and amenable to law. Forbidden
             to read the law, and kept as ignorant and as unenlightened as possible, he is
             nevertheless accounted
             criminal for acts which are deemed innocent in
             others, and punished with a severity from which all
             others are exempted. He is under the control of
             law, though unprotected by law, and can know law
             only as an enemy, and not as a friend.
             The following statement is evidently as favorable
             a one as could be made, yet it attests the main facts
             of the. case; and what seems to have been intended
             as a palliation is the strongest condemnation of the
             slave system, especially of this feature of it.


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             THE AMERICAN SLAVE CODE.
             "Mulch has been said of the disparity of punishment between the white inhabitants
             and the slaves
             and negroes of the same State; that slaves are punished with much more severity, for
             the commission
             of similar crimes by white persons, than the latter.
             The charge is undoubtedly true to a considerable
             extent. It must be remembered that the primary
             object of the enactment of penal laws is the protection and security of those who
             make there.* THE
             SLAVE HAS NO AGENCY IN MAKING THEM. He is
             indeed one cause of the apprehended evils to the
             other class, which those laws are expected to remedy.
             That he should be held amenable for the violation
             of those rules established for the security of the
             other, is the natural result of the state in which he is
             placed. And the severity of those rules will always
             bear a relation to that danger, real or ideal, of the
             other class.t It has been so among all nations, and
             will ever continue to be so, while the disparity between
             bond and free remains. In a practical treatise it
             would probably be considered out of place to collect the various statutes in relation
             to whipping and
             other punishment of slaves, to be found in the statute books of the various States."
             (Note in Wheeler's
             Law of Slavery, pp. 222-3.)
             * The "primary" and only object of all honest legislation is the
             protection of the equal rights of all.
             f From whence comes that "danger, real or ideal," that calls
             for such severe laws? What but injustice, and a consciousness of
             that injustice, could make the governing party thus apprehensive

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             of "danger?"
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             LAWS AGAINST SLAVES.
             The punishment of slaves by their owners has
             already been examined. Their punishment by civil
             government, or by society, is the topic now under
             review. Not a few specimens have fallen under our
             notice already, as connected with other points of
             inquiry. We must briefly recall these, and connect
             them with others of a like character.
             We have seen how the "cruel punishments" inflicted by the master are expressly
             sanctioned by
             the Legislatures, and how the public arm, with its
             sheriffs and prisons, is at the beck of the slaveholder, as his agents and instruments,
             whenever he
             wishes his slaves punished! We have seen, too,
             some few specimens of direct penal infliction upon
             the slave by the Government. For the crime of
             earning property and making bargains, we have
             seen his property seized and confiscated for the
             benefit of the whites, who pretended to doubt
             whether he could take care of himself! For the
             misdemeanor of "hiring himself out," even with
             the consent of his master, we have seen him
             "apprehended" as a felon. For seeking liberty, and
             the protection of law, we have seen him proclaimed
             an outlaw, and "lawfully killed!" For attending a
             religious meeting in the evening, conducted by
             whites, and staying till the close of the meeting, we
             have seen him, with his wife and children, locked
             up in the watch-house till morning, with no bed but
             the floor. For keeping a weapon or club, we have
             seen him subjected, by a cowardly code, to public
             whipping! For being absent without a "pass," to
             311.


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             THiE AMERICAN SLAVE CODE.
             visit a wife or child, we have seen him under the
             same sentence! For riding on horseback, whipped
             or branded. For losing a cause at Court, when sueing for freedom, any "corporal
             punishment, not
             extending to life or limb," with the hazard of
             "death by moderate correction."
             Free negroes, for entertaining or assisting fugitive
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             slaves, or giving or selling certificates of freedom,
             we have seen subjected to heavy fines; and, in
             default of payment, sale into slavery. For being
             arrested on suspicion of being slaves, we have seen
             them fined and enslaved. For "presumning to strike
             a white person," punished with whipping or cropping! In the case of saves, for the
             second or third
             offense, DEATH!
             All these are but specimens of similar legislation.
             For taking away or loosing a boat, a slave in South
             Carolina is to receive thirty-nine lashes; "for the
             second offense, shall fo)feit and have cut of from his
             head ONE EAR." (2 Brev. Dig., 228.) So, as to the
             first offense, in North Carolina and Tennessee. (Hiaywood's Manual, 78.)
             "For having any article of property [in Kentucky]
             without a ticket of permission from his master,
             particularly specifying the same, and authorizing it
             to be sold by the slave, ten lashes, by order of the
             captain of the patrollers;" and "if the slave be
             taken before a magistrate, thirty-nine lashes may be
             ordered." (Littell and Swigert's Dig., 11.) Also in
             North Carolina and Tennessee. (iHaywood's Manual,
             529.) And in Mississippi. (Rev. Code, 390.)
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             LAWS AGAINST SLAVES.
             A slave in Kentucky, being at an unlauful assembly,* the captain of patrollers may
             inflict ten lashes
             upon him. (Littell and Swigert's Dig., 981; also
             2 Missouri Laws, 741, sect. 2; and ibid., 614.) If
             taken before a magistrate, he may direct thirty-nine
             lashes.
             To beat the Patuxent river, (to catch fish,) ten
             lashes. -(Maryland Laws, 1796, chap. 32, sect. 3,
             &C., &C.)
             In North Carolina, a "slave, hunting with dogs in
             the woods even of his master, is subjected to a whipping of thirty lashes."
             (flaywood's Manual, 524,
             Act of 1753.)
             We reserve for their appropriate chapters, the
             penal laws against mental instruction, and assembling
             together for religious worship, except with white
             persons.
             The reader will have noticed that a large portion
             of the offenses thus punished are not considered
             offenses when committed by white persons! Another
             feature deserves notice.
             "In Virginia, by the Revised Code (of 1819,) there
             are seventy-one offenses for which the penalty is
             DEATH when committed by slaves, and imprisonment
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             when committed by whites." (Jay's Inquiry, p. 134.)
             In Mississippi there are seventeen offenses punishable wVith DEATH when
             committed by slaves,
             which, if committed by white persons, are either
             * Meetings for "mental instruction" and "religious worship"
             are among the "unlawful aessemnblies" forbidden, as will be seen in
             another chapter.
             14
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             THE AMERICAN SLAVE CODE.
             punished by fines or imprisonment, or punishment
             "not provided for by statute,"' or at "common law."
             (Stroud's Sketch, p. 110-11.)
             "Where human life is so cheap, and human suffering so little regarded, it is not to be
             expected that
             the dispensers of slave justice will submit to be
             troubled with all those forms and ceremonies which
             the common law has devised for the protection of
             innocence. We have seen that, in many instances,
             any white person may, instanter, discharge the functions of judge, jury, and
             executioner. In innumerable instances, all these functions are united in a
             single justice of the peace; and in South Carolina,
             Virginia, and Louisiana, LIFE may be taken, according to law, without intervention
             of grand or petit
             jurors. In other States a trial by jury is granted in
             capital cases; but in no one State, it is believed, is
             it thought worth while to trouble a grand jury with
             presenting a slave. In most of the slave States, the
             ordinary tribunal for slaves charged with offenses
             not capital, is composed of justices and freeholders,
             or of justices only. A white man cannot be convicted of misdemeanor, except by the
             unanimous verdict
             of twelve of his peers. In Louisiana, if the Court is
             equaly divided as to the guilt of a slave, judgment
             is rendered against him!" (Jay's Inquiry, p. 135.)
             The proper idea of trial by jury includes a trial by
             the "peers" or EQUALS of the accused. There is no
             such jury trial for the slave! Trial by jury of slaves
             would soon upset the "legal relation" of slave
             owner!
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             LAWS AGAINST SLAVES.
             In Tennessee, the sheriff is empowered to make
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             selection of " three justices to preside on the trial, and
             twelve housekeepers beiny SLAVEHOLDERS to serve
             as a jury"!!! ( Fennessee Laws of 1819, cltap. 35.)
             By a modification of this law in 1831, "HIouseholders may serve as jurors, if
             slaveholders cannot be
             had"! (Child's Appeal, p. 70.)
             "In 1832, thtirty-five slaves were executed in
             Charleston, in pursuance of the sentence of a Court
             consisting of two justices and five freeholders, on
             charge of an intended insurrection. No indictments,
             no summoning of jurors, no challenges for cause or
             favor, no seclusion of the triers from intercourse
             with those who might bias their judgment, preceded
             this unparalleled destruction of human life." (Jay's
             Inquiry, p. 135.)
             Though no colored person, bond or free, can testify
             in any case where any wvhite person is concerned, yet
             the evidence of "all free Indians without oath, and of
             any slave without oath," may be taken for or against a
             slave! And among the "meritorious services" for
             which freedom is conferred, the most important is
             "information of crimes committed by a slave." What
             a temptation for one slave to bear false testimony
             against another! See Stroud's Sketch, p. 126, where
             the authorities are cited for several States where
             this law prevails, viz: South Carolina, Virginia,
             North Carolina, Tennessee, Kentucky, and Mississippi; with conditions, in Georgia
             and Louisiana.
             The law of South Carolina provides expressly,
             that slave trials shall proceed "in the most summary
             315


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             TIIE AMERICAN SLAVE CODE.
             and expeditious mnanner;" and also that, in case of
             conviction, the "Justice shall award such manner of
             deat" as will "be most effectual to deter others,"
             &c. (James's Dig., 392-3.) This authorized "the
             burning of a negro woman to death, as may be found
             in the daily prints of 1820." (Stroud, p. 124.) Any
             other tortures might be inflicted.
             "The last authorized edition of tlie laws of Maryland" (said Judge Stroud, in 1827)
             authorizes "to
             have the rfiht hand cut off, to be hanged in the usual
             manner, the heacd severed from the body, the body divided
             into four quarters, and the head and quarters set up in
             the most public places of the county where such fact was
             committed." (Stroud, p. 117.)
             The burning to death a free colored man near St.
             Louis, the frequent infliction of murderous outrages
             by irresponsible "Lynch Committees" all over the
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             South, by the testimony of their own journals, may
             assure us that, in the public administration of slave
             punishments, "the people are no better than their
             laws," but much "worse! "
             Communities tolerating such laws must become
             lawless; must lose the conception and the proper
             definition of LAW, in its just sense. They must be
             at once in a condition of despotism and of anarchy.
             And such is the known state of society at the
             South.
             And yet, no practical business man, who looks
             over, carefully, the whole ground, and knows human
             nature, and the circumstances of the times, will be
             likely to conclude that any better or milder code, or
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             LAWS AGAINST SLAVES.
             method of administration, could preserve "the innocent legal relation of slave
             ownership!" If TIIAT
             is to be tolerated, all the rest is to be left where it is!
             Indeed, the Note of Mr. Wheeler, already quoted,
             (Wheeler's Law of Slavery, pp. 222-3,) very nearly
             expresses this idea; and in looking over his few reported cases on this subject, we
             find nothing to disparage the conclusion.
             We notice the following items, as the most im
             portant:
             "A slave tried for a capital crime may be convicted on testimony of a slave, though
             uncorroborated
             by pregnant circumstances." (Wheeler, p. 204.
             Case of the State vs. Ben, Dec. T., 1821; 1 Hawks'
             N. C. Rep., 434. Opinion of Judge Badger, Judge
             Hall dissenting.)
             "A slave on trial for a capital felony is entitled to
             a jury of slave owners." (Wheeler, p. 212. Case
             of the State vs. Jim, Dec. T., 1826; 1 Devereaux's
             N. C. Rep., 142.)
             "On an indictment of a slave for a capital offense,
             the master cannot be compelled to testify." (The
             State vs. Charity, Dec. T., 1830; 2 Devereaux's N.
             C. Rep., 214.) In delivering his opinion, Judge
             Ruffin said: "The privilege not to testify, on the
             grounld of interest, is that of the master, not of the
             slave. It may consequently be waived by the formner. ie may himself prosecute, and
             give evidence
             against his slave." "Could I separate tier [the
             slave's] rights from those of the witness, [her master,] I would do so, and let the
             verdict stand, [a ver
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             THE AMERICAN SLAVE CODE.
             diet of conviction for murder.] But they are so
             connected, that justice cannot be done to the master
             without giving to the slave the benefit of it. We
             cannot restore him his PROPERTY, without yielding
             her another trial for her life; nor reverse the judgment for the costs without reversing
             it altogether.
             I therefore conclude, though with great hesitation,
             that, as the master did object to be sworn, there
             must be a new trial." (Wheeler, pp. 214-15.)
             We see here the sacred rights of public justice
             on the one hand, (where the prisoner was charged
             with the murder of her own child,) and the sacred
             rights of the accused to an impartial trial for her life,
             BOTH treated as inferior and minor interests, which
             must bend to the slave master's right of property in
             the accused! If she was acquitted, as she probably
             was, at the new trial, it was not as a matter of justice
             or of mercy towards the accused or the murdered,
             but as an act of protection to slave property!
             "Free persons of color are entitled to trial by
             jury." (Wheeler, p. 222. Bore vs. Bush, 18 Martin's Lou. Rep., 1.) A jury, doubtless,
             of white men,
             NOT "a jury of their peers" or equals! This is no
             "trial by jury" deserving the name.
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             CHAPTER VI.
             EDUCATION PROHIBITED.
             The Slave not being regarded as a member of Society, nor as a human being,
             the Government, instead of providing for his education, takes care to forbid
             it, as being inconsistent with the condition of chattelhood.
             CHATTELS are not educated! And if human beings are to be held in chattelhood,
             education must
             be withheld from them.
             South Carolina.-Act of 1740: "Whereas, the
             having slaves taught to write, or suffering them to
             be employed in writing, may be attended with great
             inconveniences; Be it enacted, that all and every person and persons whatsoever,
             who shall hereafter
             teach or cause any slave or slaves to be taught to
             write, or shall use or employ any slave as a scribe,
             in any manner of writing whatsoever, hereafter
             taught to write, every such person or persons shall,
             for every such offense, forfeit the sum of one hundred
             pounds, current money." (2 Brevard's T)igest, 243.)
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             Georgia, similar; penalty, twenty pounds. (Prince's
             Dig., 445.)
             South Carolina.-Another Act in 1800: "That
             assemblies of slaves, free negroes, mulattoes and


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             THE AMERICAN SLAVE CODE.
             mestizoes, whether composed of all or of any of such
             description of persons, or of all or any of the same,
             and of a portion of white persons met together for the
             purpose of MIENTAL INSTRUCTION, in a confined or
             secret place, &c., &c., are declared to be an unlawful
             meeting; and magistrates, &c., &c., are hereby required, &c., to enter such confined
             places, &c., &c.,
             and break doors, if resisted, and to disperse such
             slaves, free negroes, &c., &c.; and the officers dispersing such unlawful assemblage
             tay inflict such
             corporal lunishmnent, not exceeding twenty lashes, upoi
             such slaves, free negroes, &c., as they may judge necessary for DETERRING
             TIHIEM FROM SUCH UNLAWFUL
             ASSEMBLAGE IN FUTURE." "That it shall not be
             lawful for any number of slaves, free negroes, mulattoes, or mestizoes, even fn
             compaany with white persons, to meet together for the purpose of MENTAL
             INSTRUCTION, either before the rising of the sun, or
             after the going down of the same." (2 Brevard's
             Dig., 254-5.)
             Virginia. —Revised Code of 1819: " That all meetings or assemblages of slaves, or
             free negroes or
             mulattoes mixing and associating with such slaves
             at any neeting-house or houses, &c., in tlie nighlt; or
             at any SCHOOL OR SCHOOLS for teaching them READING
             OR WRITING, either in the day or night, under whatsoever pretext, shall be
             deemed and considered an
             UNLAWFUL ASSEMIBLY; and any justice of a county,
             &c., wherein such assemblage shall be, either from
             his own knowledge or the information of others, of
             such unlawful assemblage, &c., may issue his war
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             LEARNING FORBIDDEN.
             rant, directed to any sworn officer or officers, authorizing him or them to enter the
             house or houses
             where such unlawful assemblages, &c., may be, for
             the purpose of apprehending or dispersing such slaves,
             and to i(flict corporal punishment on the offender or
             offenders, at the discretion of any justice of the peace,
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             not exceeding twenty lashes." (1 Rev. Code, 424-5.)
             Besides the State laws, the corporate towns and
             cities frequently have ordinances on the subject.
             As for example, in Savannah, in 1818, the public
             journals announced as follows:
             "The City has passed an ordinance by which any
             person that teaches any person of color, slave or free, to
             read or write, or causes such persons to be so taught,
             is subjected to a fine of thirty dollars for each offense; and every person of color
             who shall keep a
             school to teach reading or writing is subject to a fine
             of thirty dollars, or to be imprisoned ten days, and
             whipped thirty-nine lashes!'.'
             "In North Carolina, to teach a slave to read or
             write, or sell or give him any book [Bible not excepted] or pamphlet, is punished
             with thirty-nine
             lashes, or imprisonment, if the offender be a free
             negro; but if a white, then with a fine of $200.
             The reason for this law, assigned in its preamble, is,
             that'teaching slaves to read and write tends to dissatisfaction in their minds, and to
             produce insurrection and rebellion."' (Jay's Inquiry, p. 136.) This
             was enacted in 1831. (Vide Child's Appeal.)
             " In Georgia, if a white teach a free negro or slave
             to write, he is fined $500, and imprisoned at the dis 14'
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             THE AMERICAN SLAVE CODE.
             cretion of the Court; if the offender be a colored
             man, bond or free, he may be fined or whipped, at
             the discretion of the Court.- Of course, a father
             may be flogged for teaching his own child. This
             barbarous law was enacted in 1829." (Ib.)
             "In Louisiana, the penalty for teaching slaves to
             read and write is. one year's imprisonment." (Ib.)
             The following statement will be regarded with
             interest, as being from one of the highest legal authorities:
             "In Georgia, by Act of 1829, no person is permitted to teach a slave, negro, or free
             person of
             color to read or write. So in Virginia, by statute,
             in 1830, meetings of free negroes to learn reading
             and writing are unlawful, and subject them to corporal punishment; and it is
             unlawful for white persons to assemble with free negroes or slaves, to teach
             them to read or write. The prohibitory Act of the
             Legislature of Alabama, pasted in the session of
             1831-2, relative to instruction to be given to the
             slave or free colored population, or exhortation or
             preaching to them, or any mischievous influence
             attempted to be exerted over them, is sufficiently
             penal. Laws of similar import are presumed to
             exist in the other slaveholding States; but in Louisiana, the law is armed with
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             tenfold severity. It not
             only forbids any person teaching slaves to read or
             write, but it declares, that any person using language
             in any public discourse, from the bar, bench, stage,
             or pulpit, or in any other place, or in any private
             conversation, or making'use of any signs or actions
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             LEARNING FORBIDDEN.
             having a tendency to produce discontent among the
             free colored population, or insubordination among
             the slaves, or who shall be knowingly instrumental
             in bringing into the State any paper, book, or
             pamphlet, having the like tendency, shall, on conviction, be punished with
             imprisonment or death, at
             the discretion of the Court." (Kent's Commentaries,
             vol. ii., part iv., p. 268, note.)
             Bible Societies do not distribute the Bible among
             slaves, because it is prohibited, and because the
             slaves are unable to read.
             John Woolman, of New-Jersey, (1757,) said:
             "Some of our Society," (Friends,) "and some of the
             Society called New Lights, use some endeavors to
             instruct those [slaves] they have, in reading; but in
             common this is not only neglected, but disapproved."
             (Journal of Life, &c., of Woolman, p. 74.)
             In the House of Delegates of Virginia, in 1832,
             Mr. Berry said: "We have, as far as possible, closed
             every avenue by which light might enter their [the
             slaves'] minds. If we could extinguish the capacity
             to see the light, our work would be completed; they
             would then be on a level with the beasts of the
             field, and we should be safe! I am not certain that
             we would not do it, if we could find out the process, and that on the plea of
             necessity."
             Kentucky is one of the few slave States (perhaps
             the only one except Maryland) in which slave education is not expressly prohibited;
             but the condition
             of the slave there was thus described by the Presbyterian Synod of Kentucky, in
             1834. "Slavery
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             THE _ AMIERICAN SLAVE CODE.
             dooms thousands of human beings to hopeless ignorance." "If slaves are educated, it
             must involve
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             some outlay on the part of the master." "It is
             inconsistent with our knowledge of human nature
             to suppose that he will do this for them. The present state of instruction among this
             race answers
             exactly to what we might thus naturally anticipate. Throughout the whole land, so
             far as we can
             learn, there is but one school in which, during the
             week, slaves can be taught. The light of three or
             four Sabbath-schools is seen glimmering through the
             darkness that covers the black population of a
             whole State. Here and there, a family is found where
             humanity and religion impel the master, mistress, or
             children to the laborious task of private instruction." "Nor is it to be expected that
             this state of
             things will become better, unless it is determined that
             slavery shall cease." (Address, &c., p. 8.)
             In North Carolina, the "patrols" were ordered to
             "search every negro house for books or prints of
             any kind. Bibles anid haymn books were particularly
             mentioned." (Weld's "Slavery as it is," p. 51.)
             The appeals and statements made by clergymen,
             missionaries and others, concerning the religious instruction of slaves, are usually
             guarded from misapprehension by the use of the phrase "oral instruction," indicating
             that books are not to be put into
             their hands! "A Sabbath-school" for colored children at the South, commonly
             includes nothing more.
             Forgetful of their anathemas of the Church or Pope
             of Rome for withholding the Scriptures, most Pro
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                                                              Page 325



             LEARNING FORBIDDEN.
             testant ministers at the South, and some at the
             North, insist that mere "oral instruction" will answer very well for the negroes! And
             this introduces
             to us the subject of our next chapter.
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             CHAPTER VII.
             FREE SOCIAL WORSHIP AND RELIGIOUS INSTRUCTION
             PROHIBITED.
             The Government not only permits the Master to forbid the free Social Worship
             and Religious Instruction of his Slaves, at his pleasure, but it also steps
             in with direct prohibitions of its own, which even the Master himself may
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             not relax or abrogate.
             IT is quite remarkable, that all the real practical
             restraints which the Slave Codes of the South throw
             around the slave master, are obviously for the purpose of withholding him from
             some exercise of humanity or of justice towards the slave; not one of
             them is for the purpose of restraining him from inhumanity and injustice!
             From no act of barbarity, cruelty, or even murder, is he in reality restrained. The
             enactments
             professing to have that object, we have found to be
             ineffectual, impossible to execute, deceptive, selfcontradictory, and, in fact, sheer
             pretense! We have
             found no laws that even professed to guard the
             highest interests of slaves as human beings, family
             sanctities, female chastity, education, religious de


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             RELIGION PROSCRIBED.
             velopment. No restraints upon the violation and
             destruction of these are attempted to be thrown
             around the slave master. But, on the other hand,
             he is restrained, as has been shown, from allowing
             to his slave (for the mutual benefit of both parties)
             a peculium of property from a tithe of his own
             earnings, with the benefits of "I hiring out" for that
             purpose! He is restrained, as we have seen, from
             bestowing upon his slave an education that would
             increase his usefulness, or of employing him to do
             any kind of writing! The slave may be "used"
             so as to be "used up" in seven years; may be used as
             a "breeder," as a prostitute, as a concubine, as a
             pimp, as a tapster, as an attendant at the gamingtable, as a subject of medical and
             surgical experi ments for the benefit of science, and the Legislature
             makes no objections against it! But he may not be
             used as a clerk! In all-this, the master's absolute
             right of ownership is restrained! It is restrained
             too, as we shall see, by not permitting even the
             master to allow his slave the privileges of free social
             worship and religious instruction, well calculated as
             these privileges may be to increase in him those
             Christian virtues for which he is sometimes com mended in advertisements, to
             enhance his value in
             the market! The master's right we shall also find
             restrained by the laws forbidding him freely, and at
             selfdiscretion, to emancipate! The great solicitude
             of the law seems to be, to prevent the master from
             being too kind to his slave!
             The philosophy of this is readily seen. A minority
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             TIEE AMERICAN SLAVE CODE.
             of slave owners are deemed exposed to the weakness
             of exercising some humanity and justice, of manifest ing some feeling of
             responsibility to God in their
             treatment of their fellow-men! The majority of
             slaveholders, who make the laws, will not tolerate
             this! They enter, fully and understandingly, into
             the spirit of slave ownership. That "legal relation"
             must be preserved at all hazards; and they know it
             is endangered by humanity, by justice, by education,
             and by religion. They know that if others eman cipate, their own tenure will be
             weakened. The rise
             of an oppressive oligarchy of slave owners begins
             here. And religious liberty is the very last thing
             to be tolerated by it. Religious liberty is the precursor of civil and political liberty
             and enfranchisement, and must be suppressed. The gospel would
             indeed abolish American slavery, (as is often said,)
             if it could only be introduced among the slaves so
             far as to confer upon them religious liberty.. This
             our American slaveholders understand, as will now
             be shown.
             In Georgia, by anAct of Dec. 13, 1792, with the
             title, "To PROTECT religious societies in the exercise
             of their religious duties," it is required of every justice of the peace, &c., to take into
             custody any person
             who shall interrupt or disturb a congregation of
             WHITE PERSONS, &c., assembled at any church, &c.,
             and to impose a fine on the offender; and in default of
             payment he may be imprisoned, &c., &c. Yet the same
             law concludes with these words: "No congregation
             or company of NEGROES shall, under pretense of divine
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             RELIGION PROSCRIBED.
             worship, assemble themselves, contrary to the Act
             regulating patrols." (Prince's Digest, 342.)
             This Act regulating patrols is understood to be
             the Act of May 10, 1770, "for ordering and governing slaves," wherein slaves are
             forbidden to assemble
             "on pretense of feasting," &c., and "any constable,"
             on direction of a justice, is commanded to disperse
             ANY assembly or meeting of slaves which may disturb
             the peace or endanger the safety of his Majesty's
             subjects; and every slave which may be found at
             such meeting, as aforesaid, shall and may, by order
             of such justice, immediately be corrected, WITHOUT
             TRIAL, by receiving on the bare back twenty-five stripes
             with a whip), switch, or cowskin," &c. (Prince's Digest, 447.) From the general
             terms of this Act,
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             there can be no doubt that it was applicable to
             religious meetings before the Act of 1792 occasioned
             its reiteration with more distinct specifications.
             In South Carolina, in the same Act of 1800, already cited as forbidding "slaves, free
             negroes, mulattoes, and mestizoes" to assemble for "mental
             instruction," there is the following additional section:
             "It shall not be lawful for any number of slaves,
             free negroes, mulattoes, or mestizoes, even, tn company
             with white persons, to meet together and assemble for
             thie purpose of mental instruction or relifgous wor shipo, either before the rising of
             the sun or after the
             going down of the same. And all magistrates,
             sheriffs, militia officers, &c., &c., are hereby vested
             with power, &c., for dispersing such assemnblies." (2
             Brevard's Digest, 254-5.) "Three years afterwards,
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             THE AMERICAN SLAVE CODE.
             upon petition, as the Act recites, of certain religious
             societies, the rigor of the Act of 1800 was slightly
             abated, by a modification which forbids any person,
             before nine o'clock in the evening, "to break into a
             place of meeting wherein shall be assembled the
             members of any religious society in this State, pro vided a qajority of them shall be
             white persons, or
             otherwise to disturb their devotion, unless such person, &c., so entering said place
             [of worship] shall
             first have obtained from some magistrate, &c., a warrant, &c., in case a magistrate
             shall be then actually
             within a distance of three miles from such place of
             meeting; otherwise the provisions, &c., [of the Act
             of 1800,] to remain in full force." (Brevard's Digest, 261. Stroud's Sketch, pp. 93-4.)
             So that, in order to attend a religious meeting
             securely, the slave must know beforehand (Ist) that
             there will be present "a majority of white persons;
             (2d,) that there will be no person there with " a warrant" from a justice to apprehend
             him; and (3d)
             that a justice will not " be then" within three miles'
             distance! For a mistake in either of these particulars, he (or she) is subjected to the
             penalty of
             '" twenty-five lashes with the cowskin on the bare
             back, well laid on!"
             "In Virginia, all evening meetings of slaves at
             any meeting-house are unequivocally forbidden."
             (Jay's Inquiry, p. 137. See Stroud, p. 94. See
             also 1 Revised Code (of 1819), 424-5, already cited
             (Chap. VI.) as prohibiting meetings for promoting
             education.) The first clause will be found to prohibit
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             RELIGION PROSCRIBED.
             " all meetings" of slaves, &c., in the evening. "Slaves
             may, however, attend at church on any day of public
             worship." (Stroud, p. 94.)
             Mississippi-same as Virginia, with a proviso that
             a master may permit his slave to attend the preaching of a white minister, regularly
             ordained and licensed, or where at least two discreet and respectable
             white persons, appointed by some regular church,
             shall attend. (Mississippi Rev. Code, 390. Stroud's
             Sketch, p. 94. Jay's Inquiry, p. 137.)
             Religious liberty secures the right of the worshippers to choose and arrange their
             own modes and forms
             of religious worship, and to select their own teachers;
             not the privilege of being permitted to worship when,
             where, and how the Government or a slaveholder
             may appoint, and under such religious teachers as
             they may select. The essence of spiritual despotism
             and of religious persecution lies in the enforcement
             of such claims. It is no discredit to the slaves that
             they have little or no desire to hear religious harangues from their oppressors, or that
             they loathe
             the instructions of ministers who preach the rightfulness of slaveholding.
             The Southampton slave insurrection of Nat. Turner
             (once a preacher) may have furnished a pretext for
             the following:
             "The Legislature of Virginia passed a law in
             1831, by which any free colored person who undertakes to preach or conduct a
             religious meeting by
             day or night may be whipped, not exceeding thirty nine lashes, at the discretion of
             any justice of the
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             THE AMERICAN SLAVE CODE.
             peace; and any body may apprehend any such free
             colored person without a warrant. The same penalty,
             adjudged and executed in the same way, falls on any
             slave or free colored person who attends such preach ing; and any slave who listens
             to any white preacher
             in the night-time receives the same punishment. The
             same law prevails in Georgia and Mississippi. A
             master may permit a slave to preach on his planta tion, to none but his slaves."
             (Child's Appeal, p. 67.)
             An early law of Maryland, (Act of 1715, chap. 44,
             sec. 23,) and a similar one in South Carolina, (in
             1711,) permits the baltistm of slaves, but carefully
             provides that " such baptism shall not be construed
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             to effect the emagiclpation of any slave." This arose
             from a contrary apprehension growing out of ancient
             usages in England, and the opinion of some jurists
             that Clristians could not be lawfully enslaved.
             In Louisiana the Legislature enacted: "It shall
             be the duty of every owner to procure his sice slaves
             all kinds of temporal and spiritual assistance which
             their situation may require." (1 MAartin's Dig., 610.)
             These Maryland and Louisiana privileges of baptism at birth, and of extreme
             unction on a deathbed, apparently of Roman Catholic origin, were
             undoubtedly considered great kindnesses; and they
             constitute, to this day, almost, if not entirely, the
             sum total of the legal provision for the slave as a
             religious being.
             The prohibitions recorded in this chapter have
             found their defense or apology in the alleged dangers
             of insurrection and insubordination! The plea is
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             RELIGION PROSCRIBED.
             strongly condemnatory of the system, its apologists,
             and its administrators! Of no system but an iniquitous one could it be true that
             religious liberty
             would array and arm its subjects against its fundamental law! No right-minded
             person, who was at
             heart neither a slave nor a tyrant, would ever urge
             such a plea. And if the slaveholders treated their
             servants justly and kindly, the danger of insurrection
             would cease. The plea, if false, should itself be
             execrated. If founded on a real danger, it reveals
             the inherent and inexpressible wickedness of slaveholding, and of the so-called
             "legal relation" that
             sustains it, and that is itself maintained at such a
             sacrifice! The "necessity" of such laws, rightly interpreted; resolves itself into the
             necessity of "'immediate and unconditional abolition."
             The general condition of the slaves is not better
             than is indicated by these enactments. We have not
             room to present a full specimen of Southern testimony on this subject.
             The Presbyterian Synod of Kentucky, in 1834,
             said: "Slavery deprives its subjects, in a great mea sure, of the privileges of the
             gospel." "The law,
             as it As here, does not prevent free access to the Scrip tures; but ignorance, the
             natural result of their con dition, does. The Bible is before them. But it is,
             to them, a sealed book. Very few of them enjoy the
             advantages of a regular gospel ministry."
             The Address of the Synod proceeds to say that
             some have proposed missionaries among slaves, but
             adds that the "community" will never sustain this
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             THE AMERICAN SLAVE CODE.
             measure until they are "I ite for mneasures for emanci pation." They add: "It is
             evident that, as a body,
             our slaves do not enjoy the public ordinances of re ligion. Domestic means of grace
             are still more rare
             among them."
             From a sermon of Bishop Meade, it may be inferred that the religious condition of
             slaves is not
             better in Virginia.
             The Presbyterian Synod of South Carolina and
             Georgia, in 1833, published a statement in which
             they said of the slaves: "There are over TWO MILLIONS of human beings in the
             condition of heathen,
             and some of them in a worse condition." "They
             may justly be considered the HEATHEX of this country, and will bear a comparison
             with heathen in any
             country in the world. The negroes are destitute of the
             gospel, and ever WILL BE under thle present state of
             things. In the vast field extending from an entire
             State beyond the Potomac [i. e., Maryland] to the
             Sabine River, [at that time our South-western boundary,] and from the Atlantic to
             the Ohio, there are,
             to the best of our knowledge, not twelve men exclusively devoted to the religious
             instruction of the
             negroes. In the present state of feeling in the
             South, a ministry of their own color could neither be
             obtained NOR TOLERATED. But do not the negroes
             have access to the gospel through the stated ministry
             of the whites? We answer, No. The negroes have
             no regular and efficient ministry: as a matter of
             course, no churches; neither is there sufficient room
             in the white churches for their accommodation.
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             RELIGION PROSCRIBED.
             We know of but five churchles in the slaveholding
             States, built expressly for their use. These are all
             in the State of Georgia. We may now inquire whether they enjoy the privileges of
             the gospel in their
             own houses, and on our plantations? Again we return a negative answer. They have
             no Bibles to read
             by their own firesides. They have no family altars;
             and when in affliction, sickness, or death, they have
             no minister to address to them the consolations of
             the gospel, nor to bury them with appropriate services."
             Again, in 1834, the same Synod said:
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             "The gospel, as things now are, can never be
             preached to the two classes [whites and blacks] successfully in conjunction." "The
             galleries or back
             seats on the lower floor of white churches are generally appropriated to the negroes,
             when it can be
             done without inconvenience to the whites. When
             it cannot be done conveniently, the negroes must
             catch the gospel as it escapes through the doors and
             windows." "If the master is pious, the house servants
             alone attend family worship, and frequently few or
             none of them." "So far as masters are engaged in
             the work, [of religious instruction of slaves,] an almost unbroken silence reigns on
             this vast field."
             The Charleston (S. C.) Observer, and the Western
             Luminary, Lexington, (Ky.,) fully corroborate these
             statements. So also does Rev. C. C. Jones, of Georgia,
             who says further: "We cannot cry out against the
             Papists for withholding the Scriptures from the com mon people, and keeping them
             in ignorance of the
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             THE AMERICAN SLAVE CODE.
             way of life, for we withhold the Bible from our ser vants, and keep them in
             ignorance of it, while we will
             not use the means to have it read and explained to
             them."
             The North Carolina Baptist Convention adopted
             a Report concerning the religious instruction of the
             colored people, with a series of Resolutions, coneluding as follows: "R?esolved,
             That by religious instruction be understood VERBAL communications
             on religious subjects!"
             But not even verbal instructions, it seems, could
             be tolerated in South Carolina. In 1838, the Methodist Conference of South Carolina
             appointed a missionary, Rev. Mr. Turpin, to labor among the colored
             people, but it was soon suppressed by the principal
             citizens. The GCreenvile (S. C.) 3fountaineer of Nov.
             2, 1838, contained the particulars. A Committee
             was appointed, who addressed a note to Mr. Turpin,
             requesting him to desist. This was backed up by a
             Remonstrance to the same effect, signed by James S.
             Pope and 352 others. The document is before us.
             It argues at length the incompatibility of slavery
             with the "mental improvement and religious instruction" of slaves. "Verbal
             instruction," say they, "will
             increase the desire of the black population to learn.
             We know of upwards of a dozen negroes in the
             neighborhood of Cambridge who can now read, some
             of whom are members of your societies at Mount
             Lebanon and New-Salem. Of course, when they see
             themselves encouraged, they will supply themselves
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             with Bibles, hymn books, and Catechisms"/ "Open
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             RELIGION PROSCRIBED.
             the missionary sluice, and the current will swell in
             its gradual onward advance. We thus expect that
             a progressive system of improvement will be introduced,
             or will follow, from the nature and force of circumstances, and, if not checked,
             (though they may be
             shrouded in sophistry and disguise,) will ultimately
             revolutionize our civil institutions." " We consider the
             common adage that'Knowledge is power,' and as
             the colored man is enlightened, his condition will
             be rendered more unhappy and intolerable. Intelligence and slavery have no affinity
             with each other-." The
             document refers to the laws of the State, and hopes
             that "South Carolina is yet true to her vital interests,"
             &C., &C.
             The missionary enterprise was thus suppressed, or
             was relinquished. The Editor of the Mountaineer
             said: "The opposition to the late Home Mission
             among us comprised the great body of the people."
             "No people are found to be better than their laws."
             "The legal relation" of slave ownership, as understood at the South, requires all this.
             And the Church
             and ministry there either acquiesce or succumb!
             At every point we have found an utter repugnance
             and opposition between the Slave Code and the
             Christian religion. And the Slave Code is nothing
             more nor less than the truthful exponent and the
             vigilant guardian of the so-called "legal relation of
             master and slave." While the one remains, the other
             remains, with all the practical results that naturally
             grow out of them.
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             CHAPTER VIII.
             LEGISLATIVE, JUDICIAL, AND CONSTITUTIONAL
             OBSTRUCTIONS TO EMANCIPATION.
             The Statutes of the Slave States not only make no provision for a general
             Emancipation, but they obstruct and prevent Emancipations by the Master.
             And the Constitutions of some of the States forbid the Legislatures to abolish
             Slavery.
             WE have seen that slavery is hereditary and perpetual in the nature of its tenure, and
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             that the code
             by which it is defined contemplates no period of its
             termination, and points out no conditions upon which
             the slave or his posterity can escape from it. (See
             Chap. XXI. of the former series.) One avenue of
             hope only remains for him. The slave master may
             himself emancipate. In very many instances, slave
             masters have done so. The hope has been thus inspired of such an increase of
             manumissions as should
             weaken and ultimately terminate the whole system.
             The hopes of humanity, in this direction, have not
             outrun the fears of the nzajority of slaveholders, who
             control the legislation of the slave States. The
             laws accordingly interpose obstacles to emancipation.
             The reasons urged at the South for legislative and


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             LAWS vs. MANIUMISSION.
             judicial restrictions upon emancipation cannot, perhaps, be more favorably or more
             forcibly stated than
             in the following extract from a note by Mr. Wheeler,
             at the close of his chapter of reported cases concerning "the emancipation of
             slaves:"
             "It will be seen by this chapter that the owner of
             slaves may emancipate them by deed, will, or contract
             executed. But to this BENEVOLENCE of the owner there
             are, in most of the States, RESTRAINTS upon the exercise
             of this power by the owner. Slaves are recognized,
             wherever this system is tolerated, as property, and are
             subject to all the rules in the acquisition, possession,
             and transmission of property. It would seem, therefore, upon a first view of the case,
             that the owner should
             do with his property whatever he pleased, and should
             have the privilege of renouncing his right to it whenever he pleased, and without
             being qualified by any
             public laws or regulations on the subject. Such,
             however, is not the fact; restraints upon this right
             exist in nearly all the States."
             After citing some of the laws on the subject, including those of Tennessee and
             Alabama, which we
             shall copy, Mr. Wheeler proceeds:
             "When it is considered that slaves are a peculiar
             species of property, it will not excite surprise that
             laws are necessary for their regulation, and to protect
             society from even the benevolence of slave owners, in
             throwing upon the community a great number of
             stupid, ignorant, and vicious persons, to disturb its
             peace and endanger its permanency.
             "The right of society to regulate and control the
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             THE AMERICAN SLAVE CODE.
             ownership and control of this kind of property may
             be justified on the same grounds as some other
             species of property. No one can doubt the right
             of individuals to acquire, possess, and sell gunpowder. But if the possessor chooses
             to take it to
             his house or store, in a city or populous town, the
             public become interested, and will restrain him within
             reasonable and proper limits."* "And the constitutionality of such laws cannot be
             doubted. So of
             slaves. The owner may keep as many as he pleases,
             but if he emancipates them, and turns them loose
             upon society, they have a right to protect themselves
             against his improvidence, or even against his benevolence and generosity. They
             have a right to
             declare the act illegal, or restrain it within such
             bounds as shall secure their safety." (Wheeler's
             Law of Slavery, pp. 386-8.)
             In Mr. Wheeler's book we have met with no mention of the laws forbidding the
             education of slaves and
             free colored people, and their free access to the means
             of religious and moral instruction. By the side of
             such laws, the plea for laws restraining emancipation
             on the ground of the ignorance and vice of the
             colored people, would have seemed incongruous.
             It is the intelligence and virtue of the colored race
             *To have made the cases parallel, the writer should have
             adduced laws restraining owners of slaves from having too many
             of them in one place, or else he should have cited laws restraining
             owners of gunpowder from pouring water upon it, or from transmuting it into
             articles that could endanger no body! It is slavery,
             and not liberty, that is "dangerous."
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             LAWS VS. MANUMISSION.
             that constitute the "danger" to be guarded against
             in this feature of slave legislation and jurisprudence.
             And the honesty and conscientious misgivings of repenting slaveholders (quite as
             truly as their "benevolence and generosity") constitute another danger
             against which a "society" of slaveholders thus protects itself.
             This principle of restriction obtains in the code of
             nearly every one of the slave States, though an express enactment cannot always be
             cited for it.
             In South Carolina, Georgia, Mississippi, and Alabama, the Legislature only, by
             express enactments,
             have authority to emancipate slaves. (Vide authorities cited by Stroud, p. 147.)
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             In North Carolina, a slave cannot be emancipated
             except for mneritorious services, to be adjudged and
             allowed of by the Court. (Haywood's Manual, 537,
             Act of 1796.)
             A general principle, pervading the legislation and
             jurisprudence of the several States, is, that the owner
             may not emancipate without the consent of his
             craditors. Thus, "in Virginia and Mississippi, an
             emancipated slave may be taken in execution to
             satisfy any debt contracted by the person emancipating him, previous to such
             emancipation." (1 Rev.
             Code of Virginia, 434. Mississippi Rev. Code, 386.)
             In Kentucky, the emancipating papers must contain a saving of the rights of
             creditors. (2 Litt. and
             Swi., 1155.)
             In Louisiana, " any enfranchisement made in fraud
             of creditors is void." (New Civil Code, art. 190.)
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             THIIE AMERICAN SLAVE CODE.
             In Virginia, Mississippi, and Kentucky, the widou
             of a deceased slaveholder, who may have emanci pated a slave, may claim her "
             third" to which the
             widow is entitled. (1 Rev. Code of Virginia, 435.
             Mississippi Rev. Code, 386. 2 Litt. and Swi., 1246.)
             And when one t/irdd part of an emancipated slave is
             thus reenslaved, the problem of preserving the re mrnaining two thirds of him in a
             state of freedom would
             perhaps puzzle his best legal advisers!
             In Georgia, " the attempt" to set free a slave, otherwise than by application to the
             Legislature, is punished as an " offense"-a fine of two hundred dollars,
             one half to the informer and the other half to the
             county; and the manumitted slave is retained in
             slavery. (Prince's Digest, 457.) And, as if this
             were not sufficient, an additional Act, in 1818, declares that every last will and
             testament by which
             slaves shall be set free, or any such will or other
             "instrument in writing, or by parol," by which
             slaves shall be allowed the privilege of working for
             themselves, "to be utterly null and void." And
             the person executing such writing, or " attempting
             to give it effect," or "accepting a trust" under it,
             may be fined "not exceeding one thousand dollars;"
             and every slave " on whose behalf" such instrument
             shall be written, "beilg thereof convicted, (?!) shall be
             sold at public outcry, and the proceeds appropriated,"
             &c. (Prince's Digest, 466.)
             In Tennessee, the Courts, on petition of the owner,
             and for sufficient reasons therein set forth, mnay emancipate a slave! (Tenn. Laws;

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             Act of 1801, chap. 27.)
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             LAWS vs. MANUMISSION.
             "Emancipation is guarded in Tennessee by a provision (statute of 1777) that the
             State must assent, or
             the act of manumission by deed or will is ineffectual;
             and (as appears in Fisher vs. Dabbs, 6 Yerger's Rep.,
             119,) the emancipated slave must be immediately
             removed beyond the limits of the United States."
             (Wheeler's Law of Slavery, p. 387.)
             "By statute of Alabama, Aikin's Dig., 647, slaves
             may be emancipated by the master, on application
             to the County Court, and on _proof of meritorious services, but the slave must
             remove out of the limits
             of the State." (Ib.)
             Mississippi has combined all the obstacles in the
             laws of all the other States. (Stroud, p. 149.)
             Kentucky, Missouri, Virginia, and MAaryland, afford
             greater facilities for emancipation. (lb.) In Ken tucky and Missouri the master may
             emancipate,
             "saving the rights of creditors," and by giving bonds
             for the maintenance of the aged and infirm.
             In Virginia the law is similar, only that if the
             emancipated slave be over twenty-one years of age,
             he must leave the State in one year, or be reen slaved! (Revised Code, 436.)
             Maryland has a proviso that the emancipated slave
             shall be "of healthy constitution," &c., "capable of
             labor," and "not exceeding forty-five years of age."
             (Laws of 1796, chap. 67.)
             In Louisiana, "no one can emancipate his slave,
             unless the slave has attained the age of thirty years,
             and has behaved well for at least four years preced ing his emancipation." But "a
             slave who has saved
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             THE AMERICAN SLAVE CODE.
             the life of his master, his master's wife, or one of his
             children, may be emancipated at any age." (Art.
             185, 186.) Also, the child of a deceased slave mother
             who had acquired the right to freedom at a future
             time, becomes free at that time. (Art. 196.) And a
             slave entitled to a future release is capable of receiv ing property by testament or
             donation. (Art. 193.)
             For these remnants of justice and mercy, humanity
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             is indebted, perhaps, to the former usages of the
             French and Spaniards, under the Code Noir.
             From the legislators we now turn to the judges
             and reporters of judicial decisions.
             "With respect to emancipation, it may be stated
             as a principle without an exception, that, as slaves
             are considered property upon which creditors have a
             right to look for the payment of their debts due by
             the owner of slaves, regard must be had to the rights
             of the creditor; and no act of emancipation is valid
             when these are violated." (Note, in Wheeler's Law
             of Slavery, p. 310.)
             So then the slave, by extraordinary exertions and
             by agreement with his master, may have obtained
             emancipation for himself and family, and may have
             removed with them to a free State. Yet the master's
             creditor may take out an execution, and reenslave
             them, by the help of the Fugitive Slave Act of Congress. The money paid by the
             slave does not constitute hin? a creditor, in the eye of the law; for it
             belonged, in law, to the master, before it was paid to
             him!
             "Slaves manumitted by Will, where the personal
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             LAWS vs. MANUMISSION.
             estate is not sufficient to pay the debts of the testator,
             are not entitled to freedom." This is the marginal
             note to the case of Negro George et al. vs. Corse,
             Adm'r.; June T., 1827. (2 Hiarris and Gill's Md.
             Rep., 1.)
             The Will of James Corse, manumitting the slaves,
             contained the following: "And it is hereby provided
             that if my _personal estate, EXCLUSIVE OF NEGROES,
             should not be sufficient to discharge all my just
             debts, then my will is that my executor or administrator, as the case may be, may
             sell so much of
             mny real estate as will pay my debts, so as to have my
             negroes free, as before stated."
             "It was admitted that the personal estate of the
             testator, either including or excluding the negroes,
             was not, at the time of his death, or at ally time
             since, sufficient to pay his debts; but that his real
             estate, including his personal property, and excluding the negroes, were, at the time
             of his death, and
             still are, sufficient to pay his debts. Verdict for defendants, and petitioners appealed.
             After argument,
             the Court, Dorsey, Arch/er, and Earl, Judges, affirmed
             the judgment, and that the creditors had a right to
             their demands out of the personal estate." (Whleeler,
             pp. 327-8.)
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             Thus the Court annulled the express provisions
             of the Will, whether with or without authority from
             the statute, does not appear. And the principgle
             established would, in the same manner, set aside a
             similar Will of a testator who might leave millions
             in real estate, if his personal estate, exclusive of
             15*
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             THE AMERICAN SLAVE CODE.
             negroes, should fall short of paying his debts. The
             object and spirit of such decisions cannot be hid.
             The rights of the free as well as of the enslaved are
             outrageously infiinged by such proceedings, in which
             the death-bed promptings of conscience, repentance,
             justice, and mercy, are profanely spurned and trampled in the dust.
             "Slaves are subject to dower in all the States. Not
             only are they subject to dower, but the widow's interest in them is protected by
             statutory provisions.
             If the husband manumits his slaves, whereby creditors and the dower of the widow
             are affected, the
             manumission is so far ineffectual that the manumitted
             slaves may be sold for a period, and the proceeds of
             the sale applied to the creditors of the former owner
             and his widow." [Numerous authorities cited.]
             (Wheeler, note to p. 181.)
             In other circumstances the courts are less regardful
             of the rights of woman.
             "A wife's estate in dower of slaves, by a former
             husband, on her second marriage, rests in her husband." "And her right to manumit
             them is gone."
             (Wheeler, p. 182.)
             On the subject of the validity of contracts and
             promises of masters to manumit, there seems some
             slight diversity among the judges, as will be seen
             from the following, in which the general doctrine is
             apparent:
             "A written agreement by a master with his slave
             to manumit him is obligatory; it rests in benevolence,
             not in contract." (Marginal Note.) The Judge said:
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             LAWS Vs. MANUMISSION.
             "The manumission of a slave does not rest upon the
             principle of a contract, depending upon a consideration; but it is an act of
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             benevolence sanctioned by the
             statute, and made obligatory, if in writing." (Kettletas
             vs. Fleet, Feb. T., 1811; 7 John's New-York Rep.,
             324. Wheeler, p. 232.)
             "Chancery cannot enforce a contract between master and slave, though the slave
             perform his part."
             (Stevenson vs. Singleton, Feb. T., 1829; 1 Leigh's
             Va. Rep., 72. Wheeler, p. 233.)
             Same decision in Sawney vs. Carter, March Term,
             1828; 6 Randolph's Va. Rep., 173. Wheeler, p. 237.
             Cited in Leigh's Rep. I. 72, Virg., 1829, as follows:
             "Application to enforce a contract between master
             and slave.-Per Cur.: In the case of Sawney vs. Carter, the Court refused, on great
             consideration, to enforce a promise by a master to emancipate his slave
             where the conditions of the promise had been partly
             complied with by the slave. The Court proceeded
             on the principle that it is not competent to a Court
             of Chancery to enforce a contract between master
             and slave, even although the contract should be fully
             conp2lied with on the part of the slave."
             Fugitive slaves, on arriving at the North, have
             sometimes exhibited the written agreements of their
             masters to emancipate them, on condition of their
             payment of a certain specified amount of money,
             payable in instalments. Along with these, they have
             exhibited the receipts of their masters for the several
             instalments in full. And yet they have been com pelled to run away to obtain their
             hard-earned free
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             THE AMERICAN SLAVE CODE.
             dom, with all the hazards of being hunted and re captured! The writer has seen and
             examined such
             documents.
             "If an informal emancipation takes place, the
             master promising to comply with the legal formalities, his rights are not thereby
             affected before the
             formalities be observed." (Bazzy vs. Rose and
             child, May T., 1820; 8 Martin's Louisiana Rep.,
             149. Wheeler, p. 307.) In this case, the promise,
             in writing, was produced. On a habeas corpus, the
             slaves (Rose and child) had been discharged, as free
             persons. But the claimant, Bazzi, brought this suit
             against them, and the Court, f~artinz, J., decreed them
             to be slaves of the plaintiff!
             "A contract to manumit is obligatory." (Case of
             Negro Tom, Feb. T., 1810; 5 John's 2few- York Rep.,
             365. Wheeler, p. 309.)
             "lvo declaration or promise made to a slave can
             be enforced in a Court of law." (Marginal note.)
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             Beall vs. Joseph. Trespass to try Joseph's right
             to freedom. He had been a slave to one Woods,
             who agreed to let Edwards have him for four years,
             after whizch he was to be free. Both Woods and
             Edwards made parol declarations to this effect. But
             Edwards sold him a slave to Beall. The Judge
             said, "It is clear that no declaration or promise
             made to the slave in this State, (Kentucky,) or for
             his benefit, by the owner or any other person, can
             be enforced in a Court of law or equity. And see
             Will vs. Thompson, in a note at the end of the case,
             where it was held, that where a PURCHASER in writ
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             LAWS VS. MANUMISSION.
             ing contracted with the SELLER to mnanumit the slave at
             a specified time, it is not a ground for a suit at common
             law, but equity will enforce the contract, and give
             DAMAGES for the detention of the negro." (Hiarden's
             Ky. Rep., 51. Wheeler, p. 331.)
             A contrary decision appears in Negro Cato vs.
             Howard. (June T., 1808; 2 Hlar. and John's Md.
             Rep., 323. Wheeler, p. 323.)
             "Parol evidence of an agreement for the freedom
             of a slave is inadmissible." (Victoire vs. D)ussuau,
             March T., 1316; 4 Martin's Louisiana Rep., 212.
             Wheeler, p. 334.)
             "An infant cannot be emancipated," "nor can a
             slave be set free who is not both under the age of
             forty-five years, and able to work, and gain a sufficient maintenance and livelihood,
             at the time the
             freedom is intended to commence." (Hamilton vs.
             Cragg, June T., 1823; 6 Har. and John's Md. Rep.,
             16. Also Hall vs. Mullin, 5 Hlar. and John's Md.
             Rep., 190. Wheeler, p. 311.)
             "A bequest of liberty to slaves, in contravention
             of the law, is void." (Mary vs. Morris et al., Aug.
             T., 1834; 7 Lou. Rep., 135. Wheeler, p. 311.)
             "A deed of emancipation not recorded in the
             proper court, but in some other, gives no title to freedom' until properly recorded."
             (Sawney vs. Carter,
             [before cited.] Also Givens vs. Mann, 6 Munf., Va.
             Rep., 191. Also Lewis vs. Fullerton, 1 Randolph's
             Va. Rep., 15. Wheeler, p. 238.)
             "Whether a slave, who is directed to be set free
             by the last will and testament of his master, can
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             have the intervention of a magistrate to prevent his
             removal out of the State, quere." (Marginal note
             to Moosa vs. Allain, 16 Martin's Lou. Rep., 99.
             Wheeler, p. 317.) The testator, Julien Poydras, directed in his will, that his slaves on
             his several
             plantations should each be considered inseparable
             from the respective plantation on which they were,
             and that they should, at the end of twenty-five
             years, be free. The plaintiff was however sold, and
             taken to another plantation, against his will and
             consent, and, as he believed, with an intention of
             carrying him out of the State. He petitioned for a
             recession of the sale, and to be restored to the plantation where he belonged. There
             was judgment for
             the defendant, and the plaintiff appealed. Judgment
             affirmed!
             "A slave cannot be emancipated by a nuncupative
             [verbal, declaratory] will, nor by an executory or
             conditional instrument in writing." (Cooke [colored] vs. Cooke; 3 Littell's Ky. Rep.,
             236. Wheeler,
             p. 328.)
             Besides these legislative obstructions to emancipation by the masters, there are, in
             several of the
             States, constitutional provisions restraining the State
             Legislatures from abolishing slavery by statute. As
             the State will not intrust the planters with the
             power of manumission, so neither will the planters
             allow the State to hold the power of abolition.
             The laws forbidding or obstructing emancipation
             have been pleaded on behalf of the slaveholders, as
             an excuse for not emancipating their slaves. But
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             LAWS VS. MANUMISSION.
             they can be of no avail, except to such as oppose
             those laws. Slaveholders, moreover, might give
             their slaves "a pass" to the borders of the free
             States, or accompany them thither. The fact that
             others will reenslave those whom they may emancipate cannot excuse them. They
             have no right to
             continue a wicked practice, because others would
             take it up if they relinquished it!
             Concerning the law of Virginia reenslaving the
             emancipated negro, the Powhatan Colonization Society (addressing the Virginia
             Legislature) said:
             "The law was doubtless dictated by sound policy,
             and its repeal would be regarded by none with more
             unfeigned regret thian by the friends of African coloniza tzon. It has restrained
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             many mnasters from giving free dom to their slaves, and has thereby contributed to
             check the growth of an already TOO GREAT AND
             GROWING EVIL!" (Jay's Inquiry, p. 108.)
             It ill befits those who hold and who patronize this
             language, to cite the laws impeding emancipation,
             to justify slaveholders in refusing to emancipate!
             But this incongruity is constantly witnessed! The
             popularity, at the South and at the North, of those
             Societies and statesmen and ministers of religion
             who hold such language and occupy such a position,
             may assist to throw light on the inquiry, whether,
             in this particular, the people are better than their
             laws.
             And let it be remembered that, in the judgment
             of those who ought to know, and who are directly
             interested in the matter, it is only by such laws that
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             THE AMERICAN SLAVE CODE.
             "the innocent legal relation" of slave ownership can
             be sustained.
             In Weld's "Slavery as it is," p. 164, maybe found
             the particulars of the reenslavement of one hundred
             and thirty-four slaves in North Carolina, who had
             been liberated by the Quakers in 1776. The old
             law of 1741 could not prevent it. In 1777, after
             the manumissions had taken place, a new law was
             made prohibiting such procedure, and the County
             Courts, under this Act, ordered the emancipated
             slaves to be sold into slavery! The Superior Court,
             in 1778, reversed the decision, and the negroes were,
             a second time, set at liberty. But the Legislature,
             in 1779, confirmed the title of the purchasers by a
             special Act, and they were taken up, and a second
             time reduced to slavery! A fair illustration of the
             legality of the "peculiar relation!"
             Such are the relations of the slave to civil government and to society; such the
             protection he receives
             from them.
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             PART III.
             RELATION OF THE SLAVE CODE TO THE LIBERTIES
             OF THE FREE.


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             CHAPTER I.
             LIBERTIES OF THE FREE PEOPLE OF COLOR.
             The Free People of Color, though not in a condition of Chattelhood, are eon stantly
             exposed to it, and at best enjoy only a portion of their rights.
             WE have already seen how, in many ways, a free
             colored person may be enslaved. He may be enslaved
             for assisting a slave, however nearly related to him,
             to escape into freedom. He may be enslaved for being
             suspected of being himself a runaway slave; for being
             thus imprisoned, and unable to pay his jail fees. lHe
             may be reenslaved, after having been emancipated,
             if the process were not in exact accordance with
             unreasonable and vexatious regulations; or if, however regularly emancipated, he
             presumes to remain
             among his friends, and amid the scenes of his childhood. Hle may be enslaved for
             incurring fines which
             he is unable to pay, under unjust and unequal enactments. Hie may be enslaved for
             not being able, by
             white witnesses, to prove himself free! Though a
             Northern manl, and always before firee, he may be
             enslaved by entering a slave State, (Georgia or Maryland,) and thus incurring a fine
             and being unable


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             THE AMERICAN SLAVE CODE.
             to pay it. (Jay's Inquiry, 24. Child's Appeal, p. 64.)
             Hie may be ellslaved, with his children after him, for
             being married to a slave. Hie may be enslaved by
             being unlawfully and piratically imported into a
             slave State, even though the kidnapper may be arrested and punished! And in none
             of the free States
             can any free native colored citizen be safe from
             the operation of the Federal Fugitive Slave Bill of
             1850, and from the clutches of United States Marshals and Commissioners! The law
             presumnes him to
             be a slave unless he can prove himself free. (WVheeler's Law of Slavery, pp. 5, 6.)
             "In South Carolina,
             if a free negro cross the line of the State, he can
             never return." (Child's Appeal, p. 68.)
             "Mississippi, in 1831, passed a law to expel all
             [free] colored persons under sixty and over sixteen
             years of age, within ninety days, unless they could
             prove good characters, and obtain from the Court a
             certificate of the same, for which they paid three
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             dollars: these certificates might be revoked at the
             discretion of the County Courts. If such persons do
             not quit the State within the time specified, or if
             they return to it, they may be sold for a term not
             exceeding five years." (Ib., p. 68.) And persons sold
             for a term of years seldom regain their freedom, as
             has been ascertained in the District of Columbia.
             In Tennessee, emancipated slaves must leave the
             State forthwith. (Ib., p. 68.)
             Wrhile tracing, in the preceding chapters, the legal
             condition of the slave, we have found the "free negro,
             mulatto, or mestizo," associated with him in some of
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             FREE PEOPLE OF COLOR.
             the most painfully humiliating incidents of his degradation. Like the slave, the, f'ee
             colored person
             is held incompetent to testify against a white man!
             Like the slave, he is debarred, to a great extent, from
             the benefits of education, and from the right of enjoy-
             ing free social worship and religious instruction!
             Like the slave, he is required to be passive, without
             exercising the right of self-defense, under the insults
             and assaults of the white man! Like the slave, as
             will be shown, he is denied the ordinary safeguards
             of an impartial trial by a jury of his peers. Like the
             slave, he has no vote nor voice in framing the laws
             under which he is governed. Even in many of the
             free States he exercises this right only on unequal
             conditions, or coupled with invidious distinctions!
             And yet he is complimented with the title of "free!"
             To be a "free negro" differs widely, it would seem,
             from being a free man!
             For striking a white man, in Maryland, no matter
             for what cause, a Justice may "direct the offender's
             ears to be cropped, though he be a free black." (Stroud,
             p. 97. Act of 1723, chap. 15.)
             In Louisiana it is gravely set forth, by express
             statute, that "free people of color ought never to insuLlt
             or strike white people, nor presume to conceive them selves equal to the whites; but,
             on the contrary, they
             ought to yield to them on every occasion, and never speak
             or answer them but with respect, but, under penalty
             OF IMPRISONMIENT, according to the nature of the
             offense." (1 Martin's Digest, 64042.)
             " In some of the States, if a free man of color is
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             THlE AMERICAN SLAVE CODE.
             accused of crime, he is denied the benefit of those
             forms of trial which the Common Law has established
             for the protection of innocence. Thus, in South
             Carolina, it is thought quite unnecessary to give the
             * Grand and Petit Jury the trouble of inquiring into
             the ease: he can be hung without so much ceremony.
             But who is a colored man? We answer, the fairest
             man in Carolina, if it can be proved that a drop of
             negro blood flowed in the veins of his mother."
             (Jay's Inquiry, p. 21-2.) Judge Jay adduces an
             instance. William Tann, an overseer on a planta tion, shot a slave. He was supposed
             to be a white,
             and the customary forms of trial before the COURT
             OF SESSIONS were in preparation, (before whom, as
             being a white man, he would undoubtedly have been
             cleared.) But "on an issue ordered and tried for
             ascertaining his caste, it was decided that he was of
             MIIXED BLOOD." So he was "turned over by the
             Court to the jurisdiction of magistrates and free holders, by whom he was sentenced
             to be hung.
             The particulars appeared in the Chzarleston Courier
             in 1835.
             "The Corporation of Georgetown, in the District
             of Columbia, passed an ordinance, making it penal
             for any free negro to receive from the Post-office,
             have in his possession, or circulate, any publication
             or writing of a seditious character." (Jay's Inquiry,
             p. 23.)
             "In North Carolina, the law prohibits a colored
             man, whatever may be his attainments or ecclesias tical authority, to preach the
             gospel." (Ib.)
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             FREE PEOPLE OF COLOR.
             "In Georgia, a WIHITE man is liable to a fine of
             five hundred dollars for teaching a FREE negro to
             read or write. If one free negro teach another, he
             is fined and whipped, at the discretion of the Court!
             Should a free negro presume to preach to or exhort
             his companions, he may be seized without warrant,
             and whipped thirty-nine lashes, and the same number of lashes may be applied to
             each one of his congregation. (Ib.)
             "In some States, free negroes may not assemble
             in greater number than seven. In North Carolina,
             free negroes may not trade, buy, or sell, out of the
             cities wherein they reside, under penalty of forfeiting their goods, and receiving, in
             lieu thereof, thirtynine lashes! (lb.)
             "In Ohio, [a free State,] not only are the blacks
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             excluded from the benefit of public schools, but,
             with a refinement of cruelty unparalleled, they are
             doomed to idleness and poverty by a law which ren-
             ders a white man who employs a colored one to labor
             for him for one hour, liable for his support through
             life." (lb. 24.)
             The Ohio law is, we believe, repealed. But in
             New-York, and some other Northern cities, colored
             persons are still denied licenses to drive carts, and
             pursue other similar avocations for a livelihood.
             In Indiana, a free State, the testimony of free
             negroes and mulattoes is not received against a white
             man. (Child's Appeal, p. 66.)
             "By a late law of Maryland, a free negro coming
             into the State is liable to a fine of fifty dollars for
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             THE AMERICAN SLAVE CODE.
             every week he remains in it! If he cannot pay the
             fine, he is SOLD!" (Jay's Inquiry, p. 24.)
             " Should a colored citizen of Maryland cross its
             boundary, on business never so urgent to himself and
             his family, on returning home, more than a month
             after, he is liable to be seized and SOLD, unless, previous to his departure, he had
             complied with certain
             vexatious legal formalities, and which, from ignorance, he would be extremely
             likely to neglect, or
             perform imperfectly." (Jay's Inquiry, p. 90.)
             "A citizen of New-York, if he happens to be
             colored, may not visit a dying child in Maryland
             without incurring a penalty of fifty dollars for every
             week he remains; and if he is unable to pay the fine,
             why, then he is to be sold by the sheriff at public sale,
             for such a time as may be necessary to cover the
             aforesaid penalty. But if a free negro is sold for a
             limited time, he is in reality sold for life. During
             the term for which he is sold, he is sold as a chattel,
             and may be transported at the pleasure of his master;
             and when the expiration of his term finds him in a
             cotton-field in MissouLri, or a sugar-mill ir Louisiana,
             who is to rescue him from interminable bondage?"
             (Jay's Inquiry, p. 90.)
             It is known that such cases have occurred, and
             that free negroes taken up as fugitives in the Federal
             District have been sold to the slavetraders and sent
             to the far South. A case is narrated in a petition to
             Congress, signed by Judge Cranch and nearly eleven
             hundred citizens of the Federal District in 1828. And
             the advertisements of free negroes for sale by the
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             FREE PEOPLE OF COLOR.
             marshal and sheriff, appear frequently in the public
             journals. Mr. Miner, in the U. S. House of Representatives, in 1829, stated that in
             1826-7 no less than
             five persons in the Federal District were thus sold
             into perpetual bondage for jail fees! (Jay's Inquiry,
             p. 155.)
             "A free colored man living near the line of the
             District of Columbia, petitioned the House of Delegates of Maryland for leave to
             bring his grandchild
             from the city of Washington. The child had probably been left an orphan, and he
             naturally wished to
             take it to his own house. The petition was rejected."
             (Jay's Inquiry, p. 90.)
             "In North Carolina, free negroes are whipped,
             fined, and imprisoned, at the discretion of the Court,
             for intermarrying with slaves." (Child's Appeal,
             p. 70.)
             In Georgia, "Any person of color, bond or free,
             is forbidden to occupy any tenement except a kitchen
             or outhouse, under penalty of from twenty to fifty
             lashes. Some of these laws are applicable only to
             particular cities, towns, or counties; others to several
             counties." (Ib.)
             "Emancipated slaves must quit North Carolina in
             ninety days after their enfranchisement, on pain of
             being sold for life. Free persons who shall'migrate
             into' the State may be seized and sold as runaway
             slaves; and if they'nmigrate out' of the State for
             more than ninety days, they can never return, under
             the same penalty." "A visit to relatives in another
             State may be called'migrating;' being taken up and
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             THE AMERICAN SLAVE CODE.
             detained by kidnappers over ninety days may be
             called'migrating."' (Ib., p. 68.)
             In all the seaport cities and towns of the slave
             States there are regulations forbidding masters of
             merchant-vessels to land any free colored person.
             And if any seaman, cook, or steward in such vessel
             be colorecd, he is immediately seized, (though a citizen
             of one of the free States,) and kept in jail at the
             expense of the ship, until she is ready to sail. This
             is a great grievance, not only to such colored seamen, but to the ship masters and
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             ship owners. It is
             also a direct and palpable violation of the Constitution of the United States.
             The Legislature of South Carolina, in Dec. 1822,
             by express statute, ordained the enforcement of this
             usage, by providing that, in case the ship master
             should refuse paying the expense of the seaman's
             imprisonment, he may be " indicted and fined not
             less than one thousand dollars, and imprisoned not
             less than two months, and such free negroes shall be
             sold as slaves. The Circuit Court of the United
             States adjudged the law unconstitutional and void.
             Yet nearly two years after this decision, four colored
             seamen were taken out of the English brig Marmion.
             England made a formal complaint to our Government. Mr. Wirt, the Attorney-
             general, gave the
             opinion that the law was unconstitutional. This, as
             well as the above-mentioned decision, excited strong
             indignation in South Carolina. Notwithstanding the
             decision, the law still remains in force." (Child's
             Appeal, p. 63.)
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             FREE PEOPLE OF COLOR.
             "North Carolina has made a law, subjecting any
             vessel with free colored persons on board to thirty
             days' quarantine, as if freedom were as bad as the
             cholera! Any person of color coming on shore from
             such vessels is seized and imprisoned till the vessel
             departs, and the captain is fined five hundred dollars; and if he refuse to take the
             colored seaman
             away, and pay the expenses of his imprisonment, he
             is fined five hundred more. If the sailor do not
             depart within ten days after the captain's refusal, he
             must be whipped thirty-nine lashes; and all colored
             persons, bond or free, who communicate with him,
             receive the same." (Ib., p. 69.)
             "In Georgia there is a similar enactment. The
             prohibition is, in both States, confined to mnerchantvessels; (it would be imprudent
             to meddle with vessels-ofwar;) and any person communicating with
             such seaman is whipped not exceeding thirty lashes.
             If the captain refuse to carry away seamen thus detained, and pay the expenses of
             their imprisonment,
             he is fined five hundred dollars, and also imprisoned
             not exceeding three months." (Ib.)
             The State of Massachusetts sent an agent to South
             Carolina, and another to Louisiana, to see what adjustment could be made of the
             difficulties growing
             out of these enactments. But they were both
             promptly ejected from those States, laden with insults, and gladly hastened their
             escape, to save their
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             lives!
             A most comprehensive class of oppressive enactments against the free people of
             color, are those
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             THE AMERICAN SLAVE CODE.
             designed and operating, directly or indirectly, TO
             DRIVE THEM OUT OF THE COUNTRY! Some of the
             enactments mentioned already, particularly those of
             Maryland, are known to have had this end in view,
             and to have been instigated by the leading influences
             seeking their expulsion to Africa!
             A favorite scheme of the Virginia slaveholders,
             at an early day, was to enlist Congress in the enterprise of colonizing the free blacks
             in Africa, for the
             better security of the slave system at home. Soon
             after the alarms of a suspected or attempted insurrection of slaves, the proposition
             was formally
             brought forward. It proved a failure; whereupon
             the leaders of the movement, members of Congress
             and others, organized the American Colonization
             Society, which has its auxiliaries in most of the
             States, North and South. At the North, it has been
             advocated as an ally of emancipation; at the South,
             as the grand conservator of the slave system; in
             both sections, it has infused the sentiment that there
             must or can be no emancipations, unless connected
             with transportation to Africa; that it is impossible
             for the colored race to enjoy the rights of freemen
             in this country; and that the whites and blacks cannot live together in peace, in the
             enjoyment of equal
             rights! Into the history or the merits of this Society we cannot here enter, any further
             than is
             necessary in order to understand the State legislation, Southern and Northern,
             designed to harass and
             oppress the free blacks, and drive them out of the
             country. The constitution of the Society restricts
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             FREE PEOPLE OF COLOR.
             it to the colonization of free colored people, with
             their own free consent. But it is a well-established
             fact, that many of its leading members have contemplated, whenever practicable, the
             employment of
             force. The reader is referred to Jay's "Inquiry"
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             for abundant evidence of this. And the same class
             of persons have been busily engaged in promoting
             legislation against the free people of color, both in
             the slave and the free States. On many occasions,
             the auxiliary Colonization Societies, their agents
             and their public speakers, have explicitly justified
             and sanctioned those oppressive enactments. And
             the official organ of the Parent Society (the African
             Repository) has given systematic circulation to those
             injurious and slanderous aspersions of this muchinjured class, upon which the
             legislative persecution
             of them has been based. (See Jay's Inquiry, p. 18,
             &c.) In the preceding chapter, we have quoted an
             instance of direct approbation of those laws by an
             auxiliary Society, and will here add one more. The
             New-York State Colonization Society, in a memorial
             to the State Legislature, said: "We do not ask that
             the provisions of our Constitution and Statute Book
             should be so modified as to RELIEVE AND EXALT
             the condition of the colored people whilst they remain with us. Let these provisions
             stand, IN ALL
             THEIR RIGOR, to work out the ultimate and unbounded good of this people!" That
             is, by compelling them to be colonized, or remain oppressed
             and degraded!
             In Connecticut, in 1833, the leading colonization
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             THE AMERICA SLAVE CODE.
             ists procured a legislative enactment against schools
             for colored pupils, avowedly for the purpose of
             breaking up the school of Miss Prudence Crandall,
             at Canterbury. Under that enactment she was prosecuted, and being unable to
             procure bail, was committed to prison, but was bailed out the next day.
             At her trial, before Judge Daggett, a verdict was
             given against her. "The cause was removed to the
             Court of Errors, where all the proceedings were set
             aside on technical grounds." Miss Crandall's school
             was afterwards broken up by a mob; and the gentleman who had been most active in
             procuring the
             passage of the "back act" against the education of
             free negroes (Mr. A. T. Judson) was appointed agent
             and orator of the Windham County Colonization
             Society. We record the facts, in evidence that enactments against the free people of
             color are not a
             dead letter, but are~ procured and sustained by the
             leading influences in the Church and the State, at
             the North and the South.
             In Philadelphia, in New-York city, and in other
             places, meetings of the Colonization Society, in which
             Doctors of Divinity, statesmen, and jurists have
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             declaimed vehemently against the free people of
             color, denied their right to a home in the land of
             their birth, and justified the oppressive statutes
             against them, have been immediately followed by
             frightful riots against the proscribed class, in which
             their dwellings have been demolished, their churches
             broken open and injured, their persons assaulted,
             and numbers of them, in one instance, killed! And
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             FREE PEOPLE OF COLOR.
             no legal protection nor redress has been extended to
             them! These scenes have been uniformly followed
             by special efforts to induce them to be colonized
             in Liberia "with their own free consent"!!!
             The Virginia and Maryland auxiliaries to the
             American Colonization Society have sought and obtained appropriations from the
             Legislatures of those
             States, under circumstances that virtually involved
             compulsion. The original bill (in the Virginia
             Legislature) making the appropriation "contained
             a clause for the compulsory transportation of free
             blacks." (Jay's Inq., p. 50.) On a motion to strike
             out the compulsory clause, MBr. Brodnox opposed it,
             saying: "IT IS IDLE TO TALK OF NOT RESORTING TO
             FORCE. Every body must look to the employment of
             force of some kind or other I If the free negroes are
             willing to go, they will go. If not willing, they must
             be oompelled to go. Some gentlemen think it politic
             not now to insert this feature in the bill, THOUGIH
             THEY PROCLAIM THEIR READINESS TO RESORT TO IT
             WHEN NECESSARY; they think that for a year or two
             a sufficient number will consent to go, AND THEN THE
             REST CAN BE COMlPELLED. For my part, I deem it
             better to approach the question at once, and settle it
             openly. The intelligent portion of the free negroes
             know very well what is going on. Will they not
             see that coercion is ultimately to be resorted to? I
             have already expressed my opinion that few, very
             few, will voluntarily consent to emigrate if no compulsory measures be adopted.
             Without it, you will
             still, no doubt, have applicants for removal, equal to
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             your means. Yes, Sir. People will not only consent,
             but beg you to deport them! But what sort of consent? A consent extorted by a
             species of oppression
             calculated to render their situation among us insuLpportable! Many of those who
             have been already
             sent off went with their avowed consent, but under
             the influence of a more decided compulsion than any
             which this bill holds out. I will not express in its
             fullest extent the idea I entertain of what has been
             done, or what enormities will be perpetrated to induce
             this class of persons to leave the State."
             Mr. B. proceeded to describe, at length, the process of obtaining "consent" by a
             series of "flagellations," and then said:
             "I have certainly heard (if incorrectly, the gentleman from Southampton will put me
             right) that all
             the large cargo of emigrants lately transported from
             that country to Liberia, all of whom professed to be
             willing to go, were rendered so by some such ministration as I have described."
             (Jay's Inq., pp. 50-1.)
             Mr. Fisher expressed similar sentiments. The
             compulsory clause was, however, stricken out. The
             result justified the prediction of Messrs. Brodnax
             and Fisher.
             "I warned the managers against this Virginia
             business," (said Rev. R. J. Breckenridge,) "and yet
             they sent out two ship-loads of vagabonds, not fit to
             go to such a place, and that were coerced away as
             truly as if it had been done by a cart-whip." (Speech
             before the Society. Jay's Inq., p. 51-2.) Dr. Breckenridge, it is believed, has since
             declared himself openly
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             FREE PEOPLE OF COLOR.
             in favor of compulsory colonization, with a view,
             perhaps, of avoiding the worse "enormities" described by Mr. Brodnax.
             The " Maryland Colonization Society" having, at
             length, (in 1841,) openly defined its position, we let
             it speak for itself, in its own language. We have
             the account from a Baltimore paper. The meeting
             was held in the Light Street Methodist Episcopal
             Church, Bishop WAUGH in the chair, and the meeting opened with prayer! The
             declaration is as follows:
             "That while it is most earnestly hoped that the
             free colored people of Maryland may see that their
             best and most permanent interests will be consulted
             by their emigration from this State; and while this
             Convention would deprecate any departure from the
             principle which makes colonization dependent upon
             the voluntary action of the free colored people themselves; yet if, regardless of what
             has been done to
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             provide them with an asylum, they continue to persist in remaining in Maryland, in
             the hope of enjoying here an equality of social and political rights,
             they ought to be solemnly WARNED that, in the
             opinion of this Convention, a day must arrive when
             circumstances that cannot be controlled, and which are
             now maturing, WILL DEPRIVE THEM OF TIHE
             FREEDOM OF CHOICE, and leave them no alternative but removal."
             And this is what is meant by colonizing the free
             people of color with their own consent! The Maryland Colonization Society, with a
             Bishop presiding,
             16*
             369


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             TIlE AMERICAN SLAVE CODE.
             and with its meeting opened by prayer, have openly
             taken a position that the Legislature of Virginia,
             from a remaining sense of decency, could not be
             persuaded to avow!
             A Florida slaveholder wrote "A Treatise on the
             Patriarchal System of Slavery," in which he says:
             "Colonization in Africa has been proposed to the
             free colored people, to forward which, a general system of persecution against them,
             upheld from the
             pulpit, has been legalized throughout the Southern
             States." (Jay's Inq., p. 49.) That "Florida slaveholder" (if we mistake not the person)
             has good
             cause to feel the injustice he describes. Hiis only
             heirs are "free people of color," his own children,
             for whom he has obtained an education among the
             abolitionists of the North! We see in this, one of
             the many ways in which the wrongs of the colored
             race are visited upon their white oppressors.
             The constitutions and statutes of free States debarring their free colored citizens
             from eligibility to
             office, and from equal access to the ballot-box, are
             among the most marked and mischievous specimens
             of injury to the colored race. It is this that sustains the slave States in their
             oppression of both the
             bond and the free. And of this iniquitous legislation at the North, the negro pew and
             the corresponding treatment of negroes in seminaries of learning
             controlled by the Church are the principal supports.
             A Legislative Committee, in the State of New-York,
             alleged this as the reason why the policy of the State
             could not be changed. Social customs, placing
             870


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             FREE PEOPLE OF COLOR.
             colored people out of the pale of refined society,
             come under the same censure. How much better,
             on the whole, are the PEOPLE than their LAWS,
             whether at the North or at the South?
             The picture presented in this chapter contrasts
             strikingly with the condition of the free people of
             color in the British West Indies before emancipation,
             and at the time it took place. That event, if we are
             rightly informed, found the free colored people in
             the enjoyment of civil and political rights, some of
             them editors of public journals, and holders of municipal office.
             But such a condition of things, it may be said,
             could not consist with the perpetuity of West Indian
             slavery, and may account for its termination. Be it
             so. Our slaveholders undoubtedly think so. The
             whole system of persecuting and of attempting to
             drive away the free people of color to Africa, has
             its origin in this apprehension. The main object is
             the perpetuity of slavery. The fugitive slave bill is
             chiefly designed and relied upon to frighten the free
             colored people of thefree States out of the country! This
             is its chief power!
             The "innocent legal relation of slave ownership"
             comes in again here, as the responsible parent of all
             the oppressive enactments recorded in this chapter.
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             CHAPTER II.
             LIBERTIES OF THE WHITE PEOPLE OF THE SLAVE HOLDING STATES.
             The White People of the Slaveholding States, whether Slaveholders or Non
             slaveholders, are deprived, by the Slave Code, of some of their essential rights,
             and cannot be regarded as a people in possession of civil, religious, and
             political Freedom.
             THE usages of human chattelhood cannot be tolerated in any community without
             impairing the
             freedom and invading the rights of every member of
             that community, whether slaveholder or non-slaveholder. The fact of tolerated
             human chattelhood is
             the fact of constantly violated natural law, which lies
             at the basis of all law, the guardian of every man's
             rights. In the very act of claiming a slave, a man
             denies all rights of property, by denying the inherent
             right of self-ownership in all men, upon which right
             all other rights are based. All rights of personal
             security are denied by the same claim. Wherever
             "the innocent legal relation" of slave ownership is
             witnessed and is tolerated, there is witnessed the

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             public and deliberate denfal of all that which forms
             the basis of human laws, and upon which all legis


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             LIBERTY AT THE SOUTH.
             lative enactments for the protection of human rights
             must repose.
             One necessary consequence must be, that in adjusting the legislation and the
             jurisprudence of a country
             to the public recognition of human chattelhood, the
             adjustment must inevitably trench upon the rights
             of all other men, as well as upon the rights of the
             enslaved. This may seem to some a mere abstract
             speculation, but a few familiar instances will make
             the case clear.
             We will take, in the first place, the case of the
             slaveholder himself. Assuredly, it will be said, the
             slaveholder is sufficiently free! Let us examine.
             To be a despot is a very different thing from being
             free.
             Hiere is a slaveholder who, as a thrifty manager
             of his own property, wishes to make the best and
             most economical use of his slave property, according
             to his own best discretion. Can he do so? Here
             is Tom, a shrewd, intelligent, trustworthy fellow,
             whom he would gladly make "overseer" of his plantation, as is indeed sometimes
             done. HIe wishes to
             send Tom to market frequently with his produce,
             and to buy goods. It would be very convenient to
             have Tom read, write, and "cipher," which "the
             law" will not allow! And here comes the new law,
             requiring each planter to keep "at least one" whit
             man on the plantation, (under pretense that a white
             witness must be there.) This one white man must,
             of course, do something to pay his way. What can it
             be but to act as overseer, in which double capacity,
             873


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             THtE AMERICAN SLAVE CODE.
             if need be, he can bear witness against himself or his
             employer! So Tom, in whom his master reposes more
             confidence, must sink back into the station of a mere
             field hand.
             HIere is a waiting-maid, discreet and pious; or
             here is a nurse, whom all her owner's children call
             "Mammy." A little knowledge of letters would
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             qualify one or both of them to teach the little white
             masters and misses their alphabet. Is it too much
             to suppose that there is, in all the slaveholding
             South, one "good Christian slaveholder" (so called)
             who has good sense and humanity enough to desire
             such an arrangement? [If there is not, let "the innocent legal relation" be called to
             account for it.]
             If there be such an one, where is the legal protection
             of his right to select a teacher of the alphabet to his
             own children? In Louisiana, he would be subject
             to one year's imprisonment for teaching such a slave
             to read! IHe enjoys liberty, does he?
             But here is a master whose aspirations for freedom
             are less sublimated. IHe only wishes to make money
             by slaveholding. And the best way, he thinks-especially as he has not the land for
             them to cultivate,
             or does not choose the vexation of attending to that
             business —is to let them I' hire out" in the neighboring borough, where their labor,
             at various jobs, is
             much wanted by the white citizens. A "peculium"
             of their earnings would greatly stimulate their exertions. But the Slave Code forbids
             it! And it forbids
             the white citizens of the borough, including slave
             owners, to employ them. This is liberty for white
             874


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             LIBERTY AT THE SOUTH.
             people! Forbidden to hire their work done for
             them! They will be likely, in such an exigency, to
             discover that there is "a higher law " than the Slave
             Code!
             Look next at the enactments forbidding emancipation on the soil, or obstructing or
             forbidding it
             altogether. Those slaveholding Quakers in North
             Carolina that emancipated 134 slaves in 1776, only
             to see them reenslaved!-where were their rights?
             They forfeited them, perhaps, by turning abolitionists. t
             Look then at the dying Thomas Jefferson, the
             penman of the declaration that " all men are created
             equal," now penning a clause of his last will and
             testament, conferring freedom (as common report
             says) on his own enslaved offspring, so far as the
             Slave Code permitted him to do it, supplying the
             lack of power by "humbly " imploring the Legislature of Virginia to confirm the
             bequests, " with permission to remain in the State, where their families
             and connections are "-then dying, under the uncertainty whether his requests would
             be granted or his
             children sold into the rice swamps! One of his
             daughters, it seems, was afterwards sold at auction
             in New-Orleans, at the hare?n tpriceI And his
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             granddaughter was colonized to Liberia- "coerced"
             perhaps by the "cart-whip!" A land of liberty for
             white people - for slaveholders, is it - where a
             Jefferson cannot bequeath liberty to his own children!
             In Georgia, had he lived and died there, the "at temp t" would have been an
             "offense," for which his
             375


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             THE AMERICAN SLAVE CODE.
             estate would have been subjected to a fine of a thousand dollars, and each of his
             executors, if accepting
             the trust, a thousand more!
             The "Florida slaveholder" before mentioned, with
             his princely fortune, his educated and accomplished
             heirs, the children of his parental affection, HIs
             ONLY ones, but —under the "persecuting" ban of
             the "Colonization Society," " the pulpit," (Northern
             and Southern,) and the "legislation " approved by
             them-outcasts, unable to testify in a Court, against
             a white man; liable to be colonized to Liberia under
             force of "flagellations " and untold " enormities;" or
             even to be kidnapped and enslaved!-the Florida
             slaveholder, we say, with such a family around his
             board, presents another specimen of the liberty and
             human right senjoyed by the slaveholder! By no
             means so rare a case as the Northern reader would,
             perhlaps, imagine.
             Nor is it on the plantation alone that such cases
             occur. We remember a thrifty mechanic in a
             Southern city, who acquired a comfortable estate, and
             lived more elegantly than mechanics in Southern
             cities commonly do. He owned several slaves.
             But his family was of the mixed race. Hie lived
             with a quadroon woman, without marriage, of course,
             for the laws would not permit it. HIis daughters
             were elegant, beautiful, and nearly white. They
             were free, as was also their mother; but they were
             subject to the vexations that harass "free people of
             color." The father sought for them respectable connections in life, and nothing but
             the laws forbidding
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             LIBERTY AT THIE SOUTH.
             such marriages stood in the way; for they were
             much admired, members of the Methodist Episcopal
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             Church, and one of them was loved and wooed by a
             white member of the same church, and a slaveholder;
             but the law stood in the way of their marriage! She
             might have become his mistress without fear of the
             law, and almost, perhaps, without scandal. Whether
             she afterwards did so, we cannot tell. We call attention to the legal rights, NOT of
             slaves, but of slavehoZders, to the holy institution of marriage, and to
             the sanctities of the family relation.
             Having broached the "delicate subject," we will
             venture one other illustration. A young man, a
             son of a slaveholder, a graduate of one of our Northern colleges, became enamored,
             on his return home,
             of a beautiful girl, nearly white, who was the property
             of his father. She had been piously educated, and
             had become a member of a church. The young
             man, too, had made a profession of religion at the
             North. They had played together in childhood, and
             were affectionately attached to each other. An illicit
             or secret connection was not to be contemplated.
             But she was a slave; and whether bond or free,
             she Rould not legally be married to a white man!
             What could be done? If they eloped without her
             owner's consent, the slave-catchers and their blood hounds might be after them. If
             his consent and her
             free papers could be obtained, where should they go?
             Not to the "free North," for the exquisite curl of her
             hair, so lovely in his eyes would attract the attention
             and the obloquy of the children of the Puritans.
             877


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             THE AMERICAN SLAVE CODE.
             The sequel we cannot tell, further than that the
             young man took an exploring voyage to the West
             Indies, and was said to have returned. Whether
             they emigrated and were married, or whether, re maining in' this "free Christian
             country," they fell
             into the current of prevailing usages around them,
             we cannot tell. The imagination of a Mrs. Harriet
             Beecher Stowe may fill up the picture-a subject
             worthy of her pencil.
             Are we dealing in romance? Come, then, and we
             will introduce you to a Vice-President of the United
             States-a very singular man, to be sure, though not
             singular in being a slaveholder, nor singular in having beautiful colored daughters,
             to be sought after
             (in some sort) by white gentlemen; but singular in
             giving his colored daughters a good education, attending them in public as a father,
             and insisting that
             whoever admired and sought them should do so
             only in the way of honorable marriage! The singularity of Colonel Richard M.
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             Johnson attracted
             the nation's attention. He was so very singular as to
             treat the mother of his colored daughters as though
             she were his wife, to give her the charge of his
             household, a seat by his side at his table, addressing
             her as "Mrs. Johnson"-to do all this, instead of
             selling her in the market, as some other great statesmen have sold the mothers of
             their colored children.
             When "Mrs. Johnson" became religious and wished
             to unite with the church, the good minister felt it
             his duty to tell her that there was an obstacle in
             the way-the scandal of her living as she did with
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             LIBERTY AT THE SOUTH.
             Colonel Johnson. She immediately communicated
             the fact to the Colonel. "' You know, my dear," said
             he, "I have always been ready to marry you, whenever it could be done. I am ready
             now, and will
             call on your minister about it." Hie did so, and requested the minister to marry them,
             after explaining
             the facts of the case. The good minister was now
             in a worse dilemma than before! What! marry
             Colonel Johnson to a colored woman! What could
             he say? Hie could only say that the law would not
             permit such a marriage. "Very well," retorted Colonel Johnson, (who was not a
             Christian,) "if your
             Christian law of marriage will not permit me to
             marry the woman of my choice, nor permit her to
             marry the man of her choice, it must even permit
             us to live together without marriage." So saying, he
             walked away, and that was the last that was said
             about the marriage. Whether the lady was received
             into the church, we cannot tell.
             Before the outbreak of the anti-abolition excitement, and the consequent clamor
             about amalgation,
             an agent of the New-York State Temperance Society
             (Rev. Mr. Yale) was sent to New Orleans to promote
             the cause of temperance. iHe wrote from thence a
             letter, published in an Albany religious paper, containing a graphic picture of the
             state of morals and
             of society in that city. The cause of temperance
             could make little progress there without a reformation in other respects: the
             uprooting of habits of
             licentiousness, the restoration of the family institution; but ths can never be, he
             continued, until the
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             THE AMERICAN SLAVE CODE.
             laws are repealed which forbid the intermarriage of
             the white and colored races. A large portion of the
             people are of the mixed blood. The women of this
             class are accounted elegant and beautiful. Many of
             the first gentlemen of New-Orleans will live with
             them, whether with or without marriage; the conse sequence of which is a general
             depravity of morals.
             It is needless to say that the picture is truthful,
             and that its truthfulness is not confined to New Orleans. One iron link in the chain
             of the slave is
             the denial to him of the rights of the family relation,
             and of freedom of choice in marriage. But this
             badge of slavery we have found upon the neck of
             the slaveholder. In denying free marriage to his
             colored brother, the white man has denied the same
             right to himself!
             We cannot dismiss this branch of the subject
             without a further remark. When we contemplate
             the vast and rapidly increasing extent of intermixture between the races; when we
             remember
             that "the noblest blood of Virginia" and of all the
             slave States "runs in the veins of slaves," and is still
             more widely diffused among the so-called "free
             people of color;" and when we remember the legalized
             persecutions, inflictions, and liabilities to which even
             this latter class are found subject-hunted back into
             slavery, or driven as exiles from the country of their
             birth- we are shut up to one of two conclusions:
             Either the Southern slaveholders must be almost
             universally the most heartless, barbarous, and brutal
             people on the face of the earth, or else there must
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             LIBERTY AT THE SOUTH.
             be thiousands of slaveholders whose hearts are wrung
             daily with anguish, at the thought of the murderous
             injustice done by the slave laws to their relations and
             kindred —to their children, to their sisters, to their
             brothers, to their nephews, to their nieces, to their
             cousins-for of such are a large portion of the slaves
             and free colored people composed!
             We take the most charitable supposition, and conclude that the same cruel laws that
             wear out the
             lives of tile proscribed race, are oppressive likewise
             to a large class of slaveholders, who see their near
             kindred crushed and murdered continually by them.
             If this is not so, then the pretense of "humane
             and Christian slaveholders " is all a delusion! If it
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             is not so, then the slave system has extinguished
             human nature and religion at the South.
             If slavehiolders are not tfiemselves oppressed by the
             Slave Code, it can only be because they have become
             monsters who have no sensibilities to be lacerated,
             no hearts capable of compassion, no unseated consciences to be outraged. WVe
             should be sorry to
             think thus of the majority of them.
             The same may be said of the operation of those
             laws and usages of slavery that forbid the education,
             religious instruction, and free social worship of the
             slaves and so-called free people of color. The pious
             white people of the South, the ministers of religion,
             churches, and church members, are either aggrieved
             and oppressed by these enactments and usages, or
             else they are not. On thie latter supposition, we are
             presented with a Church and ministry disregardful of
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             THE AMERICAN SLAVE CODE.
             their high mission, and well-nigh apostate. On the
             former, we see a Church and ministry under the ban
             of persecution, and crippled in their operations by
             the strong arm of despotic power.
             Under laws by which colored Methodists, Baptists,
             and Presbyterians are forbidden the free exercise of
             religion and religious worship, we are warranted in
             assuming that white Methodists, Baptists, and Presbyterians feel themselves insulted
             and aggrieved;
             that when they see them dragged from the house of
             prayer (or on their return home) to the watch-house,
             or writhing under the lash awarded by law for the
             offense, they sympathize with them under their persec?tions, and feel themselves, in
             the persons of their
             brethren and sisters, under the same ban. Or else,
             if it be not so, we are compelled to regard them as
             virtually consenting to the persecution of their
             brethren. We should be sorry to think thus of ALL
             the white Methodists, Baptists, and Presbyterians of
             the South. And consequently we are compelled to
             consider the better portion of them under persecution along with their colored
             brethren.
             If there be any thing that Christianity enjoins on
             her disciples-if there be any thing in which they
             are engaged if there be any thing from which they
             cannot, without the strong arm of persecution, be
             driven; it is the free assembling of themselves together for social worship and
             consultation, for mutual
             instruction and united prayer; and especially the
             communication of religious knowledge to others,
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             and promoting the circulation and reading of the
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             LIBERTY AT THE SOUTH.
             Holy Scriptures among them. If there are professors
             of the Christian religion who do not feel themselves
             aggrieved and persecuted under enactments or usages
             which restrain or forbid these, we need not be at any
             great doubt where to classify them.
             Religious white people, at the South, are either in
             unity with persecutors, or else they are under persecution themselves.
             Where were the religious liberties of that Methodist
             Home Mission Society whose missionaries among the
             colored people, Messrs. Wightman and Turpin, were
             driven from the missionary field in South Carolina,
             in 1838, as related in a previous chapter?
             What were the religious liberties of those white
             Christians in Charleston, (S. C.,) in 1818, who established a Sabbath-school for the
             instruction of colored
             children, and then were forbidden (under penalty of
             fines, imprisonment, and the infliction of "twentynine lashes") from teaching them?
             What is religious liberty in New-Orleans?
             From the New-Orleans Picayune, Aug. 16, 1841:
             "Chauncey B. Blake was brought before Recorder
             Baldwin, charged with tampering with slaves. It
             was proved that he was seen conversing with a
             number of them in the street; that he asked them if
             they could read and write, and if they would lice to
             have a Bible. This was the amount of the testimony
             against him. In palliation of his conduct, it was
             shown that he was a regular appointed agent of the
             Bible Society in New-Orleans, to distribute the Bible
             to such as would accept of it. The Society, however,
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             disclai?med having the most distant intention of giving
             the Scriptures to slaves, and it was said Blake had
             exceeded his commission in offering it. But as it
             appeared to be a misunderstanding on his part, and
             not intentional interference, he was discharged with
             a caution not to repeat his offense." (Furnished by
             Judge Jay.)
             What is civil, religious, or political liberty; or
             where is the independence of the judiciary under
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             enactments like the following?
             Louisiana.-" If any person shall use any language
             from the BAR, BENCH, STAGE, PULPIT, or in any
             OTHER place, or hold any CONVERSATION having a
             TENDENCY to promote discontent among free colored
             people, or insubordination among slaves, he may be
             imprisoned at hard labor not less than three nor
             more than twenty-one years; or he may suffer death,
             at the discretion of the Court." (Child's Appeal, p.
             71. See also Kent's Commentaries, vol. II., part IV.,
             p. 268, Note.)
             The lawyer cannot effectively plead the cause of a
             negro claiming his liberty; the judge, in charging
             the jury, or in giving his judicial decision, cannot
             repeat the common law maxims of Blackstone,
             Littleton, Coke, and Fortescue, appropriate to the
             case; the actor of a drama cannot repeat the best
             passages in Shakspeare; the minister of the gospel
             cannot use the language of Bishop Porteus, of John
             Wesley, of Jonathan Edwards; nay, of St. James
             or Isaiah, without incurring the hazards of a condemnation under this statute I When
             one reads the
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             LIBERTY AT THE SOUTH.
             labored " opinions" of Judge Ruffin and others, in
             Wheeler's Law of Slavery, where the man is seen
             struggling with the juctdge, and a strong sense of the
             wrong of slavery betrays itself amid forced apologies
             and decisions in its favor, it is difficult to resist the
             impression that the intelligent judge is hiimself under
             the yoke of bondage to such statutes as the preceding, or to the proscriptive temper
             that gave rise
             to them. The same may be said of such self-contradictory clergymen as Dr. Fuller
             and others, who, on
             the slave question, cannot conceal their knowledge of
             anti-slavery truth, nor theirfear of giving it expression. There is no freedom of
             speech nor of the
             press on this subject in the slave States.
             "In Mississippi, a white man who prints or circulates doctrines, sentiments, advice,
             or inuendoes,
             LIKELY to produce discontent among the colored
             class, is fined from one hundred to a thousand dollars, and imprisoned from three to
             twelve months."
             (Child's Appeal, p. 71.)
             "In North Carolina,'for publishing or circulating
             any pamphlet or paper having an evident tendency
             to excite slaves or free persons of color to insurrection or resistance,' the law
             provides imprisonment
             not less than one year, andl standing in the pillory
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             and whipping, at the discretion of the Court, for the
             first offense, and DEATH for the second." (Ib., p. 67.)
             "In Georgia, the same without any reservation."
             (t.)
             "In Virginia, the first offense is punished with
             thirty-nine lashes, and the second with death." (lb.)
             17
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             THE AMERICAN SLAVE CODE.
             Mr. Preston, Senator in Congress, declared, in his
             place in that body, that any person uttering abolition
             sentiments at the South would be hanged.
             WVhat liberty, then, is there for white people at the
             South? And who knows how much would be said
             there against slavery if the people dared to speak
             their thoughts? Let us not rashly and too severely
             condemn the entire South. The white people there
             do not enjoy freedom. They share deeply in the
             bondage of the blacks!
             "Abolition editors, in slave States, will not dare
             avow their opinions." (M.issouriArgus.)
             Perhaps the editor of the Argus dares not avow
             his. Perhaps he penned this very sentence to allay
             suspicions, and save his own life.
             A Southern member of Congress was not restrained
             by manly independence, or by any sense of shame
             for the lack of it, to avow his fears of punishment
             under such laws as have been quoted. An editor
             of a Northern paper, " The Friend of Man," at
             Utica, N. Y., published Mr. Pinckney's Report in
             thie House of Representatives, on a subject involving
             the slave question, and to the Report he appended a
             review of its positions. He sent some spare copies
             to members of Congress at Washington City, among
             whom was Hon. Adam Huntsman, of Tennessee,
             who soon after wrote a letter to the editor, requesting him not to send him any such
             paper (opposed
             to slavery) after he should have returned to Tennessee,
             lest the bare reception and use of it should subject
             him to "an infamous punishment —a penitentiary
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             LIBERTY AT THE SOUTH.
             offense of five years' confinement!" The request
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             was of course complied with, and the legislator remained unharmed.
             Where are the liberties of the citizens of the slave
             States, when forbidden to "trade, barter, or commerce" with one third, one half, or
             two thirds of the
             inhabitants-forbidden to obey God by hiding the
             outcasts- forbidden to "entertain strangers," to
             "give food to the hungry" forbidden to convey
             their persecuted neighbors to a home of securityforbidden to ease their tortures by
             striking off their
             pronged iron collars from their necks? Who will
             slander the South by saying that none of its white
             citizens feel themselves injured, crushed, persecuted,
             and wronged by enactments like these? Or can a
             people be said to enjoy liberty and security who live
             under such a code as this?
             There can be no liberty where there is no security,
             no protection, no law. And in the presence of such
             despotic power as that of the slaveholder, there can
             remain very little of these. A general spirit of lawlessness pervades the slave States.
             As to the non-slaveholding whites in the slave
             States, they are, as a class, and with few exceptions,
             in an abject and degraded condition. A large portion of them are uneducated and
             poor. In the
             presence of slave labor, and with the soil in the
             hands of slaveholders, there is little of lucrative
             labor within their reach. And labor is there a badge
             of disgrace, assimilating them with the slaves. It is
             not strange that large numbers of them become im
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             THE AMERICAN SLAVE CODE.
             provident and idle. Mechanics, including some from
             the North, constitute, to a considerable extent, an
             exception to these remarks. Even these are looked
             down upon by the slaveholding planters, who have
             contrived to monopolize and wield nearly all the
             political power.
             On the whole, it cannot with propriety be said
             that civil, religious, and political liberty exist in the
             slaveholding States. Nor can they exist there, so
             long as "the legal relation of owner and slave" remains. That relation blights and
             destroys all the
             natural and heaven-established relations of life.
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             CHAPTER III.
             LIBERTIES OF THE WHITE PEOPLE OF THE NON SLAVEHOLDING
             STATES.
             The Rights of the White People of the Non-slaveholding States are directly
             and indirectly invaded by the Slave Code of the Slave States. Their Liberties,
             to a great extent, have already fallen a sacrifice, and can never be secure
             while Slaveholding continues.
             WE open, here, upon a wider field than our limits
             will permit us to explore as its importance demands.
             The entire political history of the country, which
             might occupy volumes, demands attention under
             this head. But we must pass it by, only asking of
             the reader that he examine it at his leisure.*
             The topics of the last preceding chapter might,
             for the most part, be introduced here again. The
             white people of the North and of the South suffer,
             in common, many of the heavy inflictions of the
             slave master's lash. If the stroke fall less heavily
             upon the citizens of the free States, it nevertheless
             falls, and none the less really because, from stupidity
             induced by long-standing habit, a callous insensibility
             * Some sketches and outlines of this history may be found in
             the Author's "Slavery and Anti-Slavery, a History," &c.


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             THE Al:ERICAN SLAVE CODE.
             indicates that it is scarcely felt or perceived. In no
             other way did ever a people, once free, submit to
             part with their freedom. "A people," says MIontesquieu, "may lose their liberties in
             a day, and not
             miss them for a century." Thus it was with the
             Romans, who, under the reign of the tyrant Nero,
             had not ceased boasting of their liberties!
             So closely connected are the people of the free
             and of the slave States, that whatever affects the latter can scarcely fail to affect the
             former.
             If the spectacle of human beings bereft of selfownership and the rights of property is
             found to undermine the foundations of personal security and the
             rights of property at the South, they cannot remain
             perfectly stable at the North.
             If brutal inflictions on the slaves beget brutal assaults and encounters between
             Southern gentlemen,
             the contamination Of the bad example cannot but
             have its effect at the North.
             If slave labor at the South makes manual labor a
             badge of degradation there, such labor will become
             less respectable in the free States.
             If the whites of the South submit to the tyranny
             that forbids them to hold "commerce, trade, or barter" with one half of their
             neighbors, the moneymaking traffickers of the North will scarcely think
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             of the indignity or the immense losses they suffer,
             in being shut out by the Slave Code from their
             natural and political right of commerce with millions
             of their fellow-countrymen.
             If the people of the South become debased and
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             LIBERTY AT THE NORTH.
             servile, by submitting to the loss of freedom of
             speech and of the press, those inestimable rights
             will become less prized at the North, and the natural
             attempts of slaveholders to extend this feature of
             their sway over the North will not lack for auxiliaries among editors, politicians,
             statesmen, lawyers,
             judges, and ministers of religion, in close affinity
             with those slaveholders at the North.
             If the whites of the South submit to enactments
             which forbid them to relieve the suffering, to feed
             the hungry, to shelter the outcasts, to perform the
             common offices of humanity to those most in need
             of them, the same ignoble and unmanly servility
             will be likely to manifest itself at the North, until
             the despots of the South become emboldened to
             enact statutes for extending this feature of their sway
             over the entire country.
             If churches, church members and ministers of religion at the South (either as
             persecutors or as persecuted) submit to arrangements by which the rights
             of free social worship, religious instruction, and missionary labor (including the
             distribution of Bibles
             and the teaching of the people to read) are forbidden
             and suppressed, the churches, churclt members and
             ministers of the North connected with them, will be
             exposed to similar indignities, temptations, and derelictions. And by this process it
             may come to pass
             that, while compassing sea and land to convert the
             heathen abroad, and give to every family on the
             earth a Bible, and teach them to read it in Sabbathschools, admonishing their
             missionaries not to heed
             391


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             THE AMERICAN SLAVE CODE.
             the prohibitory decrees of civil governments, they
             may, nevertheless, be among the first to cry out
             against the application of their own doctrine to the
             heathen of Amnerica, made such by the slave codes
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             of the South.
             And, finally, if the non-slaveholding whites of the
             South submit to be shorn of their political power,
             and despoiled of their civil liberties and political
             rights, the non-slaveholding whites of the North,
             equally contemned by the same oligarchy of slaveholders, will be likely to imbibe
             the same spirit of
             pusillanimous submission, to sink into the same
             degradation, and share the same fate.
             The intelligent reader need not be told that such,
             indeed, are the facts of the case, as already developed
             and incorporated into the history of the country.
             WVe need not and cannot enter here into the details;
             nor is it necessary to cite authorities in proof. Whoever has been on the stage of
             action in this country,
             and a reader of the public journals for the last
             twenty years, will be at no loss for the particulars
             to which we refer.
             W,hat has been now witnessed was matter of intelligent anticipation and prediction
             before it took
             place. Though the climax of disgrace and ruin has
             not yet been reached, and may yet be averted by
             prompt efforts, yet we have come sufficiently near
             the precipice to recognize the truthfulness of the
             picture drawn, long since, of the gulf below, by one
             of our most eminent statesmen. In the House of
             Delegates of Maryland, in 1789, WVILLIAZM PINCK
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             LIBERTY AT THE NORTH.
             NEY (a member of the Convention that had just
             drafted the Federal Constitution) held the following
             remarkable language:
             "I have no hope that the stream of general liberty
             will flow for ever unpolluted through the mire of
             partial bondage, or that those who have been habituated to lord it over others will
             not, in time, become
             base enough to let others lord it over them. If they
             resist, it will be thie struggle of pride and selfishness,
             not of principle."
             If the relation of slave owner and slave is to be
             continued, all this may be expected to follow, as the
             natural if not necessary result. By reverting again
             to the facts presented in the latter part of our chapter on the " origin of the relation
             and its subjects,"
             it will be seen that the process of enslaving white
             people has already commenced, and is making steady
             and rapid progress, with the prospect (according to
             Henry Clay) of becoming prevalent a few generations hence, when the slavery and
             the existence of
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             the black race shall have ceased.
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             CONCLUDING CHAPTER.
             Summary Review of the Slave Code-Its Character and Effects-Inquiries
             concerning the Duties of Christians, Churches, and Ministers-the Responsi bilities
             of Citizens, of Society, of Civil Government, of Legislators and
             Magistrates-Scrutiny of the Legality of American Slavery-The Heaven prescribed
             Remedy-The Worthlessness of Temporizing Substitutes-Closing
             Appeal.
             IF the reader has attentively considered the preceding pages, he will now be able to
             pass an intelligent judgment upon the character of the Slave Code,
             and of the practice of slaveholdiny, protected and
             defined by it. The so-called " legal relation of mvaster
             and slave" he will have found to be the relation of
             an owner to a human chattel, body and soul. The
             verity and the efficacy of this monstrous claim he
             will have traced in each successive chapter and topic
             of the entire treatise. He will have witnessed the
             legitimate workings of this claim in the connected
             incidents of slave traffic, seizure of slave property
             for debt, inheritance and division of slave property,
             and uses of slave property. Hie will have seen that
             in the presence of this claim slaves can possess
             nothing, can make no contract, can neither enter
             into the marriage relation, nor discharge the duties,
             nor claim the rights, nor share the sanctities of the


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             CONCLUDING CHAPTER.
             family relation. He will have observed how this
             claim of absolute proprietorship in the slave involves
             the claim and virtually secures the exercise of unlimited and irresponsible authority
             on the part of
             the "owner;" the enforcement of his labor without
             wages; the direction of his food, clothing, and shelter; the infliction of discretionary
             punishment upon
             him, virtually amounting (in consequence of the incompetency of colored witnesses)
             to the power of
             life and death over him. This despotic power of the
             "owners" he will have seen delegated to overseers
             or agents, and shared by the members of their families. The same relation of slave
             ownership he will
             have seen substituting the legal protection of slave
             property for the personal protection of the slaves,
             leaving them exposed to the most frightful barbarities, without the right of self-
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             protection, or the means
             of redress by a suit against the "owner;" without
             power of self-redemption, or even a change of masters. This "relation," hereditary
             and perpetual, he
             has found to include the most crushing spiritual
             despotism over the rights of conscience ever claimed
             by man on the face of the earth; and he has seen it
             hunting its fugitive victims as if they were brute
             beasts. This "relation," as thus developed and sys tematized, he has found to have
             been originated by
             the piratical African slave-trade, as commenced by
             the infamous John Hawkins, yet extending itself
             over Indians and white persons, and fostering in the
             heart of our boasted republic a slave-trade more
             demoralizing than that on the African coast.
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             THE AMERICAN SLAVE CODE.
             This so called "legal relation," as thus defined and
             described, he will have found to be the very same
             that is daily declared to be a blameless and innocent
             one, involving no guilt in those who "hold" and
             "sustain" it.
             The attentive reader has furtMzer seen how this
             "relation" of slave ownership has shaped and determined the "relation" of the slave
             to society and to
             civil government; how it bars his access to the judi
             ciary, denying his capacity to be a party to a civil
             suit; how it bids the Courts reject the testimony not
             only of slaves, but of free colored persons; how it
             enforces the subjection of slaves not only to their
             "owners" and overseers, but to all other white persons; how it frames and executes
             unjust and inhuman penal enactments against the slaves; how it
             forbids their education, their religious instruction
             and free social worship; and, finally, how it interposes obstacles to manumissions by
             the master, and
             to acts of emancipation by the State.
             The same "relation" of slave ownership he has
             found waging successful warfare upon the liberties
             of the free, degrading the free people of color, and
             dragging them back into chattelhood; despoiling
             the free whites of the South, not excepting slaveholders themselves, of some of the
             essential rights
             of humanity, freedom of speech and of the press,
             the right of propagating true religion, and of reducing it to practice by deeds of
             justice and mercy
             to the oppressed; extending the same iron sway
             over the free citizens of the North, and bidding the
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             CONCLUDING CHAPTER.
             sons of the Pilgrims dishonor their sires, by joining
             in the hunt after fugitive slaves.
             All this the attentive readers of the preceding
             pages have witnessed. The writer will not insult
             them by asking them whether they consider such a
             "relation," with such a paternity, with such a character, and with such fruits, an
             innocent one, reposing
             upon the foundation of apostles and patriarchs, the
             Bible its charter, the Founder of Christianity its chief
             corner-stone! But he wishes to propound to them,
             for their consideration and decision, a few plain and
             important practical questions.
             Is it not high time that the churches of this country, of all sects, their members and
             ministry, were
             purged from the sin of slaveholding, and from the
             taint of religious fraternity with slaveholders?
             If this system and sum of abominations is to be
             tolerated in the Church, what description of practices, what crimes should be
             excluded from her pale
             and debarred from her communion? Is it theft? Is
             it robbery? Is it cruelty? Is it murder? Is it man stealing? Is it extortion? Is it
             adultery? Is it
             bloody persecution? Is it using a neighbor's service
             without wages, and giving him naught for his work?
             Is it violence? Is it fraud? Is it despising the
             poor? Is it taking away the key of knowledge?
             Is it proscribing Bibles, and forbidding free religious
             worship? Is it upholding, abetting, and sustaining
             all these combined?
             If these are to be excluded from religious com munion and fellowship, must not the
             so-called "legal
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             THE AMERICAN SLAVE CODE.
             relation of master and slave" be excluded likewise,
             by excluding those who resolutely persist in sustain ing it? Can the forrner be done
             without doing the
             latter? And if it be left undone, what must become
             of the Church? Will not the salt lose its savor?
             And what will it then be good for, but to be cast out
             and trodden under foot of men? Is there nothing
             in the signs of the times that gives significance to
             these questions? How long shall infidelitv be armed
             with the most powerful of all weapons against the
             Bible and Christianity, against the Ministry and the
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             Church?
             If the reader be a Christian, will not his regard for
             Christianity suggest to him the proper answer to
             these inquiries? And if he be not a Christian, would
             lie not, nevertheless, desire to see the most potent of
             all social influences-that of the prevailing religion
             of the country-arrayed against this stupendous system of inhumanity and wrong?
             If the Saviour of men was manifested " that he
             might destroy the works" of the Devil, and "proclaim
             deliverance to the captives;" if his disciples are his
             witnesses, and engaged in the prosecution of his work,
             are they not bound to "have no fellowship with the
             works of darkness, but rather reprove them?" Especially, are not his ministers bound
             to "cry aloud
             and spare not; to lift up their voice like a trumpet;
             to show the people their transgression, and the house
             of Jacob their sin?" If such an iniquity as the holding of humanity in chattelhood
             may escape their
             rebukes, what form of wickedness may not claim
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             CONCLUDING CHAPTER.
             equal exemption? What commandment of the law,
             what precept of the gospel, what principle of the
             Christian theology is not set at naught by the enslaver? WVhat meaning can there be
             in the words
             justicc or mercy, what significance in the doctrine of
             human brotherhood, or what force in the precepts,
             "Love thy neighbor as thyself," " Remember them
             that are in bonds, as bound with them," and "Go teach
             all nations," if the practice of enslaving immortal
             men, for whom Christ died, and of whose nature he
             is partaker, is not to be condemned; if the cause of
             the slave is not to be vindicated; if the oppressor is
             not to be called to repentance; if his victim is not to
             be taught and disenthralled?
             Is it not mockery to pray, "Thy kingdom come,"
             and yet neglect engaging in labors like these? If
             the work of elevating depressed humanity be Christ's
             work, should not the "undoing of the heavy burthens," and "letting the oppressed go
             free," be the
             work of Christians, the mission of the Church of
             Christ?
             Turning next to the responsibilities of citizens, of
             society, of civil government, of legislators, and of
             magistrates, we demand whether the crime of enslaving and embruting a human
             being ought not to be
             promptly and vigorously suppressed by the strong
             arm of penal law? If not, what crime or what outrage against humanity ought to be
             thus suppressed?
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             Shall a man be punished for stealing an ox, or for
             knowingly receiving, appropriating, and using a
             stolen ox, and yet be suffered with impunity to steal
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             THiE AMERICAN SLAVE CODE.
             or receive, appropriate and use a stolen man? Will
             the law pretend to protect my rights of property, and
             yet refuse to protect my personal right to mnyself? By
             what authority, by what rule, on what principle, with
             what consistency, and with what ultimate success,
             will the law, or the administrators and expounders
             of law, attempt to maintain, bythe sanctions of penal
             infliction, the rights of WHITE men, while they refuse
             thus to maintain the rights of BLACK, or YELLOW, or
             SWARTIHY, or BROWN men? Upon what maxims of
             civil law or of the science of jurisprudence will they
             proceed in doing this? Or will they proclaim to the
             world that there is no such thirg as "LEGAL SCIENCE;"
             that the pretense of it is a cheat; that the belief in it
             is a delusion; that jurisprudence is a game of chance;
             that law rests upon caprice, and interposes no obstacle to aggression, no protection
             from brute force, no
             guaranties against despotic power? If this be the
             decision of grave jurists, who will care to have
             jurists? Who will be grateful for the institution
             of civil government? Who will respect the magistracy? Who will venerate LAW?
             How shall civil
             government, jurisprudence, and law be vindicated
             from aspersion and shielded from execration and contempt, but by wielding them
             for their high and holy
             ends? How, indeed, shall this be done but by denying to the American Slave Code
             (instinct, as it is,
             with all the elements of inherent lawlessness) any
             just claim to the honors or the authority of valid
             law? What, after all, becomes of the boasted legality
             of slave ownership, and where is the legal validity
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             CONCLUDING CHAPTER.
             of the American Slave Code in the presence of such
             legal decisions and common law maxims as the following?
             "Statutes against fundamental morality are void."
             (Judge McLean. Supreme Court of the United
             States.)
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             Is not the Slave Code "against fundamental morality?" If it is not, what existing or
             conceivable
             statute could come under that description, or of whlat
             use is the maxim? But if the Slave Code is "against
             fundamental morality," have not the people a claim
             upon Judge McLean and the United States Supreme
             Court for a decision affirmingi the illegality of slave
             ownership, whenever a suitable case shall be presented for their consideration and
             action?
             "If it be fo)und that a former decision is manifestly
             absurd and ugjust, it is declared, NOT that such a sentence was BAD la?v, but that it
             was NOT law." (Littleton.)
             Are not the "decisions" in support of slavery, as
             cited in this volume, "manifestly absurd and un just?" If not, what recorded or
             conceivable decisions
             could be thus characterized? But if they are of that
             character, does not the maxim of Littleton call for
             judicial decisions declaring "NOT that such sentence
             was BAD law, but that it was NOT law?"
             Will it be said that time and precedent have so
             settled the law on this subject that it must not or
             cannot be disturbed?
             "Where the foundation is weak, the structure
             falls." "What is inralid from the beginning cannot
             be made valid by length of time." (Noyes' Maxims.)
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             THE AMIERICAN SLAVE CODE.
             Will it be said that statutes and judicial decisions
             set aside or modify natural or common law? It is
             of the very nature of natural or common law to con tradict this plea! Hear it:
             "The law of nature being coeval with mankind,
             and dictated by God himself, is, of course, superior
             in obligation to every other. It is binding all over
             the globe, in all countries, and at all times. NAo hu,an laws have ANY VALIDITY
             if contrary to THIS;
             and such of them as are valid derive all their
             force, mediately or immediately, from this original."
             (Fortescue.)
             "The inferior must give place to the superior;
             man's laws to God's laws. If, therefore, any statute
             be enacted contrary to these, it ought to be considered
             of NO AUTHORITY in the laws of England." (Noyes.)
             "If any human law shall allow or require us to
             commit crime, we are bound to transgress that human
             law, or else we must offend against both the natural
             and the divine." (Blackstone.)
             "When an Act of Parliament is against common
             right or reason, or repugnant, or impossible to be
             performed, the conmmon law will control it, and adjudge
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             such act to be VOID." (Coke.)
             Will it be said that common or natural law may
             possibly allow the practice of slaveholding?
             "Those rights which God and nature have established, and which are therefore
             called natural rights,
             such as lie and liberty, need not the aid of human
             laws to be more effectually vested in every man than
             they are, neither do they receive any additional
             402


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             CONCLUDING CHAPTER.
             strength when declared by the municipal law to be
             inviolable. On the contrary, no human legislation
             has power to abridge or destroy them, unless the owner
             himself has committed some act that amounts to a
             forfeiture." (Fortescue.)
             "The law, therefore, which supports slavery and
             opposes liberty, must necessarily be condemned as
             cruel, for every feeling of human nature advocates
             liberty. Slavery is introduced by human wickedness, but God advocates liberty by
             the nature which
             he has given to man." (Fortescue.)
             Much more might be quoted from the great luminaries of common law to the same
             point. Can there
             be any doubt on the question of the legality of
             slavery? If so, the common law rule of decision is
             simple:
             "Whenever the question of liberty seems dgoubtful,
             the decision must be in favor of liberty." (Digest.)
             THE REMEDY for slavery and its untold abominations and horrors is simple. It is
             so simple, that
             worldly wisdom (which is foolishness with God, and
             which bewilders itself in its own never-eniding labyrinths) thinks it complex and
             difficult. It is
             merely to cease doing evil, and to commence doing
             right. It is for the Government to "break every yoke
             and let the oppressed go free "-to "proclaim liberty
             throughout the land to all the inhabitants thereof" to "execute judgment between a
             man and his neigh bor," and "deliver the spoiled out of the hands of
             the oppressor." It is for the citizens to "bring the
             poor that are cast out to their own house, and not
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             THE AMERICAN SLAVE CODE.
             hide themselves from their own flesh;" to welcome
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             them to a residence "among" them "where they
             shall choose," "where it liketh them best." It is for
             the "masters " to "render unto their servants that
             which is just and equal," "for the laborer is worthy
             of his reward." It is for the voters, who are the
             sovereign people, to choose "judges and officers"
             who shall "judge the people with just judgment,"
             remembering that " he that ruleth over men must be
             just, ruling in the fear of God." If the tenure of
             slave property be illegal, let the Courts thus decide.
             If not, or if the judges decline doing their duty,
             let the legislators abolish slavery by statute. In
             either case, let them repeal their own unrighteous
             enactments. Let those who need the labor of the
             colored people employ them for honest wages, and
             leave off living by plunder.
             This is God's own remedy for slavery. Experiment has fully tested its safety and its
             benefits, till
             those who had not learned to confide in God and
             walk by faith have been compelled to recognize historical facts, and may, at least,
             walk by sight.
             A moderate measure of historical information and
             common sense, one would think, might suffice (with
             the single eye that causes the whole body to be full
             of light) to detect the folly, the absurdity, and the
             inefficiency of all those schemes by which, on this
             particular subject, men have sought to reach the
             ends or results of justice and honesty without the
             task of their self-denying exercise. The attempt to
             kill the poisonous tree of slavery by lopping off a
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             CONCLUDIING CHAPTER.
             few of its more unsightly branches-the subtle but
             short-sighted diplomacy that seeks to outwit the
             arch-enemy of humanity and fritter away his power
             by temporizing expedients and conciliatory compromises-the policy of conceding
             the innocency of the
             so-called legal relation while raising an outcry against
             its component parts, the particulars in which it consists, the incidents by which it is
             defined-the inveterate day-dream of suppressing the tra/ic in human
             beings without overturning human chattelhood, or of
             preventing the extension of slavery so long as it is
             suffered to exist-the delusion that the circumscribing of its boundaries (if it were
             practicable) would
             be equivalent to its abolition or secure its termination-the notion that national
             neutrality can uproot
             a national sin, or excuse from its abandonment; or
             that there can be such a thing as a republican
             Government maintaining neutrality concerning the
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             chattelhood of its citizens-above all, the expedient
             of exporting the oppressed, instead of ceasing from
             and overturning oppression-these are some of the
             fallacies of our times which, in generations to come,
             will be cited as exemplifications of the bewilderment
             introduced by the presence of slavery.
             In conclusion, the writer would urge on all classes
             of his readers the claims of the enslaved. What
             portion of the community, or what description of
             human beings should be exempted from the appeal,
             or excused from earnest efforts in their favor?
             Lives there the mnan who could justify himself in
             the retirement of his own heart, should his own con
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             THE AMIERICAN SLAVE CODE.
             science convict him of coldness and indifference
             concerning the chattelhood of man? Could he help
             despising himself, and sinking, in his own estimate
             of himself, to the level of the servile slave, or the
             dulness of the unthinking brute? Lives there the
             w'oman, with a woman's heart and a woman's love,
             whose inmost soul does not bleed at the wrongs of
             the slave? How could the woman be lovely or
             attract virtuous love who should fail to do this?
             How could she respect herself, how could a wise and
             manly husband confide in her, or how could she
             claim for herself the respect due to a woman, should
             she be justly charged or suspected of indifference
             when woman shrieks under the lash, when womnan's
             affections are outraged, when woman is torn from
             husband and child, when woman is crushed and
             polluted by lawless and domineering lust, when
             woman is transformed to a beast? Is there the circumspect and self-respecting
             woman who would bestow her affections and repose her confiding hopes
             upon the man who should betray an indifference to
             such wrongs inflicted upon woman?
             Is there a patriot, a lover of his country, who can
             be indifferent to the existence and the sway of the
             Slave Code; who does not blush at the national disgrace, and tremble, as did
             Jefferson, in view of impending judgments incurred by the national sin?
             Is there a wise statesman who fails to foresee the
             ruin of his country and the wreck of its free institutions, unless the leprosy can be
             healed?
             Can the political economist be unconcerned, when
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             CONCLUDING CHAPTER.
             he witnesses this incubus upon the pecuniary prosperity of the republic-this
             paralysis of the nation's
             strength.
             Can the friend of education, the patron of intellectual progress, neglect to protest
             against the enforcement of ignorance, the proscription of letters,
             the closing of every avenue to the intellects of
             increasing millions of his countrymen? Can he do
             otherwise than deplore and condemn the code that
             prevents the establishment and prosperity of schools
             and colleges for whites, while it forbids the elements
             of literature and science to the people of color?
             Is there the wise legislator, civilian, or jurist,
             who does not see and condemn, in the Slave Code,
             the opprobrium of legislation, the disgrace of jurisprudence, the subversion of
             equity, the promotion of
             lawlessness, the element of social insecurity, and the
             seeds of every crime which legislation and jurisprudence should suppress or
             restrain?
             Can the moralist look with unconcern upon a sys tem that fosters every vice, and
             represses every
             virtue; that opens the flood-gates of immorality,
             and shuts up every fountain of enlightenment and
             reformation?
             Can the patrons of Christian missions do less than
             condemn the code that closes the avenues of mis sionary enterprise against millions
             of their own coun trymen? Can distributors of Bibles and religious
             tracts fail to remonstrate with the supporters of a
             system that forbids the distribution and the reading
             of them? Can Christians, can Christian ministers
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             THE AMIIERICAN SLAVE CODE.
             and churches be silent witnesses of all this enforced
             heathenism in our midst? Can they regard with
             apathy or disfavor the effort to relieve from the
             condition of chattelhood so many millions of pre cious souls for whom Christ died?
             Every dictate of our common humanity, every
             impulse of unperverted human sympathy, every de duction of unsophisticated
             reason, every monition
             of enlightened conscience, every maxim of sound
             political wisdom, every conclusion of a far-reaching
             and prophetic prudence, every principle and precept of our holy religion, every
             aspiration after a
             likeness to the blessed Redeemer and the Universal
             Father, every desire and hope of the onward progress and elevation of our country
             and our species,
             unitedly impel us to espouse, earnestly and courag,eously, the cause of the enslaved.
             Let each reader be persuaded to do this, by considerations derived from all that is
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             precious in human
             nature, or sacred in impartial justice; by all that is
             binding in moral obligation and law, or ennobling
             and God-like in mercy; by all that is attractive in
             human virtue, and inestimable in human freedom;
             by all that is momentous in a state of earthly probation, and solemn in the final
             judgment, when it will
             be said to those who withhold needed kindness,
             " Inasmuch as ye did it not unto one of the least of
             these, my brethren, ye did it not unto me."
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             APPENDIX A.
             FUGITIVE SLAVE BILL OF 1850.
             AN ACT TO AMIEND, AND SUPPLEMIENTARY TO THE ACT ENTITLED,
             "AN ACT RESPECTING FUGITIVES FRO3I JUSTICE, AND PERSONS
             ESCAPING FROM3 THE SERVICE OF THEIR MASTERS," APPROVED
             FEBRUARY 12, 1793.
             Be it enacted by the Senate acd House of Representatives of
             the United States of America in Congress assembled, That the
             persons who have been, or may hereafter be, appointed commissioners, in virtue of
             any Act of Congress, by the Circuit
             Courts of the United States, and who, in consequence of such
             appointment, are authorized to exercise the powers that any
             justice of the peace or other magistrate of any of the United
             States may exercise in respect to offenders for any crime or
             offense against the United States, by arresting, imprisoning, or
             bailing the same under and by virtue of the thirty-third section
             of the Act of the twenty-fourth of September, seventeen hundred
             and eighty-nine, entitled, "An Act to establish the judicial
             courts of the United States," shall be, and are hereby authorized
             and required to exercise and discharge all the powers and duties
             conferred by this Act.
             SEc. 2. And be it further enacted, That the Superior Court of
             each organized Territory of the United States shall have the
             same power to appoint commissioners to take acknowledgments
             of bail and affidavit, and to take depositions of witnesses in
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             APPENDIX.
             civil causes, which is now possessed by the Circuit Courts of the
             United States; and all commissioners who shall hereafter be
             appointed for such purposes by the Superior Court of any
             organized Territory of the United States shall possess all the
             powers and exercise all the duties conferred by law upon the
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             commissioners appointed by the Circuit Courts of the United
             States for similar purposes, and shall moreover exercise and
             discharge all the powers and duties Conferred by this Act.
             SEc. 3. And be it further enacted, That the Circuit Courts of
             the United States, and the Superior Courts of each organized
             Territory of the United States, shall from time to time enlarge
             the number of commissioners, with a view to afford reasonable
             facilities to reclaim fugitives from labor, and to the prompt discharge of the duties
             imposed by this Act.
             SEC. 4. And be it further enaceted, That the commissioners
             above named shall have concurrent jurisdiction with the judges
             of the Circuit and District Courts of the United States, in their
             respective circuits and districts within the several States, and
             the judges of the Superior Courts of the Territories, severally
             and collectively, in term time and vacation; and shall grant
             certificates to such claimants, upon satisfactory proof being
             made, with authority to take and remove such fugitives from
             service or labor, under the restrictions herein contained, to the
             State or Territory from which such persons may have escaped
             or fled.
             SEC. 5. And be it-further enacted, That it shall be the duty
             of all marshals and deputy marshals to obey and execute all
             warrants and precepts issued under the provisions of this Act,
             when to them directed; and should any marshal or deputy
             marshal refuse to receive such warrant or other process, when
             tendered, or to use all proper means diligently to execute the
             same, hlie shall, on conviction thereof, be fined in the sum of one
             thousand dollars to the use of such claimant, on the motion of
             such claimant, by the Circuit or District Court for the district of
             such marshal; and after arrest of such fugitive by such marshal or his deputy, or
             whilst at any time in his custody, under
             the provisions of this Act, should such fugitive escape, whether
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             APPENDIX.
             with or without the assent of such marshal or his deputy, such
             1ur?shal shall be liable, on his official bond, to be prosecuted,
             for the benefit of such claimant, for the full value of the service
             or labor of said fugitive in the State, Territory, or district
             whence he escaped; and the better to enable the said commissioners, when thus
             appointed, to execute their duties faithfully
             and efficiently, in conformity with the requirements of the Constitution of the
             United States and of this Act, they are hereby
             authorized and empowered, within their counties respectively,
             to appoint in writing under their hands, any one or more suitable persons, from time
             to time, to execute all such warrants and
             other process as may be issued by them in the lawful performance of their
             respective duties; with an authority to such commissioners, or the persons to be
             appointed by them to execute
             process as aforesaid, to summon and call to their aid the bystanders or posse
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             comitatus of the proper county, when necessary to insure a faithful observance of
             the clause of the
             Constitution referred to, in conformity with the provisions of
             this Act: and all good citizens are hereby commanded to aid and
             assist in the prompt and efficient execution of this law, whenever their services may
             be required, as aforesaid, for that purpose;
             and said warrants shall run and be executed by said officers
             any where in the State within which they are issued.
             SEC. 6. And be it further enacted, That when a person held
             to service or labor in any State or Territory of the United
             States has heretofore or shall hereafter escape into another State
             or Territory of the United States, the person or persons to
             whom such service or labor may be due, or his, her, or their
             agent or attorney, duly authorized, by power of attorney, in
             writing, acknowledged and certified under the seal of some
             legal office or court of the State or Territory in which the same
             may be executed, may pursue and reclaim such fugitive person,
             either by procuring a warrant from some one of the courts,
             judges, or commissioners aforesaid, of the proper circuit, district
             or county, for the apprehension of such fugitive from service or
             labor, or by seizing and arresting such fugitive where the same
             can be done without process, and by taking and causing such
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             APPENDIX.
             person to be taken forthwith before such court, judge or commissioner, whose duty
             it shall be to hear and determine the
             case of such claimant in a summary manner; and upon satisfactory proof being
             made, by deposition or affidavit, in writing,
             to be taken and certified by such court, judge, or commissioner,
             or by other satisfactory testimony, duly taken and certified by
             some court, magistrate, justice of the peace, or other legal officer
             authorized to administer an oath and take depositions under
             the laws of the State or Territory from which such person
             owing service or labor may have escaped, with a certificate of
             such magistracy or other authority, as aforesaid, with the seal
             of the proper court or officer thereto attached, which seal shall
             be sufficient to establish the competency of the proof, and with
             proof, also by affidavit, of the identity of the person whose
             service or labor is claimed to be due as aforesaid, that the person so arrested does in
             fact owe service or labor to the person
             or persons claiming him or her, in the State or Territory from
             which such fugitive may have escaped as aforesaid, and that
             said person escaped, to make out and deliver to such claimant,
             his or her agent or attorney, a certificate setting forth the substantial facts as to the
             service or labor due from such fugitive to
             the claimant, and of his or her escape from the State or Territory in which such
             service or labor was due to the State or
             Territory in which he or she was arrested, with authority to
             such claimant, or his or her agent or attorney, to use such
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             reasonable force and restraint as may be necessary under the
             circumstances of the case, to take and remove such fugitive
             person back to the State or Territory from whence he or she
             may have escaped as aforesaid. In no trial or hearing under
             this Act shall the testimony of such alleged fugitive be admitted
             in evidence; and the certificates in this and the first section
             mentioned shall be conclusive of the right of the person or
             persons in whose favor granted to remove such fugitive to the
             State or Territory from which he escaped, and shall prevent all
             molestation of said person or persons by any process issued by
             any court, judge, magistrate, or other person whomsoever.
             SEc. 7. And be it jurthter enacted, That any person who
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             APPENDIX.
             shall knowingly and willingly obstruct, hinder, or prevent such
             claimant, his agent or attorney, or any person or persons lawfully assisting him, her,
             or them, from arresting such fugitive
             from service or labor, either with or without process as aforesaid; or shall rescue, or
             attempt to rescue, such fugitive from
             service or labor, from the custody of such claimant, his or her
             agent or attorney, or other person or persons lawfully assisting
             as aforesaid, when so arrested, pursuant to the authority herein
             given and declared; or shall aid, abet, or assist such person, so
             owing service or labor as aforesaid, directly or indirectly, to
             escape from such claimant, his agent or attorney, or other person or persons, legally
             authorized as aforesaid; or shall harbor
             or conceal such fugitive, so as to prevent the discovery and
             arrest of such person, after notice or knowledge of the fact that
             such person was a fugitive from service or labor as aforesaid,
             shall, for either of said o-ffenises, be subject to a fine not exceeding one thousand
             dollars, and imprisonment not exceeding six
             months, by indictment and conviction before the District Court
             of the United States for the district in which such offense may
             have been committed, or before the proper court of criminal
             jurisdiction, if committed within any one of the organized Territories of the United
             States; and shall moreover forfeit and
             pay, by way of civil damages to the party injured by such illegal conduct, the sum of
             one thousand dollars for each fugitive
             so lost as aforesaid, to be recovered by action of debt in any of
             the District or Territorial Courts aforesaid, within whose jurisdiction the said offense
             may have been committed.
             SEc. 8. And be it fiurther enacted, That the marshals, their
             deputies, and the clerks of the said District and Territorial
             Courts, shall be paid for their services the like fees as may be
             allowed to them for similar services in other cases; and where
             such services are rendered exclusively in the arrest, custody,
             and delivery of the fugitive to the claimant, his or her agent or
             attorney, or where such supposed fugitive may be discharged
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             out of custody for the want of sufficient proof as aforesaid, then
             such fees are to be paid in the whole by such claimant, his
             agent or attorney; and in all cases where the proceedings are
             4 1'I'


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             APPENDIX.
             before a commissioner, he shall be entitled to a fee of ten dollars in full for his
             services in each case, upon the delivery of the
             said certificate to the claimant, his or her agent or attorney; or
             a fee of five dollars in cases where the proof shall not, in the
             opinion of such commissioner, warrant such certificate and
             delivery, inclusive of all services incident to such arrest and
             examination, to be paid in either case by the claimant, his or
             her agent or attorney. The person or persons authorized to
             execute the process to be issued by such commissioners for the
             arrest and detention of fugitives from service or labor as aforesaid, shall also be
             entitled to a fee of five dollars each for each
             person he or they may arrest and take before any such commissioner as aforesaid at
             the instance and request of such claimant,
             with such other fees as may be deemed reasonable by such
             commissioner for such other additional services as may be necessarily performed by
             him or them: such as attending to the
             examination, keeping the fugitive in custody, and providing him
             with food and lodging during his detention, and until the final
             determination of such commissioner; and in general for performing such other
             duties as may be required by such claimant,
             his or her attorney or agent, or commissioner in the premises;
             such fees to be made up in conformity with the fees usually
             charged by the officers of the courts of justice within the
             proper district or county, as near as may be practicable, and
             paid by such claimants, their agents or attorneys, whether such
             supposed fugitive from service or labor be ordered to be delivered to such claimants
             by the final determination of such
             commissioners or not.
             SEc. 9. And be it further enacted, That upon affidavit made
             by the claimant of such fugitive, his agent or attorney, after
             such certificate has been issued, that he has reason to apprehend
             that such fugitive will be rescued by force from hi;.s or their
             possession before he can be taken beyond the limits of the State
             in which thie arrest is made, it shall be the duty of the officer
             making the arrest to retain such fugitive in his custody, and to
             remove him to the State whence he fled, and there to deliver
             him to said claimant, his agent or attorney. And to this end
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             APPENDIX.
             the officer aforesaid is hereby authorized and required to employ
             so many persons as he may deem necessary to overcome such
             force, and to retain them in his service so long as circumstances
             may require; the said officer and his assistants, while so employed, to receive the
             same compensation, and to be allowed the
             same expenses as are now allowed by law for the transportation
             of crimninals, to be certified by the judge of the district within
             which the arrest is made, and paid out of the treasury of the
             United States.
             SEc. 10. And be it further enacted, That when any person
             held to service or labor in any State or Territory, or in the District of Columbia, shall
             escape therefrom, the party to whom
             such service or labor shall be due, his, her, or their agent or
             attorney, may apply to any court of record therein, or judge
             thereof in vacation, and make satisfactory proof to such court,
             or judge in vacation, of the escape aforesaid, and that the per son escaping owed
             service or labor to such party. Whereupon
             the court shall cause a record to be made of the matters so
             proved, and also a general description of the person so escaping,
             with such convenient certainty as may be; and a transcript of
             such record, authenticated by the attestation of the clerk, and
             of the seal of the said court, being produced in any other State,
             Territory, or district in which the person so escaping may be
             found, and being exhibited to any judge, commissioner, or other
             officer authorized by the law of the United States to cause per.
             sons escaping from service or labor to be delivered up, shall be
             held and taken to be full and conclusive evidence of the fact of
             escape, and that the service or labor of the person escaping is
             due to the party in such record mentioned. And upon the pro duction by the said
             party of other and further evidence, if
             necessary, either oral or by affidavit, in addition to what is
             contained in the said record, of the identity of the person escap ing, he or she shall
             be delivered up to the claimant. And the
             said court, commissioner, judge, or other person authorized by
             this Act to grant certificates to claimants of fugitives, shall, upon
             the production of the record and other evidences aforesaid, grant
             to such claimant a certificate of his right to take any such
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             APPENDIX.
             person identified and proved to be owing service or labor as
             aforesaid, which certificate shall authorize such claimant to
             seize or arrest and transport such person to the State or Territory fromn which he
             escaped:.P,ovided, That nothing herein
             contained shall be construed as requiring the production of a
             transcript of such record as evidence as aforesaid; but in its
             absence, the claim shall be heard and determined upon other
             satisfactory proofs competent in law.
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             HOWELL COBB,
             Speaker of the House of Representatives.
             WILLIAM R. KING,
             President of the Senate, pro tempore.
             Approved September 18th, 1850.
             MILLARD FILLMORE.
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             APPENDIX B.
             SLAVERY AMONG THE CHEROKEES AND CHOCTAWS.
             SrNCE the body of the preceding work was mostly in type,
             the author has met with a volume containing the Constitutions
             and Laws of the Cherokees and Choctaws, which embrace
             many provisions on the subject of Slavery, very similar to those
             of our American Slave States in their vicinity, and evidently
             borrowed from them. A few specimens may be interesting,
             especially as throwing light upon the question whether it is
             proper to assist in building up churches in those nations that
             -admit and retain as members those who enact, administer, and
             support such laws, or who uphold them by claiming and sustaining the relation of
             slave owners.
             THiE CHEROKEES.
             The "Constitution of the Cherokee Nation," formed by a
             Convention of Delegates from the several districts at NewEchota, July, 1827,
             contains the following:
             "No person shall be eligible to a seat in General Council but
             a free Cherokee male citizen, who shall have attained to the
             age of twenty-five years. The descendants of Cherokee men
             by all free women, except the African race, whose parents may
             [have] been living together as man and wife, according to the
             customs and laws of this nation, shall be entitled to all the
             rights and privileges of this nation, as well as the posterity of
             18*


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             APPENDIX.
             Cherokee women by all free men. Yo person who is of negro
             or mulatto parentage, either by the father or mo tler side, shall
             be eligible to hold any oqce of proft, honor, or trust in this
             Government." (Art. IIL, sect. 4.)
             The same provision is retained in the New Constitution of
             the Cherokee Nation, passed at Tah-le-quah, in Sept. 1839.
             (Art. III., sect. 5.)
             Among the laws of the Cherokees we find one, Sept. 1839,
             entitled, "An act to prevent amalgamation with colored persons,"
             (meaning descendants of Africans,) just as if Cherokees were
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             whites, and not "colored." Penalty, corporal punishment, not
             to exceed fifty stripes, and such intermarriages declared not to
             be lawful.
             Another "Act," under date of Nov. 15, 1843, is "to legalize
             intermarriage with white men!"
             Another Act, 7th Nov. 1840, declares that "it shall not be
             lawful for any free negro or mulatto, not of C]herokee blood, to
             hold or own any improvement within the limits of this nation;
             neither shall it be lawful for slaves to own any property of the
             following description, viz: horses, cattle, hogs, or fire-arms."
             Provision is made for the seizure and sale of such property, &c.
             Another "Act," Oct. 19, 1841, is for "authorizing the appointment of patrol
             companies," who "shall take up and bring
             to punishment any negro or negroes that may be strolling about,
             not on their owner's premises, without a pass from their owner
             or owners." And any negro not entitled to Cherokee privileges,
             if found armed, may be whipped, not exceeding thirty-nino
             lashes.
             Another "Act," dated 22d October, 1841, is for "prohibiting
             the teaching of negroes to read and write." "Be it enacted by
             the Yational Council, That from and after the passage of this
             Act, it shall not be lawful for any person or persons whatever
             to teach any free negro or negroes not of Cherokee blood,* or
             * "Not of Cherokee blood!" It would be quite an improvement,
             should our Anglo-Saxon slave legislators imitate this by saying, "not
             of English blood," in their statutes of this character.
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             APPENDIX.
             any slave belonging to any citizen or citizens of the nation, to
             read or write." The penalty annexed to a violation of this
             enactment is a fine of $100 to $500, at the discretion of the
             Court trying the offense.
             "An Act in regard to free negroes," Dec. 2, 1842, directs
             "the sheriffs of the several districts" to notify free negroes to
             leave the limits of the nation by the 1st of Jan. 1843. If they
             refused to go, they were to be immediately expelled. "Sect. 4.
             Be it further enacted, That should any free negro or negroes be
             found guilty of aiding, abetting, or decoying any slave or slaves
             to leave his or their owner or employer, such free negro or
             negroes shall receive for each and every such offense one hundred lashes on the
             bare back, and be immediately removed
             from this nation."
             Bound up in the same volume with these Constitutions and
             enactments, we find the "Constitution of the Cherokee Bible
             Society," in which is the following: "Art. 2. The object of the
             Society shall be to disseminate the Sacred Scriptures in the
             English and Cherokee languages among the people of the
             Cherokee nation; and all funds collected by the Society shall
             be expended for that object."
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             From the preceding extracts of the Constitutions and Laws
             it would seem that "free negroes and mulattoes not of Cherokee
             blood" were not considered as "entitled to Cherokee privileges,"
             or as constituting a part of "the Cherokee nation." And the
             teaching of them or the slaves to read or write, as has been
             shown, is expressly forbidden, under heavy penalties. So that
             the peculiar phraseology employed by the Bible Society is
             readily understood. Its object did not include the supply of
             such persons, and it was intended to guard against any such
             use of its, funds! It is lamentable to see a nation so recently
             put in possession of the Bible, so forward to withhold it from
             others, even forbidding its use! But in this the Cherokees only
             imitate our own nation and our own Bible Societies, from whom
             they have received the Scriptures! They have only practised
             the religion they have received from us! We may see in this
             419


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             APPENDIX.
             the fruit of sending to the heathen a gospel that tolerates slaveholding.
             CHOCTAWS.
             The Constitution of the Choctaw Nation, approved October,
             1838, embodies a "Declaration of Rights," the first article of
             which commences with, "All freemen, when they form a social
             comipact, are equal in rights," &c. It is not difficult to trace the
             parentage of this emendation of the Declaration of'76. It is
             revealed in the following:
             "From and after the adoption of this Constitution, no free
             negro, or any part negro, uncoanecte(I with C/octaw or Chic7 asaw blood, shall be
             permitted to come and settle in the Choc taw nation." (Art. VIII., sect. 6.)
             "No person who is any part negro shall ever be allowed to
             hold any office under this Government." (Art. VIII., sect. 14.)
             "The General Council, when in session, shall have the power
             by law to naturalize and adopt as citizens of this nation, any
             Indian, or descendant of other Indian tribes, exceplt a negro or
             descendant of a negro." (Art. VIII., sect. 15.)
             The following is an act.approved 5th October, 1836:
             "Be it enacted, &c., That from and after the passage of this
             Act, if any citizen of the United States, acting as a missionary
             or a preacher, or whatever his occupation may be, is found to
             take an active part in favoring the principles and notions of the
             most fatal and destructive doctrines of Abolitionism, he shall
             be compelled to leave the nation, and for ever stay out of it.
             "Be it further enacted, &c., That teaching slaves how to
             read, to write, or to sing in meeting-houses or schools, or in any
             open place, without the consent of the owner, or allowing them
             to sit at table with him, shall be sufficient ground to convict
             persons of favoring the principles and notions of Abolitionism.
             It was provided also that no slave should "be in possession of
             any property or arms;" that if any slave infringed any Choctaw rights, he should "be
             driven out of company to behave
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             himself;" and in case of his return and further intrusion, "he
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             APPENDIX.
             should receive ten lashes." But "any good honest slave shall be
             permitted to carry a gun, by having a pass from his master."
             In 1838 it was enacted, "That firom and after the passage of
             this law, if any person or persons, citizens of this nation, shall
             publicly take t)p with a negro slave,* he or she so offending
             shall be liable to pay a fine of not less than ten dollars, nor exceeding twenty-five
             dollars, and,hall be separated; and for a
             second offense of a similar nature the party shall receive not
             exceeding thirty-nine lashes nor less than five, on the bare
             back, andl shall be separated, as the Court may determine."
             "The Constitution and Laws of the Choctaw Nation," from
             which the preceding extracts are taken, bears the imprint of
             1840, and the latest enactments it contains are dated Oct. 1839.
             But the "American Missionary," New-York, January, 1853,
             contains an account of some later enactments, taken from a
             Report made in 1848 by Mr. Treat, one of the Secretaries of
             the American Board of Commissioners for Foreign Missions.
             The following is an extract from this statement of the "American Missionary:"
             In 1840 "it was enacted that all free negroes in the nation,
             unconnected with the Choctaw or Chickasaw blood,'should
             leave the nation by the first of March, 1841,' and'for ever
             keep out of it.' In case of their infringing this law,'they
             were to be seized and sold to the highest bidder for life.' It
             was also enacted that if any citizen of the nation hired, con cealed, or in any way
             protected any free negro, to evade the
             foregoing provision, he should forfeit from $250 to $500, or if
             unable to pay this fine,'receive fifty lashes on his bare back.'
             "In 1846 a law was passed, which prohibited all negroes,
             whether they had'papers' or not, from entering and remain ing in the Choctaw
             nation. The offenders were to receive'not
             less than one hundred lashes on the bare back,' besides a for feiture of all property
             found in their possession, one third'to
             * "'Publicly take up with." The possibility of a legal marriage
             ,with a slave seems not to have been recognized. The union was only
             "a taking up with," a phrase used among slaves.
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             APPENDIX.
             go to the light horsemen' who apprehended them, and two
             thirds'to be applied to some beneficial purpose.'
             "The most objectionable enactment, says Mfr. Treat, which he
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             found, having any bearing upon slavery, was approved October
             15th, 1846. It is as follows:
             "'Be it enacted, &c., That no negro slave can be emancipated
             in this Nation except by application or petition of the owner to
             the General Council; and provided also, that it shall be made
             to appear to the Council the owner or owners, at the time of
             application, shall have no debt or debts outstanding against him
             or her, either in or out of this Nation. Then, and in that case,
             the General Council shall have the power to pass an act for the
             owner to emancipate his or her slave, which negro, after being
             freed, shall leave this nation within thirty days after the passage
             of the Act. And in case said free negro or negroes shall return
             into this Nation afterwards, he, she, or they shall be subject to be
             taken by the light horsemen and exposed to public sale for the
             term of five years; and the funds arising from such sale shall
             be used as national funds.'"
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     John Quincy Adams on the Gag Rule
     Digital History ID 376

     Author: John Quincy Adams
     Date:1837

     Annotation:

     In the mid-1830s, northern mobs attacked abolitionists and disrupted their meetings. Over the next decade,
     however, growing numbers of northerners grew increasingly sympathetic toward the antislavery cause. One key
     episode contributing to a shift in public opinion was a fight over the receipt of abolitionist petitions in Congress
     between 1835 and 1844.

     Popular petitioning played a crucial role in pressuring Parliament to emancipate

     British slaves in 1833. American abolitionists initially assumed that "moral suasion" could shame Southerners
     into freeing their slaves. The failure of moral suasion lent a growing importance to antislavery political action,
     especially in petitioning Congress to restrict the interstate slave trade and the admission of new states.

     During the early 1830s, the American Anti-Slavery Society began to distribute petitions calling upon Congress
     to abolish slavery in the District of Columbia. Upon submission to the House of Representatives, the petitions
     were referred to the Committee on the District of Columbia. In the Spring of 1836, however, the House (with
     the support of northern Democrats) adopted the notorious "Gag Rule," which required that all petitions dealing
     with slavery "be laid on the table and that no further action whatever shall be laid thereon."

     Former President John Quincy Adams, who had been elected to the House of Representatives in 1836, led
     opposition to the gag rule. He denied that he was an abolitionist; rather, he argued that the gag rule violated
     the constitutional right to petition--a right which extended even to slaves. In February 1837, Adams caused a
     near riot in the House when he submitted a petition purportedly from 22 slaves.

     Adams's opponents unsuccessfully attempted to strip him of his chairmanship of a Congressional committee and
     twice unsuccessfully tried to censure him. But such efforts had the effect of convincing growing numbers of
     Northerners that the southern "slave power" threatened civil liberties. Thanks to Adams's efforts, the gag rule
     was finally suspended in 1844.


     Document:

     I presented twenty petitions, all of which were laid on the table without being read, though in every instance I
     moved for the reading, which the Speaker [James K. Polk] refused to permit--from his decision I took in every
     case an appeal, and the appeal was in ever case laid on the table....

     [Adams describes a petition from Fredericksburg, Virginia, that] purported to be from twenty-two slaves.... I
     had suspicions that [it]...came really from the hand of a master, who had prevailed upon his slaves to sign it--
     that they might have the appearance of imploring the members from the North to cease offering petitions for
     their emancipation which could have no other tendency than to aggravate the burden of their servitude and of
     being so impatient under the operation of the petitions in their favour, as to pray that the Northern members
     who should persist in presenting them should be expelled....

     But the petition, avowedly coming from slaves, though praying for my expulsion from the House if I should
     persevere in presenting abolition petitions, opened to my examination and enquiry a new question, or at least a
     question which had never occurred to me before, and which I never should have thought of starting upon
     speculation, namely, Whether the right to petition Congress, could in any case be exercised by slaves? And after
     giving to the subject all the reflection of which I was capable, I came to the conclusion, that however doubtful it
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     might be whether slaves could petition Congress for anything incompatible with their condition as slaves, and
     with their subjection to servitude, yet that for all other wants, distresses and grievances incident to their nature
     as men and to their relations as members, degraded members as they may be, of this community, they do
     enjoy the right of petition; and that if they enjoyed the right in any case whatsoever, there could be none in
     which they were more certainly entitled to it, than that of deprecating the attempts of deluded friends to
     release them from bondage; a case in which they alone could in the nature of things speak for themselves, and
     their masters could not possibly speak for them....

     But after getting these two questions to the satisfaction of my own mind, there remained another. With what
     temper they would be received in a house, the large majority of which consisted of slave-holders, and of their
     political Northern associates, whose mouthpieces had already put forth their feelers to familiarize the freeman
     of the North with the fight of a representative expelled from his seat for the single offence of persisting to
     present abolition petitions. I foresaw that the very conception of a petition from slaves, would dismount all the
     slave-holding philosophy of the House, and expected it would produce an explosion, which would spent itself in
     wind. Without therefore presenting or offering to present the petition, I stated to the Speaker that I had such a
     paper in my possession, which I had been requested to present, and enquired whether it came within the
     Resolution of the 18th of January. Now the Speaker decided that under that order, no such paper should be
     read.... The Speaker...horrified at the idea of receiving and laying on the table a petition from slaves, said that
     in a case so novel and extraordinary he felt himself incompetent to decide and must take the advice and
     direction of the House....

     If I had stated that I had a petition from sundry persons in Fredericksburg, relating to slavery, without saying
     that the petitioners were, by their own avowal, slaves, the paper must have gone upon the table; but the
     discovery would soon have been made, that it came from slaves, and there the tempest of indignation would
     have burst upon me, with tenfold fury, and I should have been charged with having fraudulently introduced a
     petition from slaves, without letting the House know the condition of the petitioners.

     To avoid the possibility of such a charge, I put the question to the Speaker, giving him notice that the petition
     purported to come from slaves, and that I had suspicions that it came from another, and a very different
     source. The Speaker after failing in the attempt to obtain possession of the paper, referred my question to the
     House for decision, and there ensued a scene of which I propose to give an account, in a subsequent address,
     entreating you only to remember, if what I have said, or may say to you hereafter on this subject [slavery]
     should tax your patience, that the stake in the question is your right to petition, your freedom of thought and of
     action, and the freedom in Congress of your Representative.

     Source: Gilder Lehrman Institute

     Additional information: John Quincy Adams to the Inhabitants of the 12th Congressional District

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                  The Congressional Globe- Appendix
                      Feb. 11, 1837, pp. 179 – 193
                      “Right of Petition of Slaves”

               SPEECH of Hon. A. Vanderpoel (New York)

         “He was surprised that any intelligent gentleman had
   seriously contended for this right. It was wholly inconsistent
   with the idea of property in slaves, which all who understood the
   relation of master and slave must admit to exist. A slave is not a
   citizen in the eye of the Constitution. His political existence is
   merged in that of his master. He cannot prosecute in your courts
   of justice; he cannot petition your legislative assemblies….
   [B]efore slavery was abolished in New York, a proposition to
   present a petition from slaves to the New York Legislature
   would have been regarded as an insult. It would have awakened
   there as great a measure of indignation as has been there
   exhibited within the last five days. What has the Legislature of
   New York lately done to indicate its abhorrence of the
   movements of modern Abolitionists. A petition was there very
   recently presented to enlarge the political rights of free Negroes,
   emanating, no doubt, from the same sources that are constantly
   agitating us here; and, co instant that it was presented, its prayer
   was indignantly rejected by an almost unanimous vote of the
   popular branch of the New York Legislature.

        “Admit that the right of petition is pre-existent to, and
   independent of, the Constitution, the question still recurs,
   whether it is not to freemen, and to freemen alone, that it
   attaches. The Constitution secures to the people the right
   peaceably to assemble and petition the Government for a redress
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   of grievances. Had any one, before today, ever dreamed that the
   application of ‘the people’ embraced slaves? Sir, I hesitate not
   to declare that, were I a southern man, I would not submit to the
   doctrine that slaves have a right to petition, if Congress were
   ever mad enough to sanction it.”
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                  The Congressional Globe- Appendix
                      Feb. 11, 1837, pp. 179 – 193
                      “Right of Petition of Slaves”

                 SPEECH of Hon. R. French (Kentucky)

         “The right of petition belongs to the people in their
   sovereign capacity. It grows out of, and appertains to, the
   doctrine of self-government. It is a right that accompanies the
   right of representation. The right of petition and the right of
   representation may, therefore, be denominated kindred rights.
   The right of petition, as was well said by the honorable
   gentleman from Massachusetts, who last addressed the House on
   these resolutions… is a right reserved by the people, and is not
   granted by the Constitution to them. This reserved right is only
   guaranteed by the Constitution…. As the right, therefore, to
   petition the Government for a redress of grievances belongs to
   those who are entitled to be represented in the Congress of the
   United States, it is important to inquire who are so entitled. Sir,
   all the citizens living under the protection of the Constitution of
   the United States are not only entitled to be represented here, but
   are represented; and all are citizens except our colored
   population, the Indian tribes, and aliens…. Hence, the
   conclusion to which my mind is conducted is, that, according to
   the theory of our Government, slaves, who are not citizens, but
   inhabitants merely, have no right to petition the Government for
   a redress of their grievances….”
